 1                                    BEFORE THE
 2                     MILWAUKEE FIRE AND POLICE COMMISSION
 3           - - - - - - - - - - - - - - - - - - - - - - - - - -
 4           In Re the Appeal of:                    MPD Personnel
                                                   Order No. 2015-150
 5           SHANNON LEWANDOWSKI
 6           - - - - - - - - - - - - - - - - - - - - - - - - - -
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 8
                        MILWAUKEE POLICE & FIRE COMMISSION
 9
                                      Ann Wilson
10                                   Kathryn Hein
                                    Angela McKenzie
11

12                        Hearing Examiner: Rudolph Konrad
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14           HEARING HELD:                              TRANSCRIPT PAGES
15                                                           1 - 290
             200 E. Wells Street
16           Milwaukee, Wisconsin                      EXHIBITS IDENTIFIED:
17                                                            1 - 21
             Date: August 10, 2016
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                                                        EXHIBITS ADMITTED:
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       Case 2:16-cv-01089-WED Filed 04/22/19 Page 1 of 501 Document 80-5
 1                            A P P E A R A N C E S:
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 4           THE COMMISSION:
 5                                  COMMISSIONER ANN WILSON
                                    COMMISSIONER KATHRYN HEIN
 6                                  COMMISSIONER ANGELA MC KENZIE
 7

 8           Hearing Examiner: Rudolph Konrad
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       Case 2:16-cv-01089-WED Filed 04/22/19 Page 2 of 501 Document 80-5
 1

 2                      E X A M I N A T I O N        I N D E X
 3
             WITNESS                                           PAGE NO.
 4
             CODY SMITH
 5
             Direct Exam by Mr. Pederson                          12
 6           Cross-Exam by Mr. McGaver                            24
 7
             SEAN HANLEY
 8
             Direct Exam by Mr. Pederson                          29
 9           Cross-Exam by Mr. Mc Gaver                           54
             Redirect Exam by Mr. Pederson                        78
10           Recross-Exam by Mr. McGaver                          84
             Re-Redirect Exam by Mr. Pederson                     89
11

12           ADAM ZIEGER
13           Direct Exam by Mr. Pederson                          90
             Cross-Exam by Mr. McGaver                           140
14           Redirect Exam by Mr. Pederson                       155
             Recross-Exam by Mr. McGaver                         156
15           Re-Redirect Exam by Mr. Pederson                    156
16

17           JUANITA CARR
18           Direct Exam by Mr. McGaver                          159
             Cross-Exam by Mr. Pederson                          175
19           Redirect Exam by Mr. McGaver                        193
20

21           JORDAN LEWANDOWSKI
22           Direct Exam by Mr. McGaver                          195
             Cross-Exam by Mr. Pederson                          206
23           Redirect Exam by Mr. McGaver                        212
             Recross-Exam by Mr. Pederson                        213
24

25


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                               sueT@wi.rr.com
                                                                           3
       Case 2:16-cv-01089-WED Filed 04/22/19 Page 3 of 501 Document 80-5
 1
             DEBORA STACEY
 2
             Direct Exam by Mr. McGaver                          215
 3           Cross-Exam by Mr. Pederson                          223
 4

 5           JESSE VOLLRATH
 6           Direct Exam by Mr. McGaver                          224
             Cross-Exam by Mr. Pederson                          230
 7

 8           DENISE BROWN-ROGERS
 9           Direct Exam by Mr. McGaver                          232
             Cross-Exam by Mr. Pederson                          237
10           Redirect Exam by Mr. McGaver                        238
11

12           SHANNON LEWANDOWSKI
13           Direct Exam by Mr. McGaver                          239
14

15

16

17

18

19

20

21

22

23

24

25


     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                           4
       Case 2:16-cv-01089-WED Filed 04/22/19 Page 4 of 501 Document 80-5
 1
                        E X A M I N A T I O N        I N D E X
 2

 3           WITNESS                                           PAGE NO.
 4           SHANNON LEWANDOWSKI
 5           Cross-Exam by Mr. Pederson                           292
             Redirect Exam by Mr. McGaver                         356
 6

 7           SEAN HANLEY
 8           Direct Exam by Mr. Pederson                          363
             Cross-Exam by Mr. McGaver                            381
 9           Redirect Exam by Mr. Pederson                        386
             Recross-Exam by Mr. McGaver                          388
10

11           STEVEN KELLY
12           Direct Exam by Mr. Pederson                          390
             Cross-Exam by Mr. McGaver                            396
13

14           ADAM ZIEGER
15           Direct Exam by Mr. Pederson                          400
             Cross-Exam by Mr. McGaver                            409
16

17
                                  PHASE II
18
             CARIANNE YERKES
19
             Direct Exam by Mr. Pederson                         440
20           Cross-Exam by Mr. McGaver                           459
21
             CHAD BOYACK
22
             Direct Exam by Mr. McGaver                          464
23

24           SHANNON LEWANDOWSKI
25           Direct Exam by Mr. McGaver                          467
             Cross-Exam by Mr. Pederson                          471
     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
       Case 2:16-cv-01089-WED Filed 04/22/19 Page 5 of 501 Document 80-5
 1                            MR. KONRAD:             Good morning. This
 2           is Wednesday, August 10, 2016 at approximately 8:37 a.m.
 3           We are here in the matter of a disciplinary appeal of
 4           Police Detective Shannon Lewandowski from the Milwaukee
 5           Police Department Personnel Order No. 2015-150. My name
 6           is Rudolph Konrad and I am the hearing examiner for this
 7           matter and will serve as the chair of the hearing today.
 8           I am joined by Fire and Police Commissioners Kathy Hein,
 9           Ann Wilson and Angela McKenzie. This will be Phase I.
10           In the Phase I hearing, Detective Lewandowski disputes
11           the charges against her.
12                            Could we have the appearances of counsel
13           for the record, please? City first.
14                            MR. PEDERSON:              Thank you. Good
15           morning, Commissioners and Mr. Konrad. I am Robin
16           Pederson, Assistant City Attorney. I am representing
17           Chief Flynn today and today with me as my court officer
18           will be Lieutenant Lipski.
19                            MR. MC GAVER:           Good morning. My
20           name is Steven McGaver of the law firm of Gimbel Reilly
21           Guerin & Brown. Shannon Lewandowski is present at the
22           hearing today as well as a law clerk of mine, Brianna
23           Meyer, although she is not formally appearing.
24                            MR. KONRAD:             Thank you. Are there
25           any matters we need to attend or address before the

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                                                                           5
       Case 2:16-cv-01089-WED Filed 04/22/19 Page 6 of 501 Document 80-5
 1           opening statements?
 2                            MR. PEDERSON:           I don't believe so.
 3                            MR. KONRAD:             Counsel may make an
 4           opening statement if they choose, starting with the
 5           city.
 6                            MR. PEDERSON:          Thank you, Mr.
 7           Konrad.
 8                            Commissioners, I expect the chief's case
 9           to be relatively straightforward. I expect to call
10           three witnesses. That would be Sergeant Cody Smith of
11           the Shorewood Police Department, Lieutenant Hanley of
12           the Milwaukee Police Department and finally, Sergeant
13           Zieger who is the investigator in the Internal Affairs
14           matter. Through those witnesses, I expect to establish
15           all the facts necessary for the chief's side of the
16           case. We are scheduled for two days, so I guess things
17           might get a little more complicated as we go forward,
18           but when I say the chief's case is straightforward, I
19           mean it in that, you know, there are three charges here.
20           One of them relate to operating a vehicle in a manner
21           that was not consistent with the law as required by
22           SOPs and to that extent we are going to -- operating,
23           Detective Lewandowski was operating a squad car as an
24           emergency vehicle contrary to law. It is as simple
25           as that. There is a charge relating to effective and

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                                                                            6
       Case 2:16-cv-01089-WED Filed 04/22/19 Page 7 of 501 Document 80-5
 1           efficient time -- use of time in completing the mission
 2           of the department. To that extent, we are going to put
 3           on evidence that shows that she was engaged in a
 4           personal -- personal concerns. That is, she was en
 5           route to attend to matters that were not concerns of the
 6           department. There is two possibilities here. The facts
 7           are going to come out that she was either going to see
 8           her son, who had been pulled over by a police officer,
 9           or heading to District 5 for a to assist a fellow
10           officer for a matter that was, again, personal.
11                            So to that extent, it doesn't matter what
12           the truth is. The chief is going to maintain she was on
13           her way to the scene where her son had been stopped. I
14           expect that they are going to maintain she was on her
15           way to District 5. So the chief's position on that is
16           that it doesn't matter which one it is. It was not
17           effectively and efficiently a matter or a concern of the
18           department. So that is sustains -- that is the evidence
19           we will present to sustain that rule violation.
20                            Finally, the most significant charge is
21           the integrity charge. For that, I expect to put up
22           evidence which will demonstrate that the detective
23           changed her story substantively. That is to say, that
24           when, on a night that the accident -- the squad accident
25           at issue here occurred, it was -- she was interviewed by

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                                                                           7
       Case 2:16-cv-01089-WED Filed 04/22/19 Page 8 of 501 Document 80-5
 1           Lieutenant Hanley regarding that to gather facts as part
 2           of the accident investigation and she gave one version
 3           of the events to Lieutenant Hanley. On subsequent
 4           occasions, she completely recanted everything that she
 5           said and gave entirely different facts. Not a matter
 6           if this is confusion or anything, but flatly said that
 7           Lieutenant Hanley was lying, that he misrepresented
 8           purposely. Now, this is going to largely be a credi-
 9           bility concern because the only witness to that original
10           statement provided from Lewandowski to Lieutenant Hanley
11           are the two people involved; the detective and the
12           lieutenant. So I don't know how you are going to make
13           your credibility determination, but I think there are
14           going to be enough supporting circumstantial facts to
15           support the chief's position that the detective did
16           fabricate, retract her story in a manner that was
17           inconsistent with integrity rules of the department.
18                            So that is the evidence I expect to
19           present and that is all. Thank you.
20                            MR. MC GAVER:           This is a strange
21           case, although the city intends to present it in a
22           relatively straightforward matter. I say it is strange
23           because it is involving a car accident and it is strange
24           in that Ms. Lewandowski, former Detective Lewandowski
25           didn't cause the car accident. She was hit by a driver

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                                                                           8
       Case 2:16-cv-01089-WED Filed 04/22/19 Page 9 of 501 Document 80-5
 1          who ran a red light, who was drunk, impaired with both
 2          marijuana and alcohol, knew that the car she was driving
 3          had bad brakes and collided into the squad car that
 4          Lewandowski was driving. Lewandowski entered the inter-
 5          section. The evidence will show she had a green light
 6          and she didn't do anything wrong, what I mean by that is
 7          there is going to be evidence that the lights were on,
 8          the squad lights. Ms. Lewandowski's position is that
 9          the squad lights were on because she was using them as
10          hazard lights to make sure there was not a collision
11          with a car pulling out in front of her before she
12          entered the intersection. She entered the intersection
13          and she was slammed into by a different car that no one
14          saw coming. The other allegation is that she was
15          engaging in what my office has come to call frolic and
16          detour, that she wasn't using her time for the purposes
17          of the department. Well, that is nonsense. It is
18          nonsense for -- in either scenario that the city
19          presents. It is nonsense that she was not -- the city
20          might present some evidence showing that she was on her
21          way to intervene in a traffic stop where her son was
22          pulled over by Shorewood police, although there is a lot
23          of statements that apparently, it was UWM police who had
24          nothing to do with anything and that Lewandowski was
25          on her way to intervene.

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                                                                           9
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 10 of 501 Document 80-5
 1                            You are going to hear from Lewandowski
 2          herself, you are going to hear from her son Jordan as
 3          well as a couple other witnesses, including Juanita
 4          Carr, the detective in the car with Lewandowski, and no
 5          one will say that she was on her way to intervene in the
 6          traffic stop that her son was involved in.
 7                            The other scenario is also nonsense, but
 8          for a different reason. You will hear testimony and
 9          Lewandowski will say that she was on her way to District
10          5. Through counsel, another officer by the name of
11          Melanie Beasley. Now, you won't hear from Detective --
12          then-Officer Beasley, but we have some stipulated
13          testimony, so you will read about a statement that she
14          made. Lewandowski was having some trouble completing
15          some police reports and she asked for -- I'm sorry.
16          Beasley was having some trouble completing some police
17          reports and she asked for Lewandowski's assistance,
18          which I think is a pretty fair use of police resources;
19          aiding another officer. And she was having a personal
20          problem with another member of the police department
21          who, at best, was engaging in some harassing and
22          stalking behavior. At worst, sexual assault. And
23          Lewandowski's aim -- one of her aims was to counsel
24          that Officer, now Detective Beasley about what should
25          be done. You will hear about how, as a result of the

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                                                                           10
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 11 of 501 Document 80-5
 1          accident, Ms. Lewandowski still has some lingering
 2          health issues. She was unconscious for a period of
 3          time in the car. She was pulled out of the car and any
 4          statement that she made shortly thereafter, I think the
 5          evidence will be pretty clear that she had no idea what
 6          she was saying, at least then and there.
 7                            So at the end of all of this, the
 8          investigation into Lewandowski's conduct commenced and
 9          I will see that it was pretty sloppily done. It was
10          sloppy for a couple reasons. Number one, a number of
11          the key witnesses weren't interviewed until four, five,
12          six, sometimes seven months after this accident took
13          place. That is a lot of time to pass. People's
14          memories fade. They don't recall exactly what happened,
15          so it is not the most reliable recollection of what
16          occurred. There were only a handful of witnesses that
17          were interviewed at the scene of the accident. None of
18          them by Internal Affairs. If you are going to conduct
19          an Internal Affairs investigation which is ultimately
20          going to result in the loss of a detective's job, the
21          investigation must be better.
22                            So at the end of this case, I am
23          confident that we will be able to show you that there
24          were no rule violations committed by Ms. Lewandowski and
25          that termination of her and other penalties associated

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                                                                           11
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 12 of 501 Document 80-5
 1          with these alleged rule violations were in error. Thank
 2          you.
 3                            MS. WILSON:            You said somebody
 4          knew they had bad brakes. Was it --
 5                            MR. MC GAVER:          The driver of the --
 6          the drunk driver.
 7                            MS. WILSON:            Okay.
 8                            MR. KONRAD:            Mr. Pederson, you may
 9          call your first witness.
10                            MR. PEDERSON:          The chief would call
11          Sergeant Cody Smith.
12                            CODY SMITH, having been first duly sworn
13          on oath to tell the truth, the whole truth, and nothing
14          but the truth testified as follows:
15                            MR. KONRAD:            The witness is sworn.
16          DIRECT EXAMINATION BY MR. PEDERSON:
17     Q    Please state your name and spell your name for the
18          record.
19     A    Cody. C-o-d-y. Last name is Smith. S-m-i-t-h.
20     Q    Mr. Smith, how are you employed?
21     A    I am a late shift sergeant with the Village of Shorewood
22          Police Department.
23     Q    How long have you had that position?
24     A    I have been a sergeant since March of 2015.
25     Q    Were you on duty January 1, 2015?

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                                                                           12
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 13 of 501 Document 80-5
 1     A    I was.
 2     Q    What time did you start your shift that day?
 3     A    I believe it was 10:45 p.m.
 4     Q    That would have been the day before on the 18th, I
 5          assume?
 6     A    Yes.
 7     Q    Were you on duty at approximately 2:00 a.m.?
 8     A    I was.
 9     Q    Do you recall receiving a call for service at around
10          that time?
11     A    I do.
12     Q    Can you please indicate what that call was?
13     A    A disturbance in the 3500 block of North Maryland
14          Avenue.
15     Q    What did you do when you received that call?
16     A    I responded to the 3500 block of Maryland.
17     Q    What happened when you arrived there?
18     A    I observed a vehicle leaving the scene of a house
19          that I believe the disturbance was coming from.
20     Q    What did you do next upon making that observation?
21     A    Conducted a field interview on that vehicle.
22     Q    I presume that you first had to stop the vehicle.
23          Is that right?
24     A    Correct.
25     Q    Was there any issues with stopping the vehicle?

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                                                                           13
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 14 of 501 Document 80-5
 1     A    No.
 2     Q    How far did the vehicle get from the point where you
 3          first saw it until you stopped it?
 4     A    I don't remember.
 5     Q    Was it very far at all?
 6     A    No. It was still in the 3500 block of Maryland.
 7     Q    Thank you. What happened after you actually conducted
 8          the stop?
 9     A    I made a driver's side approach on that vehicle.
10     Q    Did you identify the driver?
11     A    I did.
12     Q    Who was the driver?
13     A    Jordan Lewandowski.
14     Q    Was there anyone else in the car?
15     A    No.
16     Q    After you identified him, what happened next?
17     A    He had a business card that he made me aware of.
18     Q    How did he make you aware of it?
19     A    I don't remember if he showed it to me or if it was on
20          his lap, but I remember seeing specifically a gold
21          colored badge business card with a name on it for
22          "Detective".
23     Q    Did he give you that or just show it to you?
24     A    I don't remember if he handed it to me or showed it to
25          me.

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                                                                           14
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 15 of 501 Document 80-5
 1     Q    Did you see the card?
 2     A    Yes.
 3     Q    Did you read the card?
 4     A    I did.
 5     Q    What did the card say?
 6     A    Detective Shannon Lewandowski, Milwaukee Police
 7          Department.
 8     Q    Did he say anything in connection with that card?
 9     A    That his mom was on the way.
10     Q    What did you understand that to mean?
11     A    That she was going to be arriving at our traffic stop.
12     Q    Did you ask him any questions as to why she was coming
13          or anything?
14     A    Not that I can recall.
15     Q    Is there a reason why you didn't ask him why his mom was
16          on the way?
17     A    I was going to grab his ID and continue on with my
18          business.
19     Q    What was your thought processes related to the
20          possibility of a Milwaukee police detective coming to
21          the scene? How was that going to affect anything in
22          your mind?
23     A    That is the first time I had ever experienced anything
24          like that, so I was kind of working my way through it.
25          I went back to my squad car and ran the ID that was

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                                                                           15
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 16 of 501 Document 80-5
 1          provided to me.
 2     Q    When you had this contact with Jordan Lewandowski,
 3          did you make any observations that related to your
 4          investigation or created any other concerns?
 5     A    I did observe an odor of intoxicants coming from inside
 6          the vehicle.
 7     Q    Why was that an issue?
 8     A    For one, the vehicle was operated and two, Jordan
 9          Lewandowski was 19 years old.
10     Q    I believe you already testified that after you got his
11          information, you went back to your squad car. Is that
12          right?
13     A    Yes.
14     Q    What happened then?
15     A    I am not sure when, but another officer arrived on the
16          scene, Officer Michael Kerr.
17     Q    Is this a Milwaukee officer or Shorewood?
18     A    Shorewood officer.
19     Q    I'd like to backtrack a little bit. Upon your first
20          contact with him, was he ever on his phone or anything
21          like that?
22     A    Not that I can recall.
23     Q    Do you have an approximate time of the actual stop of
24          the vehicle contact?
25     A    No.

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                                                                           16
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 17 of 501 Document 80-5
 1     Q    Are you able to give us some indication of how long it
 2          took from the 2:00 a.m. hour? I believe we -- around
 3          2:00 a.m. that you received the call for service?
 4     A    Yes.
 5     Q    How long after that? Are you able to approximate at
 6          all?
 7     A    I'd just be guessing.
 8     Q    How far did you have to travel from the point that you
 9          received the call till you got to the scene?
10     A    Shorewood is very small, so I would say less than five
11          minutes.
12     Q    Okay. Let's go forward now to where the other officer
13          arrived at the scene. What happens next?
14     A    I make a second approach on the vehicle that was
15          stopped.
16     Q    What is your intent at that point?
17     A    I established field sobriety tests on Jordan
18          Lewandowski.
19     Q    What happened next?
20     A    After the field sobriety tests, I had Jordan conduct
21          a preliminary breath test.
22     Q    What is a "preliminary breath test"?
23     A    It is a device that you use on the street to get
24          somebody's breath alcohol concentration.
25     Q    Did you actually have him perform that test?

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                                                                           17
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 18 of 501 Document 80-5
 1     A    Yes.
 2     Q    What was the result of that test?
 3     A    0.09 BRAC.
 4     Q    What is "BRAC"?
 5     A    Breath alcohol concentration.
 6     Q    So what did that indicate to you?
 7     A    Exactly that. A 19-year-old kid is a .09 and operating
 8          a motor vehicle.
 9     Q    What happened next?
10     A    I believe Jordan's phone rang. He answered the phone
11          and stated that his mom had been in a car accident.
12     Q    After that?
13     A    It was brought to my attention that somebody from the
14          Milwaukee Police Department was going to be coming to
15          pick up Jordan.
16     Q    How did you become aware of that?
17     A    I don't remember if I talked to somebody on the phone or
18          if he had mentioned it to me.
19     Q    If you talked to somebody on the phone, would it have
20          been what phone?
21     A    His phone.
22     Q    Do you know who it was that that information came from?
23     A    I don't know.
24     Q    What was -- what was your understanding what was going
25          to happen when somebody picked him up?

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                                                                           18
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 19 of 501 Document 80-5
 1     A    That they were going to take him to the hospital to see
 2          his mom.
 3     Q    Did you have an understanding of who was going to pick
 4          him up?
 5     A    I don't.
 6     Q    Did you have an understanding whether it was going to
 7          be Milwaukee Police Department officers or a private
 8          citizen?
 9     A    That was my understanding, that somebody from the
10          Milwaukee Police Department was coming.
11     Q    What did you do at that time?
12     A    I don't remember what happened next. I don't remember.
13     Q    Going back to the point where he indicated that his mom
14          was on the way, is there any doubt in your mind, because
15          I understand you have had some trouble recalling, is
16          there any doubt in your mind at all that he indicated
17          that his mother was on the way to the scene?
18     A    No doubt.
19     Q    Is there any other source of that information than
20          Jordan Lewandowski?
21     A    No.
22     Q    You testified -- I believe you testified already that
23          you had decided that you were going to allow him to
24          leave the scene. Is that right?
25     A    Correct.

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                                                                           19
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 20 of 501 Document 80-5
 1     Q    What did you base that decision on?
 2     A    That his mother had just been involved in a serious
 3          car accident and was on her way to the hospital.
 4     Q    That was just a discretionary call on your part, fair to
 5          say?
 6     A    Yes.
 7                            MR. PEDERSON:          That is all I have
 8          for this witness on direct.
 9                            MR. KONRAD:            Commissioners with
10          any questions?
11                            MS. WILSON:            What is the process
12          for any officer that gets hurt on duty to notify the
13          family? Does another officer do it? Take them to the
14          hospital? What is the process?
15                            MR. PEDERSON:          Who are you asking?
16                            MS. WILSON:            What is the process?
17          I am sorry. If an officer gets hurt on duty, what is
18          the process of notifying the family or getting the
19          family to where the officer is, or is there a process?
20                            MR. KONRAD:            I think that is an
21          excellent question. I don't think this witness can
22          testify as to what the Milwaukee police process is.
23          However, counsel perhaps can take note of that and
24          answer the question with the appropriate witness.
25                            MR. PEDERSON:          At a future time?

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                                                                           20
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 21 of 501 Document 80-5
 1                            MR. KONRAD:            In the course of this
 2          hearing.
 3                            MR. PEDERSON:          I will be happy to
 4          address that with an appropriate witness, Commissioner.
 5                            MS. HEIN:              From the time you got
 6          your initial phone call for service till the time Jordan
 7          indicated that his -- he got the phone call indicating
 8          his mother was in an accident, can you give me an
 9          approximate amount of time that elapsed?
10                            THE WITNESS:           Any approximation
11          would be simply a guess.
12                            MS. HEIN:              You said it took less
13          than five minutes to get there. So, I guess, I am
14          looking for a -- Would it take a half hour from the
15          time you got there till he got that phone call?
16                            THE WITNESS:          No.
17                            MS. HEIN:             A matter of, like,
18          maybe five or ten minutes? Even an approximate would
19          be helpful.
20                            THE WITNESS:           Just based on
21          standard field sobriety tests and how long those take
22          and just a straightforward traffic stop where nothing
23          else is going on, I would say the field sobriety tests
24          take somewhere around seven to nine minutes. For me to
25          get to the location was five minutes. I would say

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                                                                           21
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 22 of 501 Document 80-5
 1          between 15 and 20 minutes would be the entirety of this
 2          whole thing.
 3                            MS. HEIN:              Thank you.
 4                            MS. MC KENZIE:         You stopped the car.
 5                            THE WITNESS:           Yes.
 6                            MS. MC KENZIE:         You approached the
 7          driver.
 8                            THE WITNESS:          Yes.
 9                            MS. MC KENZIE:        The driver was in the
10          car with the card either on his lap or in his hand to
11          show or give to you.
12                            THE WITNESS:          I don't know if his
13          intention was to give it to me or for me to see it.
14                            MS. MC KENZIE:        But you saw a card.
15                            THE WITNESS:          Yes.
16                            MS. MC KENZIE:        The driver said to
17          you, "my mom is coming."
18                            THE WITNESS:          Yes.
19                            MS. MC KENZIE:        So after that, you
20          still continued to do your job, which is the field
21          sobriety tests. Is that correct?
22                            THE WITNESS:          Yes.
23                            MS. MC KENZIE:        At what point did the
24          phone interaction happen where you on the phone with
25          someone? Before or after the sobriety test?

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                                                                            22
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 23 of 501 Document 80-5
 1                            THE WITNESS:           It was after the PBT,
 2          the breath test.
 3                            MS. MC KENZIE:        After the breath
 4          test -- I'm sorry. Do you also have a person come out
 5          of the car and walk and do those types of things?
 6                            THE WITNESS:          Yes.
 7                            MS. MC KENZIE:        You engage the driver
 8          that way.
 9                            THE WITNESS:          Yes.
10                            MS. MC KENZIE:        So after that is when
11          you received the call.
12                            THE WITNESS:          Yes.
13                            MS. MC KENZIE:        And, then, just so I
14          am clear, after you received the call, you let the
15          driver go.
16                            THE WITNESS:          Yes.
17                            MS. MC KENZIE:        In the car. So he
18          drove away.
19                            THE WITNESS:          He didn't drive away.
20                            MS. MC KENZIE:        How did you let him
21          go?
22                            THE WITNESS:          I don't recall. All I
23          know is I wasn't going to let a 19-year-old kid drive
24          a vehicle who is over the legal limit.
25                            MS. MC KENZIE:         Was there someone who

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                                                                            23
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 24 of 501 Document 80-5
 1          came at the time to pick him up? Do you recall that.
 2                            THE WITNESS:           I don't recall that.
 3                            MS. MC KENZIE:         Okay.
 4                            MR. KONRAD:            Cross?
 5          CROSS-EXAMINATION BY MR. MC GAVER:
 6     Q    Sergeant Smith, remind everybody here when you were
 7          promoted to sergeant.
 8     A    March of 2015.
 9     Q    So that was after this incident. Correct?
10     A    Yes.
11     Q    You were a patrol officer at the time?
12     A    Yes.
13     Q    Have you ever met Shannon Lewandowski?
14     A    No.
15     Q    Have you ever spoken to Shannon Lewandowski either in
16          person or on the phone?
17     A    No.
18     Q    Isn't it true that you were called to this scene and
19          your interaction with Jordan Lewandowski was because of
20          a noise complaint?
21     A    Yes.
22     Q    Isn't it true that there was nothing in the initial CAD
23          report or any information that you initially received
24          involving a car that caused you to report to that scene.
25          Correct?

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                                                                           24
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 25 of 501 Document 80-5
 1     A    Not that I can remember.
 2     Q    As far as you know, there was no car involved when --
 3          Strike that. Your understanding, approaching the scene
 4          of Jordan Lewandowski, your understanding was that there
 5          was no car involved. Is that fair?
 6     A    That is not fair.
 7     Q    What is not fair about it?
 8     A    The vehicle is leaving the area where a noise complaint
 9          was called in.
10     Q    But that is not the reason you were initially dispatched
11          there. Correct?
12     A    A noise complaint. Correct.
13     Q    At some point, your testimony was a little unclear.
14          You got ahold of Jordan Lewandowski's phone. Is that
15          true?
16     A    Not that I can recall.
17     Q    Whose phone did you speak to a representative of the
18          Milwaukee Police Department on?
19     A    I don't remember if I spoke to somebody on the phone or
20          Jordan told me his mom was in an accident. I can't
21          remember.
22     Q    Jordan did tell you his mother was on the way. Correct?
23     A    Correct.
24     Q    Do you remember the exact words he used?
25     A    I don't.

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                                                                           25
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 26 of 501 Document 80-5
 1     Q    Is there a squad dash cam in the vehicle you were
 2          driving?
 3     A    There is.
 4     Q    Were you able to consult that footage?
 5     A    I was not.
 6     Q    Why not?
 7     A    We have had the squad video crash multiple times since
 8          then.
 9     Q    Even though footage may have been taken at the time, it
10          was not available?
11     A    It has never been available for me to view.
12     Q    When were you first interviewed about this incident?
13     A    I don't recall.
14     Q    If I told you it was -- we'll call it several months --
15          How about June 12, 2015? Would you quarrel with me?
16     A    I don't remember what day it was.
17     Q    But you wouldn't dispute that.
18     A    I wouldn't dispute it.
19     Q    If Detective Lewandowski had shown up to the scene,
20          would it have impacted or changed anything that you
21          would have done with Jordan Lewandowski?
22     A    It never happened, so I can't answer that question.
23     Q    I think you might have testified to this, but I am not
24          sure. Has another officer ever intervened in a traffic
25          stop that you were conducting?

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                                                                           26
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 27 of 501 Document 80-5
 1     A    No.
 2     Q    At the end of all of this, did anybody remain on scene
 3          with Jordan Lewandowski?
 4     A    Not that I can recall.
 5     Q    Is that because no representative of the Shorewood
 6          Police Department was present with Jordan Lewandowski
 7          when you left?
 8     A    Not that I can remember.
 9     Q    So your testimony today is that you took the word of a
10          19-year-old who was on the phone with somebody and told
11          you that his mother was in a car accident and that got
12          him off the hook for a potential OWI charge. Is that
13          true?
14     A    That is not what I am testifying to.
15     Q    What is wrong with that statement?
16     A    You are accusing me of doing something when I am not the
17          one that is here on trial.
18     Q    I just asked you what you did.
19     A    I didn't have a chance to do what I was going to do
20          because that was obviously derailed by some other set of
21          circumstances.
22     Q    But the cause of that was a phone call that Jordan took
23          and you don't know whether you even spoke to the person
24          on the other end of the phone?
25     A    Correct. I don't recall if I spoke to them or not.

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                                                                           27
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 28 of 501 Document 80-5
 1     Q    You don't know whether that person was a Milwaukee
 2          police officer?
 3     A    Correct.
 4     Q    Did you generate a police report as a result of this
 5          incident?
 6     A    No.
 7     Q    Did you write anything down in your memo book?
 8     A    Not that I can remember.
 9     Q    Did you bring your memo book here today?
10     A    No.
11     Q    Once Jordan Lewandowski left your custody, I will call
12          it "custody" because it is the easiest word to use,
13          although I don't think he was in formal custody. True?
14     A    True.
15     Q    We'll change the word, then. After Jordan Lewandowski
16          left your presence, you don't know what happened to him.
17     A    Correct.
18     Q    And you don't know whether anybody from Milwaukee police
19          came to pick him up.
20     A    Correct.
21     Q    You don't know whether his mother ever reported to the
22          scene.
23     A    Correct.
24     Q    Or if he got in the car and drove away.
25     A    I don't know.

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                                                                           28
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 29 of 501 Document 80-5
 1                            MR. MC GAVER:          Nothing further.
 2          Thank you.
 3                            MR. PEDERSON:          I have no redirect.
 4                            MR. KONRAD:            Thank you.
 5          (Witness excused)
 6                            MR. PEDERSON:          The chief next calls
 7          Lieutenant Hanley.
 8                            SEAN HANLEY, having been first duly sworn
 9          on oath to tell the truth, the whole truth, and nothing
10          but the truth testified as follows:
11          DIRECT EXAMINATION BY MR. PEDERSON:
12     Q    Could you please state your name for the record and
13          spell your name?
14     A    Sean Hanley. H-a-n-l-e-y.
15     Q    How are you employed?
16     A    Lieutenant with the Milwaukee Police Department.
17     Q    How long have you been with the police department?
18     A    20 years.
19     Q    How long have you been a lieutenant?
20     A    Since February of 2013.
21     Q    To your recollection, were you working on the evening
22          of January 18/morning of January 19, 2015?
23     A    Yes, I was.
24     Q    What were you doing that day?
25     A    I was a lieutenant in CIB for Central.

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                                                                           29
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 30 of 501 Document 80-5
 1     Q    What was your job in that capacity?
 2     A    Central covers -- at that time, covered Districts 3 and
 3          5. It was my job to supervise detectives and crime
 4          scenes that occurred in that area.
 5     Q    Was there a call that evening related to a person who
 6          was shot?
 7     A    Yes.
 8     Q    Could you please provide some facts related to that
 9          incident?
10     A    A person showed up at St. Joseph's Hospital shot through
11          the hand -- he had a holster, but didn't have a gun with
12          him -- stating that he accidentally had shot himself
13          while trying to help a female that was being chased on
14          17 and North.
15     Q    Was this incident responded to or addressed or
16          investigate in any way by Milwaukee police personnel?
17     A    Yes.
18     Q    Why?
19     A    We investigate all shootings in the city.
20     Q    Were you involved in that investigation in any capacity?
21     A    Yes.
22     Q    How so?
23     A    I responded to the hospital because at the time he
24          showed up at the hospital, we didn't have a scene, we
25          didn't know where the incident occurred.

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                                                                           30
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 31 of 501 Document 80-5
 1     Q    What happened next as a part of that investigation?
 2     A    His statement of how he shot himself was very question-
 3          able and the fact that he no longer possesses his gun,
 4          which he has a holster for, two magazines for, is also
 5          very suspicious and we believe that the circumstances
 6          he is giving us are not truthful at that point.
 7     Q    So what is the safety or police concern?
 8     A    The police concern is one, he shot himself, so he had
 9          his gun in his hand brandishing it. Two, if he is being
10          untruthful, that is a crime. It is a crime to shoot a
11          gun in the city unless you fall under -- the district
12          attorney rules it self-defense or something like that,
13          but just on the outside, you can't shoot a gun in the
14          city.
15     Q    All right. Was there any other police concerns related
16          to that?
17     A    We wanted to recover the gun. He is a permit holder,
18          the gun was just used in an incident, so we would like
19          to recover the gun as evidence of that.
20     Q    Did you have any facts to know for certain that the
21          story he was providing was the whole truth and there
22          was nothing more to it?
23     A    He became -- He couldn't explain where his gun was.
24          He had a holster, he had two magazines and he couldn't
25          explain the whereabouts of his gun, although he said he

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                                                                           31
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 32 of 501 Document 80-5
 1          drove straight from the shooting incident to the
 2          hospital.
 3     Q    So what did you decide needed to happen next in this
 4          investigation at that time?
 5     A    I directed Detective Juanita Carr to go to his house and
 6          do a "knock and talk" to try to get a consent search to
 7          try to locate his gun before he was released from the
 8          hospital.
 9     Q    I think you might have said -- Juanita Carr is a
10          detective. Is that right?
11     A    Yes.
12     Q    Where were you when you gave this directive to Detective
13          Carr?
14     A    District 3.
15     Q    Where was Detective Carr?
16     A    At District 3.
17     Q    Face to face?
18     A    Yes.
19     Q    Do you have an approximate time that you gave her this
20          task?
21     A    Probably between 12:30 and 1:00 a.m.
22     Q    Again, I believe it is in the record, but I want to make
23          sure it is clear. What was the assignment specifically
24          given to her?
25     A    To go directly to the house, which was close to St.

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                                                                           32
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 33 of 501 Document 80-5
 1          Joe's -- it is 2765 North 52nd Street -- and to try to
 2          obtain consent from this person's girlfriend to search
 3          the house for the gun before he is discharged from the
 4          hospital.
 5     Q    So was this time-sensitive?
 6     A    Yes.
 7     Q    Why was it -- why in your mind was it a time-sensitive
 8          issue?
 9     A    Because this type of gunshot injury, many times, results
10          in a very quick release from the hospital and I wanted
11          to -- We might have a higher chance of compliance if he
12          is not -- has not returned home yet.
13     Q    I believe you gave the address, but I am not sure it was
14          clear to me. Can you provide the address of the house
15          again?
16     A    2765 North 52nd.
17     Q    Are you familiar with District 3?
18     A    Yes.
19     Q    Are you familiar with how long it might take to drive
20          from District 3 to this address you just provided?
21     A    Yes.
22     Q    How long would it take, approximately?
23     A    Five minutes or less.
24     Q    When you gave Detective Carr this assignment, did you
25          let her know that you wanted it done quickly?

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                                                                           33
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 34 of 501 Document 80-5
 1     A    Yes.
 2     Q    To your knowledge, what happened next?
 3     A    What I discovered later or what I assumed?
 4     Q    What is the next thing you know personally?
 5     A    The next thing personally is I reported back to District
 6          5.
 7     Q    Was that immediately after giving Detective Carr the
 8          instruction or sometime after that?
 9     A    It was immediately after giving it to her.
10     Q    What happened after you arrived at District 5?
11     A    I become aware there was a traffic accident involving
12          two detectives on 35th and North.
13     Q    Do you have an approximate time for that?
14     A    The accident was initiated at 2:17 a.m. I wasn't
15          notified immediately. I was probably notified within
16          five minutes -- five to ten minutes.
17     Q    What did you do when you received that information?
18     A    I immediately went to my squad and started responding
19          to 35th and North.
20     Q    Why did you do that?
21     A    Well, one, it is in Central, but two, it is after mid-
22          night and in the geographic divisions we had at the
23          time, that would be -- I would be the only lieutenant
24          working in the regular section of the investigative
25          bureau after midnight. It would be my responsibility

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                                                                           34
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 35 of 501 Document 80-5
 1          to respond to that, no matter where I am.
 2     Q    What would be your function once you responded to the
 3          scene?
 4     A    To supervise a fair and impartial investigation of the
 5          scene and to check on the welfare of the injured
 6          parties.
 7     Q    What type of investigation?
 8     A    Traffic accident.
 9     Q    You don't respond to every traffic accident.
10     A    No.
11     Q    So why was it required for a supervisor to be at this
12          traffic accident?
13     A    For standard SOPs, supervisors have to respond to every
14          traffic accident involving a duty member.
15     Q    Did you know who was involved in the accident?
16     A    No, I didn't.
17     Q    When did you discover that?
18     A    When I arrived on scene.
19     Q    When did you arrive on the scene?
20     A    2:32 a.m.
21     Q    What happened when you arrived on the scene?
22     A    I was approached by Sergeant Wade Grubich who told me
23          who was involved in the accident and witness statements
24          pertaining to the direction of travel of the vehicles.
25     Q    Who was involved in the accident?

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                                                                           35
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 36 of 501 Document 80-5
 1     A    A citizen, Debrielle Johnson, and the two detectives,
 2          Shannon Lewandowski and Juanita Carr.
 3     Q    What information were you provided at that time and
 4          in conjunction with your observation did you come to
 5          understand what happened?
 6     A    Sergeant Grubich told me there were witnesses stating
 7          that the squad car was traveling eastbound on West North
 8          Avenue going through an intersection which had a green
 9          light and that a Mitsubishi was traveling northbound on
10          north 35th Street and disregarded a red light causing
11          the squad car to hit the Mitsubishi.
12     Q    So based on those preliminary facts, it is your under-
13          standing the squad car was not at fault and that the
14          citizen-driven vehicle was at fault?
15     A    Yes.
16     Q    Were you given any information or make any observations
17          consistent with whether the squad car was being operated
18          as an emergency vehicle at the time of the accident?
19     A    Yes.
20     Q    What did you see or observe or learn regarding that?
21     A    Sergeant Adam Riley told me that Detective Lewandowski
22          had been making a statement that she was going to UWM
23          because her son had been stopped in a traffic accident
24          and he told me that she was operating with her lights
25          on, activated.

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                               sueT@wi.rr.com
                                                                           36
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 37 of 501 Document 80-5
 1     Q    Was that of concern to you when you were provided that
 2          information?
 3     A    Originally, he said the lights on, yes. That was a
 4          concern because we are limited in the capacity that we
 5          can use our emergency lights. So I asked him if he knew
 6          of any call that would require emergency lights. He
 7          said no. Then reporting to the area of UW-Milwaukee,
 8          her son was stopped by the police was a concern.
 9     Q    You said you are limited in how you can use your
10          emergency lights. Can you please expand on that?
11     A    State statute and SOP give very direct criteria for
12          us to use our emergency lights, being responding to
13          emergency situations, exigent circumstances or in
14          pursuit of a vehicle or making a traffic stop, you can
15          use your lights for an escort, but you can't use them to
16          report to a non-emergency situation.
17     Q    What about the distinction of having just lights and
18          no siren? Does that make a difference?
19     A    Yes. There is very few situations where you can use
20          just your emergency lights without your sirens acti-
21          vated. That being, you can for an escort, like an over-
22          sized load or something. You can on what is -- what we
23          call a "silent run". It relates to getting to a scene
24          of a felony where the sound of the sirens may cause harm
25          to the victim, may cause evidence to be destroyed, may

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                                                                           37
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 38 of 501 Document 80-5
 1          cause the perpetrator to flee. In those cases, you can
 2          use your lights without your siren, but you can't dis-
 3          regard a red light. Those are only felony cases.
 4     Q    So you said that was a concern you had related to the
 5          emergency lights. What about the information you were
 6          provided regarding she may have been on her way to UWM
 7          or something -- something regarding her son?
 8     A    That is a concern.
 9     Q    Why was that?
10     A    We are not allowed by SOP to interfere with the investi-
11          gation of other departments. Plus, they were on an
12          assignment. I was not notified they were not responding
13          to the assignment, which is required.
14     Q    In your role as the supervisor at the scene, did you
15          make any decision at that time regarding how the acci-
16          dent investigation should proceed based on the informa-
17          tion you received?
18     A    Yes.
19     Q    What decision did you make?
20     A    I called two detectives to the scene to do detailed
21          citizen interviews.
22     Q    Anything else?
23     A    I notified acting Captain Johnny Sgrignuoli just due
24          to the injuries, which is standard. The whole protocol
25          when a squad accident, you know, they are taken to the

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                                                                           38
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 39 of 501 Document 80-5
 1          hospital, I am going to need to bring support to the
 2          hospital, do comp reports. I mean, there is a whole
 3          process.
 4     Q    Is it your job to oversee to make sure that all of that
 5          takes place properly?
 6     A    Yes. It is my job on the scene to make sure it is done
 7          properly and to ensure a fair and unbiased investigation
 8          to all parties involved.
 9     Q    Including officers?
10     A    Including officers.
11     Q    Speaking of officers, did you check in on the two
12          detectives?
13     A    Yes.
14     Q    What observations did you make about them?
15     A    Originally, I talked to both of them on the scene
16          briefly. They were being treated medically. Later,
17          I went to the hospital, to Froedtert.
18     Q    Is it your -- Do you have any specific task as it
19          relates to conducting interviews?
20     A    Yes.
21     Q    What is your role as the supervisor as it relates to
22          interviews?
23     A    My role as a supervisor is I am responsible for inter-
24          viewing the department members and I have three days
25          from the time of the incident to complete my accident

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                                                                           39
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 40 of 501 Document 80-5
 1          report per SOP. I have to start it the night of the
 2          accident and have it completed within three days.
 3     Q    You said you spoke to them on the scene. What did you
 4          speak to them about?
 5     A    I asked them if they were all right, if they need any-
 6          thing.
 7     Q    Were you looking to conduct the interview that you
 8          needed to conduct at that time?
 9     A    No. They were receiving medical treatment.
10     Q    I believe you already testified that they were trans-
11          ferred to a medical facility. Is that correct?
12     A    To Froedtert.
13     Q    What happened after they were transported?
14     A    What do you mean? I stayed on the scene for a while to
15          oversee the investigation, I had detectives respond to
16          there to do the citizen witnesses. Some citizens were
17          Good Samaritans. They helped pull the detectives out of
18          the car and get them to safety. They thought the car
19          was going to go up in flames. Then I reported to
20          District 5 to get some necessary paperwork because I
21          have to turn them over to the doctors. It is preferable
22          we give them our department medical form so they can
23          fill them out and, then, report to Froedtert.
24     Q    How about the gun search assignment that you gave to
25          Detective Carr? Did you get any information regarding

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                                                                           40
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 41 of 501 Document 80-5
 1          whether that was done at that time or not?
 2                            MR. MC GAVER:          I will object.
 3          The question is vague. What time are we talking about?
 4                            MR. PEDERSON:          I can limit it to the
 5          time when he is at the scene.
 6                            MR. MC GAVER:          Thank you.
 7                            MR. KONRAD:            You may proceed.
 8          Answer the question.
 9     A    At the scene, I didn't know it had not been done, no.
10     Q    Was there a time that came that you discovered it had
11          not been done yet?
12     A    Yes.
13     Q    When did you first discover that?
14     A    At the hospital. I don't remember if it was at the
15          hospital or when Detective Lewandowski called me when
16          I first realized it had not been done.
17     Q    Are you aware of when -- if the search was ever done?
18     A    I am not aware that it was ever done, no.
19     Q    Do you know definitively if it was done by Detective
20          Carr and Detective Lewandowski at any time?
21     A    It was not.
22     Q    So after you are at District 5, what happens next after
23          you left the scene?
24     A    I reported to District 5 to pick up the necessary paper-
25          work. Then I reported to Froedtert Hospital.

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                                                                           41
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 42 of 501 Document 80-5
 1     Q    Why did you do that?
 2     A    Because there is forms that we have to give the medical
 3          personnel that they fill out regarding when they come
 4          back to work, if they come back, are they going to be
 5          limited duty. Department forms.
 6     Q    Do you know what time you arrived at the hospital?
 7     A    At, I believe, 5:21 p.m. I went out -- I go in at 4:51.
 8          I ran into some construction and arrived on scene at
 9          5:20.
10     Q    What did you do when you arrived at the hospital?
11     A    I entered the hospital and located first Detective
12          Lewandowski.
13     Q    What happened when you located her?
14     A    I talked to her.
15     Q    What did you talk to her about?
16     A    I asked her if she was all right, explained to her the
17          process of "injured on duty." I told her I will talk to
18          her at a later time regarding her accident.
19     Q    Did you make any observations regarding her physical
20          condition?
21     A    Her right foot, I believe, seemed hurt. Other than
22          that, she seemed in fairly good spirits. She was
23          walking on her foot that seemed hurt -- one of her feet.
24          I believe it was her right foot.
25     Q    How much time did you spend with her?

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                                                                           42
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 43 of 501 Document 80-5
 1     A    I was at the hospital till 6:22. That included time
 2          with Detective Lewandowski and time with Detective Carr
 3          and talking to medical staff.
 4     Q    Are you able to approximate how much of that approximate
 5          hour or so you spent with -- in the company of Detective
 6          Lewandowski?
 7     A    Probably 20 minutes.
 8     Q    During that time, was she speaking? Was she awake?
 9     A    Yes.
10     Q    Did you make observations of her that indicated to
11          you that she might not be lucid or might have trouble
12          communicating, anything like that?
13     A    No. She was talking fine, she was walking.
14     Q    Was there a point where you went and visited Detective
15          Carr?
16     A    Yes.
17     Q    What happened there?
18     A    Detective Lewandowski walked me to the room Detective
19          Carr was in and she had family or friends in her room.
20          I talked to her for a little while, explained again the
21          process, asked if she was all right. I told her I would
22          talk to her at a later time regarding the accident.
23     Q    Did you make any observations of her? Was she able to
24          communicate at the time or was there any difficulty
25          regarding that?

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                                                                           43
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 44 of 501 Document 80-5
 1     A    No difficulty. She communicated fine.
 2     Q    Did you consider the possibility of interviewing either
 3          or both of the detectives at that time?
 4     A    Both had family or friends with them and they had
 5          medical staff coming in and going, so I decided at that
 6          time to not do it at that time.
 7     Q    Does that correlate with the time you left?
 8     A    Yes.
 9     Q    I believe you already testified you left the hospital
10          at approximately 6:22 a.m.?
11     A    Yes.
12     Q    So you were there approximately one hour. Is that
13          right?
14     A    Yes.
15     Q    All right. What happened when you left the hospital?
16     A    I was driving back to District 5 to start the necessary
17          reports and I received a phone call from Detective
18          Lewandowski.
19     Q    Was this your personal cell phone you received a phone
20          call on?
21     A    Yes.
22     Q    Did you know where the call came from?
23     A    No. It showed up as "restricted".
24     Q    But you answered it and it was Detective Lewandowski.
25          Is that right?

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                                                                           44
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 45 of 501 Document 80-5
 1     A    Yes.
 2     Q    Okay. And what happened when you answered the phone and
 3          spoke to her?
 4     A    She asked me if I would like to know what happened and I
 5          said yes.
 6     Q    Do you have an approximate time that she called you?
 7     A    6:38 a.m.
 8     Q    Had you told her to give you a call right away or
 9          anything like that?
10     A    No.
11     Q    Were you expecting her to call you?
12     A    No.
13     Q    Did you ask her when she called -- I want to be more
14          clear. When you spoke to her, how did that conversation
15          go? Did you ask her at that time, "hey, can I talk to
16          you", or did she offer? How did that happen?
17                            MR. MC GAVER:            I will object.
18          Compound.
19                            MR. KONRAD:              Sustained.
20          BY MR. Pederson:
21     Q    When you received the call, can you clearly state what
22          Detective Lewandowski said to you?
23     A    She said, "would you like to know what happened", words
24          to that effect.
25     Q    Did you have an understanding of what she was referring

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                                                                           45
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 46 of 501 Document 80-5
 1          to?
 2     A    She said the accident.
 3     Q    So what happened after that?
 4     A    I said yes, and I pulled over.
 5     Q    Did you take a statement from her at that time?
 6                            MS. WILSON:            You said yes and then
 7          what?
 8                            THE WITNESS:           I said, "yes, I would
 9          like to know what happened", and I pulled over.
10                            MS. WILSON:            Pulled over. Okay.
11          BY MR. Pederson:
12     Q    Did you take a statement from her at that time?
13     A    Yes, I did.
14          (A document was marked as Exhibit No. 1)
15     Q    Lieutenant, I have presented you a document marked for
16          identification as Exhibit 1. Are you familiar with that
17          document?
18     A    Yes, I am.
19     Q    What is this document?
20     A    This is the AIMS report for the accident.
21                            MR. KONRAD:            I don't have a copy
22          of number one. It says two on it.
23          (Discussion off the record)
24          BY MR. PEDERSON:
25     Q    Does this document relate to the statement that you took

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                                                                           46
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 47 of 501 Document 80-5
 1          from Detective Lewandowski?
 2     A    Yes, it does.
 3     Q    How so?
 4     A    This is my putting onto paper what was said.
 5     Q    I will direct your attention to Page 5 and Page 6 of the
 6          document. Do you see that?
 7     A    Yes.
 8     Q    What is contained on those two pages?
 9     A    My narrative of the original investigation.
10     Q    What part of the investigation does this specifically
11          relate to?
12     A    The traffic accident.
13     Q    When did you write this narrative?
14     A    January 22.
15     Q    As I look right above it, it says "Date Reported:
16          1/29/2015". Can you explain how that is?
17     A    On what page?
18     Q    I am on Page 5.
19     A    January 29 is when Michele Pagan assigned it to Tyronda
20          Williams. This time, it is completely out of my hands.
21          I don't have any contact with this report anymore.
22     Q    Is there anything on this document that relates to
23          January 22 or indicates January 22?
24     A    On Page 4, kind of the middle of the page under
25          "Assignments", it is assigned to me by me. "Assign

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                                                                           47
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 48 of 501 Document 80-5
 1          Date, 1/19/2015", which is the date of the accident,
 2          the date we open the report and do what is considered
 3          a phase, put preliminary names and stuff in it. I
 4          completed it on January 22, which I would have tracked
 5          it -- what we call "tracked it" to Johnny Sgrignuoli,
 6          who was a lieutenant, but he was the acting captain of
 7          Central at that point.
 8     Q    To someone who is not familiar with the AIMS reporting
 9          system that you are describing, this looks a little
10          confusing because you are saying that the January 22
11          date that is on Page 4, there is a lot of separation to
12          the narrative. Why is that?
13     A    That is a confusing system. There is a separate tab
14          for tracking, totally different than the narrative which
15          is on a tab called "Notes". We do the narrative. When
16          we are done with the reports, we go back to tracking,
17          put a completed date, saying, "I am done with this",
18          and I send it to the next person in the chain that needs
19          to see it.
20     Q    As you sit here today, when it comes to the narrative
21          to Pages 5 and 6, is there any doubt that you submitted
22          that on January 22?
23     A    No.
24     Q    Just another thing just to cover. On Page 4, there is
25          another smaller narrative that starts with, "Michelle,

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                                                                           48
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 49 of 501 Document 80-5
 1          I am concerned". Do you see that?
 2     A    Yes.
 3     Q    Did you write that?
 4     A    No.
 5     Q    Is it correct to say that the narrative contained on
 6          Pages 5 and 6 relates specifically to the statement that
 7          you took from Detective Lewandowski when she called you
 8          at approximately 6:38 in the morning on January 19,
 9          2015?
10     A    Yes.
11     Q    All right. Is the information that you convey in this
12          report true and accurate?
13     A    Yes.
14     Q    Did you truthfully record the statements as you under-
15          stood them as they were provided to you by Detective
16          Lewandowski?
17     A    Yes.
18     Q    In review of the document that you have in front of you,
19          does that appear to be a true and accurate copy of the
20          report that you generated back on January 22?
21     A    Yes.
22                            MR. PEDERSON:          I move this document
23          into evidence.
24                            MR. MC GAVER:          I'll object. There
25          is multiple levels of hearsay within the document which

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                                                                           49
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 50 of 501 Document 80-5
 1          really calls question to the reliability therein. For
 2          that reason, I don't believe it should be offered for
 3          the truth of the matter as asserted therein and I would
 4          object.
 5                            MR. KONRAD:            Overruled. The
 6          document is admitted.
 7          BY MR. PEDERSON:
 8     Q    Please indicate what Detective Lewandowski advised you
 9          during that phone call.
10     A    She advised me that she was teaming up with Juanita Carr
11          to go do -- to try to get the consent search and when I
12          instructed Detective Juanita Carr to get the consent
13          search, I also told her, "either have officers or
14          another detective go with you. It is a two-person
15          assignment." So she said that she was contacted by
16          Officer Melanie Beasley, who is a District 5 officer,
17          stating that she had a restraining order on a TAC
18          officer, a different TAC officer in District 5, and she
19          was concerned something might happen, so Shannon started
20          to go to District 5 to help Melanie and, then, got a
21          phone call from her son saying he was stopped in the
22          area of UWM by the police -- UWM police and she was
23          going to respond to that area first while trying to
24          figure out exactly where he was and, then, go to
25          District 5 and when all of that was done, do the consent

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                                                                           50
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 51 of 501 Document 80-5
 1          search. She also indicated she was going about 45 miles
 2          an hour eastbound and turned her lights on, but not her
 3          sirens and she was not using her vehicle as an emergency
 4          vehicle. She just wanted the cars in front of her to
 5          get out of her way and that she had handed her phone to
 6          Detective Juanita Carr because she doesn't mess with her
 7          phone while she is driving and the accident, she didn't
 8          have time to respond. The car ran a red light.
 9     Q    At that time, did she make any statements to you regard-
10          ing turning on the lights because she wanted to prevent
11          an accident with another vehicle that might pull out of
12          North Avenue or anything like that?
13     A    No.
14     Q    Again, to be clear, did she tell you why the emergency
15          lights were on?
16     A    To have cars move out of her way so she could get to the
17          area of UWM.
18     Q    As you sit here today, is there any doubt in your mind
19          whatsoever that she said she was going to the scene of
20          her son?
21     A    No doubt, no.
22     Q    Was there any confusion on that at all?
23     A    No.
24     Q    At the time that she said she was going to District 5
25          to assist Detective Melanie Beasley, did she indicate to

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                                                                           51
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 52 of 501 Document 80-5
 1          you at that time any official police business that she
 2          would be doing in relation to that?
 3     A    No.
 4     Q    Was there any other purpose that she reported to you at
 5          that time of her going to District 5 other than this
 6          support function for Officer Beasley?
 7     A    No.
 8     Q    As it relates to the search that you were talking about,
 9          is that the time you found out that the search was not
10          done? Am I correct?
11     A    Yes.
12     Q    Did you talk to her about that at all?
13     A    What do you mean? She told me she had not done it
14          because they were going to do it and, then, the other
15          things occurred.
16     Q    When she was talking to you, did she seem to have any
17          trouble communicating?
18     A    No.
19     Q    Was she lucid?
20     A    Yes.
21     Q    Was she responsive to your questions?
22     A    Yes.
23     Q    Was she hesitant or express any concern or reservation
24          about speaking to you at the time?
25     A    No.

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                                                                           52
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 53 of 501 Document 80-5
 1     Q    To any of your questions?
 2     A    No.
 3     Q    Did she make any statement at that time about the
 4          possibility of video capturing the accident?
 5     A    Yes.
 6     Q    What did she say?
 7     A    She said the Subway sub shop on 35th and North has video
 8          that probably captured the accident.
 9                            MR. PEDERSON:          That is all I have
10          for this witness.
11                            MR. MC GAVER:          Could we take a five-
12          minute break?
13                            MR. KONRAD:            Certainly. We will
14          break for five minutes.
15          (Discussion off the record)
16                            MR. KONRAD:            We are back in ses-
17          sion. Before you start your cross, there is a question
18          pending as to whether or not the police department has a
19          procedure for notifying family members when officers are
20          injured on duty and what that procedure is.
21                            So I will ask, Lieutenant, are you aware
22          of any -- do you have knowledge of any such procedure?
23                            THE WITNESS:           I don't know if there
24          is a standard operating procedure. I assume there is.
25          Typically, when we do these, we make notification

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                                                                           53
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 54 of 501 Document 80-5
 1          whenever possible in person and we offer family members
 2          rides to the hospital.
 3                            MR. KONRAD:            Thank you.
 4                            Mr. McGaver, you may proceed.
 5                            MR. MC GAVER:          I think with the
 6          first witness, we had commissioners ask questions before
 7          cross-examination. Do you want to do that again or
 8          would you prefer --
 9                            MR. KONRAD:            Do you have any
10          questions for the lieutenant?
11                            MS. HEIN:              I do. When you took
12          the report when you were in your car and you pulled
13          over, are those reports recorded or do you just take
14          notes and, then --
15                            THE WITNESS:          Take notes and, then,
16          this is the recorded report. Do you mean audio
17          recorded?
18                            MS. HEIN:              Yes.
19                            THE WITNESS:           No.
20                            MR. KONRAD:            You may proceed.
21                            MR. MC GAVER:          Thank you.
22          CROSS-EXAMINATION BY MR. MC GAVER:
23     Q    Lieutenant, as of January 19, 2015, you were then-
24          Detective Lewandowski's immediate supervisor. Correct?
25     A    Yes.

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                                                                            54
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 55 of 501 Document 80-5
 1     Q    And you were also Detective Carr's immediate supervisor
 2          at that time. Correct?
 3     A    Yes.
 4     Q    And in your capacity as Detective Carr's immediate
 5          supervisor, you personally ordered her to conduct --
 6          I will call it a "knock and talk". Is that a fair term?
 7     A    Yes.
 8     Q    That was related to a shooting earlier that evening at
 9          2765 North 52nd?
10     A    Yes.
11     Q    That was to recover -- or attempt to recover the firearm
12          involved in that incident. Correct?
13     A    Yes.
14     Q    Did you direct her to do so in person?
15     A    Yes.
16     Q    At District 3?
17     A    Yes.
18     Q    How long did that interaction last?
19     A    Probably ten minutes.
20     Q    Where within District 3 did the conversation take place?
21     A    I believe it was in -- Well, it was in the Captain's
22          office.
23     Q    Was Shannon Lewandowski present for that conversation?
24     A    No.
25     Q    Was she in the building, if you know?

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                                                                           55
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 56 of 501 Document 80-5
 1     A    I don't know.
 2     Q    Did you ever directly order Shannon Lewandowski to
 3          participate in that investigation?
 4     A    No. I told Detective Carr to take somebody with her,
 5          whether it was an officer or another detective. I never
 6          told Detective Lewandowski --
 7     Q    So you never told Lewandowski in person to participate
 8          in the investigation. Right?
 9     A    Yes.
10     Q    And you never told Detective Carr to relay to Detective
11          Lewandowski that she was to participate in that investi-
12          gation. True?
13     A    No. She was to relay the person going with her.
14          Detective Lewandowski's name never came up in that
15          conversation.
16     Q    You testified earlier that you reported to the hospital
17          to participate in the investigation of the shooting.
18          Is that true?
19     A    Yes.
20     Q    And why did you do that yourself instead of sending a
21          detective to do that?
22     A    A detective was there. As an investigative lieutenant,
23          we have to respond to every shooting. We don't always
24          respond to the hospital, but in this case, when he
25          showed up at the hospital, we didn't know where the

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                                                                           56
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 57 of 501 Document 80-5
 1          scene was, so I responded to the hospital.
 2     Q    I am going to fast-forward to the accident. We have
 3          been over that it occurred at roughly 2:17 in the
 4          morning on January 19. Right?
 5     A    Yes.
 6     Q    When, approximately, did you respond?
 7     A    I arrived on the scene at 2:32.
 8     Q    And you testified that when you arrived on the scene,
 9          you spoke with Sergeant Wade Grubich?
10     A    Yes.
11     Q    Was he the first person you talked with?
12     A    Yes.
13     Q    Sergeant Grubich told you that Lewandowski was going
14          to the UWM area because her son had been stopped by UWM
15          police. Is that what you heard from Grubich?
16     A    No.
17     Q    Did Grubich mention anything about Lewandowski heading
18          to the UWM area?
19     A    No.
20     Q    What about Sergeant Riley? Did he say anything about
21          Lewandowski headed to the UWM area?
22     A    Yes.
23     Q    Did Riley tell you where he received this information?
24     A    Yes.
25     Q    And who told Sergeant Riley about Lewandowski going to

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                                                                           57
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 58 of 501 Document 80-5
 1          UWM?
 2     A    He said officers on the scene told him that Detective
 3          Lewandowski told them and the witnesses, so he at that
 4          point -- that is what he -- he didn't specify which
 5          officers.
 6     Q    He didn't give you any names?
 7     A    No.
 8     Q    And he didn't say that that information came from
 9          Lewandowski to him. True?
10     A    Correct.
11     Q    So at that point, you don't know who Lewandowski
12          supposedly told that she was going to the UWM area at
13          that time. Right?
14     A    I don't know which officers. He also said witnesses.
15     Q    Just because I missed something here, when you were at
16          District 5 before responding to the traffic accident,
17          was Melanie Beasley present at District 5?
18     A    I don't remember seeing her.
19     Q    Do you know Melanie Beasley?
20     A    Yes.
21     Q    Do you know whether she was working at all that day?
22     A    I don't know if she was or not.
23     Q    You testified you spoke with Lewandowski once you
24          arrived on scene. What did she say to you?
25     A    I asked her if she was all right. She said, "what does

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                                                                           58
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 59 of 501 Document 80-5
 1          it look like?" She was getting medical attention. She
 2          was on a stretcher. She was concerned that her bag may
 3          have been taken.
 4     Q    So how much time did you spend with Lewandowski on the
 5          scene?
 6     A    Probably four or five minutes, but there were a lot of
 7          medical personnel tending to her, so there wasn't a lot
 8          of conversation at that time.
 9     Q    I am sorry I interrupted you. Did Lewandowski, in those
10          four or five minutes, tell you anything about what the
11          cause of the traffic accident was?
12     A    No.
13     Q    You spent some time with Detective Carr on scene, too.
14          Right?
15     A    Yes.
16     Q    How long did you spend with Detective Carr?
17     A    Maybe three minutes.
18     Q    Did Detective Carr tell you anything about how the --
19          what the cause of the accident was while you spent the
20          three or four minutes on scene with her?
21     A    No.
22     Q    Both Detective Carr and Detective Lewandowski were
23          conveyed to Froedtert in ambulances. Right?
24     A    Yes.
25     Q    Separate ambulances?

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                                                                           59
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 60 of 501 Document 80-5
 1     A    Yes.
 2     Q    Do you know who rode with Lewandowski, which members of
 3          the police department?
 4     A    No.
 5     Q    Do you know who rode with Carr?
 6     A    No.
 7     Q    You testified that you eventually made your way to
 8          Froedtert and you spoke to Detective Lewandowski.
 9          Correct?
10     A    Yes.
11     Q    We, kind of, have been over this, but I want to pin it
12          down. How much time did you spend with Detective
13          Lewandowski at the hospital?
14     A    I would estimate 20 minutes.
15     Q    Where in the hospital did you spend this time with
16          Lewandowski?
17     A    In her room and then partly, because she walked me to
18          Detective Carr's room, so partly there.
19     Q    Who was in Lewandowski's hospital room with her?
20     A    I believe one of her sons.
21     Q    Anyone else?
22     A    Not that I recall. Medical personnel was in and out.
23     Q    Was her mother there?
24     A    Maybe.
25     Q    Was her sister there?

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                               sueT@wi.rr.com
                                                                           60
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 61 of 501 Document 80-5
 1     A    I don't know.
 2     Q    Were any officers in the room with her?
 3     A    Not that I recall.
 4     Q    Were any officers waiting outside the room?
 5     A    I don't recall.
 6     Q    So your testimony is, despite the fact that Detective
 7          Lewandowski had family and friends with her, she still
 8          walked you to Detective Carr's room?
 9     A    Yes.
10     Q    I would assume, but I will just ask, did her family and
11          friends or whoever was in the room with her accompany
12          her while escorting you to Detective Carr's room?
13     A    I don't believe so, no. I wasn't paying a whole lot
14          of attention to that, so it is possible they did.
15     Q    You asked Lewandowski how she was doing? She responded
16          that her foot was injured, but she was otherwise okay.
17          True?
18     A    I don't know that she said she was "otherwise okay."
19     Q    Did you know at that point in time, visiting Shannon
20          Lewandowski in the hospital, whether she had been
21          unconscious earlier that morning?
22     A    No. I never heard that.
23     Q    You told Lewandowski that you eventually needed to speak
24          with her to complete your -- what we have referred to as
25          the AIMS report. Correct?

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                               sueT@wi.rr.com
                                                                           61
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 62 of 501 Document 80-5
 1     A    Yes.
 2     Q    And you added that you wouldn't do it there, but you'd
 3          follow up with her in a day or two. Right?
 4     A    Yes.
 5     Q    And you did follow -- Actually, she followed up later
 6          that day -- later that morning with a phone call that
 7          occurred somewhere around 6:30, 6:38 I think?
 8     A    6:38, yes.
 9     Q    After that phone call, did you participate in any more
10          interviews or conduct any more interviews of Lewandowski
11          relative to this incident?
12     A    No.
13     Q    How long did that phone call last?
14     A    I would guess five to ten minutes.
15     Q    If I told you seven minutes, would you dispute that?
16     A    No.
17     Q    I am going to eventually hand you what's been marked as
18          Exhibit 2. I will represent to you this is a report
19          prepared by Sergeant Adam Zieger. It is 22 pages in
20          length. It's dated September 9, 2015. Is anything I've
21          started untrue so far? It is an excerpt of the report.
22          Is that what it is?
23     A    Yes.
24     Q    On the bottom, it says "Page 16 of 22." Let me know
25          when you are there.

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                               sueT@wi.rr.com
                                                                           62
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 63 of 501 Document 80-5
 1     A    I am there.
 2     Q    It is the third paragraph from the bottom starting with,
 3          "Lieutenant Hanley indicated he responded." Are you
 4          with me?
 5     A    Yes.
 6     Q    Okay.
 7                      "Lieutenant Hanley indicated he responded to
 8          the hospital and spoke to both Detective Lewandowski and
 9          Detective Carr. Detective Carr was 'under medication,'
10          and did not make any statements about what happened.
11          Detective Lewandowski was also receiving treatment and
12          'under medication.' Lieutenant Hanley was unable to
13          obtain a response about what happened from Detective
14          Lewandowski."
15          Do you remember making those statements to Sergeant
16          Zieger when he interviewed you as a result of this
17          investigation?
18     A    Do I remember saying that?
19     Q    Yes.
20     A    No.
21     Q    Did I read it accurately?
22     A    I probably said it. Do I remember saying it? No.
23     Q    When the call came in about the accident initially, at
24          least some caller to the 911 system reported it as a
25          fatal accident. Do you know anything about that?

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                               sueT@wi.rr.com
                                                                           63
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 64 of 501 Document 80-5
 1     A    I know that was --
 2     Q    Is that true?
 3     A    Yes.
 4     Q    So when you reported to the scene, you were initially
 5          under the impression that somebody had died.
 6     A    I was under the impression there was a high likelihood
 7          that somebody had died, but citizens often get those
 8          wrong.
 9     Q    Talk a little bit about the phone call that you received
10          from Shannon Lewandowski at 6:38 in the morning. You
11          testified earlier that at 6:22 or thereabouts, you left
12          the hospital and, then, this phone call came in roughly
13          at 6:38. Is my timing correct?
14     A    Yes.
15     Q    And do you remember Shannon Lewandowski telling you
16          about any phone calls that she received while she was
17          on her way to wherever she was going at District 5 or
18          the UWM area?
19     A    Yes.
20     Q    What did she tell you about the first phone call she
21          received in the squad car traveling to District 5?
22     A    To clarify, she said she was contacted by Melanie
23          Beasley and that is why she was going to District 5,
24          so I don't know whether that was a phone call or a text.
25          I don't know how she was contacted. So as far as while

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                                                                           64
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 65 of 501 Document 80-5
 1          driving, I am only aware of one phone call from her son.
 2     Q    Fair point. But she did tell you that while she was in
 3          the squad car, Melanie Beasley had contacted her in some
 4          way. Correct?
 5     A    Yes.
 6     Q    Have you ever ridden in a squad car while Shannon
 7          Lewandowski is driving?
 8     A    No.
 9     Q    So you don't know anything about Shannon's -- I'll call
10          it an "internal policy" about handing her phone off to
11          the passenger while she is driving?
12     A    No.
13     Q    Then you mentioned that you are aware of a second phone
14          call that she received from her son while she was in the
15          squad en route to District 5 or UWM.
16     A    Again, to clarify, I don't know if she received a phone
17          call from Melanie as far as --
18     Q    I am talking about her son.
19     A    I am only aware of one phone call.
20     Q    Let's talk about the Melanie situation a little bit.
21          Were you aware at that point at 6:30 or so in the
22          morning on the 19th, that Shannon had previously --
23          Detective Lewandowski had previously been at District 5
24          discussing matters with Melanie Beasley earlier in her
25          shift? Did you know that?

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                                                                           65
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 66 of 501 Document 80-5
 1     A    No.
 2     Q    If Detective Lewandowski was discussing matters related
 3          to department business with then Officer, now Detective
 4          Beasley, would that be acceptable use of time as a
 5          police department member?
 6     A    You mean after the assignment or before? I am not quite
 7          clear on what --
 8     Q    I mean before. Let's say --
 9     A    If she is not on an assignment, sure.
10     Q    What about counseling Beasley relative to a personal
11          matter related to another member of the police depart-
12          ment? Would that be acceptable use of company time?
13     A    Again, it depends if you are on assignment. Officers
14          and detectives are not banned from talking to each
15          other, but if it is pulling them away from an assign-
16          ment, then, it is not appropriate. If they are not on
17          an assignment, if they have downtime, then, of course,
18          they can talk.
19     Q    You never placed Lewandowski on assignment at all that
20          morning. Correct?
21     A    Correct.
22     Q    You don't know whether she was on an assignment or not.
23          Strike that. I will withdraw that question. Did you
24          know anything about a particular officer being served
25          with a temporary restraining order against -- by Melanie

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                                                                           66
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 67 of 501 Document 80-5
 1          Beasley on the morning of January 19, 2015?
 2     A    Not till the phone call at 6:38.
 3     Q    Have you ever heard of temporary restraining orders or
 4          restraining orders being served on department members
 5          while they are at work?
 6     A    While they are at work?
 7     Q    Yes.
 8     A    Not that I have personally observed.
 9     Q    Do you know anything about a temporary restraining order
10          being served at District 5 on January 16, 2015?
11     A    No.
12     Q    Do you know anything -- did you that morning know
13          anything about Melanie Beasley's situation relative to
14          an unnamed TEU or Tactical Enforcement Unit officer?
15     A    I had been told she was seeing one. That was it.
16     Q    Did you know anything about some abuse or harassment
17          that occurred in the relationship?
18     A    No.
19     Q    You were a supervisor at District 5?
20     A    No.
21     Q    I am sorry. At CIB?
22     A    Yes.
23     Q    You are stationed out of District 5. Correct?
24     A    Yes.
25     Q    Primarily, or you were at that time?

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                                                                           67
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 68 of 501 Document 80-5
 1     A    At that time.
 2     Q    In your capacity as a supervisor, wouldn't you like to
 3          know that there was a restraining order served at
 4          District 5 against one of the members in the department?
 5     A    It sounds like maybe I should know, but really, I didn't
 6          supervise officers. I supervised detectives. So the
 7          supervisors at Five responsible for the personnel at
 8          Five, don't have any obligation to tell me there was a
 9          restraining order served.
10     Q    So you never instructed Melanie Beasley to get a
11          restraining order against this officer?
12     A    No.
13     Q    You testified some about the limits of what an officer,
14          driving a squad car, can use lights and sirens for. Do
15          you recall that testimony?
16     A    Yes.
17     Q    And if there is a traffic hazard, a car pulling out into
18          traffic -- let's just call it a traffic hazard in front
19          of an officer's squad car, would that be an acceptable
20          use of squad lights?
21     A    Yes.
22     Q    Are you familiar with the particular squad car that
23          Shannon Lewandowski was driving on the morning of
24          January 19, 2015?
25     A    I am familiar with it.

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                               sueT@wi.rr.com
                                                                           68
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 69 of 501 Document 80-5
 1     Q    Have you ever been in that car?
 2     A    No.
 3     Q    Are you familiar with vehicles equipped with the same
 4          features as that car?
 5     A    Yes.
 6     Q    Do you know how the lights and sirens operate on that
 7          particular car, or cars like it?
 8     A    We have, like, four different systems out there.
 9     Q    Do you know what system that car utilizes?
10     A    No, I don't. As far as you mean where the buttons are?
11     Q    Yes.
12     A    No.
13     Q    What are the options for where buttons could be located?
14     A    Some of them are on the dash, some of them are on the
15          console.
16     Q    The ones on the center console, do they operate on what
17          I will call a toggle switch?
18     A    Yes.
19     Q    So, for instance, the squad car equipped with lights and
20          sirens operated from the center console, what would one
21          have to do to turn the lights on?
22     A    Hit the toggle switch, which is sometimes an old-
23          fashioned metal switch, sometimes it is an electric
24          two-stage button.
25     Q    What would an officer have to do to operate the sirens

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                                                                           69
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 70 of 501 Document 80-5
 1          on a car like that?
 2     A    Usually, you hit the toggle switch to the next position.
 3     Q    If I wanted -- if I was an officer driving that car and
 4          wanted to change the sound of the siren that was being
 5          employed, how would I do that?
 6     A    Usually, you hit the horn.
 7     Q    Tap the steering wheel?
 8     A    Yes.
 9     Q    Are those squad cars equipped with horns, so to speak?
10     A    Well, they are equipped with regular horns. They are
11          also equipped with air horns. When the sirens are
12          running, if you hit the horns --
13     Q    You mean if the lights are running?
14     A    Sorry. No, if the sirens are running, if you hit the
15          horn, it changes the tone of the horn. I mean, if you
16          hit the horn, it changes the tone of the siren if the
17          siren is on, or the cadence of the siren.
18     Q    Are you now aware of what department was involved with
19          the traffic stop of Jordan Lewandowski?
20     A    Now, I am.
21     Q    You said you might have seen or you think Jordan
22          Lewandowski was with Shannon Lewandowski at the
23          hospital. Correct?
24     A    It is possible one of her sons were there. I don't
25          remember which one.

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                                                                           70
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 71 of 501 Document 80-5
 1     Q    Do you know Shannon Lewandowski's sons?
 2     A    I have met them.
 3     Q    Do you know what Jordan Lewandowski looks like?
 4     A    Yes.
 5     Q    So if he was at the hospital, you would know he was
 6          there. Right?
 7     A    Yes.
 8     Q    Was he at the hospital?
 9     A    I don't remember.
10     Q    Shannon Lewandowski told you she was traveling at 45
11          miles an hour in her telephone conversation with you the
12          morning of the 19th. Correct?
13     A    Yes.
14     Q    Do you know the speed limit going eastbound on North
15          Avenue on the corner of 35th and North Avenue?
16     A    30.
17     Q    So it is your testimony that she admitted to speeding
18          to you while she was on the phone on the morning of
19          January 19, 2015?
20     A    Yes.
21     Q    The seven-minute phone call on the 19th, that is the
22          last time you spoke with Shannon Lewandowski. Correct?
23     A    Yes.
24     Q    You never visited her at home to check up on her to
25          see how she was recovering from her injuries?

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                                                                           71
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 72 of 501 Document 80-5
 1     A    No. I sent her a detective.
 2     Q    When did you send the detective?
 3     A    A few days after that.
 4     Q    So she made no other statements to you relative to this
 5          incident. Correct?
 6     A    No.
 7     Q    When you received the phone call from Lewandowski in the
 8          early morning hours of the 19th, you said you pulled
 9          over. Right?
10     A    Yes.
11     Q    Why did you pull over?
12     A    To talk on the phone and take notes.
13     Q    You took notes?
14     A    Yes.
15     Q    What happened to the notes?
16     A    I used them to compile my report.
17     Q    Do you have them with you?
18     A    No.
19     Q    What did you do after you compiled the report with the
20          notes?
21     A    Keep the steno pad until it was used up.
22     Q    Are the notes available?
23     A    No.
24     Q    Where are they right now?
25     A    We don't retain them.

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                                                                           72
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 73 of 501 Document 80-5
 1     Q    Is that against department policy?
 2     A    No.
 3     Q    Was an accident reconstructionist used at the scene of
 4          the accident?
 5     A    No.
 6     Q    So no skid mark measurements were taken?
 7     A    I don't know if skid mark measurements were taken.
 8     Q    You don't know whether they were or not?
 9     A    I don't know if there were skid marks.
10     Q    Were any measurements taken on scene?
11     A    I don't know. District squad handled the accident.
12          We handled the interviews.
13     Q    You interviewed Detective Carr a few days after the
14          accident. Correct?
15     A    Yes.
16     Q    Where did that interview take place?
17     A    At her house.
18     Q    Did she say anything about Shannon Lewandowski going to
19          intervene at a traffic stop by UWM or any other police
20          department, in that interview with you?
21     A    No, she didn't.
22     Q    Did you ask her?
23     A    No.
24     Q    She didn't mention it at all?
25     A    No.

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                               sueT@wi.rr.com
                                                                           73
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 74 of 501 Document 80-5
 1     Q    Where did Detective Carr say that Shannon Lewandowski
 2          was going when she got into the accident?
 3     A    To District 5.
 4     Q    Did Detective Carr express a problem that she had with
 5          her going to District 5 instead of going to attempt to
 6          recover the gun that you ordered her to do?
 7     A    Did she express a problem?
 8     Q    Did she express a problem?
 9     A    No.
10     Q    Was there any discipline to Detective Carr for failing
11          to recover the gun? Did you take any action to disci-
12          pline Detective Carr for failure to recover the gun?
13     A    No.
14                            MR. MC GAVER:          Nothing further.
15                            MR. KONRAD:            Commissioners, do you
16          have any questions?
17                            MS. MC KENZIE:         I have a couple
18          questions.
19                            When you were supervising detectives and
20          you told one detective to perform a certain assignment
21          and also, to choose another detective to go with, does
22          that other detective, then, fall within your juris-
23          diction of the assignment? In other words, they should
24          follow the assignment?
25                            THE WITNESS:          Yes.

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                               sueT@wi.rr.com
                                                                            74
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 75 of 501 Document 80-5
 1                            MS. MC KENZIE:        Do you normally, in
 2          any way, brief that second detective?
 3                            THE WITNESS:          If they are not on
 4          the scene, they brief the first detective and she is
 5          expected to brief the second, at that point, depending
 6          on the availability, because it very well could have
 7          ended up an officer going with her.
 8                            MS. MC KENZIE:        When you gave that
 9          assignment to Detective Carr, did you emphasize the
10          importance of the -- that it was time-sensitive?
11                            THE WITNESS:          Yes.
12                            MS. MC KENZIE:        In your experience,
13          are detectives allowed to prioritize assignments? So
14          for example, you give a detective an assignment and they
15          say, "well, I understand I have to do this, but I am
16          going to do X before that." Do they have that flexi-
17          bility?
18                            THE WITNESS:           No. They have to
19          discuss that with you because in the Bureau, we actually
20          take the function of dispatching them. So we have to
21          know what they are doing when they are on an assignment.
22                            MS. MC KENZIE:         And so is it your
23          experience -- I don't know you would know this. Do
24          Detective Carr and Detective Lewandowski, do they
25          normally ride together? For example, if you tell Carr,

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                                                                            75
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 76 of 501 Document 80-5
 1          "I need you to do this", do you often find that she
 2          chooses Lewandowski and vice-versa?
 3                            THE WITNESS:          No, not necessarily.
 4          This was weekend staffing because although it happened
 5          on a Monday morning, it falls under Sunday night's
 6          staffing because we start at Sunday night and at that
 7          time, weekend staffing was low. You grab who you can.
 8                            MS. HEIN:              If a detective or
 9          officer were to receive word from a family member that
10          there was an issue that they need -- that needed their
11          attention, what would be the procedure to assist that
12          relative?
13                            THE WITNESS:          Either way, they would
14          have to -- if they want to assist, they would have to
15          ask their supervisor.
16                            MS. HEIN:              If they wanted to
17          leave. What if Detective Lewandowski wanted to go to
18          Shorewood to assist her son? What would be the correct
19          procedure?
20                            THE WITNESS:          She would have had to
21          ask me if it is all right.
22                            MS. HEIN:             That is all?
23                            THE WITNESS:          Well, there is an SOP
24          prohibiting us from interfering officially in police
25          matters of other jurisdictions.

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                                                                           76
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 77 of 501 Document 80-5
 1                            MS. HEIN:              So if they needed to
 2          go home for some reason --
 3                            THE WITNESS:           She has to clear it
 4          through a supervisor.
 5                            MS. HEIN:              That would be you in
 6          this case.
 7                            THE WITNESS:           In this case, yes.
 8                            MR. KONRAD:            Did that happen in
 9          this case?
10                            THE WITNESS:           No.
11                            MS. WILSON:            If an officer is on
12          duty and a family member -- I am trying to figure out --
13          if a family member is stopped by another officer, be it
14          Milwaukee or Chicago, whatever, does, then, that family
15          member -- can that family member, then, get permission
16          to go and see about the other individual?
17                            THE WITNESS:           You can ask per-
18          mission of the supervisor, but I never heard of it being
19          granted.
20                            MS. WILSON:            That was going to be
21          my next question. I have nothing else.
22                            MS. MC KENZIE:         When you interviewed
23          Carr, you didn't ask her about whether or not Detective
24          Lewandowski was heading toward UWM. Is that correct?
25                            THE WITNESS:          Correct. I asked her

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                                                                            77
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 78 of 501 Document 80-5
 1          her recollection of what happened that night.
 2                            MS. MC KENZIE:        Let me ask you, why
 3          is it that you did not? Did you not think it was
 4          important?
 5                            THE WITNESS:          No. I wanted -- I
 6          didn't want to bias her memory. She was saying she was
 7          having problems with her memory since the accident and
 8          writing a lot of notes.
 9                            MS. MC KENZIE:        There was a question
10          about whether or not Detective Carr was disciplined.
11          In your assessment, why didn't that occur?
12                            THE WITNESS:          I didn't recommend
13          discipline for anybody in this case. Whether this
14          turned into an Internal against Detective Carr, I have
15          no idea. Once it goes to Internal Affairs, the only
16          time we find out is if they call us out to interview us.
17                            MR. KONRAD:            Mr. Pederson?
18                            MR. PEDERSON:          Just a few points to
19          follow up on.
20          REDIRECT EXAMINATION BY MR. PEDERSON:
21     Q    I believe the first time you testified, I think --
22          you said you had given this assignment to Detective Carr
23          around 12:30 to 1:00. Since then, we have kind of
24          nailed down the time of 2:00 a.m. I am just wondering,
25          now that your memory is a little refreshed -- or my

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                                                                           78
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 79 of 501 Document 80-5
 1          memory of your testimony is wrong, is there any
 2          correction or would you affirm the time that you gave?
 3     A    12:30 to 1:00.
 4     Q    So is there any concern about why she wasn't even going
 5          somewhere until 2:00 in the morning?
 6     A    Yes. When the accident occurred, I had no idea who was
 7          in it and it never occurred to me that it was her.
 8     Q    Another question. You were asked if Detective
 9          Lewandowski ever asked for permission to go to the
10          scene. I am not asking you to speculate, but based on
11          your knowledge of SOPs, would you have granted such a
12          request?
13     A    No.
14     Q    Why not?
15     A    Because it would be interfering with a traffic stop from
16          another department.
17     Q    Were you familiar with Detective Lewandowski's caseload
18          at that time?
19     A    Yes.
20     Q    Was she a busy person?
21     A    Detective Lewandowski, if she was not on an active
22          shooting, she usually remained quite busy with other
23          investigations.
24     Q    Now, specifically around the early morning hours of
25          January 19, did she have work that she could be doing?

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                                                                           79
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 80 of 501 Document 80-5
 1     A    Yes.
 2     Q    You previously testified that if a department member has
 3          downtime and decides to spend a few minutes, whatever,
 4          speak to another department member about personal
 5          matters, whatever, that would be okay. Do you recall
 6          that testimony?
 7     A    Yes.
 8     Q    All right. In your opinion, based on your knowledge of
 9          that evening and Detective Lewandowski's caseload and
10          workload, did she have that kind of downtime to travel
11          from District 3 to District 5 to talk to --
12     A    Let me specify this to you. We don't ban people from
13          talking when they run into each other and if she
14          responded to District 5, even though her office at that
15          time was in District 3 and mine was Five, we were all
16          still Central. That was our geographic area. It was
17          called "Central" at that time, which covered Three and
18          Five. So Five is still in her area.
19     Q    Okay. My question to you is, given whatever knowledge
20          you have of that evening and her workload, if she was
21          traveling specifically from District 5 to District 3 to
22          speak to Officer Beasley on a personal matter when she
23          had already decided to join up and conduct this search
24          for a gun as part of the assignment given to Detective
25          Carr, is that following procedure?         Is that a concern

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                                                                           80
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 81 of 501 Document 80-5
 1          in terms of being a supervisor?
 2     A    Going from Three to Five. Let me correct you on that.
 3          She wasn't going from Five to Three, but that is a
 4          concern.
 5     Q    If I said Five to Three, I was wrong. I am sorry.
 6          Was your opinion based on that?
 7     A    That is a concern.
 8     Q    Why is it a concern?
 9     A    Because I gave Detective Carr an assignment. So it is
10          really incumbent on her to go to the assignment and if
11          they agreed Detective Lewandowski would go to that
12          assignment, she is basically putting herself on that
13          assignment, also.
14     Q    If she instead decided, "I am going to prioritize this
15          trip to District 5 to talk to my -- Officer Beasley
16          instead", would that be an effective and appropriate use
17          of police time?
18     A    No.
19     Q    Specifically, were you aware when Detective Carr and
20          Detective Lewandowski were supposed to end their tour of
21          duty that day?
22     A    4:00 a.m.
23     Q    All right. And did that play into your concerns also
24          regarding what they were doing and how they were
25          prioritizing?

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                                                                           81
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 82 of 501 Document 80-5
 1     A    Yes.
 2     Q    How?
 3     A    We are monitored very closely on overtime. So if I have
 4          an assignment at 1:30, even if it results in search and
 5          recovery of a weapon, you may still end up with some
 6          overtime with the inventory reports. But now, if you go
 7          to two other locations before you go to that assignment,
 8          aside from the exigency of getting there before the
 9          person was released from the hospital, now, you are
10          basically pushing the assignment off and doing it on
11          overtime. We are monitored in our department on over-
12          time very closely.
13     Q    Do you have any personal bias against Detective
14          Lewandowski?
15     A    No, not at all.
16     Q    Do you have any personal bias against Juanita Carr?
17     A    Not at all.
18     Q    Were you truthful in your report that was submitted as
19          Exhibit 1?
20     A    Yes.
21                            MR. PEDERSON:          That is all I have.
22                            MR. KONRAD:            I have a question.
23          If an officer is on an assignment and is contacted by
24          another officer who indicated there is some personal
25          crisis and ask that officer to intervene or assist, is

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                                                                           82
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 83 of 501 Document 80-5
 1          it proper procedure to be for the first officer to call
 2          you for permission to be relieved of one assignment and
 3          pursue this other matter?
 4                            THE WITNESS:           Yes. In a case of if
 5          they are in a district, the district has other officers
 6          and supervisors there, so it shouldn't require somebody
 7          coming from an outside location.
 8                            MR. KONRAD:            That didn't happen in
 9          this case, did it?
10                            THE WITNESS:           No.
11                            MR. KONRAD:            Had it happened, you
12          could have assigned someone to -- If you believed that
13          the crisis was of sufficient significance that it should
14          take precedence over recovery of the gun, then you could
15          have assigned someone else to recover the gun.
16                            THE WITNESS:           If that would have
17          happened and I would have decided it would have been
18          that important, then, I wouldn't have had them both go
19          to Five. I would have had Juanita go with a different
20          detective or officer to conduct the search, but in this
21          case, I didn't see the reason to go there at all,
22          authorizing anybody to go do that.
23                            MR. KONRAD:              Any redirect (sic)?
24                            MR. MC GAVER:            Yes, a couple
25          questions.

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                                                                            83
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 84 of 501 Document 80-5
 1          RECROSS-EXAMINATION BY MR. MC GAVER:
 2     Q    On January 19, 2015, do you know whether Detective Carr
 3          was at 2765 North 52nd Street prior to the accident that
 4          occurred at about 2:17 a.m.?
 5     A    Now, I do.
 6     Q    She was there before, wasn't she?
 7     A    No, she wasn't.
 8     Q    This was not a follow-up stop at that house?
 9     A    I am sorry?
10     Q    She was not at -- Let me rephrase. Detective Carr, as
11          far as you know, never went to 2765 North 52nd Street.
12          True?
13     A    Correct. Well, if she did as part of the initial
14          investigation, I don't remember. I know she never went
15          there after I gave her the assignment that night.
16     Q    You are not aware of Detective Carr knocking on the
17          front door of 2765 North 52nd Street and nobody
18          answering the door. Is that true?
19     A    That is true.
20                            MR. PEDERSON:          I'm going to object
21          to the foundation of the question. When are we talking
22          about?
23                            MR. MC GAVER:          At any time.
24                            MR. KONRAD:            Counsel, do you plan
25          on bringing evidence that Detective Carr went to that

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                                                                           84
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 85 of 501 Document 80-5
 1          house?
 2                            MR. MC GAVER:          I do. I anticipate
 3          calling Detective Carr as a witness and I believe she
 4          will testify that she was present at that house and
 5          knocked on that door?
 6                            MR. KONRAD:            Contingent on you
 7          connecting it up, you can answer the question.
 8     A    I am not aware.
 9          BY MR. MC GAVER:
10     Q    In connection with this case, you provided sworn
11          testimony in the form of an affidavit. Correct?
12     A    An affidavit?
13     Q    Do you know what an affidavit is?
14     A    Yes.
15     Q    Yes, you did?
16     A    I don't recall.
17     Q    I am going to hand you a document marked as Exhibit 3.
18          Can you tell me what that is?
19     A    Yes.
20     Q    Is that your signature on the second page?
21     A    Yes.
22     Q    Before you signed it, did you swear that the contents of
23          the document was the truth, the whole truth and nothing
24          but the truth before a notary public?
25     A    Yes.

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                                                                           85
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 86 of 501 Document 80-5
 1     Q    As far as you know, this is testimony given under oath.
 2          Correct?
 3     A    Correct.
 4     Q    The contents of the affidavit are still substantially
 5          true and correct today?
 6     A    Yes.
 7                            MR. MC GAVER:          I will offer Exhibit
 8          3.
 9                            MR. KONRAD:            Admitted.
10                            MR. MC GAVER:          Nothing further.
11                            MR. PEDERSON:          I object to the
12          admission of this. What's the relevance?
13                            MR. MC GAVER:          Prior testimony that
14          he's given. I think the Commission can make their own
15          conclusion as to whether it is similar or the same as
16          testimony he's given in connection with his interview
17          with Sergeant Zieger on the AIMS report and in this
18          hearing here today.
19                            MR. PEDERSON:          I maintain my objec-
20          tion. If he thinks there is an inconsistency, he should
21          confront the witness with the inconsistency and give him
22          an opportunity to explain if there is an inconsistency
23          or --
24                            MR. MC GAVER:          I think we are
25          dealing with a sophisticated group of commissioners who

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                                                                           86
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 87 of 501 Document 80-5
 1          can draw that conclusion themselves.
 2                            MR. KONRAD:            I assume you are
 3          offering this as impeachment?
 4                            MR. MC GAVER:          Yes, and as
 5          substantive evidence of the actions that Lieutenant
 6          Hanley took in the course of the investigation related
 7          to the accident and the follow-up.
 8                            MR. KONRAD:            Through a prior
 9          statement of --
10                            MR. MC GAVER:          Correct.
11                            MR. KONRAD:            It will be admitted.
12                            MS. WILSON:            Usually, don't you
13          all need one a little bit different than the other one
14          or you put them all together? Okay.
15                            MS. HEIN:              I have a question of
16          logistics. You were -- Detective Lewandowski was going
17          from Three to Five. Right?
18                            THE WITNESS:           Yes.
19                            MS. HEIN:              Three is at, like,
20          45th and Fond du Lac. Correct?
21                            THE WITNESS:           No. 49th and Lisbon.
22                            MS. HEIN:              Okay. And where is
23          Five?
24                            THE WITNESS:           It is on Fourth and
25          Locust.

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                                                                           87
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 88 of 501 Document 80-5
 1                            MS. MC KENZIE:         When is it that you
 2          did this affidavit? When was this affidavit done and
 3          what purpose was your understanding?
 4                            THE WITNESS:           It was done April 27.
 5                            MS. MC KENZIE:         Why is it that you
 6          did this affidavit as opposed to the fact that we have
 7          your investigative information in the report that you
 8          completed for the police department? Why did you need
 9          to do an affidavit?
10                            THE WITNESS:          I don't know the
11          reason why I needed to do one. We typically don't do
12          these in criminal cases like this when we have a report.
13                            MS. MC KENZIE:         Who told you to do an
14          affidavit?
15                            THE WITNESS:           City attorney.
16                            MR. KONRAD:            For the record, I
17          think the record is clear this affidavit was filed in
18          support of a brief that was filed in opposition to a
19          motion to exclude the Hanley statement. Had Officer
20          Carr gone to that house, would there be any kind of
21          report required or would the CAD report indicate she had
22          been there or what evidence would there be other than
23          her statement?
24                            THE WITNESS:          She should be on the
25          CAD as going there. Plus, she should have done a supp

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                                                                           88
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 89 of 501 Document 80-5
 1          in our report system stating she went there and knocked
 2          on the door and received no answer.
 3                            MR. PEDERSON:          I guess a follow-up.
 4          RE-REDIRECT EXAMINATION BY MR. PEDERSON:
 5     Q    To your knowledge, does a supp report exist?
 6     A    No.
 7                            MR. KONRAD:            Thank you.
 8          (Witness excused)
 9                            MR. KONRAD:            Mr. Pederson?
10                            MR. PEDERSON:          The chief will call
11          Sergeant Zieger. I have one matter to attend to. For
12          the record, I would move a number of documents in. The
13          personnel order, the Complaint and the charging spec
14          into evidence. As was indicated, the Commission likes
15          to have those documents as part of the record. So if
16          there is no objection --
17                            MR. MC GAVER:          No.
18                            MR. PEDERSON:          -- I would like to
19          move them at this time.
20                            MR. KONRAD:            Do they have numbers?
21          Four, five, six?
22                            MR. PEDERSON:          Yes. For the record,
23          three additional documents have been marked into
24          evidence. Number four is Personnel Order 2015-150.
25          As number five, the Complaint in the matter of the

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                                                                            89
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 90 of 501 Document 80-5
 1          appeal of Shannon Lewandowski. Number six, Charges and
 2          Specifications, three rule violations -- as they relate
 3          to the three rule violations in this matter marked as
 4          number six.
 5                            Mr. Examiner, additionally, counsel has
 6          raised my attention at this time, since we are handling
 7          housekeeping matters, that we had agreed to a stipula-
 8          tion in this matter regarding a statement of Melanie
 9          Beasley. I would enter that into evidence at this time
10          marked as number seven.
11                            MR. MC GAVER:            No objection to
12          that.
13                            MR. PEDERSON:            I think that
14          handles the housekeeping up to this point.
15                            So I think we are ready to swear in the
16          witness and proceed.
17                            ADAM ZIEGER, having been first duly sworn
18          on oath to tell the truth, the whole truth, and nothing
19          but the truth testified as follows:
20                            MR. KONRAD:            The witness is sworn.
21          DIRECT EXAMINATION BY MR. PEDERSON:
22     Q    Would you please state your name and spell your last
23          name for the record?
24     A    Adam Zieger. Last name is Z-i-e-g-e-r.
25     Q    How are you employed?

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                                                                           90
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 91 of 501 Document 80-5
 1     A    Milwaukee Police Department, police sergeant.
 2     Q    How long have you been with the police department?
 3     A    2003.
 4     Q    Where are you currently assigned?
 5     A    Internal Affairs.
 6     Q    How long have you been there?
 7     A    Since a day in November -- I am not sure exactly what
 8          day of November -- of 2014.
 9     Q    What do you do in the Internal Affairs Division?
10     A    I am assigned investigations and, then, I investigate
11          them.
12     Q    Did you conduct an investigation in this matter?
13     A    Yes.
14     Q    What specifically did you do?
15     A    I interviewed witnesses, who witnessed the accident, I
16          interviewed two detectives involved and subsequently
17          after that, interviewed people that responded to the
18          accident as well as the sergeant from Shorewood Police
19          Department.
20     Q    Did you review any reports?
21     A    Yes.
22     Q    What reports did you review?
23     A    I reviewed reports from the RMS system -- it's either
24          Records Management System or Reports Management
25          System -- pertaining to this case. CAD records,

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                                                                           91
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 92 of 501 Document 80-5
 1          Lieutenant Hanley's vehicle accident report. An acci-
 2          dent report, a few supplementary reports from that
 3          accident report, citations, inventory, a report from
 4          submitting a sample of a test for alcohol to the
 5          Department of Justice, a subsequent report from the
 6          Department of Justice.
 7                            MR. PEDERSON:          I think that is a
 8          sufficient list for now. Thank you, Sergeant.
 9     Q    Is it correct to say that you were the primary investi-
10          gator in this matter?
11     A    Yes.
12     Q    Did you conduct a full investigation?
13     A    Yes.
14     Q    When you completed your investigation, did you create a
15          summary report of your findings?
16     A    Yes.
17     Q    I direct your attention to a document that has been
18          placed in front of you marked for identification as
19          Exhibit 8. Do you see it?
20     A    Yes.
21     Q    Are you familiar with that document?
22     A    Yes.
23     Q    What is that document?
24     A    It is a copy of a memorandum that I submitted, which is
25          my summary report of this investigation.

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                                                                           92
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 93 of 501 Document 80-5
 1     Q    Is it true that this document is dated September 9,
 2          2015?
 3     A    Yes.
 4     Q    It purports, on the first page, to have 22 pages?
 5     A    Yes.
 6     Q    Could you please just take a quick look through that
 7          document in front of you and ensure that that is a true
 8          and correct copy of the report that you submitted?
 9     A    I believe it to be.
10                            MR. PEDERSON:          I will admit it into
11          evidence.
12                            MR. MC GAVER:          I will object. I
13          know hearsay is admissible, but there are several
14          statements attributed to numerous witnesses where the
15          actual source of the statement is completely undeter-
16          mined and indeterminable, so for those reasons, I will
17          object.
18                            MR. KONRAD:            One of the elements
19          of proof that the chief has to meet is that he conducted
20          a thorough and complete investigation of the incident.
21          So for that purpose, obviously, the report is admissible
22          for that purpose. In addition, large parts of the
23          report do contain statements that would be admissible
24          under the "exception to hearsay" rule. For example,
25          statements of Shannon Lewandowski herself. Other parts

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                                                                           93
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 94 of 501 Document 80-5
 1          of hearsay that has been corroborated, in part, by the
 2          testimony of the lieutenant. Of course, we have not
 3          looked at everything in the report. If there is hearsay
 4          that is uncorroborated or in other ways, not reliable,
 5          the Commission will ignore that -- those entries in its
 6          decision and its decision, when it writes its Findings
 7          of Fact, will articulate the parts of the record that
 8          the Commission is relying on. So with those
 9          limitations, the report is admitted.
10          BY MR. PEDERSON:
11     Q    Sergeant Zieger, did you review the CAD reports related
12          to this matter?
13     A    Yes.
14     Q    What is a CAD report?
15     A    I believe it stands for Computer Automated Dispatch
16          Report. It's an dispatch record of the activity
17          involving the assignment. It could be -- maybe a better
18          word than "assignment" might be a complaint that comes
19          through the communications division or radio trans-
20          missions from personnel on patrol.
21     Q    Did you check to see at the time or approximate time of
22          the accident, if Detective Lewandowski or Detective Carr
23          were on assignment according to CAD?
24     A    I did.
25     Q    What did you find?

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                                                                           94
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 95 of 501 Document 80-5
 1     A    I did not find a record of a unit history.
 2     Q    Can you please indicate, what is the obligation of
 3          members of the department to call in what they are
 4          doing?
 5     A    When officers make contact with a citizen or someone
 6          makes contact with a citizen, they need to report it to
 7          a dispatcher. Generally, as they make location changes
 8          throughout their day, you notify the dispatcher so the
 9          dispatcher knows where you are and they can allocate the
10          resources that are needed.
11     Q    If Detectives Carr and Lewandowski were on their way,
12          for example, to the house to conduct a search, would
13          they be generally ordinarily expected to call that in
14          and record that with CAD?
15     A    I don't think it would be uncommon for them to notify
16          the dispatcher when they got there. I mean, it wouldn't
17          be uncommon to not notify them while en route.
18                            MR. KONRAD:            What was the last --
19          Wouldn't be uncommon, what?
20                            THE WITNESS:           I am not familiar
21          with every single -- what every detective, how they
22          handle it, but I don't think it is uncommon for a
23          detective not to notify them before they get there.
24                            MR. KONRAD:            In other words, it is
25          common for them to notify --

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                               sueT@wi.rr.com
                                                                           95
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 96 of 501 Document 80-5
 1                            THE WITNESS:           They might notify
 2          somebody, but they may not notify the dispatcher, "hey,
 3          I am going to a specific location", as they travel
 4          within -- Patrol officers travel within and look for
 5          things to do and things like that.
 6                            MR. KONRAD:            You said "it is not
 7          uncommon." So it is common.
 8                            MR. PEDERSON:          I can clarify it.
 9          BY MR. PEDERSON:
10     Q    If I understand your testimony correctly -- And please
11          don't let me put words in your mouth. It is my under-
12          standing you are saying -- your testimony is that it
13          is -- it would not be unusual for a detective not to
14          report to dispatch that they are on their way to conduct
15          a search and rather, wait until they got to the place
16          and, then, report it themselves. Is that what your
17          testimony is?
18     A    Correct.
19                            MR. KONRAD:            Thank you.
20     Q    If the detectives were on their way to District 5 on
21          an official business matter, similarly, when would you
22          expect a report to CAD be made, if at all?
23     A    I don't think there would be -- Depending if they were
24          assigned to something, for instance, a homicide or a
25          shooting and they were part of that assignment, I think

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                               sueT@wi.rr.com
                                                                           96
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 97 of 501 Document 80-5
 1          they would have an obligation to notify dispatch, but at
 2          that time, many of the detectives were operating out of
 3          districts and I don't know that they necessarily
 4          informed the dispatcher when they are in or out of the
 5          district. I don't know.
 6     Q    Then again, just assuming, the last possibility here,
 7          I want you to assume that they were on their way -- in
 8          fact, Detective Lewandowski was on her way, at least,
 9          to Shorewood to assist her son. Would there be any
10          obligation on the part of a department member to report
11          that?
12     A    Yes.
13     Q    What is your understanding of what the obligation would
14          be?
15     A    If they are responding to a particular matter within the
16          course of duty of that nature, they need to tell the
17          dispatcher that they were part of that, that they were
18          going to that.
19     Q    When you searched the CAD records, were you specifically
20          looking for those different possible entries to be made
21          in relation to them reporting their location?
22     A    I did. I searched for their unit history and didn't
23          find anything.
24     Q    Did you search the CAD for reports of the traffic
25          accident that the detectives were involved in?

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                               sueT@wi.rr.com
                                                                           97
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 98 of 501 Document 80-5
 1     A    Yes.
 2     Q    What did you find?
 3     A    I found more than one CAD assignment created or CAD
 4          complaint created; one initiating at 2:17, I believe it
 5          was, and there was maybe 23 seconds or 30-some seconds.
 6          I am not sure on the seconds, but I believe it is 2:17
 7          a.m. for an accident. I don't remember what it was
 8          titled originally.
 9     Q    So if I understand you correctly, you are indicating
10          that two different dispatchers recorded the same event
11          roughly around the same time?
12     A    Separate -- I don't know if they were dispatchers or
13          telecommunicators, but persons within the communications
14          TCD received calls related to the same incident.
15     Q    How can that happen? How could two different communi-
16          cations personnel be recording information on the same
17          matter?
18     A    There is multiple persons, particularly, that answer 911
19          calls. There is not just one person that answers 911
20          calls, there is several people working and there is
21          ability for several calls to come in at one time.
22     Q    Was that the case in this matter?
23     A    I don't know if they were at the exact same time, but
24          they were within close proximity.
25     Q    I believe you testified that those multiple entries from

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                               sueT@wi.rr.com
                                                                           98
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 99 of 501 Document 80-5
 1           the different communications personnel were at 2:17. Is
 2           that right?
 3     A     I believe, off the top of my head, that that was the
 4           created time for that complaint.
 5     Q     I direct your attention to the top of Page 2 of your
 6           report, if that refreshes your recollection.
 7     A     Yes.
 8     Q     Based upon the recording of 2:17, are you able to deduce
 9           from the facts of the investigation any other knowledge
10           that you may have a rough estimate of when the accident
11           must have occurred?
12     A     It had to have occurred before 2:17 and the amount of
13           seconds that were on the created time on the CAD.
14     Q     Based on any other facts, are you able to, then, deduce
15           how much earlier than 2:17 it may have happened or would
16           you have expected to have happened?
17     A     Based on the nature of the calls that were coming in
18           and how the first entry on the CAD appeared that the
19           dispatcher or telecommunicator entering preliminary
20           information, basic information, about what location
21           and what they possibly had immediately into the CAD.
22     Q     Had you gained knowledge of what happened at the acci-
23           dent?
24     A     Yes.
25     Q     How did you obtain this knowledge?

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                               sueT@wi.rr.com
                                                                            99
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 100 of 501 Document 80-5
 1     A     Viewed the records management reports, RMS reports, I
 2           viewed the accident report itself and I interviewed a
 3           witness to the accident as well.
 4     Q     Based upon that knowledge, we will come back to some
 5           details, but just give me an overview, please, of your
 6           understanding of what happened in the accident.
 7     A     In the accident, my understanding is the department
 8           vehicle was traveling east on North Avenue and as it
 9           approached the 35th Street intersection, had its
10           emergency lights activated and collided with a citizen
11           vehicle, I believe, traveling south on 35th Street.
12     Q     Do you have knowledge of who was at fault in the
13           accident?
14     A     I didn't make a determination of who was at fault in the
15           accident.
16     Q     Do you have any information about who crossed against a
17           red light?
18     A     Yes.
19     Q     What information do you have?
20     A     I have information that the citizen vehicle was --
21           the witnesses either indicated that the citizen vehicle
22           either traveled into the intersection ignoring the red
23           light or was speeding trying to travel through the
24           intersection through a yellow light to try to make it
25           through the intersection before a red light.

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                               sueT@wi.rr.com
                                                                            100
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 101 of 501 Document 80-5
 1     Q     Were there witnesses to this?
 2     A     Yes.
 3     Q     How many witnesses are you aware of?
 4     A     I am aware of, for sure, two that witnessed the accident
 5           and a third that may have witnessed the accident, but
 6           reported that she had and, then, at one time, indicated
 7           she hadn't.
 8     Q     Are you aware whether or not those witnesses called
 9           immediately after observing the accident? Strike that
10           question. Do you have knowledge whether or not those
11           witnesses called and reported to 911 having observed an
12           accident?
13     A     There was several people that called 911 to report the
14           accident. I am not sure, from my memory, if it was the
15           people that actually saw the vehicles collide or if it
16           was people that were nearby and were obviously aware
17           that an accident just occurred and immediately called
18           the police through hearing the accident or whatever
19           happened.
20     Q     Are you aware whether or not those calls reporting the
21           accident were close in time to when the accident
22           occurred?
23     A     Yes.
24     Q     So based on that information and the fact that it was
25           entered at 2:17, are you able to give a very rough

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                               sueT@wi.rr.com
                                                                            101
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 102 of 501 Document 80-5
 1           approximation of how much earlier than 2:17, based on
 2           the information you have, that you would expect that the
 3           accident occurred?
 4     A     Approximately one minute.
 5     Q     Are you aware of a witness having been traveling in the
 6           opposite direction of the detectives on North Avenue?
 7     A     Yes.
 8     Q     Are you aware of what their location was?
 9     A     I believe I obtained that. I don't recall. I don't
10           remember what it was, but I do believe I obtained that
11           information.
12     Q     Okay. Do you have a recollection of whether they were
13           eastbound -- strike that -- whether they were east or
14           west of the intersection of 35th Street?
15     A     I believe they were east of 35th Street.
16                            MR. PEDERSON:          I would direct your
17           attention to the last paragraph of Page 4 of your
18           report. If you would give that a quick review. Let me
19           know when you are done.
20                            THE WITNESS:           I have read it.
21     Q     Does that paragraph relate to the questions I am asking
22           you right now?
23     A     Yes.
24     Q     All right. Does this refresh your recollection?
25     A     Yes.

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                               sueT@wi.rr.com
                                                                            102
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 103 of 501 Document 80-5
 1     Q     Who was operating that vehicle?
 2     A     Juan Perez.
 3     Q     Was he east or west of 35th Street?
 4     A     He reported that he was east of 35th Street.
 5     Q     I suppose another way of saying that is, he was
 6           approaching 35th Street westbound on North Avenue.
 7           Is that right?
 8     A     Yes.
 9     Q     If I have the scene right, detectives would have been
10           traveling toward him. Again, they also were approaching
11           35th Street on North Avenue. Is that right?
12     A     Yes.
13     Q     In your review of the reports, did Mr. Perez make any
14           statements regarding observing emergency lights on the
15           detective's vehicle?
16     A     Yes.
17     Q     What did he say?
18     A     He reported that he observed flashing red and blue
19           lights.
20     Q     What did he do in response to that?
21     A     Started to pull over, or did pull over.
22     Q     Was it your testimony that he did or tried?
23     A     He was either starting to pull over, in the process of
24           pulling over or he had pulled all the way over. I don't
25           remember which one of the two.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            103
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 104 of 501 Document 80-5
 1     Q     I direct your attention to the third line up in the last
 2           paragraph. I will read into the record.
 3                       "Mr. Perez stated he pulled over to allow the
 4           squad to have the right-of-way."
 5           Do you see that?
 6     A     You said the third sentence?
 7     Q     Third line up from the bottom. Sorry if that wasn't
 8           clear.
 9     A     I see it.
10     Q     Did I read that correctly?
11     A     Can you read it again?
12     Q     "Mr. Perez stated he pulled over to allow the squad to
13           have the right-of-way."
14     A     Yes.
15     Q     Okay. To be clear, this wasn't a statement that
16           Mr. Perez said to you. Right?
17     A     Correct.
18     Q     This is a statement that you pulled from a report of
19           someone else who interviewed Mr. Perez. Is that right?
20     A     Correct.
21     Q     Was there anyone that you personally interviewed that
22           was a witness?
23     A     Yes.
24     Q     Who was that?
25     A     Ms. Hernandez.

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                               sueT@wi.rr.com
                                                                            104
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 105 of 501 Document 80-5
 1     Q     When were you able to interview her?
 2     A     I don't recall what the date was.
 3     Q     What did she advise you that she observed?
 4     A     She advised me that she observed the vehicle traveling
 5           with the emergency lights activated and that she
 6           observed the collision. Then she observed either the
 7           citizen vehicle travel through the red -- I am going off
 8           of my recollection of her statement that's reported --
 9           that she traveled -- or that the citizen vehicle either
10           traveled through the red light or she was reporting that
11           it was speeding trying to make it through the inter-
12           section before the light turned red.
13     Q     Did she give you any indications of how the long
14           emergency lights had been on?
15     A     Not that I remember, no.
16     Q     But she did definitely tell you that they were on.
17     A     Yes.
18     Q     Did she make any other statements as regards to
19           statements of Shannon Lewandowski that she heard?
20     A     Yes.
21     Q     What did she say?
22     A     I reviewed a report of a statement that was obtained
23           from her and I also obtained a statement, so I'd have to
24           look to be sure which one is which for sure, but in both
25           scenarios, both times, she indicated that she heard

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                               sueT@wi.rr.com
                                                                            105
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 106 of 501 Document 80-5
 1           something related to the detective's concern about her
 2           son -- getting to her son. Those are not the exact
 3           words. That is from my memory.
 4     Q     To your knowledge, were there any other individuals
 5           present at the scene that indicated that they
 6           specifically heard from Detective Lewandowski any
 7           statements related similarly about her son?
 8     A     Yes.
 9     Q     Who else?
10     A     There was officers that heard statements similar to that
11           nature. There were citizen witnesses. If I interviewed
12           some that heard, I don't recall another citizen witness
13           from my memory that said that.
14     Q     And again, is it accurate to say you can't tell
15           specifically what they heard or what they reported?
16           Right?
17     A     I can tell -- I can tell you what they said, but it
18           is fair that they didn't recall specifically the exact
19           words.
20     Q     Tell me what they said.
21     A     Subject Hernandez -- and again, I am not sure if it was
22           in the first interview with the detective or my inter-
23           view -- said that she observed the detective on the
24           phone and indicated something about her needing to get
25           to her son and I believe something mentioning UWM might

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                                                                            106
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 107 of 501 Document 80-5
 1           have been in that as well.
 2     Q     Is it accurate to say that there were multiple witnesses
 3           of unknown sources who indicated that there were some
 4           statements made by Detective Lewandowski regarding her
 5           son being stopped at UWM, etc.?
 6     A     Yes. There was -- Mr. Perez, I believe also informed
 7           the detective that he heard a statement regarding that.
 8     Q     Did you have an opportunity to interview Lieutenant
 9           Hanley?
10     A     Yes.
11     Q     When you interviewed Lieutenant Hanley, were you aware
12           of his prior report that's been contained in Document
13           No. 1?
14                            THE WITNESS:           I'm pretty sure I
15           know what you are talking about, but I will look at it
16           to make sure.
17                            MR. PEDERSON:          Please do.
18     A     Yes.
19     Q     Did you review that prior to your interview with him?
20     A     Yes.
21     Q     Did you discuss the contents of that report with him?
22     A     Yes.
23     Q     What did he have to say regarding that?
24     A     He confirmed that the information in it was true and
25           that Detective Lewandowski called and reported that she

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                               sueT@wi.rr.com
                                                                            107
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 108 of 501 Document 80-5
 1           was initially responding to District 5 prior to the
 2           accident and she had her lights activated, not to act
 3           as an emergency vehicle, but to move cars out of her
 4           way, and that at some point, she said was traveling to
 5           meet or to locate her son at UWM, or in that area of
 6           UWM.
 7                            MR. PEDERSON:          I want to take a step
 8           back. I have some clean-up questions on a few things.
 9     Q     Are you aware of the other driver, the citizen driver,
10           the other person who was involved, the other vehicle
11           that was involved in the accident?
12     A     Yes.
13     Q     What was that person's name?
14     A     I would like to look to be sure, but I think it was
15           Debrielle Johnson.
16                            MR. PEDERSON:          You can confirm and
17           if you do refer to the document, just point to us what
18           you are looking at.
19     A     Sure. Page 3 of the summary report, Exhibit 8. And
20           yes, it's Debrielle Johnson.
21     Q     It is the second-to-the-last paragraph there?
22     A     Yes.
23     Q     Where you report that the driver is Debrielle Johnson.
24           Is that right?
25     A     Yes.

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                               sueT@wi.rr.com
                                                                            108
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 109 of 501 Document 80-5
 1     Q     Are you aware whether she was issued some citations on
 2           the scene?
 3     A     On the scene, I don't think she was issued any cita-
 4           tions, but probably at the hospital.
 5     Q     I direct your attention to Page 9 of your report, second
 6           full paragraph. Are you reporting there in your report
 7           regarding citations issued to Ms. Johnson?
 8     A     Yes.
 9     Q     What are you reporting and what are you aware of?
10     A     That she was issued a citation for operating under
11           suspension and the fact that she had a finding of guilt
12           on that charge. The charge may be an inappropriate term
13           on that citation. And she was also issued for operating
14           a motor vehicle without insurance and for operating a
15           vehicle after suspension of registration and for illegal
16           right turn on red was also listed. Those -- I don't
17           believe those are the total encompassing citations that
18           she was issued altogether.
19     Q     What else was she issued?
20     A     I believe she was also issued a citation for OWI. I am
21           not for sure.
22     Q     Okay. I would direct your attention to the next para-
23           graph there. What are you reporting in the next para-
24           graph? Strike that. Are you aware whether a blood
25           sample was taken from Ms. Johnson on the evening in

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                               sueT@wi.rr.com
                                                                            109
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 110 of 501 Document 80-5
 1           question?
 2     A     Yes.
 3     Q     Was it sent to the Department of Justice laboratory for
 4           BAC analysis?
 5     A     Yes.
 6     Q     Did the Department of Justice send a report back
 7           indicating that they had conducted an analysis and what
 8           the results were?
 9     A     Yes.
10     Q     What were the results of that analysis according to the
11           Department of Justice?
12     A     That it was ethanol at a level of .064.
13     Q     Is that a prohibited BAC level?
14     A     No.
15     Q     What is a prohibited BAC level?
16     A     I believe it starts at .08.
17                            MS. WILSON:            I didn't hear what
18           you said.
19                            THE WITNESS:           I believe it starts
20           at .08.
21     Q     Did you check records to indicate -- Strike that. Did
22           you review any databases or records that are available
23           to you in relation to the OWI charge?
24     A     Yes.
25     Q     What did you find?

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                               sueT@wi.rr.com
                                                                            110
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 111 of 501 Document 80-5
 1     A     I didn't find a criminal charge issued for it. I found,
 2           I believe, a report indicating that a conference had
 3           been done and I believe I located the actual citation --
 4           or a copy of the citation.
 5     Q     So is it correct to say that Ms. Johnson was never
 6           actually charged with an OWI?
 7     A     I don't think so, no.
 8     Q     Certainly, are you able to testify today that Ms.
 9           Johnson was ever convicted of an OWI?
10     A     It's been some time since I checked that, but I don't
11           believe she has.
12     Q     Going back to your interview of Lieutenant Hanley, did
13           he say anything in his interview that was inconsistent
14           with his report?
15     A     Not that I am aware of.
16     Q     Did you become aware of any inconsistency that you
17           needed to investigate?
18     A     No.
19     Q     Was there a point in time that you interviewed Detective
20           Lewandowski?
21     A     Yes.
22     Q     Is that interview documented in the summary report?
23     A     Yes.
24     Q     I direct your attention to Page 19 of your summary
25           report. I direct your attention to the third full

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                               sueT@wi.rr.com
                                                                            111
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 112 of 501 Document 80-5
 1           paragraph. Is it accurate to say that is a portion of
 2           the report here where you document -- you start to
 3           document the interview you had with her?
 4     A     Yes.
 5     Q     During that interview, did you discuss -- what did you
 6           discuss?
 7     A     We discussed what happened prior to the accident, what
 8           happened during the accident and we also discussed the
 9           phone call between Detective Lewandowski and Lieutenant
10           Hanley.
11     Q     Let's start at the beginning. What did she tell you?
12     A     She told me that relating to going to the accident, that
13           she had mentioned that a sergeant told Detective Carr or
14           discussed with Detective Carr about the gun not being
15           recovered and that Detective Carr was going to go
16           recover the firearm and she asked Detective Carr if she
17           would like her to go with her and I don't know if she
18           said yes, but they agreed they were going to go together
19           and they discussed that she was going to attend to a
20           matter at District 5 first and that they would go after
21           that.
22     Q     Based on her statements there, she was aware at the time
23           what specifically the assignment was that Detective Carr
24           was responsible for carrying out. Is that right?
25     A     Yes.

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                               sueT@wi.rr.com
                                                                            112
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 113 of 501 Document 80-5
 1     Q     And by agreeing to assist her with it, she had assumed
 2           some professional responsibility to see that it was
 3           carried out. Is that an accurate statement?
 4     A     I typically -- I don't know if I make that decision, but
 5           I feel, yes.
 6     Q     Based on your understanding of SOPs and work rules and
 7           your experience as a police officer, is that statement
 8           true?
 9     A     Correct.
10     Q     Did she tell you what this -- this side thing she wanted
11           to do at District 5 first, what it was?
12     A     We discussed that.
13     Q     What did she tell you?
14     A     She told me that she had previously in the evening
15           spoken with Detective Melanie Beasley and, I believe,
16           that Detective Lewandowski informed me that there was a
17           situation where Detective Beasley was at the district to
18           conduct a search of a female and that she didn't want to
19           be there and they finished that encounter and she was
20           going to talk to her again, because she had contacted
21           her and wanted her to come meet her there.
22     Q     Did she indicate whether or not she advised Detective
23           Carr of those details or facts?
24     A     It was clear that she advised Detective Carr that she
25           was meeting someone at District 5. I don't believe she

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                               sueT@wi.rr.com
                                                                            113
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 114 of 501 Document 80-5
 1           told me that she provided those details to her.
 2     Q     Did you ask her why she decided to go to District 5
 3           first, why that was a greater priority than to go find
 4           this gun?
 5     A     I asked her why she went to District 5 first. That may
 6           not have been the exact question, but we did discuss why
 7           she went to District 5.
 8     Q     I now direct your attention to Page 20 of your report,
 9           the last paragraph. Is this the paragraph where you
10           document asking that question to her?
11     A     Yes.
12     Q     Is it true that you wrote a quote attributed to her
13           which was her response?
14     A     Yes.
15     Q     What was her response?
16     A     "That wasn't my assignment to do with the gun. That was
17           just something I was going to help her with. It took
18           precedence because that was where I was going to go in
19           the first place", and then it continues on the next
20           page.
21                            THE WITNESS:           Would you like me to
22           read it in its entirety?
23                            MR. PEDERSON:          No, that was fine.
24     Q     Did you then ask her what police purpose she was serving
25           by going to District 5?

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                               sueT@wi.rr.com
                                                                            114
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 115 of 501 Document 80-5
 1     A     Yes.
 2     Q     Did she respond?
 3     A     She responded,
 4                       "my co-worker called me and asked me to come
 5           there; I'm gonna come there."
 6     Q     Is that a quote you also attribute to her in the body
 7           of your summary report?
 8     A     Yes.
 9     Q     Did she at that time indicate to you any other purpose
10           other than going to support then-Officer Beasley?
11     A     During that interview, I don't think so, no.
12     Q     Had she given you another reason why, would you have
13           documented it?
14     A     I think so.
15     Q     If she, for example, had told you at that time that in
16           addition to this support function, whatever it was, that
17           Officer -- with Officer Beasley, that she was also going
18           there on police business to assist with the filing of a
19           felony arrest, would you have documented that?
20     A     I don't recall her telling me that during that inter-
21           view.
22     Q     My question is, if she had, would you have documented
23           that she said that?
24     A     I think I would have, yes.
25     Q     Did Detective Lewandowski make any statements to you

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                               sueT@wi.rr.com
                                                                            115
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 116 of 501 Document 80-5
 1           regarding why she had emergency lights on while she was
 2           on North Avenue?
 3     A     Yes.
 4     Q     What did she say?
 5     A     She described that while she was near 35th Street --
 6           I'm sorry, near 36th Street, she observed a vehicle on
 7           the side of the road, she described it in the bicycle
 8           lane, and that the vehicle had its brake lights on and
 9           she thought the vehicle might pull out and strike her
10           vehicle, so to prevent the vehicle from striking her,
11           she activated her emergency lights and she described
12           that the siren -- she activated the siren for a very
13           short period of time, a second or less than a second.
14     Q     I believe you indicated that she testified that she did
15           this near 36th Street?
16     A     It was during the interview testimony, but yes, near
17           36th Street.
18     Q     It is probably obvious, but that would be a full one
19           block before 35th Street where -- the intersection where
20           the accident occurred. Is that right?
21     A     36th Street would be one full block away from 35th
22           Street. During her interview, she stated she was near
23           36th Street. I don't remember if I got clarification
24           whether that was west of 36th Street, east of 36th
25           Street. I may have. I just don't remember.

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                               sueT@wi.rr.com
                                                                            116
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 117 of 501 Document 80-5
 1     Q     Are you familiar with Milwaukee Police Department squad
 2           cars?
 3     A     Yes.
 4     Q     You heard testimony earlier today about the type of
 5           buttons and how to function and operate the lights in
 6           that particular car at issue?
 7     A     I heard some of that.
 8     Q     Are you familiar with that type that was described?
 9     A     I don't remember what specific type. I don't remember
10           the exact testimony. But I am familiar with the type of
11           vehicle that detectives drive and how their emergency
12           lights are operated.
13     Q     Have you, yourself, operated detective vehicles?
14     A     I have operated identical vehicles that weren't assigned
15           to detectives, but we have them in patrol as well, or we
16           used to.
17     Q     In operating these vehicles, have you had occasion to
18           turn on the lights and turn on the siren and do all of
19           those things?
20     A     Yes.
21     Q     Have you had an occasion to do a quick -- I'll call it
22           a burst of turning on a light for some reason to alert
23           someone or something like that? Have you had occasion
24           to do that?
25     A     I am sure I have.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            117
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 118 of 501 Document 80-5
 1     Q     Based on your experience and your knowledge of what was
 2           provided to you today, is Shannon Lewandowski's expla-
 3           nation consistent with the evidence that we have here
 4           today?
 5                            MR. MC GAVER:          I will object. It
 6           goes to the ultimate question of the case. I think
 7           there is a lack of foundation for this witness to answer
 8           that particular question.
 9                            MR. KONRAD:            We will hear the
10           answer and decide what it is worth.
11     A     Can you repeat that?
12     Q     I will break it down and make it a little easier. What
13           I am wondering is -- Let's start with you. On those
14           occasions when you have had an opportunity to turn on
15           and off a light, are you able to do this in a quick
16           fashion?
17     A     Yes.
18     Q     How long would it take you?
19     A     Less than a second.
20     Q     We are assuming the purpose of doing that is to alert
21           someone who you fear might come out. Would there be any
22           reason to turn it on and just leave it on? The lights,
23           that is?
24     A     If you were going to make contact with a car or block
25           the car off, but I wouldn't see a reason to turn it on

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            118
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 119 of 501 Document 80-5
 1           and off as they passed a car.
 2     Q     What I am wondering is if Lewandowski, if she was
 3           turning on and off -- turning on the lights, at least --
 4           that is what she told you -- to attempt to alert a
 5           vehicle of her presence to avoid an accident. Right?
 6     A     Yes.
 7     Q     Once she passed that vehicle, would there be any reason
 8           to continue having the lights on?
 9     A     No.
10     Q     When she got to the intersection of 35th Street and was
11           going through that intersection with the emergency
12           lights on, given the explanation she gave you as to why
13           she turned them on, in your knowledge of how it all
14           works, is there any reasonable reason why those
15           emergency lights should have still been on at that time?
16                            MR. MC GAVER:          Same objection.
17                            MR. PEDERSON:          I think I have laid
18           an adequate foundation.
19                            MR. KONRAD:            Your line of ques-
20           tioning is a little more like a closing argument. I
21           think the facts of what occurred are pretty well in the
22           record. I think the Commission can judge the evidence
23           at this point. You are certainly welcome to make --
24           you're piecing together arguments of the facts in your
25           closing argument. So we can move on.

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                               sueT@wi.rr.com
                                                                            119
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 120 of 501 Document 80-5
 1                            MR. PEDERSON:          If I may ask one
 2           summation question related to this and if you want
 3           to --
 4                            MR. KONRAD:            Go ahead.
 5           BY MR. PEDERSON:
 6     Q     Did Detective Lewandowski ever provide an explanation to
 7           you as to why she still had the emergency lights on when
 8           she was going through the intersection of 35th Street?
 9     A     I don't believe so, no.
10     Q     Did you ask her or confront her about the statements
11           attributed to her by Lieutenant Hanley?
12     A     Yes.
13     Q     What did she say?
14     A     She said that the majority of the statements, nearly all
15           of them were not true.
16     Q     Did you ask her if she was aware, at the time of the
17           accident, that her son had been stopped by some police
18           agency?
19     A     I don't know if that is an exact -- you know, if that is
20           an exact phrasing of the question, but she reported to
21           me that she did know that her son was stopped by a
22           police agency prior to the accident.
23     Q     Did she tell you when she became aware of that?
24     A     Well, she told me before she entered the squad car at
25           District 3, I believe, just prior to.

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                               sueT@wi.rr.com
                                                                            120
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 121 of 501 Document 80-5
 1     Q     Did she tell you how she became aware?
 2     A     A telephone conversation from her son.
 3     Q     Are you familiar with the District 3 area?
 4     A     I am familiar with it.
 5     Q     Are you familiar with the location of District 3
 6           station?
 7     A     Yes.
 8     Q     Are you familiar with where the location of this
 9           accident was?
10     A     Yes.
11     Q     Assuming that someone were to travel a direct route down
12           North Avenue, are you able to give an approximation of
13           how long, just roughly, it may take someone to drive
14           from the Third District station to 35th Street?
15     A     Obviously, it can be done based differently upon how
16           fast someone is going, but at a normal driving rate,
17           I'd say that could be accomplished certainly around five
18           minutes.
19     Q     Do you know how long it would take to drive to this
20           house where the search was supposed to take place?
21     A     I don't remember what the address was.
22     Q     It was previously indicated in the 2700 block of 52nd
23           Street.
24     A     Not much time at all.
25     Q     So a matter of about five minutes, something like that?

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                               sueT@wi.rr.com
                                                                            121
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 122 of 501 Document 80-5
 1     A     Probably less.
 2     Q     Given the location of the vehicle, are you able to
 3           indicate whether or not they were headed in the direc-
 4           tion of the house?
 5     A     I don't think they were headed in the direction of the
 6           house.
 7                            MS. WILSON:            They were or they
 8           weren't?
 9                            THE WITNESS:           They were not.
10           Sorry.
11           BY MR. PEDERSON:
12     Q     In fact, they were already past the house and were
13           headed east on North Avenue. Is that right?
14     A     Yes.
15     Q     Did you ask Detective Lewandowski if she was going to
16           the scene of where her son was?
17     A     I did.
18     Q     What did she say?
19     A     She said she was not, that she was going to District 5.
20     Q     Did she tell you when she last spoke to her son after
21           the initial time before she left the station?
22     A     After that?
23     Q     Yes.
24     A     I don't know that she said she spoke to him again. She
25           may have, she may not have.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            122
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 123 of 501 Document 80-5
 1     Q     Did she tell you what she told her son when she spoke to
 2           him on the phone at the station before she left?
 3     A     I believe she did, but I don't remember what that was.
 4     Q     Did she indicate whether or not -- Strike that. I want
 5           to direct your attention to Page 21 of your report.
 6     A     I am there.
 7     Q     Third full paragraph. I'd ask you to read that and see
 8           if it refreshes your recollection.
 9     A     I read it.
10     Q     Does that refresh your recollection?
11     A     I believe I read the wrong paragraph.
12     Q     I am on Page 21, the third full paragraph.
13     A     I see which paragraph. Yes.
14     Q     Does that refresh your recollection as to what she had
15           said to her son?
16     A     Yes.
17     Q     What did she say?
18     A     To call her when he knew something.
19     Q     Is it accurate to say at the time she was traveling in
20           her car, she was expecting another phone call from her
21           son. Is that right?
22     A     She asked him to call her back. I don't know what her
23           expectation was, if she expected she was going to get a
24           call when she was driving or not. It seemed reasonable
25           that someone would know that something would happen when

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            123
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 124 of 501 Document 80-5
 1           she was still driving the car.
 2     Q     Did the detective tell you anything about what she was
 3           doing with her phone at or around the time that the
 4           accident occurred?
 5     A     Yes.
 6     Q     What did she tell you?
 7     A     She told me she didn't have her phone, that she had
 8           given it to Detective Carr.
 9     Q     Why did she do that?
10     A     She wanted Detective Carr to find, I believe, Melanie's
11           number in it -- in the phone. But she wanted Detective
12           Carr to answer the phone, I believe, and, I believe, she
13           wanted her to look for a phone number. I am not sure
14           from my memory if Detective Carr stated that she was
15           looking for a number in the phone or if that was
16           Detective Lewandowski. But she had given the phone to
17           her and she was supposedly looking at the phone or
18           looking for a number.
19     Q     You have had a number of documents placed in front of
20           you for identification. I direct your attention to the
21           first one marked for identification as number nine. Can
22           you tell me what that document is?
23     A     It is a memorandum from Detective Lewandowski to Chief
24           of Police Edward Flynn dated October 11, 2015.
25     Q     Have you seen this document before?

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                               sueT@wi.rr.com
                                                                            124
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 125 of 501 Document 80-5
 1     A     Yes.
 2     Q     Could you please give it a quick look-over and indicate
 3           whether it is appears to be a true and correct copy of
 4           the report it purports to be?
 5     A     Yes, it appears to be.
 6                            MR. PEDERSON:          I move this into
 7           evidence.
 8                            MR. MC GAVER:          No objection.
 9                            MR. KONRAD:            Admitted. Exhibit 9
10           is admitted.
11     Q     What is your understanding of why this document was
12           filed? What is the purpose of this document?
13     A     When a member is served, the proper term would be
14           "charges", they have an opportunity to submit a response
15           to those charges in writing.
16     Q     You are talking about the charge and specifications that
17           are provided to members after a determination has been
18           made that they may have committed a rule violation?
19     A     Yes.
20     Q     We have had those entered into evidence today, or at
21           least a portion of them. I direct your attention to
22           Document -- You will have to tell me. Oh, number six.
23           Do you have that in front of you?
24     A     Yes.
25     Q     Is that what you are talking about?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            125
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 126 of 501 Document 80-5
 1     A     Yes.
 2     Q     Is it correct to say that all the charges that are
 3           contained here today were not in front of her at that
 4           time? Is that right?
 5     A     Correct.
 6     Q     What was different?
 7     A     She was served with two or three charges that day.
 8     Q     Which one was she not charged with then that she is
 9           charged with here today in this packet?
10     A     It would be -- the common word we use of untruthfulness.
11           I don't know the exact wording of the charge. Integrity
12           charge.
13     Q     I direct your attention to the fourth page of this
14           document where it indicates "integrity".
15                            MS. MC KENZIE:         Document 6?
16                            MR. PEDERSON:          Yes.
17     Q     Is it correct to say that that page -- the three pages
18           relating to that charge were not present at that time?
19     A     Yes.
20     Q     Why is that?
21     A     That was not part -- the integrity charge was not part
22           of the charges at that time. It was determined later.
23     Q     That has nothing to do with you. You don't decide what
24           charges are issues.
25     A     Right.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            126
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 127 of 501 Document 80-5
 1     Q     I suppose another point of clarification, as far as
 2           differences, the memo in number nine is dated
 3           October 11, 2015. Is that right?
 4     A     Correct.
 5     Q     So for example, on Page 3 of Document 6 where it has
 6           the decision of Chief Flynn occurring December 15, 2015,
 7           those notations, obviously, wouldn't have been there.
 8           Is that a correct assumption?
 9     A     Correct.
10     Q     All right. So this is what she is responding to in this
11           memo that is marked number nine. Is that right?
12     A     Yes.
13     Q     Did you review this document?
14     A     Yes.
15     Q     Were her statements in this document consistent with the
16           interview that she gave you?
17     A     Some of them were.
18     Q     Are there any specific inconsistencies that you are
19           aware of?
20     A     I am not aware of a positive THC or marijuana test.
21           I was not --
22     Q     I want you to stop there and back up. What are you
23           referring to? What portion of this document?
24     A     I guess, that would be the -- I guess I would call it
25           the third full paragraph where it begins, "as Detective

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                                                                            127
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 128 of 501 Document 80-5
 1           Carr." In the paragraph, it says,
 2                       "the driver had a blood level of .06 and
 3           tested positive for THC." THC is the active ingredient,
 4           I believe, in marijuana.
 5     Q     What was the inconsistency there?
 6     A     I wasn't aware of a positive test for marijuana.
 7     Q     Any others?
 8                            THE WITNESS:           Can I review it?
 9                            MR. PEDERSON:          Yes, please.
10     A     In the second paragraph, it states,
11                       "this officer requested my help with the
12           filing of a felony case. Additionally, and most
13           importantly, to help her with the fear and stress she
14           was experiencing while working, due to an assault by a
15           co-worker."
16           I don't recall being informed during the interview that
17           she was helping with a filing of a felony case with her
18           and that she was responding at that time because she had
19           asked her to come. She indicated earlier in the night,
20           that she did not want to be there regarding the matter.
21           It wasn't that -- It was for something that was on-
22           going, was my impression, not to deal with fear and
23           stress she was experiencing.
24     Q     Was this made part of her file as a formal response to
25           charges?

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                               sueT@wi.rr.com
                                                                            128
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 129 of 501 Document 80-5
 1     A     Yes.
 2     Q     This was forwarded to the chief?
 3     A     I believe so, yes.
 4     Q     I now direct your attention to Document No. 10 marked
 5           for identification. Are you familiar with this docu-
 6           ment?
 7     A     Yes.
 8     Q     What is this document?
 9     A     It is a memorandum that she filed dated November 12.
10           It is dated November 12. I believe she attached it to
11           her second Response to Charges. I am not fully certain
12           on that, but I think she attached it to her second
13           Response to Charges.
14     Q     Let's talk more about this document. What is it, to
15           your knowledge?
16     A     She is providing more information regarding the state-
17           ments of Sergeant Riley and her perception of those
18           statements and she is also addressing claims of whether
19           she was meeting her son or not.
20     Q     In here, does she level allegations of misconduct toward
21           specific department members?
22     A     Yes.
23     Q     Who does she level those allegations towards?
24     A     There is quite a few.
25     Q     Please indicate to the extent you are able.

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                               sueT@wi.rr.com
                                                                            129
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 130 of 501 Document 80-5
 1     A     Lieutenant Hanley, Sergeant Riley, I believe -- I am not
 2           sure if it is acting Captain Sgrignuoli or Captain
 3           Sgrignuoli.
 4     Q     I direct your attention to the second page from the
 5           bottom, fifth paragraph up. Let me know when you are
 6           there. It starts, "Lieutenant Sean Hanley."
 7     A     Yes.
 8     Q     I'll read that.
 9                       "Lieutenant Sean Hanley also lied about the
10           phone call contents that I made to him the night of the
11           accident."
12           Did I read that correctly?
13     A     Yes.
14     Q     Was this made part of the investigative file?
15     A     Yes.
16                            MR. PEDERSON:          I move that into
17           evidence, please.
18                            MR. MC GAVER:          No objection.
19                            MR. KONRAD:            It is admitted.
20           BY MR. Pederson:
21     Q     Finally, I direct your attention to Document No. 11
22           marked for identification. Are you familiar with this
23           document?
24     A     Yes.
25     Q     What is this?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            130
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 131 of 501 Document 80-5
 1     A     I believe this is her second Response to Charges that
 2           she submitted.
 3     Q     Is this another response she was provided when she was
 4           provided the integrity charge?
 5     A     That is what my understanding of what it was for, yes.
 6     Q     Directing your attention to Document No. 6, before, I
 7           had indicated that starting with Page 3, for three
 8           pages, that was not present at that time. She
 9           resubmitted this and, then, that charge was there?
10           Is that the difference for this one?
11     A     Can you re-ask that?
12     Q     You previously testified that with her prior -- her
13           first response, the integrity document, the documents
14           related to the integrity charges weren't there. Right?
15     A     Yes.
16     Q     As they appear today in Document No. 6. Right?
17     A     Yes.
18     Q     So this memo is a response to the portions that relate
19           to integrity. Is that correct?
20                            MS. WILSON:            Can you refer to the
21           number? The number? You are saying "this document".
22           I got all these documents.
23                            MR. PEDERSON:           Sure. I am
24           referring to Document No. 6, which is the charge and
25           specifications, and Pages 4, 5 and 6.

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                               sueT@wi.rr.com
                                                                            131
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 132 of 501 Document 80-5
 1     Q     Is it accurate to say, Sergeant, that Pages 4, 5 and 6
 2           of Document 6 relate to the integrity charge?
 3     A     Yes.
 4     Q     And that these are the pages that were not present when
 5           she filed her first response memo?
 6     A     Yes.
 7     Q     And with the second response memo dated November 27,
 8           Document 11, this is the document when she was provided
 9           Pages 4, 5, and 6, Document 6. Right?
10     A     Just to clarify, I wasn't present when she was provided
11           those charges.
12                            MR. PEDERSON:          Maybe that is only
13           clear to me. I try to make it as clear as possible, but
14           let's proceed.
15     Q     Did you review this document?
16     A     Yes.
17     Q     All right. In this document, does she raise any new
18           issues or anything that was concerning your investiga-
19           tion?
20                            THE WITNESS:           May I review it?
21                            MR. PEDERSON:          Yes, please.
22     A     Yes, there is a line.
23     Q     Go ahead. What jumps out at you?
24     A     Page 2, second-to-the-last paragraph.
25                       "Additionally, Officer Melanie Beasley needed

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                               sueT@wi.rr.com
                                                                            132
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 133 of 501 Document 80-5
 1           my assistance on reports regarding a RES on the date of
 2           the accident as I stated in my PI-21, but that too was
 3           never investigated."
 4     Q     What is concerning about that statement?
 5     A     I don't believe she indicated in her PI-21 that she was
 6           assisting Officer Beasley with an RES report.
 7     Q     Anything else?
 8     A     No.
 9     Q     I would direct your attention to the next page, the
10           second-to-the-last page of this document, Document 11,
11           where she makes some statements about you. Do you see
12           that?
13     A     Yes.
14     Q     In here, she makes a number of statements regarding your
15           history of who you work for. Do you see all of this?
16     A     Yes.
17     Q     I will direct your attention to the second-to-the-last
18           paragraph in here. It starts, "it should also."
19           Do you see that?
20     A     Yes.
21     Q                   "It should also be noted that the acts of
22           Sergeant Adam Zieger, Sergeant Roberta Klien constitute
23           misconduct in public office and guilty of a class I and
24           H felony."
25           Do you see that?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            133
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 134 of 501 Document 80-5
 1     A     Yes.
 2     Q     Did I read that correctly?
 3     A     Yes.
 4     Q     Did that cause you to -- provoke you to have any sort of
 5           response to what she stated there?
 6     A     As far as the investigation goes, no.
 7     Q     Do you know what she is referring to there?
 8     A     I am sorry?
 9     Q     Do you know what she is referring to when she says you
10           committed misconduct, what allegations she is making?
11     A     I assume the ones that she laid out beforehand.
12     Q     Can you summarize your understanding of what the allega-
13           tions are there?
14     A     That during portions of the PI-21, I deduced an officer
15           to admit the acts of violations of an officer's lawful
16           conduct.
17     Q     Have you ever been investigated for any misconduct in
18           relation to your investigation in this matter?
19     A     I don't know.
20     Q     Not to your knowledge, I guess. Right?
21     A     No.
22     Q     Is there anywhere in this document where she denies
23           having been on her way to her son?
24     A     It is a few pages in. I am not sure. I would have to
25           review it.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            134
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 135 of 501 Document 80-5
 1     Q     Is it fair to say that the majority of this document is
 2           criticizing the investigation that was conducted and
 3           calling its -- well, the integrity of the investigation
 4           itself into question? Is that right?
 5     A     Yes.
 6     Q     When you received this, don't you have a responsibility
 7           to review it and determine if any follow-up investiga-
 8           tion is necessary due to issues that might be raised in
 9           it? Is that part of your job?
10     A     That is typically what is done with a typical Response
11           to Charges.
12     Q     Was there anything specific in here that you needed to
13           do to continue the investigation?
14     A     I believe I obtained -- after this, I think I obtained
15           a memorandum from the medical section.
16     Q     Do you recall what the memo was regarding?
17     A     I believe it was just the initial memorandum that a
18           sergeant filed indicating that she was injured.
19     Q     Nothing else. Am I right?
20                            THE WITNESS:           I need one more
21           second, please.
22                            MR. PEDERSON:          Maybe there is a
23           simple way I can ask this question.
24     Q     Is there anything contained, to your knowledge, in
25           Document No. 11 that fundamentally changed the nature of

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            135
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 136 of 501 Document 80-5
 1           the investigation or required any sort of significant
 2           work on you to address new issues raised?
 3     A     I don't believe from that document, no.
 4                            MR. KONRAD:            Counsel, it is now
 5           l2:00, noon.
 6                            MR. PEDERSON:          I am actually going
 7           to be wrapping up very quickly. I have one more area
 8           that I know off the top of my head. It won't take long,
 9           so I would prefer to continue.
10                            MR. KONRAD:            What is "rather
11           quickly"?
12                            MR. PEDERSON:          Ten minutes.
13                            MR. KONRAD:            All right.
14           (Discussion off the record)
15           BY MR. PEDERSON:
16     Q     I just want to talk about Juanita Carr. Did you inter-
17           view her?
18     A     Yes.
19     Q     What did you discuss with her?
20     A     I discussed what happened with the decision to go try
21           to make a gun recovery and where they were going before
22           they were involved in the accident and the accident
23           itself.
24     Q     What did she tell you regarding what started this whole
25           thing?

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                               sueT@wi.rr.com
                                                                            136
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 137 of 501 Document 80-5
 1     A     She didn't recall whether she was instructed to do this,
 2           the follow-up, or she thought to do it on her own and
 3           that she decided to take -- or to be accompanied by
 4           Detective Lewandowski and Detective Lewandowski told her
 5           that she had a matter at District 5 she needed to take
 6           care of and they were going there first before going to
 7           do the follow-up.
 8     Q     What happened next?
 9     A     She said she wanted to do the follow-up. She wanted to
10           leave and go home. Those weren't her exact words, but
11           she said she wanted to leave on time or something to
12           that effect. And that she -- they were traveling on
13           North Avenue. At some point after Sherman Boulevard
14           before 35th Street, there was something going on on the
15           side of the road which may involve prostitution and that
16           the emergency lights were activated on the squad.
17     Q     Why was that?
18     A     I would have to look and see what her exact response to
19           that was, but it had to do with the vehicle on the side
20           of the road.
21     Q     Did she tell you what happened next?
22     A     That they continued and that she was not sure if the
23           emergency lights were still on and that they got into
24           the accident.
25     Q     Did she tell you what she, herself, was doing at the

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                               sueT@wi.rr.com
                                                                            137
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 138 of 501 Document 80-5
 1           time the accident occurred?
 2     A     She did. It had to do with Detective Lewandowski's
 3           operating her phone. I don't remember if she was
 4           looking to get a number out of the phone or if she was
 5           trying to -- waiting for a call to answer. From my
 6           memory, I believe, it was she was looking for a number
 7           in the phone.
 8                            MS. MC KENZIE:        On whose phone?
 9                            THE WITNESS:          Detective
10           Lewandowski's phone.
11           BY MR. Pederson:
12     Q     So you are not sure exactly whether she was looking for
13           a number or not, but you know for sure that she had
14           Detective Lewandowski's phone for some purpose.
15     A     Yes.
16                            MR. PEDERSON:          That is all I have on
17           direct.
18                            MR. KONRAD:            Do the commissioners
19           have any questions?
20                            MS. MC KENZIE:         No.
21                            MS. WILSON:            I may have missed
22           something. When two people are riding in a squad car
23           and they are not assigned different assignments,
24           they go to one and go to another one, do they?
25                            THE WITNESS:          That could be a

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                               sueT@wi.rr.com
                                                                            138
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 139 of 501 Document 80-5
 1           complicated answer depending on the situation, but I
 2           don't think it would apply to this situation.
 3                            MS. WILSON:            The lights. When you
 4           turn on the lights, my understanding is the light was
 5           turned on to keep another car from hitting the squad
 6           car. Is that what we said? How fast -- I guess in
 7           your estimation, could you get a light on to keep some-
 8           body from hitting you, because it seems to me if some-
 9           body is coming that way, them lights must move real fast
10           and the person must respond real fast.
11                            THE WITNESS:          Commissioner, if I
12           felt the vehicle was going to probably hit me, I don't
13           think I would react and turn the lights on. I would
14           probably hit my brakes. But if you actually were
15           reacting to turn the lights on, it is physical. It's
16           just reaching -- I believe the center console would be
17           somewhere maybe a few inches away from the knee area.
18           You could just reach down and you would just have to
19           literally flip that toggle switch all the way over, if
20           someone was choosing to do that.
21                            MR. KONRAD:            All right. That
22           completes the morning session. We will reconvene in
23           Room 301B.
24                            MS. WILSON:            "A".
25                            MR. KONRAD:            "A". Excuse me.

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                               sueT@wi.rr.com
                                                                            139
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 140 of 501 Document 80-5
 1           It's at the end of this hallway. We will reconvene at
 2           1:10. Does that give you enough time?
 3                            MR. PEDERSON:          I assume we will
 4           reconvene with the witness back on the stand?
 5                            MR. KONRAD:            Yes.
 6           (Lunch break was taken)
 7                            MR. KONRAD:            All right. We are
 8           ready to proceed with our afternoon session.
 9                            Mr. Pederson, do you have any more
10           witnesses?
11                            MR. PEDERSON:          I do not.
12                            MR. MC GAVER:          I have not been able
13           to cross-examine this witness.
14                            MR. KONRAD:            Sorry. You are still
15           under oath.
16           CROSS-EXAMINATION BY MR. MC GAVER:
17     Q     Sergeant, how many years of experience do you have
18           leading investigations?
19     A     I have been conducting investigations ever since I have
20           been trained as a police officer.
21     Q     How much training have you received in conducting
22           interviews?
23     A     I don't remember specifically. I am sure there is
24           training at the academy.
25     Q     After the academy?

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                               sueT@wi.rr.com
                                                                            140
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 141 of 501 Document 80-5
 1     A     I am sure there's been -- I'm sure there's been in-
 2           service training on it, but a specific recollection of
 3           what that was -- and for the academy, I had formal
 4           schooling which included an interview class for criminal
 5           investigation -- interrogation.
 6     Q     Have you ever held the rank of detective?
 7     A     No.
 8     Q     You testified a little bit about the CAD reports in
 9           this case. Just a couple of questions about that.
10           Every time any officer leaves a police station, is
11           that supposed to be reported on a CAD entry somewhere?
12     A     No.
13     Q     Can you give me an example of a time where that wouldn't
14           be required to be reported?
15     A     As an example, for an officer on patrol looking for
16           maybe a contact, driving around looking for some --
17           trying to find, you know, an investigation or something
18           to do, it is not a designated assignment, it wouldn't
19           have a CAD generated for that.
20     Q     But if you are an officer going to a specific location
21           for a specific reason, you should probably have that
22           reported on a CAD entry. Is that fair?
23     A     It could or could not. An officer could be going to a
24           house for some sort of follow-up on what they were going
25           to do, but they are going to keep themselves available

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                               sueT@wi.rr.com
                                                                            141
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 142 of 501 Document 80-5
 1           until they get there and they may not put themselves
 2           until they get there and they may not tell the dis-
 3           patcher where they are headed. They might, say, remain
 4           available for in-service.
 5     Q     In the course of your investigation, are you aware of
 6           any Tactical Enforcement or TEU officers who were on the
 7           scene of the accident, even though there is no entry
 8           reported in CAD records?
 9     A     I am not sure one way or another.
10     Q     You came into this investigation a little bit after
11           it happened. In fact, ten days -- is that roughly
12           correct -- after the accident occurred, you started your
13           investigation?
14     A     I believe it was one of the last days of January.
15           January 28 seems to stand out to me.
16     Q     So you didn't have the opportunity to interview any
17           witnesses on the scene. Correct?
18     A     At the actual scene of the accident?
19     Q     Correct.
20     A     No.
21     Q     You interviewed one citizen witness, Jasmine Hernandez
22           after the fact. Why only her?
23     A     That is not the only person I interviewed.
24     Q     Citizen witness.
25     A     That is not the only citizen I interviewed.

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                                                                            142
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 143 of 501 Document 80-5
 1     Q     Who else did you interview?
 2     A     Should be -- There was another subject that partially
 3           identified themselves. I believe, instead of providing
 4           her first name, she provided her middle name, Yvette.
 5           Then there were two male subjects. I believe her first
 6           name or last name was Kadima. Kadima with a "K". And I
 7           don't remember the other subject's name.
 8     Q     You interviewed detective Carr as part of the investi-
 9           gation. Correct?
10     A     Yes.
11     Q     And you didn't interview detective Carr until April 14,
12           2015. Is that right?
13     A     I am not sure that is the exact date, but I wouldn't
14           dispute that that is the date.
15     Q     85 days after the accident?
16     A     Is that 85?
17     Q     Do you trust my math?
18     A     If that is 85 days.
19     Q     Same question with regard to Shannon Lewandowski. I
20           believe -- correct me if I'm wrong -- that you inter-
21           viewed her on April 14 as well.
22     A     I wouldn't dispute that that is the correct date.
23     Q     Jordan Lewandowski, you interviewed him. Correct?
24     A     Yes.
25     Q     That occurred on June 11, 2015?

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                                                                            143
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 144 of 501 Document 80-5
 1     A     Correct.
 2     Q     143 days later?
 3     A     If your math is right.
 4     Q     I hope so. Otherwise, I will look like a fool.
 5           June 12, Sergeant Smith, did you interview him?
 6     A     Yes.
 7     Q     On June 12?
 8     A     I don't remember -- the exact date, but June sounds
 9           appropriate.
10     Q     144 days after, if my math is correct? Would you
11           dispute that?
12     A     No.
13     Q     Then you completed -- I will skip ahead a little bit.
14           You completed your memo -- or at least it is dated
15           September 9, 2015. Is that right?
16     A     Yes.
17     Q     That is 233 days, if my math is right, after the acci-
18           dent. Correct?
19     A     Sure.
20     Q     While you were conducting interviews with officers who
21           reported to the accident scene, did anyone give you any
22           observations about how Shannon Lewandowski was acting?
23     A     Yes.
24     Q     Do you remember what Officer Boehlke said about Shannon
25           Lewandowski?

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                               sueT@wi.rr.com
                                                                            144
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 145 of 501 Document 80-5
 1     A     I don't remember what he specifically said --
 2                            MR. MC GAVER:          For the record, it's
 3           B-o-e-h-l-k-e.
 4     A     -- about her actions. Correct.
 5     Q     Correct. About how she was acting, what he observed
 6           about Shannon Lewandowski. I will direct you to your
 7           report. Do you still have it in front of you?
 8     A     Yes.
 9     Q     That is Exhibit No. 8. I will direct you to Page 12 of
10           22, the second full paragraph.
11                            THE WITNESS:           Can you give me the
12           page number?
13                            MR. MC GAVER:          12 of 22. Let me
14           know when you are there.
15                            THE WITNESS:           Okay.
16                            MR. MC GAVER:          Second full
17           paragraph, the last full sentence starts with "Officer
18           Boehlke described." If you could read that sentence
19           and let me know when you are finished.
20                            THE WITNESS:           "Officer Boehlke --"
21           I will read it to myself.
22     Q     Does it refresh your memory as to what he said about
23           what he observed about Shannon Lewandowski?
24     A     I read the wrong paragraph.
25                            MR. MC GAVER:          Let me know when you

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                               sueT@wi.rr.com
                                                                            145
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 146 of 501 Document 80-5
 1           are ready.
 2                            THE WITNESS:           Yes.
 3     Q     So Officer Boehlke describes Shannon Lewandowski as
 4           being what?
 5     A     "Distraught, very 'worri-some' and slightly agitated."
 6     Q     Do you have any recollection of Officer Kuspa making
 7           observations to you about Shannon's condition, what he
 8           observed about Shannon's condition?
 9     A     I don't have an independent memory of it.
10                            MR. MC GAVER:          I direct you to the
11           last paragraph, the sentence starting with "Officer
12           Kuspa described." Let me know when you are there. I
13           will read it for you.
14                       "Officer Kuspa described the detective had
15           an apparent leg injury, was very incoherent, and kept
16           saying, 'Go get my son.'"
17           Did I read it correctly?
18     A     Yes.
19     Q     Is that your recollection of what Kuspa told you?
20     A     I don't have an independent memory of it, but.
21     Q     Do you have any reason to dispute it?
22     A     No.
23     Q     Go ahead, if you would, to Page 14 of 22. Did you
24           interview Officer Deb Stacey in connection with this
25           investigation?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            146
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 147 of 501 Document 80-5
 1     A     Yes.
 2     Q     Second-to-the-last paragraph on Page 14 of 22. Do you
 3           see what I am looking at?
 4     A     Yes.
 5     Q     Second-to-the-last sentence there, it starts with
 6                       "Detective Lewandowski 'wasn't making any
 7           sense' and told us to go get her son."
 8           Did I read that correctly?
 9     A     Yes.
10     Q     Any reason to dispute that is what Deb Stacey told you?
11     A     No.
12                            MR. MC GAVER:          Page 15 of 22. Let
13           me know when you are there.
14                            THE WITNESS:           I am there.
15     Q     Last paragraph. Start of a new sentence.
16                       "Officer Vollrath acknowledged there was
17           discussion that he -- next page -- heard amongst
18           officers related to going to meet her son, but none
19           of the statements were from Detective Lewandowski."
20           Did you interview Vollrath in connection with the
21           investigation?
22     A     Yes.
23     Q     Do you have any quarrel with that being what he told
24           you?
25     A     No.

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                                                                            147
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 148 of 501 Document 80-5
 1     Q     Go to -- page over to 13 of 22. I think you are going
 2           backward now. Did you interview then-Officer, now-
 3           detective Melanie Beasley in connection with the
 4           investigation?
 5     A     Yes.
 6     Q     Do you remember whether Melanie Beasley told you
 7           anything about Shannon Lewandowski -- a conversation
 8           that she wanted to have -- "she" being Melanie, wanted
 9           to have with Shannon Lewandowski about finishing
10           reports?
11     A     Yes.
12     Q     What do you remember about that?
13     A     I remember that she stated that she wanted to talk to
14           Detective Lewandowski about several things and one of
15           them included a report that she was working on.
16     Q     Did she give any more details about what the report was
17           or what she wanted help with?
18     A     Not that I remember, no.
19     Q     Did you ask her?
20     A     I may have. I don't know.
21     Q     Did you interview -- Obviously, you testified that you
22           interviewed Detective Lewandowski in connection with the
23           incident. Correct?
24     A     Yes.
25     Q     What, if anything, did Detective Lewandowski explain to

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                                                                            148
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 149 of 501 Document 80-5
 1           you as to why Jordan would hand a business card to an
 2           officer who is pulling him over?
 3     A     That we didn't discuss that.
 4     Q     What about phone calls she would -- what about phone
 5           calls that she would -- would have instructed Jordan
 6           Lewandowski to make to her in the event that he was
 7           pulled over by a police officer?
 8     A     Which statements -- Could you repeat the question?
 9     Q     Did Shannon, in her interview with you, explain any
10           rationale or reasoning behind wanting her son to call
11           her if he was pulled over by police?
12     A     She said that -- I don't know if I remember it as a
13           "rationale."
14     Q     What did she say?
15     A     She said that he gets pulled over quite frequently and
16           she is worried about his safety.
17                            MS. MC KENZIE:         That is what she
18           said to you in the interview?
19                            THE WITNESS:          Yes.
20           BY MR. MC GAVER:
21     Q     In your interview with Detective Lewandowski, I am going
22           to ask you to assume her explanation of why she flipped
23           the toggle switch on her car and put her emergency
24           lights on as true. Do you remember the explanation that
25           she gave you for that?

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                               sueT@wi.rr.com
                                                                            149
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 150 of 501 Document 80-5
 1     A     Yes.
 2     Q     If you assume that explanation were to be true, do you
 3           have an opinion as to whether that would violate an
 4           approved reason why emergency lights should be used?
 5     A     An opinion?
 6     Q     Yes. What is your take on it?
 7     A     My opinion is that the lights of an authorized emergency
 8           vehicle can be activated when responding to an emergency
 9           and there is a slew of things as far as delivering
10           organs and assisting with that kind of thing as well
11           as --
12     Q     Observing a traffic hazard in the middle of the road?
13     A     I would agree if you were -- the lights would certainly
14           be an appropriate use if you were blocking traffic for a
15           traffic hazard.
16     Q     There's been testimony earlier today about the squad
17           lights being activated around 36th Street. Do you
18           remember either hearing that or saying it?
19     A     I said near 36th Street.
20     Q     That is one block away from 35th Street, obviously.
21           Correct?
22     A     35th Street to 36th Street is certainly one block, yes.
23           I don't remember if there was an elaboration as to what
24           side of 36th Street, but 35th Street to 36th Street is
25           about one block.

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                               sueT@wi.rr.com
                                                                            150
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 151 of 501 Document 80-5
 1     Q     There is no quarrel that the accident occurred at the
 2           intersection of 35th and North. Right?
 3     A     No.
 4     Q     Okay. Did you ever find out over the course of your
 5           investigation whether Shannon Lewandowski was uncon-
 6           scious at any time?
 7     A     It was reported to me that she was.
 8     Q     Do you remember who reported it?
 9     A     I believe she did. I believe it may have been reported
10           to an officer of court administration who filed a
11           supplementary report and it may have been included in
12           there as well, but I am not for certain. I believe
13           Detective Lewandowski said she was informed that she had
14           lost consciousness.
15     Q     Do you know who told Lewandowski that she went
16           unconscious?
17     A     I don't remember.
18     Q     What about detective Carr? Do you know whether she
19           ever lost consciousness?
20     A     I don't remember her saying or ever reporting that she
21           lost consciousness.
22     Q     Did Detective Lewandowski ever report to you in the
23           process of you interviewing her that she had a hard
24           time articulating herself because of the nature of her
25           injury?

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                               sueT@wi.rr.com
                                                                            151
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 152 of 501 Document 80-5
 1     A     Yes.
 2     Q     What about having issues with short-term memory?
 3     A     Yes.
 4     Q     Did you notice any slurred speech or -- slurred speech
 5           in your interview with Lewandowski?
 6     A     No.
 7     Q     Did she indicate that she was having problems with
 8           slurred speech?
 9     A     I don't remember if that was one of the things she said
10           or not.
11     Q     Earlier today, there was testimony about then-officer,
12           now-detective Melanie Beasley having an incident or a
13           problem with a Tactical Enforcement officer. Do you
14           have any independent knowledge of that investigation,
15           if one existed?
16     A     I think so.
17     Q     What do you know about it?
18     A     I know that the Special Investigation Section had an
19           investigation for that.
20     Q     Were you involved in the investigation?
21     A     Yes.
22     Q     What was your role?
23     A     I was interviewed briefly once.
24     Q     What was the topic of the discussion in your interview?
25     A     If I received a phone call from a sergeant at a

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                               sueT@wi.rr.com
                                                                            152
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 153 of 501 Document 80-5
 1           district.
 2     Q     Can you elaborate? I don't understand.
 3     A     They wanted to confirm that I received a phone call from
 4           a sergeant at District 5, being Sergeant Gawin.
 5     Q     Regarding what?
 6     A     Well, there was -- it was regarding then-Officer Beasley
 7           coming and talking to her after at a hearing that day at
 8           court.
 9     Q     Do you have any knowledge what that hearing would have
10           been about?
11     A     I believe it was regarding a restraining order.
12     Q     Do you have any independent knowledge about a restrain-
13           ing order that affected Officer Beasley being served
14           upon the District 5 police station?
15     A     I have no idea what you are asking.
16     Q     Do you know whether a restraining order was ever served
17           on any officer at District 5 regarding the Melanie
18           Beasley situation?
19     A     I am aware that I believe someone was served with a
20           restraining order, but I wouldn't have received that
21           information.
22                            MR. KONRAD:            Could we clarify?
23           Are we talking about some sort of confidential investi-
24           gation? By your answers, I see you are hesitating.
25                            THE WITNESS:          I believe it is --

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            153
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 154 of 501 Document 80-5
 1           there is still a pending investigation.
 2                            MR. MC GAVER:          I have not asked for
 3           the officer's name and I won't ask for the officer's
 4           name involved in it.
 5                            THE WITNESS:           I don't believe there
 6           is a pending criminal investigation.
 7           BY MR. MC GAVER:
 8     Q     Do you know whether that investigation is closed?
 9     A     I believe what you are referring to is the Special
10           Investigation Section investigation is closed, yes.
11                            MR. KONRAD:            If this is an
12           internal investigation, I don't think it is appropriate
13           for discussion.
14                            MR. MC GAVER:          That is fine. I have
15           nothing else.
16                            MR. PEDERSON:          Just a brief
17           redirect, if I may.
18                            MR. KONRAD:            Well, you have a
19           problem.
20                            MR. PEDERSON:          What's that?
21                            MR. KONRAD:            We don't want any
22           more discussion of that investigation.
23                            MR. PEDERSON:          I wasn't going to ask
24           about that.
25                            MR. KONRAD:            Then, you don't have

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                               sueT@wi.rr.com
                                                                            154
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 155 of 501 Document 80-5
 1           a problem.
 2                            MR. PEDERSON:           Thank you,
 3           Mr. Konrad.
 4                            I just want to quickly ask you about
 5           Jordan Lewandowski.
 6           REDIRECT EXAMINATION BY MR. PEDERSON:
 7     Q     This would be Detective Lewandowski's son. Am I right?
 8     A     Yes.
 9     Q     You indicated you interviewed him?
10     A     Yes.
11     Q     I believe you were asked some questions and you said you
12           didn't talk about that. What did you talk about with
13           Jordan?
14     A     Can you repeat that?
15     Q     What was the subject matter of your discussion with
16           Jordan Lewandowski?
17     A     The subject matter was the accident involving his mother
18           and his interaction with a police officer that night.
19     Q     Did you ask him whether or not he had a conversation
20           about his mom -- with his mom at that time?
21     A     Yes.
22     Q     What did he say?
23     A     He said he did have a short conversation with his mom.
24     Q     Did you ask him whether or not he had arranged with his
25           mother to have her come and pick him up -- or show up at

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                               sueT@wi.rr.com
                                                                            155
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 156 of 501 Document 80-5
 1           the scene, I should say?
 2     A     That was part of the discussion, yes.
 3     Q     What did he say?
 4     A     He said no.
 5     Q     Did he say anything else more specifically in relation
 6           to that?
 7     A     He said that he wouldn't ever put her in that position.
 8     Q     What position is that?
 9     A     To ask her to come meet him at a traffic stop.
10                            MR. PEDERSON:          That is all I have.
11                            MR. MC GAVER:          One question.
12           RECROSS-EXAMINATION BY MR. MC GAVER:
13     Q     The interview you conducted with Jordan, how was that
14           conducted?
15     A     Over the telephone.
16                            MR. MC GAVER:          That's it. Thank
17           you.
18                            MR. PEDERSON:          I am sorry. Can I
19           have a little leeway?
20                            MR. KONRAD:            Go ahead.
21           RE-REDIRECT EXAMINATION BY MR. PEDERSON:
22     Q     I want to talk about the timeline here. There were some
23           questions raised about how many days, how long it took.
24           Do you have an explanation as to why it took that long?
25     A     Yes. The interview and investigation, Detective

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                               sueT@wi.rr.com
                                                                            156
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 157 of 501 Document 80-5
 1           Lewandowski and detective Carr were -- had not returned
 2           to work. They were not coming to work. There was a
 3           little bit of difficulty -- I can't say for sure how
 4           long it was -- with me contacting one or both of them.
 5           And several of the interviews were interviews that were
 6           asked for me to complete after reviewing the status of
 7           the case with my current lieutenant.
 8     Q     How about the issue of the integrity charge coming later
 9           than the other two charges? Did that have any effect on
10           the timing?
11     A     That submission of the charge itself? It didn't affect
12           the timing of the investigation, the actual issuing of
13           the charge.
14     Q     Okay. Any other factors that caused the interviews --
15           the investigation to be extended, to your knowledge?
16     A     There is -- it is common we don't just look at one case,
17           we have several cases that we are working on at one
18           time. I work at night and I also respond to critical
19           incidents that occur in the city and I have additional
20           official responsibilities there on a daily basis.
21     Q     In terms of sequence, was it important to interview
22           anybody first or early on before you interviewed other
23           persons?
24     A     I tried to interview the witnesses that actually saw the
25           accident before the detectives.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            157
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 158 of 501 Document 80-5
 1     Q     Is there anyone you were reserving until after you spoke
 2           to the detectives?
 3     A     No.
 4     Q     Would it be accurate to say you couldn't begin to
 5           investigate an integrity charge until she provided an
 6           inconsistent statement to you? Is that right?
 7     A     Correct.
 8                            MR. PEDERSON:          That is all I have.
 9                            MR. MC GAVER:          Nothing further.
10                            MR. KONRAD:            Thank you.
11           (Witness excused)
12                            MR. PEDERSON:          The only housekeeping
13           matter is I need to move Exhibit 11 into evidence.
14                            MR. MC GAVER:          What is 11?
15                            MR. PEDERSON:          The third -- the
16           second Response to Charges.
17                            MR. MC GAVER:          No objection.
18                            MR. PEDERSON:          Other than that,
19           I think everything has been entered and with that,
20           the chief would rest his case.
21                            MR. KONRAD:            11 will be admitted.
22                            Mr. McGaver, do you have any witnesses?
23                            MR. MC GAVER:          I do. I call
24           Detective Juanita Carr.
25                            JUANITA CARR, having been first duly

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            158
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 159 of 501 Document 80-5
 1           sworn on oath to tell the truth, the whole truth, and
 2           nothing but the truth testified as follows:
 3                            MR. KONRAD:            She is sworn. You
 4           may proceed.
 5           DIRECT EXAMINATION BY MR. MC GAVER:
 6     Q     State your name for the record.
 7     A     My name is Juanita Carr.
 8     Q     You are a Milwaukee Police detective. Correct?
 9     A     Yes.
10     Q     What year did you start working for the Milwaukee Police
11           Department?
12     A     1996.
13     Q     What year were you promoted to detective?
14     A     2005.
15     Q     Where were you assigned on January 19, 2015?
16     A     I was assigned to the Criminal Investigation Bureau
17           working out of District 3.
18     Q     What hours did you work?
19     A     8:00 p.m. to 4:00 a.m.
20     Q     Did you work on January 19?
21     A     Yes.
22     Q     Did you have any contact with Lieutenant Sean Hanley
23           during that shift?
24     A     Yes.
25     Q     Who is Hanley in relation -- in professional relation-

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                               sueT@wi.rr.com
                                                                            159
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 160 of 501 Document 80-5
 1           ship to you, or who was he on January 19, 2015?
 2     A     One of the lieutenants out of the detective bureau.
 3     Q     Was he your supervisor?
 4     A     One of my supervisors.
 5     Q     Where did you have this first contact with Lieutenant
 6           Hanley?
 7     A     Where?
 8     Q     Where? Where did you meet with him?
 9     A     I believe at the hospital. Saint Joe's Hospital,
10           I believe.
11     Q     What did he tell you?
12     A     In regard to what?
13     Q     In that meeting. You met with him at Saint Joe's
14           Hospital. What were you talking about?
15     A     I don't recall exactly what our conversation was.
16           I was there investigating a shooting.
17     Q     Did he send you to a specific assignment at that time?
18     A     I am not understanding your question.
19     Q     What was the purpose of the conversation with Lieutenant
20           Hanley at St. Joseph's Hospital on January 19, 2015?
21           What did you guys talk about?
22     A     About the shooting and, then, recovering the weapon.
23     Q     What time did that conversation take place?
24     A     I don't recall the time.
25     Q     Can you tell me a little bit about the shooting you were

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                               sueT@wi.rr.com
                                                                            160
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 161 of 501 Document 80-5
 1           investigating?
 2     A     I believe it was a shooting where a male had shot
 3           himself.
 4     Q     Do you know any of the circumstances under which the
 5           male shot himself?
 6     A     No, I don't. I don't recall.
 7     Q     At any point in time, did you report to the 2700 block
 8           of 52nd Street?
 9     A     I don't know the exact time, but I know it would have
10           been right after leaving the hospital. That is the
11           location I believe the victim -- the male person who
12           shot himself, that is where he resided.
13     Q     What was the purpose of visiting that address?
14     A     I went there to try and recover the weapon that he used.
15     Q     Did you come into contact with anyone at that address?
16     A     No.
17     Q     What happened?
18     A     I didn't get an answer.
19     Q     Did you knock on the door?
20     A     Yes.
21     Q     Did you announce yourself as a member of the Milwaukee
22           Police Department?
23     A     No. No one answered, so I didn't respond to anything.
24     Q     Did Lieutenant Hanley at any point or anyone else for
25           that matter direct you to return to that address to

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                               sueT@wi.rr.com
                                                                            161
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 162 of 501 Document 80-5
 1           follow up with that investigation?
 2     A     Yes.
 3     Q     Who told you?
 4     A     I don't recall. It was one of the other supervisors out
 5           of the district.
 6     Q     It was not Lieutenant Hanley?
 7     A     No. I don't recall. I don't believe it was. I
 8           remember another supervisor at District 3 asking if I
 9           recovered the weapon and I told him no.
10     Q     Did you notice or believe there was any sense of urgency
11           to retrieve the gun used -- allegedly used in the shoot-
12           ing?
13     A     The urgency that I had noticed was after leaving the
14           hospital and that is when I went to try and recover
15           the weapon.
16     Q     Why was there some urgency?
17     A     So that I could make it to the house before the person
18           was released from the hospital. That would have been
19           the urgency.
20     Q     You were unsuccessful in locating the gun when you went
21           to the address. Fair?
22     A     Correct.
23     Q     Did you have any contact with Detective Lewandowski
24           during that shift?
25     A     Yes.

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                               sueT@wi.rr.com
                                                                            162
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 163 of 501 Document 80-5
 1     Q     Where did you first have contact with her?
 2     A     At District 3.
 3     Q     Approximately what time was that contact?
 4     A     I don't remember the time.
 5     Q     You make any plans to go anywhere with Detective
 6           Lewandowski?
 7     A     Yes.
 8     Q     What were those plans?
 9     A     I had plans to go back and check for the -- if I could
10           get inside the house to check for the gun that was used
11           in the incident and Detective Lewandowski said that she
12           had to go to District 3 to meet with another officer or
13           something, so we got in the car together so that we
14           could both handle both incidents or both locations.
15           She could go to District 5 and I could go to the
16           victim's location and see if I could recover the gun.
17     Q     Just to be clear, this would be the second attempt you
18           made to track down the gun at the location of the
19           shooting. Fair?
20     A     Yes.
21     Q     Did detective -- Did you notice Detective Lewandowski
22           take any phone calls before she got in the car with you?
23     A     I don't remember.
24     Q     Who drove the car?
25     A     She did.

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                               sueT@wi.rr.com
                                                                            163
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 164 of 501 Document 80-5
 1     Q     Is there any reason why she was driving the car as
 2           opposed to you?
 3     A     No.
 4     Q     What, if anything, did Detective Lewandowski do with her
 5           phone when she got into the car?
 6     A     I don't know what she did with it immediately, but I
 7           know I did have her phone in my hand.
 8     Q     What was the purpose of you having Lewandowski's phone
 9           in your hand?
10     A     I was looking through her cell phone. I remember
11           looking through it.
12     Q     Prior to your departure from the District 5 police
13           department with Detective Lewandowski, did she tell
14           you anything about an incident with her son?
15     A     We never left District 5. We left out of District 3.
16                            MR. MC GAVER:          I apologize. You are
17           correct.
18                            MR. KONRAD:            The same question
19           except District 3?
20                            MR. MC GAVER:          Right.
21     Q     Did she mention her son at all?
22     A     When she passed me her phone, I remember her asking me
23           to look for his number so she could get in contact with
24           him.
25     Q     Did she explain to you why?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            164
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 165 of 501 Document 80-5
 1     A     I don't believe so.
 2     Q     What was your understanding of where you were planning
 3           on going immediately?
 4     A     Immediately?
 5     Q     Immediately. Where was the first stop?
 6     A     District 5.
 7     Q     And what was the purpose of you going to District 5?
 8     A     She was going to meet with another officer.
 9     Q     Who was the officer?
10     A     I didn't know at that time. I believe the young lady's
11           name is Melanie. I don't know her last name.
12     Q     Do you know anything about the purpose of Lewandowski's
13           planned meeting with Melanie?
14     A     No.
15     Q     To be clear, what was the plan after you departed from
16           District 5?
17     A     To go and pick up the gun, see if we could get inside
18           the house.
19     Q     How did Detective Lewandowski become involved in the
20           attempt to pick up the gun inside that house?
21     A     I told her that I was going to go and try and recover
22           the gun from that victim's residence, so she had to go
23           into District 5 and she was going to ride with me so we
24           could try and get inside the residence and recover the
25           gun.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            165
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 166 of 501 Document 80-5
 1     Q     As far as you know, did anyone order Detective
 2           Lewandowski to participate in that investigation?
 3     A     Not that I am aware of.
 4     Q     Prior to you approaching the intersection of 36th Street
 5           and North Avenue, did Detective Lewandowski receive any
 6           phone calls on her phone?
 7     A     No. I had her cell phone in my hand.
 8     Q     And it didn't ring?
 9     A     I don't believe so.
10     Q     As you approached the intersection of 36th Street and
11           North Avenue, what did you see?
12     A     I didn't see anything. I was looking down at her phone.
13           I just heard her say, "oh, N", some cuss word, but
14           before I could look as high up as the bottom of the
15           window on the passenger's side or the driver's side,
16           our car had been hit. I didn't know which direction we
17           were hit from.
18     Q     Prior to the collision --
19                            MS. MC KENZIE:         I'm sorry.
20                            She said, "oh, N"?
21                            THE WITNESS:           She said, "oh", just
22           "oh", and, then, she used a cuss word. I don't recall
23           which cuss word she used.
24                            MS. MC KENZIE:         Okay. Go ahead.
25           BY MR. MC GAVER:

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            166
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 167 of 501 Document 80-5
 1     Q     At any point prior to the collision, do you know whether
 2           Detective Lewandowski activated the squad lights?
 3     A     Yes. I believe that the lights were on.
 4     Q     Can you explain the circumstances under which she
 5           activated those lights?
 6     A     I can't explain it. I do know that there are -- during
 7           that time, there are a lot of prostitutes out in certain
 8           areas and a lot of times, people will activate the
 9           lights to let people know that, "hey; police are paying
10           attention to what you are doing, so you all stop doing
11           stuff like that," but I don't know why she specifically
12           may have activated the --
13     Q     Did Detective Lewandowski alter the manner in which she
14           was driving once the squad lights were activated?
15     A     No, I didn't notice anything different.
16     Q     Do you remember whether she activated the siren prior to
17           the collision?
18     A     I don't recall.
19     Q     Do you remember whether the siren was on at the time of
20           the collision?
21     A     No, I don't remember hearing the siren at all.
22     Q     Do you remember whether the lights were on -- the
23           emergency lights were on at the time of the collision?
24     A     I don't recall if they were on.
25     Q     Can you explain where the squad was impacted?

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                               sueT@wi.rr.com
                                                                            167
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 168 of 501 Document 80-5
 1     A     We were struck from the front side of the vehicle on the
 2           passenger's side.
 3     Q     You were a passenger at that time?
 4     A     Yes.
 5     Q     What did the impact do, if anything, to Shannon
 6           Lewandowski's position in the car?
 7     A     She was actually on -- she was in the center of the
 8           driver and passenger's seat with her head laying back
 9           and her eyes were looking up toward the ceiling.
10     Q     Was she conscious?
11     A     She didn't look conscious, so I started screaming right
12           away.
13     Q     Did she respond to you?
14     A     Not initially.
15     Q     How long did it take for her to respond to you?
16     A     I don't recall.
17     Q     Do you know whether you lost consciousness at any point?
18     A     I don't think so.
19     Q     At any point, were you and/or -- were you removed from
20           the squad car?
21     A     Yes.
22     Q     How did that happen?
23     A     I believe there was a citizen that helped.
24     Q     At any point, did you witness whether Shannon
25           Lewandowski was removed from the squad car?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            168
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 169 of 501 Document 80-5
 1     A     I don't recall.
 2     Q     So you don't know --
 3     A     I believe she was, though.
 4     Q     Do you know how it happened?
 5     A     No, I can't recall.
 6     Q     Do you remember who the first responders -- the first
 7           emergency responder to the scene was?
 8     A     No.
 9     Q     Do you remember how long it took for emergency
10           responders to report to the scene?
11     A     No.
12     Q     Did you call 911?
13     A     No.
14     Q     Do you know who did?
15     A     No.
16     Q     Do you remember anything that you said to anyone
17           immediately following the collision?
18     A     No. I don't remember saying anything.
19     Q     Do you remember any officers reporting to the scene
20           while you were still on the scene?
21     A     Yes.
22     Q     Can you tell me who was there?
23     A     No.
24     Q     Do you remember speaking to any of the officers on
25           scene?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            169
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 170 of 501 Document 80-5
 1     A     No.
 2     Q     Do you remember -- did you witness Shannon Lewandowski
 3           say anything to any of the officers on scene?
 4     A     No. I was not near Shannon, so I don't know if she
 5           said anything or not. I can't recall hearing anything.
 6     Q     Did you tell anyone to contact next of kin or relatives?
 7     A     Excuse me?
 8     Q     Did you tell anyone to contact your relatives after the
 9           collision?
10     A     Yes. Someone did come to me and asked if there was
11           somebody that they could call. I can't remember who
12           that was.
13     Q     Do you know whether they got ahold of your relative?
14     A     Yes.
15     Q     How long were you on the scene after the accident?
16     A     It couldn't have been long, because I was taken off to
17           the hospital.
18     Q     In an ambulance?
19     A     Yes.
20     Q     Who rode with you in the ambulance? Did any members of
21           the police department ride with you in the ambulance?
22     A     I can't recall. I am sorry.
23     Q     Do you remember seeing Lieutenant Hanley at the scene of
24           the accident?
25     A     No.

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                               sueT@wi.rr.com
                                                                            170
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 171 of 501 Document 80-5
 1     Q     Once you reported to the hospital, do you remember any
 2           officers speaking with you?
 3     A     There were officers there, yes.
 4     Q     Do you remember who?
 5     A     No.
 6     Q     Do you remember seeing Hanley at the hospital?
 7     A     Yes.
 8     Q     Did Lieutenant Hanley come speak to you at the hospital?
 9     A     Yes. I believe he came in the room and spoke.
10     Q     What did you say to Hanley at that time?
11     A     I don't know.
12     Q     Do you remember what he said to you?
13     A     No.
14     Q     Did you ever see Lieutenant Hanley speak with Detective
15           Lewandowski at the hospital?
16     A     No.
17     Q     Did Lieutenant Hanley enter your room at the hospital
18           with Shannon Lewandowski?
19     A     I don't remember.
20     Q     Did Shannon Lewandowski ever come into your room at the
21           hospital?
22     A     At the end of the night when she was leaving, I remember
23           her stopping by to check on me.
24     Q     Was Lieutenant Hanley with her?
25     A     I don't believe so.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            171
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 172 of 501 Document 80-5
 1     Q     What time were you discharged from the hospital?
 2     A     I don't remember.
 3     Q     Do you know who left with you?
 4     A     I had someone, one of my family members that was there.
 5     Q     Do you know your diagnosis when you were discharged from
 6           the hospital?
 7     A     No.
 8     Q     Did Lieutenant Hanley come to your house or visit you
 9           after the accident?
10     A     Yes.
11     Q     Do you know approximately how many days after the
12           accident he visited you at your house?
13     A     I know it wasn't -- it wasn't immediately. It was --
14           I don't remember how long it was, but I know it wasn't,
15           like, right away.
16     Q     What was the purpose of that visit?
17     A     I don't recall. I know he came, him and Lieutenant
18           Paul Lough came and interviewed me at my house, but I
19           don't remember which day that was.
20     Q     Were you given what is called a PI-21 form prior to that
21           conversation with Lieutenant Hanley?
22     A     No, I don't believe so.
23     Q     Do you know what a PI-21 form is?
24                            MR. PEDERSON:          I will object to this
25           line of questioning.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            172
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 173 of 501 Document 80-5
 1                            MR. KONRAD:            What is your
 2           objection?
 3                            MR. PEDERSON:          I am objecting to the
 4           line of questioning. He is asking if she was provided a
 5           PI-21 before interviewed by Lieutenant Hanley. I think
 6           that was -- you know, that issue was disposed of, I
 7           guess, obliquely by her own motion. I don't see how
 8           that is relevant.
 9                            MR. MC GAVER:             The motion that
10           was filed earlier in the case had to do with Shannon
11           Lewandowki. It had nothing to do with Juanita Carr.
12                            MR. KONRAD:            I think the testimony
13           is to elicit the nature of the visit, so go ahead.
14           BY MR. MC GAVER:
15     Q     Do you know what a PI-21 is?
16     A     Yes.
17     Q     What is it?
18     A     It is a form informing the member to contact PPD in
19           order to give a statement regarding a matter.
20     Q     PPD is now known as IAD?
21     A     Yes.
22     Q     Internal Affairs?
23     A     Yes.
24                            MS. WILSON:            Commissioner McKenzie
25           is new. I am old. You all are sliding acronyms around

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            173
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 174 of 501 Document 80-5
 1           here like nobody's business. You have to --
 2     Q     What does PPD stand for?
 3     A     I will call it IAD.
 4     Q     What does IAD stand for?
 5     A     Internal --
 6     Q     Affairs?
 7     A     Internal Affairs.
 8     Q     All right. PPD is Professional Performance Division if
 9           I am not mistaken?
10     A     Yes.
11     Q     Is it fair that IAD is now -- or PPD is now IAD?
12     A     Yes.
13     Q     Thank you. Did you ever return to work after the
14           accident?
15     A     Yes.
16     Q     How long were you off?
17     A     About eight, nine months.
18     Q     What kind of injuries did you suffer from the accident?
19     A     I had a concussion, a back -- back pain, neck pain,
20           wrist pain and headaches.
21     Q     Do you still have any of those issues?
22     A     Yes.
23     Q     Do you know who had the green light at the intersection
24           of 35th and North at the time just before the collision?
25     A     I believe Detective Lewandowski.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            174
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 175 of 501 Document 80-5
 1     Q     How do you know that?
 2     A     That is what I was told. I didn't see, so I didn't
 3           know.
 4     Q     How fast -- Do you have any idea how fast the squad
 5           that you were in was going at the time of the accident?
 6     A     No. We couldn't have been going fast because I was
 7           looking down at the phone that I had in my hand. It was
 8           Detective Lewandowski's. And if she would have been
 9           going fast, I wouldn't paid attention to what she was
10           doing. But I wasn't -- she was not doing anything that
11           startled me or that made me -- that I need to raise my
12           head up and look and see what she was doing.
13                            MR. MC GAVER:          Nothing further.
14                            MR. KONRAD:            Mr. Pederson?
15                            MR. PEDERSON:          Thank you,
16           Mr. Konrad.
17           CROSS-EXAMINATION BY MR. PEDERSON:
18     Q     I would like to start, detective, with your testimony
19           indicating that you had gone to the house to conduct
20           a search earlier in the evening. Do you recall the
21           testimony that I am referring to?
22     A     Yes.
23     Q     When you did that, did you go alone or were you with
24           anyone?
25     A     I was probably alone.

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                                                                            175
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 176 of 501 Document 80-5
 1     Q     Is that consistent with department policy?
 2     A     To check for a gun?
 3     Q     Yes.
 4     A     I believe so.
 5     Q     So if I were to indicate to you that those -- typically,
 6           those searches are supposed to be conducted with more
 7           than one department member at a time, you would say you
 8           are not aware of that fact?
 9     A     No, I wouldn't say that. I am saying at that time, the
10           only person that was supposed to be at that residence
11           that I recall would have been his girlfriend or his wife
12           or a female that would have been there.
13     Q     How does that relate to whether or not you were going to
14           try to conduct the search alone or someone with you?
15           How did those two things connect? I don't understand.
16     A     I am not understanding your question.
17     Q     Maybe we are both misunderstanding each other. My
18           question to you was that you were at the house by
19           yourself. There was no other department member with
20           you at that house. Right?
21     A     Correct.
22     Q     And you knocked on the door and no one answered. Right?
23     A     Right.
24     Q     And my question to you was, at that time, let's say
25           someone did answer. Was it your intent to go into that

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                               sueT@wi.rr.com
                                                                            176
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 177 of 501 Document 80-5
 1           house alone to conduct -- to request to do a consent
 2           search and to conduct a search of the home?
 3     A     No, I'm sorry. No. Had I gotten an answer at the door,
 4           I would have called for another squad to respond there,
 5           but seeing that I didn't get an answer, I didn't have to
 6           call for anyone to come out. So the second time that --
 7           because Detective Lewandowski was going to ride with me,
 8           we would have been able to handle the search together.
 9     Q     So my follow-up question to you is, do you agree with me
10           that had you gone into the house alone and conducted the
11           search alone, that that would not have been consistent
12           with department policy?
13     A     I wouldn't have done that search alone.
14     Q     Very good. Did you write a report that you did that?
15     A     That I did what?
16     Q     That you went to the house, that you knocked on the door
17           and attempted to conduct a consent search, but no one
18           answered?
19     A     I would have put that in my report.
20     Q     So you did report that?
21     A     No. After the accident, I didn't file any report.
22     Q     So after you left the house, you went to District 3?
23     A     Correct.
24     Q     It is your testimony that while you were at District 3,
25           some supervisor instructed you to go back to the house

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                               sueT@wi.rr.com
                                                                            177
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 178 of 501 Document 80-5
 1           and try and conduct another search?
 2     A     There was a supervisor at District 3 that I remember
 3           asking if I had gotten the gun out of the house and I
 4           said no, but, then, Detective Lewandowski and I were
 5           going to go back -- we were going to back over to the
 6           house so I could check for the gun.
 7     Q     Did this supervisor you had the conversation with have
 8           knowledge that you had already attempted to conduct a
 9           consent search?
10                            MR. MC GAVER:           Objection. Calls
11           for speculation.
12                            MR. PEDERSON:          I can rephrase.
13     Q     Did you advise the supervisor that you had the conver-
14           sation with that you had already attempted to search the
15           house?
16     A     I don't remember if I actually advised the person, but
17           I do believe that -- I remember -- I remember, kind of,
18           saying that I had gone to the house and didn't recover
19           the gun out of there. They should have been aware.
20                            MS. MC KENZIE:         I am sorry. One
21           quick question because I think --
22                            Who sent you to the house originally the
23           first time?
24                            THE WITNESS:           That would have been
25           Lieutenant Hanley. But that is follow-up that we would

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                               sueT@wi.rr.com
                                                                            178
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 179 of 501 Document 80-5
 1           have done in the first place. Even if he wouldn't have
 2           said, "go to the house and check for the gun", it would
 3           have been done naturally.
 4           BY MR. PEDERSON:
 5     Q     Lieutenant Hanley -- it is your testimony Lieutenant
 6           Hanley gave you that directive while you were both at
 7           the hospital, though. Right?
 8     A     Yes. I think I remember him being at the hospital.
 9     Q     So when you were at District 3, it sounds to me what
10           you are saying that you have a conversation with the
11           supervisor. You don't recall who. You didn't
12           necessarily get a directive from that supervisor to go
13           again, but you decided on your own to do that because
14           that is what you do as a detective. Correct? Is that
15           your testimony?
16     A     You are confusing me.
17     Q     Let's take it in smaller pieces. You have testified
18           that you don't remember who the supervisor is that you
19           had a conversation with at District 3. Right?
20     A     Correct.
21     Q     And you are not sure if it was Hanley or not. Is that
22           true?
23     A     I don't believe it was Hanley. I believe it was another
24           supervisor from District 3 that was asking -- I am not
25           sure which supervisor that was. I don't believe it was

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                               sueT@wi.rr.com
                                                                            179
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 180 of 501 Document 80-5
 1           Lieutenant Hanley.
 2     Q     How many supervisors do you have?
 3     A     There is a lot of lieutenants, but District 3, there
 4           was supervisors at District 3 in the detective bureau.
 5     Q     Let me limit it, then. How many supervisors, to your
 6           knowledge, who had knowledge of the investigation that
 7           you were conducting were present and there and working
 8           that night?
 9     A     I don't know.
10     Q     Do you recall having any interaction with Lieutenant
11           Hanley at District 3 that night at all?
12     A     I don't remember.
13     Q     So when you have this conversation with the supervisor,
14           whoever it was, did that supervisor give you an assign-
15           ment to go back to the house and search it again, or try
16           to search it again?
17     A     Yes, I believe so.
18     Q     I think you have already testified, but do you know
19           approximately what time that was?
20     A     No.
21     Q     How did it come to pass that Detective Lewandowski was
22           aware of your assignment?
23     A     We were actually sitting right next to each other and we
24           always talk about the assignments that we have or were
25           actually sent to and I told her that that is what I was

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                               sueT@wi.rr.com
                                                                            180
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 181 of 501 Document 80-5
 1           going to go and do. I remember -- I think I remember
 2           discussing that the gun -- discussing the gun with her
 3           and rather than taking a squad out of service to go and
 4           do the search, Lewandowski was going to go with me.
 5     Q     So what happens next is you go outside and get ready to
 6           go, I assume. Is that right?
 7     A     Yes.
 8     Q     Was there much length of time between the time that you
 9           talked to the supervisor that you get in the car?
10     A     I don't remember.
11     Q     At some point, you are in the car and you are driving
12           away from District 3. Right?
13     A     Yes.
14     Q     At some point, you become aware that you are making this
15           quick run to whatever it is, to District 5 before you go
16           to the house. Is that right?
17     A     Yes.
18     Q     So when do you become aware that you are going to
19           District 5?
20     A     I don't remember, but I do know that the plan was to go
21           to District 5 so she could handle whatever was going on
22           at District 5 and, then, I was going to come back to the
23           house where the gun probably was on the way back,
24           because that was, like, a block away from District 3.
25           So we were going to make a circle out of it, I guess you

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                               sueT@wi.rr.com
                                                                            181
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 182 of 501 Document 80-5
 1           could say.
 2     Q     So this house was extremely close, the house that needed
 3           to have the search performed on it, or at least try to
 4           search. It was very close.
 5     A     Yes.
 6     Q     It would be a true statement, then, that before you left
 7           District 3, you knew you were going to District 5 first.
 8     A     I am not sure. I do know that we had -- that I had
 9           already checked for the gun and to go right back there,
10           I was -- I wanted to put a little time in there.
11                            MR. PEDERSON:          That is not my
12           question.
13     A     I believe we were probably going straight to District 5.
14           I am not real sure.
15     Q     But you would agree with me if the house is a block or
16           two away as you indicated, if you are going to go there
17           first when you left the district, you would have got
18           there right away, but you didn't.
19     A     Right.
20     Q     You were heading eastbound on North Avenue, so the
21           deduction there, the reasonable conclusion is that when
22           you got in the car with the detective, you knew at that
23           time, you were going to District 5 first. Right?
24     A     I knew once we were taking a left turn on North Avenue,
25           that we were going to District 5.

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                               sueT@wi.rr.com
                                                                            182
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 183 of 501 Document 80-5
 1     Q     I think this is already in testimony. I want to make
 2           sure. The first time you went to the house, what was
 3           the police purpose?
 4     A     To the house where the gun was?
 5     Q     Yes.
 6     A     To recover the gun.
 7     Q     Okay. To ask for a consent search and see if you could
 8           find it. Is that right?
 9     A     Yes.
10     Q     Any other police purpose?
11     A     No.
12     Q     So when you are in the car, are you having any conver-
13           sation related to what she is going to District 5 for?
14     A     No.
15     Q     When you are in the car, it is about 2:00 a.m. Right?
16     A     Yes.
17     Q     And you are getting off at 4:00. Right?
18     A     Yes.
19     Q     If you get into the house and you find the gun, there is
20           going to be some work and some paperwork and it is going
21           to take some time. Right?
22     A     Yes.
23     Q     So given that set of facts, did you have any concerns
24           about how long this detour to District 5 was going to
25           take?

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                               sueT@wi.rr.com
                                                                            183
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 184 of 501 Document 80-5
 1     A     No, I didn't. I didn't know, but I knew if there was
 2           work at my location, that I did have help.
 3     Q     So you didn't have any discussion with Detective
 4           Lewandowski about how long it might take or when you
 5           might expect to get back to the house or anything like
 6           that?
 7     A     No, I don't believe so.
 8     Q     Do you recall being interviewed by Sergeant Zieger in
 9           this matter?
10     A     Yes.
11     Q     Did you tell him about how you went to the house already
12           first?
13     A     I am sure I would have.
14     Q     When you have the phone in your hands, this is when you
15           have Detective Lewandowski's phone in your hands and you
16           are looking up the numbers, do you know why you are
17           doing that?
18     A     I was looking for her son's phone number.
19     Q     Did she tell you why, what she wanted to do?
20     A     I don't believe so.
21     Q     Was it the idea that you were going to call the number
22           for her? Is that what was going to happen, from your
23           understanding?
24     A     I don't remember.
25     Q     When the accident occurred, you had the phone in your

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                               sueT@wi.rr.com
                                                                            184
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 185 of 501 Document 80-5
 1           hands. Right?
 2     A     Yes.
 3     Q     What happened to the phone?
 4     A     I have no idea. That phone was the last thing on my
 5           mind at the time of the accident.
 6     Q     Sure. That is entirely reasonable. You didn't hang
 7           onto the phone to your knowledge, did you?
 8     A     I am sure I probably didn't.
 9     Q     But at that point, the phone is returned immediately to
10           Detective Lewandowski, isn't it?
11     A     I have no idea.
12     Q     You indicated that Lieutenant Hanley had come to your
13           house at some point to have a discussion with you. Do
14           you recall that testimony?
15     A     Yes.
16     Q     If I were to indicate to you that Lieutenant Hanley
17           reported that he went to your house on Wednesday,
18           January 21, 2015 at approximately 8:30 p.m., with
19           Lieutenant Paul Lowe, would you have any reason to
20           dispute that?
21     A     I don't know. If he would have come in, I am sure I
22           wouldn't have been interviewed at that time. I was
23           still suffering from a very bad concussion.
24     Q     So I need to understand your testimony. Are you saying
25           that that is not true, that can't be true?

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                               sueT@wi.rr.com
                                                                            185
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 186 of 501 Document 80-5
 1     A     No, I am not saying that can't be true. I am saying
 2           that I don't know for sure. I don't remember if he
 3           did come a couple days -- I don't remember him coming
 4           a couple days after the accident.
 5     Q     But you have no specific facts or knowledge that you can
 6           point to to indicate that must be wrong. Is that true?
 7     A     Correct.
 8     Q     And if he reported in the same report that at that time
 9           that he had a conversation with you regarding your
10           recollection of the events that led up to the accident
11           and surrounding it, would that -- would you have any
12           reason to dispute that that was true or not true?
13     A     I don't remember discussing the accident with him at
14           that time. I really don't remember discussing the
15           accident with anyone for a few weeks of being home from
16           the hospital.
17                            MR. PEDERSON:          That is all I have.
18                            MR. KONRAD:            Commissioners with
19           any questions?
20                            MS. WILSON:            When you asked the
21           question about Lieutenant Hanley at the hospital, were
22           you talking about at the hospital about the shooting or
23           at the hospital that you were in the accident?
24                            MR. PEDERSON:          I was talking about
25           regarding the shooting. It is my understanding she

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                               sueT@wi.rr.com
                                                                            186
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 187 of 501 Document 80-5
 1           testified that she got that directive from Lieutenant
 2           Hanley while investigating the shooting investigation
 3           to go search the house.
 4                            MS. WILSON:            You may not know,
 5           but does anybody know how many lieutenants are on any
 6           given shift at any given time? Or nobody knows, just as
 7           many as we need?
 8                            MR. PEDERSON:          I believe there had
 9           been prior testimony that there was one other lieutenant
10           that was on duty at that time.
11                            MS. MC KENZIE:         Do you recall whether
12           or not you were working on the weekend shift?
13                            THE WITNESS:           On the weekend?
14                            MS. MC KENZIE:         The weekend shift
15           that you were working on?
16                            THE WITNESS:           I believe so. At
17           that time, we were working one weekend. Every third
18           weekend, we were off.
19                            MS. MC KENZIE:        Do you normally work
20           with Detective Lewandowski?
21                            THE WITNESS:          No. I normally work
22           by myself.
23                            MS. MC KENZIE:        So when you were given
24           the assignment by whoever your supervisor was at the
25           time to go retrieve the gun and you sat back down at

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                               sueT@wi.rr.com
                                                                            187
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 188 of 501 Document 80-5
 1           your desk, were you the person who initiates the
 2           discussion of, "let's go do this together"?
 3                            THE WITNESS:             I don't recall, but
 4           I know between the two of us, we would sit there and
 5           talk about our assignments and if there was something
 6           that needed to be done, you know, we would make sure
 7           that it got done.
 8                            MS. MC KENZIE:         My question is, do
 9           you work together often?
10                            THE WITNESS:           We don't ride in the
11           same car. We may end up at the same assignment, but we
12           are not, like, partnered in the same vehicle. But we --
13           Just as this young lady is sitting right next to me,
14           this is pretty much how Detective Lewandowski and I were
15           sitting in the assembly at District 3.
16                            MS. MC KENZIE:         I guess, outside of
17           this date, which is January 19, normally do you guys sit
18           together on weekends?
19                            THE WITNESS:          Yes.
20                            MS. MC KENZIE:        And so when you
21           initiated the discussion with Detective Lewandowski and
22           you said, "this is the assignment that I have," did you
23           say, "come with," or did she say to you, "I have some-
24           thing to do, I am going to go over" -- if you can.
25                            THE WITNESS:           I don't remember who

     SUSAN K. TAYLOR             262-553-1058              COURT REPORTER
                               sueT@wi.rr.com
                                                                            188
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 189 of 501 Document 80-5
 1           initiated that, you know, "you go with me, I go with
 2           you", but I do know that we both came to the conclusion
 3           that she had something that she needed to do and I had
 4           something that I needed to do, so I was actually trying
 5           to not call and have a squad meet me there. Since she
 6           was going to go out of the building, she could actually
 7           go and do the follow-up with me to see if we could both
 8           get inside of the house and once we got inside the
 9           house, we could both handle the follow-up, either --
10           you know.
11                            MS. MC KENZIE:         Was that her car that
12           you were in?
13                            THE WITNESS:           I don't believe that
14           car was assigned to anyone. I don't know what car she
15           is assigned.
16                            MS. MC KENZIE:         That is fine. I
17           guess my question was going to be, why is it that she
18           ended up driving and not you, if you can recall?
19                            THE WITNESS:           I don't know. She
20           probably had the keys. I don't know.
21                            MS. MC KENZIE:         Okay. When you are
22           in the car driving with her, it is my understanding from
23           your testimony that a supervisor, whoever the supervisor
24           was, told you to go retrieve the gun. Is that correct?
25                            THE WITNESS:          Yes.

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                               sueT@wi.rr.com
                                                                            189
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 190 of 501 Document 80-5
 1                            MS. MC KENZIE:        Were you under the
 2           impression that Detective Lewandowski had an assignment
 3           from a supervisor?
 4                            THE WITNESS:          No. I remember her
 5           saying that she was going to go to District 3 to meet
 6           with another officer. I don't know -- I didn't know at
 7           that time if a supervisor had sent her to District 3 or
 8           what. I just knew she was going to meet with another
 9           officer.
10                            MS. MC KENZIE:         I guess my question
11           is, did you, in some sense, feel like your assignment
12           was more of a priority than what she was doing?
13                            THE WITNESS:           No. I believe all
14           police work is equal.
15                            MS. WILSON:            And I want to follow
16           up on that. Do you believe that all police work is
17           equal or are you talking about this specific case?
18                            THE WITNESS:           No. I'm saying that
19           the way I respond, I respond to all of my assignments
20           with care, so I usually take as much care as possible
21           from one assignment to the next. I have to put myself
22           in the position. I have four children. Is this the way
23           I would want my children to be handled if a police
24           officer had to respond to one of their homes? So I
25           always -- I have a large family and I want it to be

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                               sueT@wi.rr.com
                                                                            190
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 191 of 501 Document 80-5
 1           taken care of -- I want people to be taken care of,
 2           so I do my job in the same way.
 3                            MS. WILSON:            "Care" is a wonderful
 4           word. "Equal" is a little bit -- Homicide is not equal
 5           with a robbery.
 6                            THE WITNESS:           The crime is not
 7           equal, but police work is.
 8                            MS. WILSON:            I got you.
 9                            MS. MC KENZIE:         You earlier testified
10           not knowing what you were diagnosed with. What were the
11           nature of your injuries?
12                            THE WITNESS:           I had been diagnosed
13           with a severe concussion. Generally, concussions are
14           gone within ten days, but I was still -- I am still
15           suffering from a concussion today. Part of the con-
16           cussion is the headaches that I still have. I have a
17           lot of instability where a person who is not under the
18           influence of alcohol or drugs -- I am not an alcohol or
19           drug user, but a person who is not under the influence
20           or alcohol or drugs can maintain their stability, walk
21           a straight line, stand on one foot without wobbling,
22           you know, doing different things. I couldn't do any of
23           that and it really makes you feel stupid when something
24           like that happens because you are supposed to be the
25           strong person. I had traumatic carpal tunnel in my left

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                               sueT@wi.rr.com
                                                                            191
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 192 of 501 Document 80-5
 1           wrist, low back pain, neck pain and upper back pain.
 2                            MS. MC KENZIE:         Are you currently
 3           working?
 4                            THE WITNESS:          I am working on
 5           limited duty status.
 6                            MS. MC KENZIE:        So you are still an
 7           employee of MPD?
 8                            THE WITNESS:          Yes.
 9                            MR. KONRAD:            When you responded to
10           2765 North 52nd Street, which was the location where the
11           gun was to be recovered, did you report your location to
12           the dispatch?
13                            THE WITNESS:           I don't recall.
14           Sometimes, detectives, and probably officers as well,
15           will leave the building, maybe knock on a door and if
16           you get a response or something, you may go over the air
17           at that point. Sometimes we are in a hurry and I know
18           we probably shouldn't be, but I don't recall thinking
19           that maybe I probably didn't, but had I gotten inside
20           the house, I would definitely have notified the dis-
21           patcher that put me out with a follow-up at that point.
22                            MR. KONRAD:            If you don't notify
23           the dispatcher before you get out of your squad and go
24           to the house, something happens, they have no way of
25           knowing where you are. Isn't that right?

     SUSAN K. TAYLOR             262-553-1058              COURT REPORTER
                               sueT@wi.rr.com
                                                                            192
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 193 of 501 Document 80-5
 1                            THE WITNESS:          I would assume that
 2           they are able to pinpoint our location through the cars,
 3           but I know that is not what actually -- I am not sure.
 4           I don't know if I would have gone out at that time with
 5           my location.
 6                            MR. KONRAD:            Thank you.
 7                            THE WITNESS:           You are welcome.
 8                            MR. MC GAVER:          A few questions on
 9           redirect.
10                            MR. KONRAD:            Go ahead.
11                            MR. MC GAVER:          Thank you.
12           REDIRECT EXAMINATION BY MR. MC GAVER:
13     Q     Was Shannon Lewandowski present for the conversation
14           that you had, you think, with Lieutenant Hanley at Saint
15           Joseph's Hospital?
16     A     No, I don't believe so.
17     Q     Was she present for the conversation that you had at
18           District 3 with an unknown supervisor?
19     A     I believe she was sitting at her desk. I am not sure.
20     Q     Did the supervisor order Lewandowski to participate in
21           the investigation?
22     A     No. She volunteered.
23     Q     Did she do that from time to time?
24     A     All the time.
25     Q     Before or during your squad ride on January 19, 2015

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            193
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 194 of 501 Document 80-5
 1           with Shannon Lewandowski, was there any talk of going to
 2           the UWM area?
 3     A     No.
 4                            MR. MC GAVER:          Thank you. Nothing
 5           further.
 6                            MS. WILSON:            I have a question.
 7           There was no conversation about UWM. Was there a con-
 8           versation about where you were going when you got in the
 9           car and left? Did she say, "let's go to a ball game"?
10           I mean, did you know where you were going?
11                            THE WITNESS:           I believe I knew that
12           we were probably going to go to District 5 first. If I
13           didn't know that, I was hoping that because I had just
14           gone to knock on the door at the victim's residence and
15           didn't get an answer, so I was trying to let a little
16           time lapse. I am sure that would have been the case.
17           But I don't remember if we had a conversation that we
18           were definitely going to District 5 first.
19                            MR. KONRAD:            No further questions
20           or examinations, thank you for testifying.
21                            MR. MC GAVER:          May the witness be
22           excused?
23                            MR. KONRAD:            Yes.
24           (Witness excused)
25                            MR. MC GAVER:          I call Jordan

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            194
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 195 of 501 Document 80-5
 1           Lewandowski to the stand.
 2                            JORDAN LEWANDOWSKI, having been first
 3           duly sworn on oath to tell the truth, the whole truth,
 4           and nothing but the truth testified as follows:
 5                            MR. KONRAD:            You are now sworn.
 6           DIRECT EXAMINATION BY MR. MC GAVER:
 7     Q     State your name and spell your last name for the record.
 8     A     Jordan Lewandowski. L-e-w-a-n-d-o-w-s-k-i.
 9     Q     Shannon Lewandowski is your mother. Correct?
10     A     Yes.
11     Q     You also have another brother?
12     A     Yes.
13     Q     What is his name?
14     A     Kasey Lewandowski.
15     Q     Where does he live?
16     A     San Diego, California.
17     Q     Was he involved in any of -- anything surrounding the
18           accident occurring January 19, 2015? Was he involved?
19     A     No.
20     Q     How old were you on January 19, 2015?
21     A     I was 19.
22     Q     How old are you now?
23     A     22.
24     Q     At any point, did you encounter a squad car?
25     A     Yes, I did.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            195
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 196 of 501 Document 80-5
 1     Q     Tell me how that happened.
 2     A     I was moving -- at the time, I was moving my car from
 3           the middle -- by a friend's driveway.
 4     Q     Why were you doing that?
 5     A     Because I would have got a parking ticket because my
 6           bumper was out on the sidewalk, so I was going to move
 7           it from one side of the street to the other.
 8     Q     Tell me about how it came to be that you encountered the
 9           squad car.
10     A     I was out with a few friends and I came back to the
11           house. We were drinking water. I told my friend
12           Michael that I was moving my car from one side of the
13           street to the other so I didn't get a ticket. So I
14           proceeded to move my car out of the driveway and since
15           the street is narrow on Maryland, I put my emergencies
16           on because there were three cars coming from my direc-
17           tion, so I let the two cars -- one car passed, another
18           car passed and a third car was sitting behind me and I
19           was waiting for it to go and, then, that is when I found
20           out it was a squad car with lights on and I assumed that
21           I was going to be pulled over.
22     Q     Have you been pulled over in the past?
23     A     Yes.
24     Q     Approximately how many times?
25     A     Approximately four.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            196
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 197 of 501 Document 80-5
 1     Q     Do you have a policy or procedure that you follow when
 2           you are pulled over by a squad that might be different
 3           from someone else?
 4     A     One thing I always do is I follow their directions to
 5           comply. I give them my ID and I give them my mother's
 6           business card.
 7     Q     Who told you to give the officer your mother's business
 8           card?
 9     A     My mother.
10     Q     Do you know why she wants you to give officers her
11           business card?
12     A     One thing that my mom told me when I first got my
13           driver's license was that when I am pulled over, being a
14           black male, that one of the most dangerous, one of the
15           most confusing or complicated issues with being pulled
16           over is that -- it is a complicated deal and the reason
17           why she told me to do that was to let the officers know
18           that I know my rights, and that is pretty much the
19           reason why.
20     Q     Do you have a practice of making any phone calls when
21           you are pulled over by the police?
22     A     I call my mom every time to tell her that I am getting
23           pulled over.
24     Q     Have you ever asked your mother to report to the scene
25           where you were pulled over by a police officer?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            197
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 198 of 501 Document 80-5
 1     A     Never.
 2     Q     Has she ever asked you to come to the scene where you
 3           are being pulled over by a police officer?
 4     A     Never.
 5     Q     Has she ever shown up?
 6     A     Never.
 7     Q     Did she -- did you ask her to come to the scene of
 8           3616 North Maryland on January 19, 2015?
 9     A     No.
10     Q     Did she tell you she was coming there?
11     A     No.
12     Q     Did you ever tell -- Do you know who Sergeant Cody
13           Smith is?
14     A     I believe he was the man who pulled me over initially.
15     Q     Did you tell Sergeant Smith that your mom was on her way
16           there?
17     A     No.
18     Q     Walk me through what happened with Sergeant Smith. He
19           approaches the car. What did he say to you?
20     A     The first question was, "why are you making all this
21           noise outside?" I say, "I don't know what you are
22           talking about." He, then, proceeds to ask me if this is
23           my vehicle or not and what I was doing in that area and
24           I told him that I have no idea what he is talking about,
25           I just was just moving my car from one side of the

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            198
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 199 of 501 Document 80-5
 1           street to the other and he then asked me for my driver's
 2           license and that is when I gave him my driver's license
 3           and my mom's business card and he went back to the car
 4           and he came back and asked me if I was able -- he asked
 5           me to step out of the car, so I turned my -- I don't
 6           remember if the car was on, but I got out of the car
 7           and, then, he asked me to step out of the car, so I
 8           stepped out of the car and he then asked me to do a
 9           series of sobriety tests, but before he did that, he
10           searched me and took my wallet and my phone away from me
11           as well as my keys.
12     Q     He ran you through some field sobriety tests. Did he
13           conduct any other tests?
14     A     Not to my knowledge.
15     Q     Did he have you blow into a preliminary breath machine?
16     A     Yes, he did.
17     Q     Do you know what you blew?
18     A     I believe a .08.
19     Q     What were you doing at 3616 North Maryland to begin
20           with?
21     A     I was just with two of my friends -- four of my friends,
22           rather, and we were talking and there were two young
23           ladies who were leaving and so I walked them outside
24           and they got in their car and they left.
25     Q     So does somebody you know live at that address?

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                               sueT@wi.rr.com
                                                                            199
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 200 of 501 Document 80-5
 1     A     Yes.
 2     Q     At what point during the interaction with the officer
 3           did you call your mother?
 4     A     Initially. I called her once I saw that the lights were
 5           on.
 6     Q     Was this before the officer took your phone away?
 7     A     Yes.
 8     Q     What did you say to your mom?
 9     A     I told her, "hey, I am pulled over at a traffic stop.
10           I will call you when I am done."
11     Q     What did she say to you?
12     A     "Okay."
13     Q     Was there anything more to the conversation?
14     A     No.
15     Q     Did your mother ask you where you were?
16     A     No.
17     Q     Did you know where you were?
18     A     No.
19                            MS. WILSON:            I didn't hear you.
20                            THE WITNESS:           No.
21     Q     What do you mean, "no"? Did you think you were in
22           Detroit or --
23     A     I knew I was in Milwaukee, Wisconsin. I didn't know
24           what house I was at or my exact location.
25     Q     Because you probably had a couple of cocktails?

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                               sueT@wi.rr.com
                                                                            200
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 201 of 501 Document 80-5
 1     A     Not just that. It is just I didn't -- I am not aware
 2           of what house numbers, what -- where I was.
 3     Q     At any point in time, did a second officer arrive at the
 4           scene?
 5     A     I don't know if there was a -- I don't remember if there
 6           was a second squad or if there was a partner or not.
 7     Q     Did you have any interaction with the second officer?
 8     A     Not that I recall.
 9     Q     At any point in time when the officer who you were
10           speaking with had your phone, did it ring?
11     A     Yes.
12     Q     Tell me about what happened.
13     A     I don't remember exactly why he had my phone, but he
14           answered it and I got -- I didn't know who was on the
15           other line, but he said a series of yeses, okays, and,
16           then, immediately, he gave me my phone back, my wallet,
17           my keys and told me, "your mom is in a neck brace" or
18           something, and he left the scene.
19     Q     Did any Shorewood police officers remain on the scene?
20     A     No.
21     Q     What did you do after everybody left?
22     A     I panicked. I went back inside and was trying to find
23           out who I could call to see what was going on, seeing
24           why my mother was in a neck brace.
25     Q     Did you try and call your mom's phone?

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                               sueT@wi.rr.com
                                                                            201
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 202 of 501 Document 80-5
 1     A     Yes.
 2     Q     Multiple times?
 3     A     Yes.
 4     Q     Did you finally get ahold of someone?
 5     A     Yes.
 6     Q     Who?
 7     A     I believe Officer Deb Stacey.
 8     Q     You called her or she called you?
 9     A     I believe she called me.
10     Q     What did she say to you?
11     A     She asked me what my location was and I asked the house
12           owner where we were and, then, I repeated what he said
13           to me to Deb Stacey.
14     Q     Is Officer Stacey is a Milwaukee police officer?
15     A     Yes.
16     Q     What is the next thing you remember happening?
17     A     I remember panicking and asking -- very confused and I
18           remember going outside and not seeing a cop car pick me
19           up yet, or a police car, and I went back inside and I
20           went back outside again and at that time, Deb Stacey
21           arrived with another officer. I don't remember his
22           name, but she took me -- they took me to where my mother
23           was and I remember asking if my mom was alive or not and
24           I remember seeing on the police screen that it said --
25           I believe it was a police screen that that Lewandowski

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                               sueT@wi.rr.com
                                                                            202
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 203 of 501 Document 80-5
 1           was -- it said "deceased" on there and at that time, at
 2           that point, I began to panic even more.
 3     Q     Had you met Officer Stacey prior to that interaction?
 4     A     I believe an interaction where my mom and -- I run into
 5           police officers all the time, so she was a familiar
 6           person.
 7     Q     Did Officer Stacey take you anywhere?
 8     A     Other than to the hospital located around --
 9     Q     What hospital?
10     A     I believe it was Children's Hospital on Bluemound and
11           Wauwatosa.
12     Q     Froedtert?
13     A     Froedtert, yes.
14     Q     Any other family members report to the hospital?
15     A     There was my -- Denise Rogers, who is part of our
16           family, and Jondalyn Rogers, I believe, their last name
17           is.
18     Q     What is the Rogers women's relationship to you?
19     A     My grandmother and my cousin.
20     Q     Once you arrived at the hospital, where did you go?
21     A     Immediately to my mother's room.
22     Q     Is there any point that you left the company of your
23           mother once you got to the hospital that night -- I
24           should say that morning?
25     A     I believe I left to go -- I knew my mother -- there was

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            203
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 204 of 501 Document 80-5
 1           a lieutenant or a sergeant in the hospital, so I went to
 2           go look for them. I needed to find out more information
 3           from talking to my mother, too.
 4     Q     Do you know the person's name that you were looking for?
 5     A     At the time, I did, because somebody informed me who the
 6           sergeant was, or lieutenant, but at the time, I knew.
 7           Not right now, I don't.
 8     Q     Do you know who Lieutenant Sean Hanley is?
 9     A     Yes.
10     Q     Who is he?
11     A     He is a boss of my mother's, a lieutenant, someone my
12           mother reports to.
13     Q     Did you see Lieutenant Hanley at the hospital at all?
14     A     I don't remember.
15     Q     Did Lieutenant Hanley -- do you remember seeing
16           Lieutenant Hanley speak with your mother at the
17           hospital?
18     A     No.
19     Q     Is there any possibility that Lieutenant Hanley spent
20           20 or 30 minutes with your mother at the hospital?
21     A     There is a possibility.
22     Q     When could that have happened?
23     A     Either before I was in the room or -- I don't remember
24           the particulars about the hospital or where we were at,
25           but he could have been in the room. I remember going

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            204
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 205 of 501 Document 80-5
 1           to look for him, though, because I knew he would have
 2           known -- whoever her sergeant or lieutenant was, they
 3           would have known.
 4     Q     Did you see Lieutenant Hanley speak with your mother at
 5           the hospital?
 6     A     Yes.
 7     Q     You did.
 8     A     I believe so. I think once we got up to leave out
 9           the -- my mother was being discharged, I saw him.
10     Q     What did he say?
11     A     I don't remember.
12     Q     Do you remember what your mom said to him?
13     A     No.
14                            MR. MC GAVER:          Nothing further.
15                            MR. KONRAD:            Commissioners, any
16           questions? We will take a ten-minute break.
17           (Discussion off the record)
18                            MR. KONRAD:            Mr. McGaver, are
19           you --
20                            MR. MC GAVER:          I was finished.
21                            MR. KONRAD:            You were finished
22           with your direct.
23                            Do you have any cross?
24                            MR. PEDERSON:          Very briefly, just a
25           few points.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            205
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 206 of 501 Document 80-5
 1                            MR. KONRAD:            The witness remains
 2           under oath. Conduct your cross.
 3                            MR. PEDERSON:          Thank you, Mr.
 4           Konrad.
 5           CROSS-EXAMINATION BY MR. PEDERSON:
 6     Q     Mr. Lewandowski, I have a few questions for you.
 7           On your testimony, if I recall correctly, you said that
 8           you had put your ID and your mom's business card to-
 9           gether and handed that to Sergeant Smith. Is that
10           right?
11     A     Yes.
12     Q     That occurred on the first interaction with him. Right?
13     A     Yes.
14     Q     Did you say anything to him in conjunction with that?
15     A     No.
16     Q     So you didn't mention to him that your mom is a detec-
17           tive for the police department, anything like that?
18     A     I don't recall. I assume that the business card that
19           says Milwaukee Police Department would speak for itself.
20           I don't recall saying my mom is a police officer. I
21           don't recall saying that.
22     Q     He took it from you. Right?
23     A     Yes.
24     Q     Did he look at it right there? Did you see him look at
25           it or anything like that?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            206
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 207 of 501 Document 80-5
 1     A     Not that I recall.
 2     Q     Did he ever ask you about the card, "why did you give me
 3           this card?" "What does this card have to do anything?"
 4           Did he ever ask any questions like that?
 5     A     Not that I recall.
 6     Q     So you are saying that at no point, neither you nor
 7           Sergeant Smith had any discussion whatsoever about your
 8           mom and the business card and why you handed it to him.
 9     A     I don't remember specifically an interaction.
10     Q     What was the name on your driver's license? How does
11           your name appear on your driver's license?
12     A     Jordan Lewandowski.
13     Q     How did your mom's name appear on her business card?
14     A     Shannon Lewandowski.
15     Q     Are you testifying today that it was your belief that
16           just based from that, the sergeant was supposed to
17           assume that Shannon Lewandowski was your mom and that
18           was -- Let's start there. Was that your assumption?
19     A     Yes.
20     Q     What did you expect him to conclude based on that fact?
21     A     I wasn't assuming that he would conclude anything, but
22           again, what I said before was the reason why I do that;
23           because I want them to know that I know my rights as a
24           citizen and that I respect police.
25     Q     He returned to his vehicle and, then, he came back and

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                               sueT@wi.rr.com
                                                                            207
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 208 of 501 Document 80-5
 1           asked you to step out. Right?
 2     A     Yes.
 3     Q     How long was he gone?
 4     A     Approximately five minutes.
 5     Q     When did he get your phone?
 6     A     After he asked me to step out of the vehicle and he
 7           searched me.
 8     Q     You performed a number of field sobriety tests. Right?
 9     A     Yes, but I also wasn't sure why. I was never told why I
10           was being pulled over except for the interaction that --
11           What was said before me stepping out of the car was what
12           was the noise that I was making or why was I being so
13           loud, what was the noise, and I responded in saying,
14           "I have no idea what you are talking about." So to this
15           day, I don't know why I was pulled over. I read the
16           reports that supposedly, it was a nuisance and that I
17           got caught leaving from the scene, but at the same time,
18           there was also two cars behind me, so I don't know why I
19           was pinpointed out of the three cars on that street and
20           even the two cars that were in front of the police
21           officers that were behind me.
22     Q     My question for you was, did you perform field sobriety
23           tests?
24     A     Yes.
25     Q     Had you been drinking that evening?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            208
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 209 of 501 Document 80-5
 1     A     Yes.
 2     Q     And did you fail the field sobriety tests?
 3     A     I passed them.
 4     Q     How do you know that?
 5     A     The other officer that was not Smith -- I forgot his
 6           name -- he said that, "I think he passed them", and at
 7           that point, that is where Officer Smith gave me the
 8           Breathalyzer.
 9     Q     Did he ask you to do that, consent to a Breathalyzer?
10     A     Yes, I believe so.
11     Q     It is an important point. Did he tell you, "you are?
12           Taking this PBT", or did he tell you, "do you consent to
13           a breath test?"
14     A     From what I recall, he said, "are you familiar with what
15           this is.," and I said, "yes, it is a Breathalyzer", and
16           I don't recall if he said, "do you consent to taking
17           this or do you not", or not even saying it. All I
18           remember is that I did take the test.
19     Q     Do you believe you were in good condition to drive that
20           evening?
21     A     Yes, but I wasn't planning on driving.
22     Q     You were going to move your car. Right?
23     A     Yes.
24     Q     That is driving, isn't it?
25     A     Yes.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            209
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 210 of 501 Document 80-5
 1     Q     Okay. You said you blew a .08, from your recollection.
 2     A     Yes.
 3     Q     At some point, the phone rings and the sergeant hands
 4           you back your phone. I want to get a better under-
 5           standing. What does he tell you at that time?
 6     A     The phone rings, he answers it and he says a series of
 7           yeses and okays and gives me back my phone and says,
 8           "your mother is in a neck brace", and I said -- I was
 9           confused -- "what do you mean?" He is, like, "I don't
10           know, but your mother is in a neck brace," gave me my
11           phone, my keys and wallet and left the scene.
12     Q     What did the other officer do?
13     A     Got in the car as well.
14     Q     His own car?
15     A     I don't remember if it was his own or if it was --
16           or if he was in the same car.
17     Q     Did the sergeant tell you that MPD is on their way or
18           did you talk to someone on the phone yourself?
19     A     No. I was left unattended and with zero knowledge of
20           anything else that happened.
21     Q     So are you saying that Sergeant Smith had somebody on
22           the phone, he took all that information and, then, he
23           hung up and gave you your phone back?
24     A     Yes.
25     Q     So you never had an opportunity to talk to anybody?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            210
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 211 of 501 Document 80-5
 1     A     No.
 2     Q     At the time that the sergeant left, all you knew is
 3           something happened to your mom and that is it, period.
 4     A     Yes.
 5     Q     Did the sergeant tell you why he was leaving?
 6     A     No.
 7     Q     How long until a police officer showed up after the
 8           sergeant left?
 9     A     Approximately ten minutes, 15 minutes.
10     Q     And you testified that they took you to Froedtert.
11           Right?
12     A     Yes.
13     Q     There was some concern on your part, because you didn't
14           know what state your mother was in, but at some point,
15           you had contact with her.
16     A     Yes.
17     Q     You spoke with her?
18     A     Yes.
19     Q     How was she at that time?
20     A     She was not making sense, but the -- the first things we
21           were saying -- she was saying to me is, "I'm okay, I'm
22           okay."    She was -- her words weren't making sense. She
23           was slurring. I could tell she had a head injury from
24           the way she was speaking.
25     Q     Did you observe any injuries on her?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            211
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 212 of 501 Document 80-5
 1     A     I saw her ankle. I forgot what ankle it was. One of
 2           them was very bruised.
 3     Q     Any other injuries you observed on her?
 4     A     No, not that I recollect.
 5     Q     How about just looking at her? You've indicated that
 6           she was talking in a way that made you concerned, but
 7           how about just looking at her?        Did she look like she
 8           was dazed and confused?       How was she composed in her
 9           appearance?
10     A     I would say she looked tired as if she just woke up or a
11           very confused manner.
12                            MR. PEDERSON:              That is all I
13           have.
14                            MR. MC GAVER:              Follow-up.
15           REDIRECT EXAMINATION BY MR. MC GAVER:
16     Q     By giving your mom's business card to then-Officer
17           Smith, were you expecting any special favors or con-
18           sideration from him?
19     A     No.
20     Q     With the benefit hindsight --
21                            MR. KONRAD:            Do commissioners have
22           any questions based on that examination?
23                            MS. MC KENZIE:         No.
24                            MR. KONRAD:            Go ahead.
25           BY MR. MC GAVER:

     SUSAN K. TAYLOR             262-553-1058              COURT REPORTER
                               sueT@wi.rr.com
                                                                            212
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 213 of 501 Document 80-5
 1     Q     With the benefit of hindsight, you were 21 at the time.
 2           You know now you shouldn't have been driving. Right?
 3     A     Absolutely.
 4     Q     In your interaction and conversation with your mother
 5           at the hospital, did you tell her where you were or what
 6           happened with the traffic stop?
 7     A     No. I didn't, I don't believe so. The first things
 8           that were said was -- was me asking if she was okay and
 9           just us having conversation saying, "everything is going
10           to be okay."
11     Q     Did you ever tell her where you were and what happened
12           with the traffic stop?
13     A     Not until -- I don't recall saying anything at the
14           hospital. I don't recall.
15                            MR. MC GAVER:          Nothing further.
16                            MR. KONRAD:            Anything further?
17                            MR. PEDERSON:          I have one question.
18                            If you don't mind me using your phone
19           records.
20                            MR. MC GAVER:             Please.
21           RECROSS-EXAMINATION BY MR. PEDERSON:
22     Q     You previously testified that you called your mom just
23           to let her know and you said, "I will let you know when
24           it is done", and she said, "okay", and that was it.
25           Right?

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                               sueT@wi.rr.com
                                                                            213
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 214 of 501 Document 80-5
 1     A     Right.
 2     Q     If I were to represent to you that your mother's phone
 3           records which have been produced reflect this phone call
 4           occurring at 2:11 a.m. and it lasted for two minutes,
 5           isn't that a bit longer than what you were testifying
 6           the nature and content of that conversation is?
 7     A     That is the initial contact.
 8     Q     There was a phone call from you at 2:11 a.m. and the
 9           next one is after the accident has occurred, according
10           to other records. This is the only phone call. The
11           only one prior from you is about 10:00 time. So at
12           2:11, you have a phone call. According to the records,
13           it is two minutes. So how do you account for the fact
14           that the records say it was a two-minute conversation
15           and you are saying it was a 15-second conversation?
16                            MR. MC GAVER:          I will object. That
17           is not his testimony. He didn't say, at least from my
18           recollection, he didn't say the conversation lasted 15
19           seconds.
20                            MR. KONRAD:            First of all, do I
21           have a stipulation that the phone record indicates a
22           phone call at 2:11 that lasted two minutes?
23                            MR. MC GAVER:          Sure.
24                            MR. KONRAD:            Do you want to
25           rephrase it?

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                               sueT@wi.rr.com
                                                                            214
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 215 of 501 Document 80-5
 1           BY MR. PEDERSON:
 2     Q     I am submitting to you, Mr. Lewandowski, that that is
 3           not a two-minute conversation that you testified to,
 4           so is there any way you can account for a longer conver-
 5           sation, if this record is accurate?
 6     A     I cannot account for it.
 7                            MR. PEDERSON:           Thank you. That is
 8           all I have.
 9                            MR. MC GAVER:          Nothing further.
10                            MR. KONRAD:            The witness is
11           excused.
12           (Witness excused)
13                            MR. MC GAVER:          I call Officer Debora
14           Stacey.
15                            DEBORA STACEY, having been first duly
16           sworn on oath to tell the truth, the whole truth, and
17           nothing but the truth testified as follows:
18           DIRECT EXAMINATION BY MR. MC GAVER:
19     Q     How are you employed?
20     A     Milwaukee Police Department.
21     Q     Were you employed at the Milwaukee Police Department on
22           January 19, 2015?
23     A     Yes.
24     Q     What was your rank?
25     A     Police officer.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            215
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 216 of 501 Document 80-5
 1     Q     Where were you stationed?
 2     A     District 3.
 3     Q     What shift?
 4     A     Late power shift.
 5     Q     Did you happen to report to an accident at approximately
 6           2:17 a.m. on January 19, 2015?
 7     A     Yes.
 8     Q     How did you find out about the accident?
 9     A     We heard it broadcast over the radio.
10     Q     How did you decide to report -- why did you decide to
11           report?
12     A     When the accident came over and said there was possibly
13           two officers that were dead.
14     Q     Were you working with anyone on that night?
15     A     Yes.
16     Q     Who?
17     A     William Krumnow.
18     Q     Was Officer Krumnow with you in the squad responding to
19           the accident?
20     A     Yes.
21     Q     Do you know when you arrived on scene?
22     A     I don't recall.
23     Q     Do you know whether there were any emergency responders
24           who beat you to the scene?
25     A     Yes, there were a handful of other people that were

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                                                                            216
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 217 of 501 Document 80-5
 1           there.
 2     Q     Who else was there before you, if you remember?
 3     A     It was pretty chaotic. I remember running to her and
 4           her partner.
 5     Q     Who is "her"?
 6     A     Shannon Lewandowski and Juanita Carr. And I remember
 7           MFP was there --
 8                            MS. MC KENZIE:         The fire depart-
 9           ment -- Milwaukee Fire Department. Sorry.
10     A     I don't remember which squads were there.
11     Q     When you reported to the scene, do you remember whether
12           or not the emergency lights on the squad car involved in
13           the accident were activated?
14     A     On ours or hers?
15     Q     On Shannon Lewandowski's?
16     A     I don't remember.
17     Q     Do you remember whether the squad car siren that Shannon
18           Lewandowski was driving was activated?
19     A     I don't remember that, either.
20     Q     At some point in time, did you have contact with Shannon
21           Lewandowski?
22     A     Yes.
23     Q     How did she strike you?
24     A     She made absolutely no sense.
25     Q     What do you mean by that?

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                               sueT@wi.rr.com
                                                                            217
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 218 of 501 Document 80-5
 1     A     Everything she was saying she was like she had a head
 2           injury. It was very apparent that she was slurring her
 3           words and yelling and was very upset and hurt.
 4     Q     Had you ever met Shannon Lewandowski prior to this
 5           encounter?
 6     A     Yes.
 7     Q     How would you characterize your relationship with
 8           Shannon Lewandowski?
 9     A     We are friends.
10     Q     Do you know her son?
11     A     I don't know him well, but I have met him.
12     Q     Would you know by sight?
13     A     Yes, through pictures.
14     Q     When you were interacting with Lewandowski in the early
15           morning hours of January 19, did she mention her son?
16     A     Yes.
17     Q     What did she say about him?
18     A     She kept yelling at me to go get her son.
19     Q     What did that cause you to do?
20     A     I wanted to get her son because I would do that for
21           anybody that was in an accident on the job.
22     Q     How did you come to go get her son? First of all, how
23           did you know where he was?
24     A     I didn't. I can't remember how I got to finally figure
25           out where he was, but I knew the general area. Somehow,

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                                                                            218
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 219 of 501 Document 80-5
 1           somebody told us he was over by UWM.
 2     Q     Did you notice Lewandowski speaking to any other
 3           officers on scene?
 4     A     I believe she was speaking with Officer Joseph Goggins
 5           and is the only officer that I remember. We were only
 6           on scene for a real short period of time.
 7     Q     And then you and your partner went to look for Jordan
 8           Lewandowski?
 9     A     Yes.
10     Q     How long did it take before you tracked him down?
11     A     It seemed like it took forever at the time, but it was
12           probably ten, 15 minutes maybe. I am not really sure of
13           the time frame.
14     Q     Did you ever utilize Shannon's phone while you were on
15           the scene?
16     A     Not that I recall.
17     Q     Do you know who did?
18     A     No.
19     Q     If anyone?
20     A     No.
21     Q     Where did you ultimately track Jordan Lewandowski down?
22     A     A couple blocks away. I couldn't remember the address.
23           Somewhere in the vicinity of, like, the college, but it
24           wasn't on the college campus. It was at a house, like,
25           a couple blocks away.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            219
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 220 of 501 Document 80-5
 1     Q     Do you remember what municipality it was in?
 2     A     Maybe Shorewood. I am not sure. I don't know my way
 3           around that side of town at all.
 4     Q     When you encountered Jordan Lewandowski, was he with
 5           anyone?
 6     A     No, he was by himself.
 7     Q     No officers from other departments on the scene?
 8     A     No.
 9     Q     What did you say to Jordan when you first encountered
10           him?
11     A     I told him that we were taking him to the hospital
12           because his mom was in an accident.
13     Q     What did he say in response?
14     A     That he was worried about her and scared and upset and
15           he wanted to know what her injuries were and at the
16           time, we didn't know.
17     Q     Approximately how long did it take to arrive at the
18           hospital?
19     A     From there, to Froedtert, maybe 15, 20 minutes.
20     Q     When the squad car -- Who was driving?
21     A     My partner, Officer Krumnow was driving.
22     Q     When the squad driven by Officer Krumnow arrived at
23           Froedtert and he got into the hospital, did you
24           personally see Detective Lewandowski?
25     A     I saw her and her partner.

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                               sueT@wi.rr.com
                                                                            220
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 221 of 501 Document 80-5
 1     Q     Did you talk to her?
 2     A     Yes.
 3     Q     What did you say to her?
 4     A     I was asking if she was okay, what her injuries are.
 5           That is about it.
 6     Q     How did she respond?
 7     A     She wasn't making sense.
 8     Q     How so?
 9     A     Slurring words and she wasn't her normal self.
10     Q     Do you know who Lieutenant Sean Hanley is?
11     A     Yes.
12     Q     Did you see him at the hospital?
13     A     I don't remember seeing him. He may have been there.
14           I don't remember.
15     Q     Did you see Lieutenant Hanley interact with Shannon
16           Lewandowski at the hospital?
17     A     Not that I remember.
18                            MR. MC GAVER:          Nothing further.
19           Thank you.
20                            MR. KONRAD:            Commissioners, any
21           questions?
22                            MS. WILSON:            Yes, I have.
23                            Where was Jordan when you were --
24           Was he in the house? Outdoors? On the corner?
25                            THE WITNESS:           He was standing in

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                               sueT@wi.rr.com
                                                                            221
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 222 of 501 Document 80-5
 1           front of a house on the sidewalk.
 2                            MS. WILSON:            On the sidewalk.
 3                            THE WITNESS:           Yes.
 4                            MS. WILSON:            Somebody else might
 5           have said it, but I know you had said there was --
 6           and you might not have used these word quite clearly,
 7           but she had "a head injury". Are you familiar with
 8           panic attacks?
 9                            THE WITNESS:           Yes.
10                            MS. WILSON:            I have them and I
11           start mumbling. Everybody, kind of, throws the phrase
12           "head injuries" around. Did she tell you she was
13           diagnosed with a head injury?
14                            THE WITNESS:           At the scene, the
15           fire department was yelling at me to get her son. I
16           think somebody at the scene said she was knocked out
17           unconscious, so that is where I got that information
18           from. I guess I put that together as to why she wasn't
19           making sense.
20                            MR. KONRAD:            Did you ever get
21           Jordan Lewandowski's phone number?
22                            THE WITNESS:           No. I tried to
23           contact him on Facebook because I looked for him under
24           his name. I don't remember speaking with him until we
25           got on scene, but it's been such a long period of time.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            222
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 223 of 501 Document 80-5
 1                            MR. KONRAD:            I am curious how you
 2           found each other.
 3                            THE WITNESS:          I was talking to
 4           officers at the scene. I believe that is how we found
 5           him. Like, somebody initially gave us the area that he
 6           was in and we were, kind of, driving around from block
 7           to block because the hall that somebody said he was at,
 8           he wasn't at. I think somebody at the scene may have
 9           given me his location. I honestly don't remember. I
10           also was in a squad accident and had a head injury, so
11           my memory is not the best.
12           CROSS-EXAMINATION BY MR. PEDERSON:
13     Q     You indicated you are friends with Shannon Lewandowski?
14     A     Yes.
15     Q     Would you characterize yourself as close friends?
16     A     Yes, I would say so.
17     Q     In fact, you went and visited Shannon Lewandowski the
18           next day after this occurred, didn't you?
19     A     Yes.
20     Q     That was a personal visit?
21     A     Yes.
22                            MR. PEDERSON:          Nothing further.
23                            MR. KONRAD:            Commissioners?
24                            MS. MC KENZIE:         When you saw her in
25           the hospital and you were talking with her and said that

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            223
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 224 of 501 Document 80-5
 1           she wasn't herself, did she mention anything about,
 2           "where is my son" or anything like that?
 3                            THE WITNESS:           That is when we met
 4           up. We were all together. I walked her son Jordan in.
 5                            MS. MC KENZIE:         Thank you.
 6                            MR. KONRAD:            You are excused.
 7           (Witness excused)
 8                            MR. MC GAVER:          Call Officer Jesse
 9           Vollrath.
10                            JESSE VOLLRATH, having been first duly
11           sworn on oath to tell the truth, the whole truth, and
12           nothing but the truth testified as follows:
13                            MR. KONRAD:            The witness is sworn.
14           DIRECT EXAMINATION BY MR. MC GAVER:
15     Q     Officer Vollrath, how were you employed on January 19,
16           2015?
17     A     Milwaukee Police Department.
18     Q     Are you still City of Milwaukee police officer?
19     A     Yes.
20     Q     How long have you been so employed?
21     A     December of 2006 was my appointment date.
22     Q     A little less than ten years?
23     A     Yes.
24     Q     Where were you assigned on January 19 of 15?
25     A     District 3, late shift.

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                               sueT@wi.rr.com
                                                                            224
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 225 of 501 Document 80-5
 1     Q     What hours would those be?
 2     A     Midnight to 8:00 in the morning.
 3     Q     Did you have a partner?
 4     A     I believe so. I have to look at my assignment to see
 5           who my partner was.
 6     Q     What station were you at?       You said but I missed it.
 7     A     District 3.
 8     Q     Thank you. Did you have occasion to respond to an
 9           accident at approximately 2:17 on January 19 of 2015?
10     A     I believe so, yes.
11     Q     How did you learn about the accident?
12     A     Through dispatch.
13     Q     How is it that you came together to the accident scene?
14     A     How I arrived?
15     Q     How did you decide to go there?
16     A     Red lights and siren.
17     Q     On your own or did somebody order you there?
18     A     I went on my own.
19     Q     What did you see when you got there?
20     A     A Detective Carr was smashed and there was another
21           occupied vehicle at the corner of 35th and North Avenue.
22     Q     When you arrived, were there other emergency responders
23           there?
24     A     Yes.
25     Q     Do you remember who? Did you see anyone that you knew?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            225
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 226 of 501 Document 80-5
 1     A     Shannon Lewandowski, her partner, Juanita Carr was
 2           still inside the squad car. MFD personnel was there.
 3     Q     What was Shannon doing?
 4     A     She was sitting on the curb.
 5     Q     Did you have occasion to speak with Shannon Lewandowski?
 6     A     I did.
 7     Q     What did she say to you?
 8     A     She was screaming hysterically. She was worried about
 9           her kids. What I had to do, I tried to calm her down
10           the best I could. It was January. But I still put my
11           coat over her shoulders to keep her warm until we were
12           able to go in the MFD med unit.
13     Q     Did you notice anything unusual about Detective
14           Lewandowski's behavior?
15     A     Like I said, she was hysterical, as anybody would be
16           with almost, like, a head-on collision.
17     Q     Did you have occasion to speak to detective Carr?
18     A     No.
19     Q     Were you instructed to stay with Detective Lewandowski?
20     A     I was.
21     Q     Who instructed you to do so?
22     A     I believe Sergeant Wade Grubich was on scene.
23     Q     Did you follow those instructions?
24     A     I did.
25     Q     Shannon Lewandowski eventually left the scene. How did

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            226
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 227 of 501 Document 80-5
 1           she leave?
 2     A     I rode with her in the med unit to Froedtert.
 3     Q     And you rode with her?
 4     A     Yes.
 5     Q     From the time that you arrived on scene and interacted
 6           with Shannon Lewandowski, did she mention her son?
 7     A     Yes. She was worried about both of her kids knowing
 8           that -- she wanted other officers to contact her kids to
 9           make sure that they weren't going crazy trying to kill
10           themselves to get to the hospital for her well-being.
11     Q     Did you hear any rumblings or any officers on scene say
12           anything about UWM or going to UWM?
13     A     I don't remember that at all.
14     Q     You didn't hear Shannon say that. Correct?
15     A     No.
16     Q     Once you got to the hospital, where did they take
17           Shannon?
18     A     That is over a year and a half ago. I believe they took
19           her right into an ER room.
20     Q     Where were you when they took Shannon into the ER room?
21     A     I was by her side.
22     Q     In the room?
23     A     Correct.
24     Q     At any point in time, did any family members enter
25           Shannon's emergency room?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            227
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 228 of 501 Document 80-5
 1     A     I don't know what the time frame would be, but other
 2           officers, like Officer Stacey, she brought her son.
 3     Q     Any other family member show up?
 4     A     I am not sure if her other son showed up or not. I
 5           can't recall that.
 6     Q     Do you remember if any other officer besides Debora
 7           Stacey and you walked into that emergency room group?
 8     A     If I had to guess, probably three or four other ones
 9           that were concerned about her well-being.
10     Q     Do you remember any names?
11     A     No.
12     Q     Do you know who Lieutenant Sean Hanley is?
13     A     Yes.
14     Q     Was he at the hospital?
15     A     I don't remember seeing him. I recall seeing a
16           different lieutenant there.
17     Q     What lieutenant do you recall seeing?
18     A     Lieutenant Kelly.
19     Q     While you were with Shannon Lewandowski at the hospital,
20           did Lieutenant Hanley ever -- did you see Lieutenant
21           Hanley ever stop and talk to Shannon Lewandowski?
22     A     The only time I saw Lieutenant Hanley, I believe he was
23           at the scene of the accident, but I don't recall at the
24           hospital.
25     Q     From the point in time where you and Shannon Lewandowski

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            228
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 229 of 501 Document 80-5
 1           arrived at the hospital to the point in time where she
 2           was discharged and left, did you ever leave her side?
 3     A     Yes.
 4     Q     How long were you away from her?
 5     A     They ran several tests on her, like, I believe, a CT
 6           scan on her head, you know, her ankle. I know one of
 7           her ankels was either broke or very swollen. When she
 8           was getting tests done, I went over by detective Carr's
 9           room to see how she was doing.
10     Q     How long do you think in total you were away from
11           Shannon Lewandowski in minutes?
12     A     I don't know.
13                            MR. MC GAVER:          Nothing further.
14           Thank you.
15                            MR. KONRAD:            Commissioners?
16                            MS. MC KENZIE:         Do you and Detective
17           Lewandowski have a friendship?
18                            THE WITNESS:           I have known Shannon
19           from work. She came to a lot of our scenes -- crime
20           scenes. I know her as a great detective. She does a
21           very good job, always gets the job done well.
22                            MS. MC KENZIE:         Would you
23           characterize her as a friend?
24                            THE WITNESS:           An occasional friend
25           at work.

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                               sueT@wi.rr.com
                                                                            229
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 230 of 501 Document 80-5
 1                            MS. MC KENZIE:         In any way, do you do
 2           anything outside of work together?
 3                            THE WITNESS:          No.
 4                            MS. MC KENZIE:        When you spent that
 5           time with her in the hospital, it was because you were
 6           told to watch over her or you were just being, like, a
 7           work friend?
 8                            THE WITNESS:           I would do that for
 9           my member of the police department that got in a severe
10           accident.
11                            MR. KONRAD:            Mr. Pederson?
12                            MR. PEDERSON:          Thank you, Mr.
13           Konrad.
14           CROSS-EXAMINATION BY MR. PEDERSON:
15     Q     Officer Vollrath, you provided some testimony about
16           UWM and whether you heard anything. Do you recall that
17           testimony?
18     A     No.
19     Q     I will ask it again. Do you recall any discussion of
20           Detective Lewandowski's son possibly being at UWM and
21           that is where she was headed?
22     A     I don't remember that at all.
23     Q     If I were to indicate to you that -- Strike that. Do
24           you recall having an interview with Sergeant Adam
25           Zieger?

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                               sueT@wi.rr.com
                                                                            230
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 231 of 501 Document 80-5
 1     A     I do. I believe that was on my birthday last year.
 2     Q     Do you recall stating that you acknowledge that there
 3           was discussion that he -- that you heard among the
 4           officers relating the her going to meet her son, but you
 5           didn't personally hear any of those statements from
 6           Detective Lewandowski herself?
 7     A     I think what I was indicating at that interview is
 8           that I heard that her son was over by the UWM campus
 9           and Shannon probably asked for someone to go get her son
10           because that is where he was.
11                            MR. PEDERSON:          That is all I have.
12                            MR. KONRAD:            Just to clarify. You
13           didn't hear any of these comments yourself.
14                            THE WITNESS:           Which comments?
15                            MR. KONRAD:            You said you had
16           heard -- other people had heard that Shannon Lewandowski
17           was concerned about or had some discussion of
18           retrieveing her son or, as you put it, simply to get
19           her son after the accident. What comments did you,
20           yourself, hear her make at all concerning her son?
21                            THE WITNESS:           She was concerned
22           about one of us finding her son so he doesn't rush to
23           the hospital and try to get in an accident himself.
24                            MR. PEDERSON:          I am sorry to
25           interject, Mr. Konrad, but my question was much more

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            231
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 232 of 501 Document 80-5
 1           pointed than that. The summary report --
 2                            MR. KONRAD:            There is a
 3           contradiction. Go ahead.
 4                            MR. PEDERSON:          As long as the
 5           contradiction is clear. Very good. That is all I have.
 6                            MR. KONRAD:            Anything further?
 7                            MR. MC GAVER:          No.
 8                            MR. KONRAD:            Thank you. You are
 9           excused.
10           (Witness excused)
11                            MR. MC GAVER:          Call Denise Brown.
12                            DENISE BROWN-ROGERS, having been first
13           duly sworn on oath to tell the truth, the whole truth,
14           and nothing but the truth testified as follows:
15                            MR. KONRAD:            The witness is sworn.
16                            Your name is Denise Brown-Rogers.
17                            THE WITNESS:           Yes.
18           DIRECT EXAMINATION BY MR. MC GAVER:
19     Q     Ms. Brown-Rogers, are you acquainted with Shannon
20           Lewandowski?
21     A     Yes.
22     Q     What is your relationship?
23     A     She is my daughter.
24     Q     Biological daughter?
25     A     We don't use that word in our family. She is just my

     SUSAN K. TAYLOR             262-553-1058              COURT REPORTER
                               sueT@wi.rr.com
                                                                            232
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 233 of 501 Document 80-5
 1           daughter.
 2     Q     How long has she --
 3     A     She is my baby.
 4     Q     You raised her?
 5     A     Yes, from the time she was 12 years old.
 6     Q     Do you recall reporting to the hospital on January 19
 7           of 2015?
 8     A     Yes, I do.
 9     Q     Approximately what time -- How did it come to be that
10           you reported to the hospital on that date, at that time?
11     A     My grandson called me. They called me "Big Mama". He
12           said, "Big Mama, Mama has been in an accident." I said,
13           "where is she?" He said, "at Froedtert." So I hollered
14           upstairs for my youngest daughter to come and take me
15           out to Froedtert, because I was hysterical.
16     Q     Which grandson called you?
17     A     Jordan.
18     Q     Do you remember approximately what time he called you?
19     A     No, I don't.
20     Q     Do you remember what time you got to the hospital?
21     A     No, I don't.
22     Q     Do you remember what hospital it was?
23     A     Froedtert.
24     Q     When you walked into -- Did you encounter Shannon
25           Lewandowski when you got to Froedtert?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            233
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 234 of 501 Document 80-5
 1     A     The first officer that I saw -- I saw two officers
 2           standing on the side. One of the officers was --
 3           I just know her name as Debby. She testified just a few
 4           minutes ago. And the other officer, I don't know who he
 5           was, but she walked me in and showed me where Shannon
 6           was and I was --
 7     Q     What did you see when you first encountered Shannon?
 8     A     She was, kind of, sitting up on the gurney a little bit
 9           and she said something real crazy to me. She said, "hi
10           Mama. You look pretty." I though, oh, my God and I
11           said, "are you okay, baby?" She said, "I am fine."
12           Then she started talking about, "I gotta go do my
13           dishes. I left my dishes in the sink." I am a nurse,
14           so that was an indication to me that she had some type
15           of head injury. I didn't even know beyond that, I
16           didn't notice her ankle. I was too busy focusing on her
17           face and her upper body.
18     Q     Once you arrived at the hospital and got to the room and
19           saw Shannon, did you ever leave her side?
20     A     No. I took her to the bathroom, went in the bathroom
21           with her.
22     Q     Do you remember any lieutenants coming into the hospital
23           room to talk to Shannon?
24     A     No, I don't.
25     Q     Would you know a lieutenant if you saw one?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            234
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 235 of 501 Document 80-5
 1     A     Yes. My ex-husband was a sergeant on the police
 2           department, so I am quite familiar with officers.
 3     Q     Did you see any other police officers coming through to
 4           talk to Shannon?
 5     A     No, not that I can recall.
 6     Q     How long were you at the hospital?
 7     A     Till she was discharged. We took her home.
 8     Q     Do you remember how long that was?
 9     A     I really couldn't tell you.
10     Q     Did you go right home from the hospital?
11     A     We stopped to get her car, her personal vehicle, and my
12           daughter drove her personal vehicle and I drove my
13           daughter's car because my daughter drove me out to the
14           hospital, and, then, we went home with her.
15     Q     Where did you stop to get Shannon's personal vehicle?
16     A     It was at District 3.
17     Q     Did you go into District 3?
18     A     No.
19     Q     Did Shannon?
20     A     I don't remember her going in.
21     Q     There's been some testimony about a telephone conversa-
22           tion that Shannon was a participant in that took place
23           between 6:00 and 6:40 a.m. Do you remember hearing any
24           phone call that Shannon would have made?
25     A     I don't remember. Is this after the hospital?

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                               sueT@wi.rr.com
                                                                            235
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 236 of 501 Document 80-5
 1     Q     Yes.
 2     A     I don't recall her being on the phone.
 3                            MR. MC GAVER:          Nothing further.
 4                            MS. MC KENZIE:         You indicated that at
 5           the time you stopped by your daughter's bedside, you do
 6           recall seeing lieutenants. Correct?
 7                            THE WITNESS:           I don't recall seeing
 8           any officers to come into the pod that she was in. It
 9           was me and my grandson and my daughter and hospital
10           personnel.
11                            MS. MC KENZIE:         I believe we had a
12           Jesse Vollrath testify that he was also sitting by your
13           daughter's side. Do you remember seeing him?
14                            THE WITNESS:           He might have been
15           there before I got there, but I didn't -- there was
16           nobody in the room with her other than my daughter --
17           my youngest daughter my grandson and myself.
18                            MS. MC KENZIE:         Thank you.
19                            MS. WILSON:            Was she released from
20           the emergency or did she have to stay in the hospital?
21                            THE WITNESS:           I didn't hear the
22           first part.
23                            MS. WILSON:            Let me ask her once
24           she gets up there. Thank you.
25                            MR. KONRAD:            Anything further?

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                               sueT@wi.rr.com
                                                                            236
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 237 of 501 Document 80-5
 1           CROSS-EXAMINATION BY MR. PEDERSON:
 2     Q     You said you were by her side the entire time. Right?
 3     A     From the time I got to the hospital, yes.
 4     Q     Is it possible that she had a seven-minute phone call
 5           at approximately 6:30 without you being aware of it?
 6     A     Possible.
 7     Q     You indicated that you were a nurse.
 8     A     Yes, retired.
 9     Q     You were concerned your daughter was exhibiting some
10           signs of a head injury, I believe, you testified to.
11           Is that right?
12     A     Yes.
13     Q     But despite whatever background you might have, it is
14           fair to say that you weren't at that hospital taking
15           care of her in a medical sense.        Right?
16     A     No.
17     Q     You didn't diagnose her or anything like that.
18     A     No.
19     Q     That just is a concern you had based on your
20           observations and experience?
21     A     Yes.
22                            MR. PEDERSON:          That is all I have.
23           Thank you.
24                            MR. MC GAVER:          Just one follow-up
25           question.

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                               sueT@wi.rr.com
                                                                            237
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 238 of 501 Document 80-5
 1           REDIRECT EXAMINATION BY MR. MC GAVER:
 2     Q     Were there officers outside the curtain -- the partition
 3           in the emergency room?
 4     A     Yes, there was. There was a female officer. Her
 5           pod -- Shannon's pod was on the end. There were female
 6           officer about two pods down. She insisted upon seeing
 7           Juanita, so we walked around, and there were some
 8           officers in the room with Ms. Juanita. She only saw her
 9           for about 30 seconds, a minute. She had to go to the
10           bathroom again, so I took her to the bathroom. I saw
11           officers outside the hospital entrance and a few inside
12           also.
13                            MR. MC GAVER:          Nothing further.
14           Thank you.
15                            MR. KONRAD:            Anything from the
16           commissioners?
17                            Thank you. You are excused.
18           (Witness excused)
19                            MR. MC GAVER:           I call Shannon
20           Lewandowski.
21                            SHANNON LEWANDOWSKI, having been first
22           duly sworn on oath to tell the truth, the whole truth,
23           and nothing but the truth testified as follows:
24                            MR. KONRAD:            The witness is sworn.
25           Go ahead.

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                               sueT@wi.rr.com
                                                                            238
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 239 of 501 Document 80-5
 1           DIRECT EXAMINATION BY MR. MC GAVER:
 2     Q     Ms. Lewandowski, what year did you start with the
 3           Milwaukee police at the time?
 4     A     1999.
 5     Q     You were, at some point, promoted to detective.
 6           Correct?
 7     A     2005.
 8     Q     You remain so employed until you were discharged from
 9           the department. True?
10     A     Correct.
11     Q     I draw your attention to January 19 of 2015. Where were
12           you assigned?
13     A     Central Division, CIB.
14     Q     What station did you work at?
15     A     Three and five.
16     Q     What hours did you work?
17     A     8:00 at night till 4:00 in the morning.
18     Q     Who was your immediate supervisor?
19     A     I had a couple of them. Lieutenant Sean Hanley and
20           Lieutenant Paul Lough.
21     Q     Did you work with a partner?
22     A     Not assigned to my car, but periodically, we will work
23           with other detectives.
24     Q     At some point during your shift, did you have a conver-
25           sation with then-officer, now-detective Melanie Beasley?

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                               sueT@wi.rr.com
                                                                            239
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 240 of 501 Document 80-5
 1     A     Yes.
 2     Q     Where did that conversation take place?
 3     A     District 5.
 4     Q     Approximately when did it take place?
 5     A     Beginning of -- I don't remember exactly what time.
 6           It was somewhere before midnight at District 5.
 7     Q     So before the car accident that we are talking about.
 8     A     Yes.
 9     Q     What did you talk with then-Officer Beasley about?
10     A     Melanie Beasley suffered some trauma from another
11           officer and on -- I already had knowledge of what had
12           happened because she went to get a restraining order
13           and so there was a temporary restraining order at
14           District 5 supposed to keep that officer away from her
15           district and that was not happening, so she wanted to
16           talk to me about who else to go to, so she and I had a
17           conversation that began sometime on the 18th and I heard
18           Juanita Carr get sent to a shooting. Whenever someone
19           gets sent to a shooting, if I am available, I always
20           respond with them.
21     Q     Where did Officer Beasley live at that time?
22     A     On South 84th Street.
23     Q     Did she spend anytime at your house?
24     A     Yes. She had been spending -- like, living at my house,
25           afraid to go home, so after work, she would come to my

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                               sueT@wi.rr.com
                                                                            240
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 241 of 501 Document 80-5
 1           house and stay.
 2     Q     You said you heard about a shooting. What did you do
 3           after you heard about the shooting?
 4     A     I told Melanie that I would return before her shift
 5           ended. Her shift ended at 3:00 and mine at ended at
 6           4:00. I called Juanita and asked her to give the exact
 7           address of where she was dispatched to and I said I was
 8           on my way.
 9     Q     Was that conversation with detective Carr took place on
10           the telephone?
11     A     Yes.
12                            MS. MC KENZIE:         I am sorry. You had
13           a conversation with Juanita. Where were you?
14                            THE WITNESS:          In District 5 talking
15           to Melanie in the garage.
16                            MS. MC KENZIE:        Why did you contact
17           her?
18                            THE WITNESS:          When I heard her get
19           dispatched to a shooting, I just went and responded. I
20           always do. I always volunteer to go to the assignment.
21                            MS. MC KENZIE:        How do you know it was
22           detective Carr that was --
23                            THE WITNESS:           Because she had
24           her -- We are each assigned a number and it was her
25           number and she said, "10-4." So I told Melanie, "hey,

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                               sueT@wi.rr.com
                                                                            241
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 242 of 501 Document 80-5
 1           just hold up, like, are you leaving right now the
 2           district?" And she said, "yes." I said, "I will come
 3           back here at the end of your shift and we will resume
 4           the conversation."
 5           BY MR. MC GAVER:
 6     Q     What happened next? After you spoke with detective Carr
 7           on the telephone, what happened?
 8     A     I was en route to St. Joe's Hospital with her. She
 9           called me back and said she could handle it. They don't
10           even have a scene. So I just continued. I don't
11           remember what I did, if I did follow-up or a report or
12           what.
13     Q     Did you have occasion to have additional contact with
14           detective Carr?
15     A     Yes.
16     Q     How did that happen?
17     A     I went back to District 3, about two hours before the
18           end of my shift. I saw Juanita doing reports. I sat
19           next to her where I normally do and said, "what happened
20           with the shooting?" She gave me a brief description and
21           at that time, a black patrol sergeant, a black male -- I
22           don't remember his name -- walked by and stopped Juanita
23           and said, "did you recover the gun?" She said, "no."
24           He walked off. So I said to her, "did you go to recover
25           it yet?" She said, "yes." I said, "do you want to go

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            242
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 243 of 501 Document 80-5
 1           again before the end of your shift?" She said, "yes."
 2           So I said, "I have to run to District 5 to handle
 3           something. Since you just went, we will just go to five
 4           together, take your car and we will come back around
 5           three, do a search and if do we get the gun, I will
 6           inventory it for you", because she wanted to be off on
 7           time.
 8     Q     Did you have any experience working with detective Carr
 9           before that day?
10     A     Lots of experience, because we were promoted in the same
11           year.
12     Q     Did you believe there was any sense of urgency about
13           attempting to retrieve the gun and detective Carr's
14           actions surrounding that?
15     A     I knew there was not because she said that she already
16           went and she was actually putting that assignment into
17           the follow-up so the next shift could go and try and
18           recover it. I said to her, "if we get it, I will --
19           and there is overtime, I will stay on overtime and you
20           can go and I will inventory it." That is why we decided
21           to go together. Additionally, she said there were no
22           cars in service at that time, it was still pretty busy
23           and I said, "then, you will have to pull another car out
24           of service. I'll just go with you."
25     Q     "Pulling cars out of service", what does that mean?

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                               sueT@wi.rr.com
                                                                            243
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 244 of 501 Document 80-5
 1     A     It means if Juanita got to the house and was able to get
 2           in, she would need help. You can't search a house by
 3           yourself.
 4     Q     So what squad car she would have?
 5     A     She wouldn't have to call for a squad car.
 6                            MS. WILSON:            She was what? I
 7           didn't hear what you said. You said she was something
 8           with a squad.
 9                            MR. MC GAVER:          Wouldn't have to call
10           for a squad.
11                            MS. WILSON:            Thank you.
12           BY MR. MC GAVER:
13     Q     You said you decided to take the squad car assigned to
14           detective Carr. Correct?
15     A     That is correct.
16     Q     Why did you decide on taking that car?
17     A     Because I already turned my car keys in. She still had
18           her car key sitting on the table.
19     Q     Can you reiterate what the plan was when you left?
20     A     I told her I had to go to District 5 because Melanie was
21           having a problem. She knows who Melanie is and she is
22           well aware of the problem, to my knowledge, because I
23           told her already.
24     Q     So what were you planning on doing once you got to
25           District 5?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            244
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 245 of 501 Document 80-5
 1     A     Melanie said that she had -- she had been off of work
 2           a lot taking days off because of the threats and the
 3           trauma to her that she had reported to IAD and was not
 4           getting the sufficient help that she needed. She was
 5           told by a supervisor, Sean Hanley, to get a restraining
 6           order. In the process of all of this, I was saying,
 7           "I will come with you through your process and if you
 8           need a place to stay, whatever you need, I got it."
 9           So I work in District 5. I didn't know Melanie as a
10           friend at all at that point. She was just another
11           female co-worker. Melanie had revealed to me things
12           that were happening to her, so I told her she could stay
13           by my house. She was afraid to go home. Now, she was
14           at the district that day and doing a search on a female
15           when other TAC officers were coming into the district
16           and I don't know if she felt threatened or was
17           threatened. I wasn't quite sure at that point. I told
18           her she had to go to the supervisor, that I had to go
19           and I was rushing out saying, "I have to go. Juanita
20           just got sent to a shooting." I never let -- I
21           always -- you can ask any of my supervisors. I always
22           respond to every shooting if I am available. I make
23           myself available to them. If they don't need me, then,
24           I go.
25     Q     Are there any other matters that you're planning on

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                               sueT@wi.rr.com
                                                                            245
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 246 of 501 Document 80-5
 1           assisting then-Officer Beasley with?
 2     A     Yes. Melanie had filed an ESUDW, Endangering Safety By
 3           Use of Dangerous Weapon. It is an acronym. It means
 4           endangering safety by use of a dangerous weapon. It is
 5           basically taking a handgun or any type of firearm and
 6           shooting into an occupied or unoccupied home.
 7                            MS. MC KENZIE:         Hold on. Go ahead.
 8     A     She was having a conflict with a supervisor on whether
 9           it was an endangering safety by use of a dangerous
10           weapon or a recklessly endangering safety. The
11           difference would have been taking it to the district
12           attorney's office or not taking it to the district
13           attorney's office via, like, a liaison. So that was an
14           issue that I originally was there for earlier in the
15           shift, but when I got to District 5 -- I normally work
16           at Central -- or a bunch of other officers there and
17           they just started talking to me about an incident that
18           happened prior where we had a huge fight on Sixth and
19           Hadley and a woman and her two daughters picked me up by
20           my jacket and were beating me, and they were asking how
21           I was and how everything was happening with that,
22           because it was like a melee. So Melanie takes me into
23           the garage. She's, like, "what am I supposed to do?
24           None of the supervisors here at District 5 are not only
25           not listening to me, but there is a valid temporary

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                               sueT@wi.rr.com
                                                                            246
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 247 of 501 Document 80-5
 1           restraining order, which holds the same type of
 2           authority as a regular restraining order, and these
 3           TAC officers keep coming in here." So I was trying
 4           to find her a supervisor that she could talk to.
 5     Q     Let's get back on track here. Before you left with
 6           Juanita Carr, did you receive any phone calls from
 7           family members?
 8     A     Yes.
 9     Q     Who called you?
10     A     My son, Jordan.
11     Q     What time did he call you?
12     A     Maybe, like, a little bit after 2:00.
13     Q     What did he tell you when he called you?
14     A     He said, "Mom, I got pulled over." I said, "where are
15           you?" He said, "I don't know." I said, "what are you
16           pulled over for?" He said, "I don't know." I hear some
17           talking back and I said, "listen. Are you on the east
18           side?" He said, "yes." I said, "when you find out
19           where you are and what is going on, just call me back."
20           He said, "all right." I hung up.
21     Q     Why would Jordan call you to tell you about this, if you
22           know?
23     A     I instructed both of my children to always call me and
24           let me know where they are. My family consists of me
25           and my two children. That is it. There is nobody else.

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                               sueT@wi.rr.com
                                                                            247
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 248 of 501 Document 80-5
 1           Jordan is my -- I am missing words -- my emergency
 2           contact. My other son is 26. At the time, he was 24,
 3           he lived in California. I have Denise Rogers who lives
 4           in a completely different neighborhood and I usually
 5           don't worry her about anything. Outside of that, that
 6           is the rule in my house. I need to know where you are,
 7           especially since he had just transferred schools from
 8           Minnesota to UWM. He doesn't know the area. So I worry
 9           about my son's safety with all the robberies, not only
10           on the east side, but all over. The rule is -- There
11           is many rules that I have, but one of them is if you get
12           stop by police, that you always call and tell me where
13           you are.
14     Q     Did you give Jordan one of your business cards?
15     A     Yes.
16     Q     Why?
17     A     Both of my children have my business cards as well as my
18           other family members. I explained to my son that
19           traffic stops are the most unpredictable and dangerous
20           things that occur within patrol, and my son has been
21           stopped more than four times. I don't know why he said
22           that. I want the officer to know that that is my son.
23           I have a good reputation at work. I have a -- I am a
24           strong disciplinarian for my children and officers know
25           they know my children. So I want whoever has contact

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            248
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 249 of 501 Document 80-5
 1           with them to know that not that he knows his rights, but
 2           that he respects the law and he respects them and he
 3           doesn't anticipate being pulled out of his car and
 4           searched for no reason, and, so, that has happened to
 5           him in the past.
 6     Q     I think it goes without saying that you have received
 7           these types of calls from Jordan in the past.
 8     A     Yes, and from my other son, Kasey.
 9     Q     Have you ever gone to a scene where Jordan was pulled
10           over by an officer in the past?
11     A     Absolutely not.
12     Q     Have you ever intervened or spoken with officers who
13           pulled Jordan over in the past?
14     A     Absolutely not, no.
15     Q     Did Jordan tell you -- What did Jordan tell you about
16           his location when he was pulled over on January 19,
17           2015?
18     A     He said he didn't know where he was.
19     Q     Did you have plans to go to him?
20     A     Absolutely not.
21     Q     Did you plan on intervening in that traffic stop?
22     A     No.
23     Q     Did the phone call that you received from Jordan change
24           any of the plans that you had made with detective Carr?
25     A     The only thing that would have changed would be if he

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            249
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 250 of 501 Document 80-5
 1           got a citation, which I didn't know he was drinking, but
 2           if he would have got a citation, I would have taken the
 3           car from him. That is about it. So nothing changed.
 4           He gets pulled over, I know where he is. He works
 5           downtown on Third Street. He goes to work, he leaves
 6           work, he calls me. I stay on the phone with him until
 7           he is inside. It is just -- this is way I operate with
 8           my children. He is out late at night, 4:00, 5:00 in the
 9           morning, because he works at a bar downtown. That is
10           the same rule. You must call me. I need to know where
11           you are.
12     Q     What do you typically do with your phone when you are
13           driving with someone else in the car?
14     A     When I'm driving someone else's car?
15     Q     With someone else in the car.
16     A     I don't answer my phone driving. If my phone is
17           ringing, I will pull over and answer it. But on this
18           day, I tossed the phone to Juanita before we left the
19           garage at District 3 after Jordan called and I tossed it
20           to her and I said, "when Jordan calls, just answer it
21           for me and ask him where he is at."
22     Q     Have you ever driven that particular squad car prior to
23           January 19 of 2015?
24     A     I can't remember. We interchange cars all the time.
25     Q     Just so we are crystal clear, where was your destina-

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                                                                            250
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 251 of 501 Document 80-5
 1           tion?
 2     A     District 5.
 3     Q     As you approached the intersection of 36th Street and
 4           North Avenue, what did you see?
 5     A     I Wisch there was a map because it is one block between
 6           35th and 36th, but it is not a huge, long block. It is
 7           a short block. As I was passing -- or coming to 36th
 8           Street, I could see a car in the road. That inter-
 9           section --     There you go. Thank you.
10                            MR. MC GAVER:          Hold on. I will pull
11           a map out for you.
12     Q     I am handing you what's been identified as Exhibit 12.
13           Can you tell me what that is?
14     A     This is an overhead view of --
15     Q     What am I looking at? What are we looking at?
16     A     I believe that the right side of this map is west and
17           the street going straight down the middle is 35th. It
18           is hard for me to tell. Is that correct?
19     Q     You tell me.
20     A     It is hard for me to tell from this overview because it
21           looks like it is missing -- This is old. It looks like
22           it is missing a building on the corner.
23                            MR. MC GAVER:          It appears that the
24           orientation of the map is up being north, so I don't
25           know if that helps.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            251
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 252 of 501 Document 80-5
 1                            MR. PEDERSON:          I object to that.
 2           Leading. It doesn't say that.
 3     A     It is hard for me to tell.
 4     Q     Then, just walk me through it. What direction were you
 5           driving on North Avenue?
 6     A     I am driving eastbound and --
 7     Q     As you approach 36th Street, what did you see?
 8     A     As I approached 36th Street, there is a new -- new paint
 9           on the road and they made a bike lane there. There used
10           to be, like, a passing or parking lane. There really
11           isn't anymore. There is a car somewhere between 35th
12           and 36th that had pulled over what I assumed to be
13           picking up a call girl, prostitute. The car is white or
14           light color. It is pulled over and as I am approaching
15           it, I see the brake lights go on, I see them go off.
16           I see a girl by the car door on the passenger's side.
17           I make a comment to Juanita about needing a vice divi-
18           sion for exact this reason. She laughs.
19     Q     What do you mean by that, that you "need a vice division
20           for this exact reason"?
21     A     We don't have a vice division like we used to have that
22           attacks drugs and prostitution like we used to.
23     Q     So what did you do in reaction to seeing this?
24     A     So I said to her something regarding, "that is why we
25           need a vice." I used the toggle switch which is on the

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            252
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 253 of 501 Document 80-5
 1           console between my seat and hers. When you first make
 2           the first move of it and it clicks, one movement to the
 3           right, the interior lights go on and it is, like, click,
 4           click, click, click, like that. I think the outside
 5           lights by the the headlights go on and, then, the next
 6           switch is the sound of the siren. So I always say
 7           "blurp". That is what police will say. You "blurp" it.
 8     Q     Can you repeat that?
 9     A     It is, like, moving it to the right real fast and it
10           sounds like this; "blurp", and it is how we use a horn.
11           We don't use the horn per se. We've never, ever been
12           trained to just use the horn. This is just allowing him
13           to know that I am coming down the street and don't pull
14           out and hit me. It's just so we didn't get hit.
15     Q     Are you familiar with the SOPs regarding use of
16           emergency lights?
17     A     Yes. This operation is used all the time. I could sit
18           on 35th Street and you can see every single day, some-
19           body probably using that, because that is a horrible
20           intersection. Police use it all the time.
21     Q     Did you leave the squad lights on after you activated
22           them?
23     A     I went around the car and as I went around the car --
24           The intersection at 35th and North Avenue has a cell
25           phone store on the southwest corner and it has huge

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            253
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 254 of 501 Document 80-5
 1           large windows and I could see the car coming from the
 2           south going north on 35th and I looked up to see if I
 3           had the green light wondering if the car was going to
 4           stop and I slammed on the brakes. I reached out to
 5           Juanita and, like, she said, I am sure I -- I don't
 6           recall but I am sure I swore and to let her know --
 7           it is just a reaction that when you have children, you
 8           want to hold them back, and that is what I did to her.
 9           I impacted that car.
10     Q     How fast were you going when you went through the
11           intersection of 35th and North?
12     A     I was going the speed limit, if not slower, because
13           when I went around this car, I was already slowing down.
14           I wasn't pulling this car over, I had no intent on
15           pulling this car over. I went around it notifying it
16           so it doesn't come out into traffic and I was braking
17           because I see the car coming and I still collide with
18           him.
19     Q     Were your squad lights on as you traveled through the
20           intersection?
21     A     Yes, I never got a chance, I believe, to turn them off.
22           There was no distance. I went around the car and before
23           I got straight in the lane, I could see the lights
24           coming. I hit the brake -- I am not worried about the
25           lights -- and I am through.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            254
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 255 of 501 Document 80-5
 1     Q     Were the sirens on traveling through the intersection?
 2     A     I don't know.
 3     Q     Where was the squad impacted?
 4     A     I believe it was just the front end. My front end hit
 5           her driver's side and passenger's side -- driver side
 6           back part of her car.
 7     Q     What did the impact do to your position in the car?
 8     A     I was flipped over the console. My right foot was still
 9           stuck under the pedal of the car and I was on top of --
10           part of me was on top of Juanita.
11     Q     Do you know whether you lost consciousness?
12     A     I was told that I did. I don't know if you really know
13           that you lose consciousness.
14     Q     Do you remember who told you that you went unconscious?
15     A     Juanita, because she was screaming in my ear that I was
16           dead.
17     Q     How did you get removed from the squad?
18     A     Some citizens came to the car and were asking -- they
19           were talking on how to get me out of the car. I noticed
20           two of them. I recognized two of them. They said,
21           "oh, it is Blonde, it's Blonde," and they are trying
22           to pull me out of the window, but my foot is stuck
23           underneath the pedal and then I don't remember how I got
24           out, if I got out through the window or -- I remember
25           they were trying to squeeze me out of the door, but the

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                                                                            255
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 256 of 501 Document 80-5
 1           door didn't really open. I am not quite sure.
 2     Q     Did you call 911?
 3     A     I was told that I did and I don't remember me calling
 4           911 or even where I got the phone from, because Juanita
 5           had it.
 6     Q     Do you remember who the first emergency responder to the
 7           scene was?
 8     A     No. The only person that I remember that was taking
 9           care of me was Jesse Vollrath.
10     Q     Do you remember anything that you said to any of the
11           first responders or officers immediately following the
12           accident?
13     A     Yes. I remember telling somebody -- Officer Joe Goggins
14           asked me, you know, who should he call for me and I
15           said, "call my son." I don't remember that he said --
16           the report that I was given said that I was giving him
17           the wrong number. He was very frustrated with me and I
18           was getting even more frustrated because I knew my son
19           was at a traffic stop and when I have been injured
20           before on duty when I have been at the hospital, my
21           youngest son, Jordan, just freaks out, like, I am his
22           only family member, I am his only parent. I didn't want
23           him driving. So I said, "somebody, get ahold of my son.
24           He is on a traffic stop." I don't remember who it was.
25           It was an officer. He probably was new. He was bent

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                               sueT@wi.rr.com
                                                                            256
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 257 of 501 Document 80-5
 1           down and he said, "where", and I said, "on the east
 2           side. He goes to UWM." He came back telling me that he
 3           called the District 5 console and there was nobody on
 4           any traffic stops. So I said, "call UWM police and see
 5           if they have one." They called UWM police. He came
 6           back and said, "they are not on any traffic stops."
 7           So I was like, "well, I don't know. I don't know where
 8           he is. Just somebody go find him", and that is it.
 9           When I saw Deb Stacey -- She knows me. What we have in
10           comment common is being single parents of young, black
11           men, so we have that connection with each other and we
12           support each other and that's why she knows my son and I
13           told her, "can you just go find Jordan for me", and she
14           said "yes, I got it. I got it." That is it.
15     Q     How long after the accident until you were loaded into
16           an ambulance?
17     A     I don't know.
18     Q     Did any officers ride with you in the ambulance?
19     A     Jesse Vollrath.
20     Q     Any discussion with Officer Vollrath in the ambulance?
21     A     Not that I recall. Just that I was convinced that
22           Juanita died. I don't know if I heard it on the scene
23           or whatever, but that is what I kept talking to him
24           about.
25     Q     Did you see Lieutenant Hanley at the scene of the

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                               sueT@wi.rr.com
                                                                            257
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 258 of 501 Document 80-5
 1           accident?
 2     A     No.
 3     Q     Do you remember having a conversation with him at that
 4           time?
 5     A     I didn't see him and I didn't talk to him.
 6     Q     Where did the ambulance take you?
 7     A     Froedtert.
 8     Q     Did any of your family members report to the hospital?
 9     A     Yes. Denise Rogers, who I call "Big Mama."
10     Q     Who was the first one to arrive?
11     A     Big Mama, my sister Jondalyn, and Deb Stacey.
12     Q     What about Jordan?
13     A     Then Deb Stacey brought in Jordan.
14     Q     Once you arrived at Froedtert, where did they take you?
15     A     I went right to a room, and the medical staff knows me
16           there from all the shootings. I remember them joking
17           around with me in and out and said they are going to
18           get me to x-ray and I will be on my way.
19     Q     Did any officers speak with you while you were at the
20           hospital?
21     A     Jesse Vollrath and Deb Stacey and William Krumnow.
22     Q     Did you see Lieutenant Hanley at the hospital?
23     A     No.
24     Q     Did Lieutenant Hanley speak with you while you were at
25           the hospital?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            258
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 259 of 501 Document 80-5
 1     A     No.
 2     Q     Did Lieutenant Hanley spend 20 minutes with you while
 3           you were at the hospital?
 4     A     Lieutenant Hanley never spoke to me at the hospital.
 5           That is why when I got discharged around 5:30, I called
 6           him -- or later, called him at 6:38.
 7     Q     What time were you discharged?
 8     A     It was after 5:30.
 9     Q     Who left with you?
10     A     My sister and my mom and Jordan.
11     Q     Who drove?
12     A     My sister.
13     Q     Whose car?
14     A     My sister's.
15     Q     Where did you go?
16     A     To District 3.
17     Q     Where did you go there?
18     A     Because I didn't want go to home without talking to a
19           supervisor.
20     Q     Did you encounter a supervisor at District 3?
21     A     No.
22     Q     What did you do next?
23     A     Someone drove my car home, either my son or -- or
24           Jondalyn drove back to my house. My house is, like,
25           four blocks from the district. Once I got home, I

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            259
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 260 of 501 Document 80-5
 1           wanted to know if somebody was going to come talk to
 2           me, so I called Hanley -- Lieutenant Hanley.
 3     Q     You called him on his cell phone?
 4     A     Yes.
 5     Q     How long did you speak with him?
 6     A     Ten, 15 minutes.
 7     Q     What did you say to him?
 8     A     I want to know if he was going to come over and talk to
 9           me and he said, "no." I said, "do you want to know,
10           like, what happened?" He said, "yes, go ahead. Tell
11           me." So I told him and then he said, "all right. Bye."
12     Q     Did you ever tell him that at the time you got into the
13           accident, that you were en route to pick up Jordan in
14           the area of UWM?
15     A     Absolutely not.
16                            MS. MC KENZIE:         Let me interrupt and
17           ask a question.
18                            MR. MC GAVER:          Please.
19                            MS. MC KENZIE:         There isn't some
20           standard or procedure for once you are in an accident,
21           as an officer, how that is reported and when you speak
22           to a superior, but what was your urgency in wanting to
23           speak to him?
24                            THE WITNESS:          We never go home from
25           a shift period, much less an accident, without notifying

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                               sueT@wi.rr.com
                                                                            260
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 261 of 501 Document 80-5
 1           your supervisor that you are secured or going home. So
 2           I am at the hospital, he doesn't talk to me there. I
 3           snet my son to look for him within the hospital because
 4           he knows who he is. He's not there. I asked Juanita if
 5           she talked to him. She said, "briefly, but he's gone."
 6           So, now, I am leaving. I don't know where my gun is, I
 7           don't know where my gun belt on. I don't know who has
 8           it. It is something that I am responsible for, and I
 9           remember questioning to find out if somebody had taken
10           my gun belt off of me while they are trying to remove me
11           from the car. Me getting ahold of my supervisor, that
12           is mandatory and I am, like, "don't you want to know
13           what happened?"
14                            MS. MC KENZIE:        Why Hanley?
15                            THE WITNESS:          He was working that
16           day. He is my supervisor that day.
17                            MS. MC KENZIE:        Wasn't there another
18           supervisor that was working that day?
19                            THE WITNESS:          I don't believe so.
20           That is who I reported to that and that is the super-
21           visor I have.
22           BY MR. MC GAVER:
23     Q     Is there any reason that you would have told Lieutenant
24           Hanley that you were on your way to get Jordon at UMM
25           when you got into the crash?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            261
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 262 of 501 Document 80-5
 1     A     It is not what happened. I didn't speak to him at all.
 2     Q     Did you tell Hanley that you were traveling 45 miles an
 3           hour at the time of the crash?
 4     A     On the phone?
 5     Q     Yes.
 6     A     No. I am going to tell my supervisor that I am speeding
 7           and that I am going to go do something, like, go impede
 8           on a traffic stop? It doesn't make sense. Like, I am
 9           going to tell my supervisor something that I did that
10           was illegal and wrong? Even if I did do it, but I
11           didn't. So I am not going to go and tell him any such
12           thing. I told him exactly what the problem was, that
13           there were TAC officers at the scene, and those are the
14           people that told him that I was going to UWM. These
15           are -- The overheard people are from TAC. TAC is the
16           group of guys that have the officer who has assaulted
17           Melanie Beasley.      They are on the scene telling a
18           sergeant that I am saying these things, but there is no
19           reports by them, there is nothing in their memo book.
20           I didn't say any of those things. All I wanted was
21           just, like Juanita Carr got her boyfriend to come to
22           her scene, her family members to come to the hospital.
23           I wanted my family members to come to the hospital,
24           especially because my family member was on a traffic
25           stop and I knew where he was and he is waiting to talk

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                               sueT@wi.rr.com
                                                                            262
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 263 of 501 Document 80-5
 1           to me.
 2     Q     Back to the conversation on the phone the morning of the
 3           19th th -- January 19, 2015. Did you tell Hanley that
 4           you had sirens on at the time of the accident?
 5     A     No. I don't know if they were on.
 6     Q     Did you tell him that you had your squad car emergency
 7           lights on at the time of the accident?
 8     A     Yes.
 9     Q     When you were speaking with Hanley on the phone that
10           morning, did anyone overhear the conversation?
11     A     I guess not. My son was at home. Melanie showed up at
12           my house because she had been calling me and asking me
13           where I was because I didn't show up at the district.
14           I told her I was involved in a car accident and I was at
15           the house, so she came to the house.
16     Q     Melanie came to the house later that morning?
17     A     Yes.
18     Q     What did you do immediately after you hung up with
19           Hanley?
20     A     I am just sitting on the couch with a lot of family
21           members or friends and some officers coming to see how I
22           am. I just remember sitting there and it just being,
23           kind of, chaotic.
24     Q     Did Hanley ever come to your house to visit you after
25           the accident?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
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                                                                            263
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 264 of 501 Document 80-5
 1     A     He never came to my house, period, after the accident.
 2     Q     This phone conversation, is that the last time you spoke
 3           with Lieutenant Hanley?
 4     A     Yes. It is the first and only time I spoke with
 5           Lieutenant Hanley from the night of the 18th to the
 6           19th.
 7     Q     Did you receive any treatment for medical issues you
 8           suffered in the accident?
 9     A     Yes.
10     Q     What issues -- What were you diagnosed with?
11     A     A concussion with brain bleed on the top of my head. I
12           believe that I hit the gun rack. My chest was black and
13           blue from one end to the other because of the air bags
14           blew. I had two black eyes. My right foot was swollen
15           and I reinjured my left knee. I am not quite sure how.
16           But I had surgery on it. And I had not finished therapy
17           for my short-term memory and my speech therapy because I
18           was fired.
19     Q     How many doctors did you see in the months following the
20           accident?
21     A     Five or six.
22           (A document was marked as Exhibit 13)
23     Q     I show you a document marked as Exhibit 13. What is
24           that?
25     A     Progress notes from one of the doctors that I saw after

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            264
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 265 of 501 Document 80-5
 1           the accident.
 2     Q     Can you flip through the whole packet and get me a sense
 3           of what is there?
 4     A     Just evaluations and medical imaging reports and diag-
 5           nosis of the problems that I had after the accident
 6           along with physician reports, duty-related issues that
 7           I had my medical doctors fill out.
 8     Q     Do you believe the doctors are a fair and accurate
 9           representation of the medical issues you have dealt
10           with since the accident?
11     A     They are.
12     Q     Including neck, head, ankle, knee. Am I missing any
13           injuries?
14     A     Head, neck, knee, foot. That is it.
15                            MR. MC GAVER:          I will offer Exhibit
16           13.
17                            MR. PEDERSON:          No objection.
18                            MR. KONRAD:            Received.
19           BY MR. MC GAVER:
20     Q     Where did you receive treatment?
21     A     Several places. Wheaton Franciscan out in Mequon and in
22           Franklin.
23     Q     Let me ask a different question. Do you have any
24           lingering medical issues to this day?
25     A     Yes. I still deal with short-term memory issues, having

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                               sueT@wi.rr.com
                                                                            265
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 266 of 501 Document 80-5
 1           to write everything down on a piece of paper and a lot
 2           of persistent issues involving my head.
 3     Q     You were interviewed by Sergeant Zieger in the course of
 4           the investigation. Correct?
 5     A     I was.
 6     Q     Did you tell Sergeant Zieger the same story you told
 7           here today?
 8     A     Yes.
 9     Q     Is there anything else you want to make sure that the
10           Commission knows about this situation?
11     A     Yes. I believe that as Sergeant Zieger said, I called
12           a lieutenant a liar in my memo and I did, and I mean it,
13           because the things that he said happened, they did not
14           happen, and the treatment that I got was directly
15           related to some of these memos that I submitted because
16           the bottom line is the fair treatment of women in this
17           department, specifically Melanie Beasley at that
18           district, which I have -- I have more than these memos
19           here that I have handed in. This investigation is a
20           direct result of that. I believe it is complete
21           retaliation for me trying to help another female out at
22           a district who was sexually assaulted by another member
23           and the only people on this scene of mine where I was
24           hurt and injured and in a close-to-fatal accident TAC
25           members who made these statements saying that I was

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            266
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 267 of 501 Document 80-5
 1           saying that, but none of those TAC members have ever
 2           written a report. Sergeant Riley isn't even here today
 3           and if he is a supervisor on scene saying these people
 4           said that, then, where is that sergeant holding those
 5           people accountable for those things -- for them to be
 6           interviewed by detectives so that they could come to the
 7           truth? A simple investigation like this? The first
 8           people that I would have you can talked to -- which I
 9           have been a detective since 2005 -- would have been to
10           talk to Melanie Beasley.
11                            MR. PEDERSON:          I object at this
12           point. I think this is running far afield and is
13           a narrative --
14                            THE WITNESS:          It is not. This is
15           exactly what it is about.
16                            MR. KONRAD:            If you could sum up,
17           I would appreciate it.
18     A     If I was going to investiate the scene, it would have
19           been Melanie Beasley and my son and Juanita Carr.
20           They would have been separated from each other and
21           immediately talked to and you would have had the answers
22           to what happened. There would be no hearsay.
23                            MR. KONRAD:            Let me ask you this.
24           I read the lieutenant's report several times and it
25           appears to me he didn't come to the conclusion that you

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            267
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 268 of 501 Document 80-5
 1           were proceeding to pick up your son based on those
 2           ambiguous after-accident statements. He based that
 3           conclusion on what you told him, it appeared to me. So
 4           you are saying that you never said that to him at all.
 5                            THE WITNESS:           Not only did I not
 6           say that to him, but I never had a conversation for 20
 7           or 30 minutes at the hospital. I even asked for the
 8           video of the hospital room to be pulled to if he was
 9           even in there.
10                            MR. KONRAD:            Let's turn back to
11           the phone call.
12                            THE WITNESS:           The phone call, I
13           called him and I told him exactly what happened, and I
14           already had heard the rumors in my house saying that the
15           TAC officers were telling him that and I even told him
16           at that point "that didn't even get -- that is not what
17           happened. That is not where I was going."
18                            MR. KONRAD:            You are saying he
19           made up this conversation?
20                            THE WITNESS:           Yes.
21                            MR. MC GAVER:          Nothing further.
22                            MS. MC KENZIE:         Counsel, would you
23           happen to have -- You provided medical records. Do
24           you have the initial emergency room medical records?
25                            MR. MC GAVER:          I don't know if that

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                                                                            268
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 269 of 501 Document 80-5
 1           is part of that packet or not. Is there something
 2           specific you are looking for?
 3                            MS. MC KENZIE:         I want to see the
 4           information regarding when she was brought into the
 5           emergency room.
 6                            MR. MC GAVER:          I don't think it is
 7           in there.
 8                            MS. MC KENZIE:          If you don't have
 9           it, you don't have it. I was just wondering --
10           Maybe you could look for that as we move forward?
11                            MR. MC GAVER:          Sure.
12                            MR. PEDERSON:          I was going to
13           request a five-minute recess, if that is possible.
14                            MS. MC KENZIE:        It is up to the
15           hearing examiner.
16                            MR. KONRAD:            Mr. Mc Gaver, when
17           you filed your motion earlier in the case, didn't you
18           attach a complete set of medical records? The emergency
19           record should be in there.
20                            MR. MC GAVER:          They should. They
21           are somewhere in there. I just don't have the where-
22           withal to find them right now.
23                            MR. KONRAD:            Let's take a few
24           minutes.
25                            MR. MC GAVER:          I will see if I can

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            269
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 270 of 501 Document 80-5
 1           track them down.
 2                            MR. KONRAD:            We will take a five-
 3           minute break.
 4           (Discussion off the record)
 5                            MR. KONRAD:            Do the commissioners
 6           have any additional questions?
 7                            MS. WILSON:            I have a host of
 8           them, so you might as well go first.
 9

10                            MS. HEIN:                      I have two. I
11           had a couple things I confused about. The timeline.
12           You said that you and detective Carr left five -- I
13           mean, three and were going to five when the accident
14           happened. Where were you when that whole process when
15           you got a call from your son? Were you, like, still at
16           three or were you in the car or --
17                            THE WITNESS:           We were sitting in
18           the assembly next to each other on a table similar to
19           this.
20

21                            MS. HEIN:                          "Assembly"
22           meaning what.
23                            THE WITNESS:           Where the officers
24           have roll call in District 3.        After that, the sergeant
25           walks by, which is around probably five minutes to 2:00

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                               sueT@wi.rr.com
                                                                            270
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 271 of 501 Document 80-5
 1           or something and he said, "did you recover the gun?"
 2           She said, "no." He was, like, "oh", and he keeps going.
 3           I say to her, "did you go?" She said, "yes, I was just
 4           there." I said, "if you want to go again, I will go
 5           with you." The reason I offer it because that is what
 6           I do, but I have a reputation of being able to -- I will
 7           bang on the door until I -- you know, till somebody
 8           comes instead of just a short term. So she said, "sure
 9           let's go." I said, "I have to stop at District 5 first
10           to talk to Melanie. Her shift is over at 3:00, so we
11           will go five, we will come back around to see if the gun
12           is there. If you get it, I'll inventory it and we'll be
13           back at three -- District 3. So as I am -- we decide
14           that, we were walking out o the back of District 3 to
15           where the patrol cars are and that is when I receive the
16           phone call from my son. So I am talking to him from the
17           back door to the car. In the car, I turn it on I talk
18           to him. "Where are you?"        "I don't know." "What did
19           you get stopped for?" "I don't know." I said, "well,
20           call me back when you know where you are at." He said,
21           "all right."
22

23                            MS. HEIN:                     Then you get in
24           the car and you proceed to go to District 5.
25                            THE WITNESS:           Yes.

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                               sueT@wi.rr.com
                                                                            271
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 272 of 501 Document 80-5
 1

 2                            MS. HEIN:                      About how long
 3           --
 4           I guess I was confused.
 5                            THE WITNESS:           A minute. However
 6           long it took to hang up the phone and drive get out to
 7           North Avenue, which is right there, and from 49th get
 8           down to 35th before the accident.
 9

10                            MS. HEIN:                          Your son
11           didn't tell you where he -- he said, "I don't know where
12           I am."
13                            THE WITNESS:           That's correct.
14

15                            MS. HEIN:                          But did he
16           say he was on the east side or any kind of
17           clarification.
18                            THE WITNESS:           Yes. I believe he
19           said he was on the east side, and that is why I knew to
20           call District 5, because District 5 is the east side.
21           Plus, he works downtown. He works at the Pub Club.
22           So the same thing. When you get done with work, you
23           call me so I know when you are going home.
24

25                            MS. HEIN:                          And when

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                               sueT@wi.rr.com
                                                                            272
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 273 of 501 Document 80-5
 1           did you call district -- you said you just called five
 2           to know --
 3                            THE WITNESS:           The officers on
 4           scene, I remember asking somebody, because apparently,
 5           I was giving the wrong phone number to my son. He's had
 6           the same phone number since he had a cell phone, which
 7           has been years. Apparently, I was giving Officer
 8           Goggins the wrong phone number, so he was getting really
 9           frustrated with me and I remember him standing over me
10           going, "how do you not know what his phone number is?
11           So I turned to somebody else and said -- I was sitting
12           on the pavement -- "I said just call District 5, the
13           console and see."
14

15                            MS. HEIN:                     You said that
16           because he had said he was on the east side.
17                            THE WITNESS:           Yes.
18

19                            MS. HEIN:                      Then, you also
20           made the claim that the TAC officers who were on the
21           scene were indicating that you were going to UWM. First
22           of all, is a TAC officer different than a regular police
23           officer?
24                            THE WITNESS:           TAC officers do,
25           like, search warrants and more of the violent takedown

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                               sueT@wi.rr.com
                                                                            273
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 274 of 501 Document 80-5
 1           processes. They don't take normal assignments, they
 2           don't investigate. We investigate. We say -- For
 3           example, there might be a guy armed and he is not going
 4           to come out easily. They will come.
 5

 6                            MS. HEIN:                          Would it be
 7           usual for them to be at a car accident with a police
 8           officer involved?
 9                            THE WITNESS:           There really isn't a
10           usual or not usual. It is depends on the staffing. But
11           when you hear that two officers -- I mean, two
12           detectives have died, everybody comes. So they were all
13           on the scene.
14

15                            MS. HEIN:                    How would they
16           know -- how would they be able to spread the rumor that
17           you were going to UWM or up there if you didn't even
18           know?
19                            THE WITNESS:           Because I was saying
20           that -- they were taking bits and pieces, I imagine,
21           because I was saying, "my son lives by UWM" or, "he goes
22           to UWM. Call UWM police and see if he stopped there."
23

24                            MS. HEIN:                    So you are
25           claiming there was a statement from one of the

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                                                                            274
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 275 of 501 Document 80-5
 1           witnesses, Mr. Hernandez, who also indicated that you
 2           are claiming that the TAC officers were -- that he heard
 3           it from the TAC officers?
 4                            THE WITNESS:           If I am saying it --
 5           if I'm making the statement -- I say the statement is,
 6           "my son goes to UWM or he is near UWM. Call UWM police"
 7           after I ask to have them call District 5, and they came
 8           back saying there was nobody on any traffic stops at
 9           that time. So I said the next best thing will be UWM
10           police, because he lives, like, five houses from the
11           campus. He lives right on Murray or Maryland. I am
12           saying that. The difference is if I am actually saying
13           I was going to go get my son on a traffic stop at UWM
14           police, first of all, he wasn't with UWM police. He was
15           with the Shorewood police. I didn't know where he was.
16           That is where the frustration came in with Goggins. I
17           just wanted somebody to get my son for me to let him
18           know where I was and that I was injured. It just got so
19           blown. When I wrote the rebuttal, I am asking all the
20           TAC officers that are there who are hearing this, which
21           is all written as I heard it from somebody, but I don't
22           know who, I am asking somebody, "listen. I will sit
23           down with you and and go over all of this and tell me
24           exactly what was being said", and I couldn't get any
25           compliance with internal investigation, like, I am

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                                                                            275
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 276 of 501 Document 80-5
 1           saying, "that is not what I was doing." I would have
 2           never jeopardize, you know, anything with Juanita and
 3           her status on things that she has to do. I am not going
 4           to take her to impede on a traffic stop that I don't
 5           even know where it is. So all I am saying is if you
 6           are going to do an investigation -- I offered my son to
 7           Lieutenant Hanley. "You want to come over and talk to
 8           him? He is at the house right now. Melanie is here,
 9           too. You want to talk to them?" No one wanted to come
10           and talk to them. If you already are telling me that
11           I am -- "TAC officers are saying that you were going to
12           go to UWM", these are the people that know where I was
13           really going. I know where I was going, Juanita knows,
14           Melanie knows and Jordan knows.
15                            MS. WILSON:            You have to help me
16           with some of this. I can't write as fast as she can.
17           I am trying to figure out how this phone call, this
18           hook-up you had with Juanita. Did you talk to her on
19           the phone, because you said something about you heard
20           her badge number. Do you remember that?
21                            THE WITNESS:           No. We all have
22           squad numbers, not badge numbers; squad numbers. I
23           believe mine was, at the time, 9282. I am not sure.
24           Probably 9281or something. So I am at District 5
25           talking to Melanie and I hear the dispatcher say, what-

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                               sueT@wi.rr.com
                                                                            276
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 277 of 501 Document 80-5
 1           ever Juanita's squad was, respond to the hospital for a
 2           shooting. So I tell Melanie, "hey, are you leaving the
 3           district?" She is, like, "yes." I am, like, "we will
 4           talk later." She's, like, "you gotta come back, you
 5           gotta come back." I'm, like, "no, we will talk later.
 6           She is, like, "what about this report, what about this
 7           report?" I said, "I will be back later. Your shift
 8           ends at 3:00, mine ends at 4:00. I will come back
 9           before your shift has ended and if not, if I can't make
10           it back here because of an assignment, we will talk on
11           the phone on how to deal with it." So she is, like,
12           "all right." I said, "just wait for me at the district.
13           I will come back." So that is when I got in my car and
14           proceeded to go to St. Joseph's Hospital, talked to
15           Juanita on the phone halfway there and she said, "this
16           is nothing. I got it." I said, "okay. Call me if you
17           need me."
18                            MS. WILSON:            Who took who --
19           Now, Juanita didn't seem to know whose car it was. It
20           was a car that you all -- you said was called up or
21           something that he explained. You just got a car?
22                            THE WITNESS:           There is a process of
23           getting cars, but because the process of CIB, Criminal
24           Investigation Bureau, being dismantled into the
25           districts, instead of all at once place, there is not

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                               sueT@wi.rr.com
                                                                            277
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 278 of 501 Document 80-5
 1           enough cars half the time for us, so sometimes, we
 2           share. I have been dropped off at crime scenes before.
 3           At this time, this was the car that she had keys sitting
 4           on the table. So I took them and I said, "I am
 5           driving."
 6                            MS. WILSON:            Because I know she
 7           said --
 8                            THE WITNESS:           She doesn't know how
 9           I got to drive.
10                            MS. WILSON:            Let me ask you this.
11           When your son called you, he said he had been stopped by
12           the police department. He didn't say, "and by the way,
13           Mom, I had a drink." My granddaughter had better told
14           me because I will beat her to death because that moves
15           everything to a different level. My other question
16           is --
17                            THE WITNESS:           Of course, he didn't
18           tell me that.
19                            MS. WILSON:            My other question is,
20           how did Officer Stacey -- if Jordan didn't know where he
21           was, you didn't know where he was, fifth district didn't
22           know where he was, nobody knew where he was, how did she
23           find him? She just drove up and down the street?
24                            THE WITNESS:          Internal investigation
25           hadn't even found out how she found out where he was.

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                                                                            278
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 279 of 501 Document 80-5
 1           She told me later on that she tried to get ahold of him
 2           by calling his phone, but there was no answer. I
 3           imagine that is when he was probably doing sobriety
 4           tests or something, and Mr. Cody Smith had his phone.
 5           I am just speculating. Don't know. Or maybe everybody
 6           is calling the wrong number that I am giving. I am not
 7           quite sure. So she Facebooked a "In" box. So if he had
 8           his phone, it would -- it would come up as the Facebook
 9           page or something. That didn't happen. I don't know.
10           I don't know how somebody found out or -- or Jordan --
11           when he was looking for me, called the districts and
12           told them, "hey, I am looking for my mom", because they
13           left him just standing there when he called the
14           districts and asked or 911 and asked, "where is my mom?"
15           If they gave him -- and, then, he gave that address to
16           them and, then, they gave it to her? I don't know.
17                            MS. WILSON:            Your friend, I lost
18           her name.
19                            THE WITNESS:           Deb Stacey?
20                            MS. WILSON:            No. The one you
21           went to --
22                            THE WITNESS:           Melanie Beasley?
23                            MS. WILSON:            Melanie. You said
24           you went -- I think you said earlier, you went to talk
25           to her so you could help her find somebody who would

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                                                                            279
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 280 of 501 Document 80-5
 1           listen to her.
 2                            THE WITNESS:           No. She already had
 3           been telling me and Sojourner Truth House and Lieutenant
 4           Hanley. On October 5, she told him, she also told
 5           Lieutenant Lipski sitting at the table here about her
 6           sexual assault. She also told Adam Zieger and Sergeant
 7           Chris Schroeder (phonetic) from IAD, because I was with
 8           her all of those times that she told them what has been
 9           happening to her and nobody was listening to her and
10           they were giving her advice, like, "go get a restraining
11           order. Then we will do something." I was not friends
12           with Melanie at the time. She was a female that was
13           working the late shift, like I was, that I had been
14           responding to more District 5 incidents than I had been
15           District 3 incidents and I would see her and then I
16           would see her break down. We have an early interven-
17           tion program. We are trained through the academy that
18           you see anybody in distress, your co-workers, you help
19           them and when you get that information, you give it to a
20           supervisor to handle, and that is exactly what I did.
21                            MS. WILSON:            I have one more
22           question. The Shorewood officer -- officers I think
23           somebody said -- they stopped your son.
24                            THE WITNESS:           Yes.
25                            MS. WILSON:            They said he -- he

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                                                                            280
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 281 of 501 Document 80-5
 1           passed the test. Right?
 2                            THE WITNESS:           I got two different
 3           answers. The one that he gave today was that he failed
 4           it, saying he got a .09. I was told he got a .08.
 5           Regardless, he should not have been drinking at all. So
 6           whatever penalty he was going to get, he would have to
 7           deal with. I would never interfere with that. I have
 8           other brothers that have been in trouble with the law,
 9           and I've never interfered. They come -- Even the
10           detectives and the officers will call me and ask me,
11           "hey, your brother, John, he just did this, this and
12           this", and I will say, "he did it, he did it. Then you
13           arrest him." I never intervene and unfortunately, it
14           has happened several times with one of my brothers. I
15           have never intervene. I never ask them to give them
16           leniency. The only time I told both of my sons is to
17           hand that card over to give it to them to let that
18           officer know that you are not going get searched and
19           that you know the law and you respect the law, because
20           my mother raised me and she is a detective. So you
21           don't have to pull me out of my car. It just happened
22           with this. First of all, not to get into the traffic
23           stop, but why is he even stopped? The call was to a
24           house. It didn't mention anything about a blue car.
25           You don't get to pull over a car because it is leaving

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                                                                            281
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 282 of 501 Document 80-5
 1           the area. That is still a moot point just like the moot
 2           point that my son was drinking. And yes, he would have
 3           had to pay those penalties. I am not going to interfere
 4           in what he did. He is a 19-year-old. He just left
 5           Minnesota on a scholarship to come here and take the
 6           studies at UWM because he wanted to change his major.
 7           He makes those decisions, not me. I just pay the bill.
 8                            MS. WILSON:            Thank you.
 9                            MS. MC KENZIE:         I have a few
10           questions. I am going to straight to the Complaint
11           because this is really the basis for pretty much the
12           charges.
13                            MS. WILSON:            Where are you?
14                            MS. MC KENZIE:         The Complaint we
15           received. I am looking at Page 3 of the Complaint.
16           It says --
17                            MR. PEDERSON:          It should be here
18           somewhere. Document 5. Page through it and find
19           Document 5. It looks like this.
20                            MS. MC KENZIE:         I'm looking at
21           Page 3. One of the charges against you is that --
22           basically, it states,
23                       "Detective Lewandowski indicated that there
24           was no urgency to complete the follow-up and that she
25           intended to meet the other officer instead of conducting

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                                                                            282
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 283 of 501 Document 80-5
 1           the follow-up first because 'she had called me and asked
 2           me to.' Detective Lewandowski described that her
 3           response to District 5 took precedence over the gun
 4           retrieval because that was where she was 'going to go in
 5           the first place.' Detective Lewandowski added that the
 6           firearm retrieval was not her assignment."
 7                            THE WITNESS:          Yes.
 8                            MS. MC KENZIE:        Looking at that and
 9           seeing that the charge of "failed to use her time to
10           accomplish the mission of the department", are you
11           disagreeing with the fact that the mission of the
12           department was not to go to Ms. Beasley, but instead, to
13           do the job of gun retrieval? Are you disputing that?
14                            THE WITNESS:          I am saying this.
15                            MS. MC KENZIE:        So let me backtrack.
16           What was, at that time, the mission of the department?
17                            THE WITNESS:          The mission for
18           Juanita Carr was to retrieve the gun. I had nothing to
19           do with her assignment. I didn't know there was
20           exigency in it. She told me he shot himself and he was
21           a CCCW holder, meaning he was a permit holder. So she
22           explained it to me, in brief, that he pulled the gun out
23           of his pocket and probably shot himself in the leg.
24           That is all she knew. That isn't a crime to shoot
25           yourself with your own gun. It happens all the time.

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                               sueT@wi.rr.com
                                                                            283
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 284 of 501 Document 80-5
 1           We don't take people's guns from them for that. She
 2           explained there was no exigency in it. I didn't respond
 3           to the hospital, I didn't know that it was more than
 4           that. I only knew that is what she had told me. She
 5           wasn't even going go to get the gun a second time. What
 6           she was going to do was put it into the follow-up, which
 7           day shift would have got it. I said to her, "hey, I
 8           will go with you. Let's go and take care of it. I am
 9           going to go to District 5 first and talk to Melanie
10           about her report and since you were just there, let's
11           make some time go by and let people get home if they are
12           going to get home. I will go there. It is only going
13           to be a brief conversation with her, go over her report
14           to tell her what I would file and, then, come back to
15           District 3."
16                            MS. MC KENZIE:         So you are saying
17           that was not your assignment.
18                            THE WITNESS:           That is correct.
19                            MS. MC KENZIE:        The second part says
20           here on Page -- Well, you were the driver of the car.
21           Correct?
22                            THE WITNESS:          Yes.
23                            MS. MC KENZIE:        The second part, on
24           Page 5, it says,
25                       "The department vehicle was determined to be

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                                                                            284
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 285 of 501 Document 80-5
 1           'totaled' with a value of $4,525. Detective
 2           Lewandowski, a second detective, and a citizen were all
 3           transported to the hospital for injuries. Both
 4           Detective Lewandowski and the other detective were
 5           unable to return to work for a significant period of
 6           time.
 7                       detective Shannon Lewandowski failed to
 8           operate the vehicle in a safe and courteous manner
 9           while complying with all traffic laws."
10           So in your assessment, you are saying you did not
11           violate this particular charge.
12                            THE WITNESS:          I didn't violate one
13           charge.
14                            MS. MC KENZIE:        I am asking you about
15           this one.
16                            THE WITNESS:          About that one.
17                            MS. MC KENZIE:       Did you operate the
18           vehicle in a safe manner?
19                            THE WITNESS:           I operated the
20           vehicle not only in a safe manner. Juanita Carr even
21           said if I was speeding, she would have told me so. I
22           was operating at more of a safe manner because if I
23           wouldn't have had my lights on, the cars that were
24           coming from east to west that had pulled over when they
25           saw my lights would have also been in that intersection.

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                               sueT@wi.rr.com
                                                                            285
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 286 of 501 Document 80-5
 1                            MS. MC KENZIE:         So again, let me ask
 2           you, based on police procedure, were you operating your
 3           car in a safe manner?
 4                            THE WITNESS:          Yes.
 5                            MS. MC KENZIE:        Not in your assess-
 6           ment. I understand your assessment and Juanita's
 7           assessment, but as an employee of the police department,
 8           were you operating your car in a safe manner?
 9                            THE WITNESS:           Yes.
10                            MS. WILSON:            Now, I have a follow-
11           up question to hers. If individuals shooting themselves
12           is not a crime, then, why would either one of you go to
13           see about the gun, because one of the duties of police
14           officers is to address crimes. So it looks like neither
15           one of you should have been going. You should have been
16           doing police work.
17                            THE WITNESS:          First of all, when
18           there is a shooting and people are -- I don't know the
19           whole case because since then, I never -- I only knew
20           that little caption of offering my assistance to
21           Juanita. I don't know all the semantics of the case.
22           I don't know what happened afterwards. I don't know
23           that they were lying to her or not. I wasn't part of
24           her case. I know about as much as her as all I know
25           about all the other detectives' work out there. It is

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                                                                            286
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 287 of 501 Document 80-5
 1           not my responsibility. Those are your cases. I have my
 2           cases, but if you need help, I am the first one who is
 3           going to offer the help. I am the first one at your
 4           scene. I am the last one usually at work.
 5                            MS. WILSON:            You are the one who
 6           said that shooting yourself is not a crime.
 7                            THE WITNESS:           She said, "he shot
 8           himself", so it is not a big deal and he is a permit
 9           holder. It would be a crime if he was a felon and he
10           had possession of a firearm, but this is what I was told
11           from her. He is a carry concealed weapon, he shot
12           himself in the leg with his own gun and he doesn't want
13           us to have the gun, because that is what I asked when
14           the patrol sergeant walked by. He said, "did you
15           recover the gun?" She said she went by herself and I am
16           thinking, "why would you go by yourself? That is
17           dangerous." She is, like, because he is just a CCW
18           carrier and he shot himself. So it is not a big deal."
19           So I just took her word for it.
20                            MS. WILSON:            I apologize. I
21           thought you said it. I am sorry.
22                            THE WITNESS:           No.
23                            MS. WILSON:            I have no more
24           questions.
25                            MR. KONRAD:            You said the

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                                                                            287
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 288 of 501 Document 80-5
 1           detectives are assigned to districts?
 2                            THE WITNESS:           Yes.
 3                            MR. KONRAD:            What district are you
 4           assigned to?
 5                            THE WITNESS:           Three and five.
 6           Central Division covers three and five.
 7                            MR. KONRAD:            That explains why you
 8           were going back and forth.
 9                            THE WITNESS:           I had a desk at both.
10                            MR. KONRAD:            Just so we are clear
11           on this shooting, the person who was injured reported
12           that they had shot themselves. Correct?
13                            THE WITNESS:           I don't know what
14           they reported, what they -- Obviously, they lied
15           because they couldn't find the scene for a while. I
16           don't know. All I know is that day when I went to
17           District 3 to ask Juanita if she needed any help, she
18           said, "it is not a big deal. He shot himself and he is
19           a CCW carrier." I left it at that.
20                            MR. KONRAD:            So you didn't know
21           whether or not her statement was based upon just the
22           report that a person was shot or was it based on a more
23           fuller investigation?
24                            THE WITNESS:           My decision to offer
25           my help just stands. Her decision in the exigency or

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                                                                            288
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 289 of 501 Document 80-5
 1           the urgency to get it is based on her being a detective
 2           for as long as I have been a detective. I cannot make
 3           those decisions for her. That is her case. Now, if a
 4           lieutenant would have said, "I want you to help her with
 5           that case", I would have said, "give me all the facts.
 6           What do we have going here?" But I didn't. I just
 7           offered my help.
 8                            MR. KONRAD:            Thank you. I think
 9           we will --
10                            I understand you may have follow-up,
11           but you will have a chance for redirect after the cross.
12                            MR. MC GAVER:          Fine.
13                            MR. KONRAD:            So we will adjourn
14           and reconvene tomorrow at 8:30 in Room 301-B.
15           (WHEREUPON, THE DEPOSITION WAS CONDUCTED AT 4:57 P.M.)
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                               sueT@wi.rr.com
                                                                            289
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 290 of 501 Document 80-5
 1          STATE OF WISCONSIN )
                               )
 2          COUNTY OF MILWAUKEE)
 3

 4                           I, SUSAN K. TAYLOR, do hereby certify
 5          that I am a stenographic reporter; that I was present at
 6          the hearing in the above entitled action, and that I
 7          recorded the same in shorthand; that the above and
 8          foregoing is a true, correct and exact copy, in
 9          longhand, of my shorthand notes taken at said hearing.
10

11                            Dated this          day of          2016
12

13

14

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16

17                                             SUSAN K. TAYLOR
18                                             Court Reporter
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                                                                           290
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 291 of 501 Document 80-5
 1
                         E X A M I N A T I O N       I N D E X
 2

 3           WITNESS                                           PAGE NO.
 4           SHANNON LEWANDOWSKI
 5           Cross-Exam by Mr. Pederson                           292
             Redirect Exam by Mr. McGaver                         356
 6

 7           SEAN HANLEY
 8           Direct Exam by Mr. Pederson                          363
             Cross-Exam by Mr. McGaver                            381
 9           Redirect Exam by Mr. Pederson                        386
             Recross-Exam by Mr. McGaver                          388
10

11           STEVEN KELLY
12           Direct Exam by Mr. Pederson                          390
             Cross-Exam by Mr. McGaver                            396
13

14           ADAM ZIEGER
15           Direct Exam by Mr. Pederson                          400
             Cross-Exam by Mr. McGaver                            409
16

17
                                  PHASE II
18
             CARIANNE YERKES
19
             Direct Exam by Mr. Pederson                         440
20           Cross-Exam by Mr. McGaver                           459
21
             CHAD BOYACK
22
             Direct Exam by Mr. McGaver                          464
23

24           SHANNON LEWANDOWSKI
25           Direct Exam by Mr. McGaver                          467
             Cross-Exam by Mr. Pederson                          471
     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 292 of 501 Document 80-5
 1                            MR. KONRAD:         Good morning. It is
 2           Thursday, August 11, 2016, approximately 8:30 a.m. This
 3           is a continuation of the hearing in the matter of the
 4           Disciplinary Appeal of Detective Shannon Lewandowski.
 5           My name is Rudolph Konrad. I am the hearing examiner
 6           presiding over this matter. The Fire and Police
 7           Commission commissioners here serving on the panel are
 8           Commissioners Kathy Hein, Ann Wilson, and Angela
 9           McKenzie.
10                            We are still in Phase I of the
11           proceeding. We will begin with the cross-examination
12           of Ms. Lewandowski.
13                            Take the stand. You are still under
14           oath.
15           CROSS-EXAMINATION BY MR. PEDERSON:
16     Q     I would like to begin with you and Juanita Carr at
17           District 3. Okay?
18     A     Okay.
19     Q     I would like to get a better understanding of how it was
20           determined that you would go to the house with her to
21           perform the search. So my first question is, at the
22           time that you did that, did you already know that you
23           were going to go to District 5 first?
24     A     At the time that I volunteered?
25     Q     Yes.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            292
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 293 of 501 Document 80-5
 1     A     Yes.
 2     Q     Did you communicate that to Detective Carr?
 3     A     Yes.
 4     Q     What did you tell her?
 5     A     I said, "do you want to go and try to get the gun
 6           again?" And she said, "yes." I said, "I will go with
 7           you if you want", and she said, "fine." I said, "but I
 8           have to go to District 5 first and handle some business.
 9           It shouldn't take that long and, then, we can come back
10           around and do that," and she said, "yes, that is good,
11           because I was just at the house."
12     Q     What was your expectation about when you were going to
13           get back to the house to actually attempt to search?
14                            MR. MC GAVER:          I will object.
15           The question is vague. Are you asking about the time?
16                            MR. PEDERSON:          I am.
17                            MR. KONRAD:            What was the
18           question?
19     Q     Your plan was to go to District 5 first and, then, go to
20           the house and see if you could perform a search. Right?
21     A     Yes.
22     Q     Did you have an expectation at the time you left
23           District 5 about when you were going to get to District
24           5, how long it was going to take you and when you were
25           eventually going to get to the house?

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                                                                            293
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 294 of 501 Document 80-5
 1     A     No.
 2     Q     Do you have any ability to estimate, like, an hour, two
 3           hours? Anything like that?
 4     A     Maybe half hour, 45 minutes. I -- if I thought about
 5           it right now, that is probably what it would have taken.
 6           I don't know how long the conversation would have
 7           lasted.
 8     Q     If you got into the house and you found the gun, there
 9           would be some paperwork going. Right?
10     A     Yes.
11     Q     Would that require some overtime?
12     A     I can't speculate because I could have went to District
13           5 and handled my business within ten minutes or it could
14           have been an hour. I can't speculate on it. I offered
15           my assistance to a co-worker. She accepted it and she
16           agreed to handle it the way we did.
17     Q     You'd agree with me that at the time you left the
18           district, though, you had -- both you and Detective Carr
19           only had two hours left on your shifts. Right?
20     A     That's correct.
21     Q     As a detective, you are expected to, the extent you are
22           able, to manage your workload so as to minimize, not
23           maximize overtime. You'd agree with me?
24     A     That is correct.
25     Q     Let's take a step back. You had previously indicated

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                                                                            294
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 295 of 501 Document 80-5
 1           that there was I believe your testimony was a black male
 2           sergeant who had asked Juanita Carr about if she found
 3           the gun. Was that your testimony?
 4     A     Yes.
 5     Q     Do you know the name of this sergeant?
 6     A     I don't.
 7     Q     But you worked in the district. Right?
 8     A     Yes.
 9     Q     How long did you work in the district?
10     A     I guess all of my career.
11     Q     Is it unusual that you wouldn't know who the sergeant
12           was that works on the very same shift that you work?
13     A     He doesn't work on my shift. I think he either works
14           day shift or maybe a power shift. I have only seen him
15           in passing as a patrol sergeant. He has nothing to do
16           with anything that I do.
17     Q     Do you know a sergeant by the name of Allen Perry?
18     A     I would have to see his face. I don't recognize the
19           name.
20     Q     Can you name any black sergeants -- black male sergeants
21           that you are familiar with at District 3?
22     A     Harmon (phonetic). I don't know.
23     Q     Okay. So you just said that you don't know the
24           sergeants because they don't have anything to do with
25           what you do. Right?

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                                                                            295
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 296 of 501 Document 80-5
 1     A     Correct.
 2     Q     If that is the case, why is one of those sergeants
 3           getting involved in a detective's investigation and --
 4     A     You would have to ask him about that.
 5     Q     To your knowledge, is there a legitimate and bona fide
 6           reason why a patrol sergeant would regularly ask
 7           detectives about their investigations and ask them about
 8           their follow-up and ask them what they are doing
 9           regarding their investigation?
10     A     I don't know anything about regularly, like, no patrol
11           officer or sergeant, whatever, asked anything regularly.
12     Q     How often do patrol sergeants personally ask you about
13           your investigations and ask you if you performed follow-
14           up?
15     A     Not many, if any.
16     Q     Regarding Lieutenant Hanley at District 3, is it your
17           testimony that he was there, you just didn't speak to
18           him, or that he was not there?
19     A     What are you talking about?
20     Q     I can back up. You indicated it was not Lieutenant
21           Hanley that spoke to Juanita Carr. Right?
22                            MR. MC GAVER:             Objection. Vague
23           as to time.
24     Q     I am still at the station. I think that is clear.
25                            MR. KONRAD:         You are at the district

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                                                                            296
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 297 of 501 Document 80-5
 1           before -- before Shannon Lewandowski teamed up with
 2           Juanita Carr?
 3                            MR. PEDERSON:              I am still
 4           referencing the occasion where Shannon Lewandowski
 5           served this unknown -- observed this unknown sergeant
 6           speak to Juanita Carr.
 7     A     Did I see the conversation with --
 8     Q     I am saying at or around that time, to your knowledge,
 9           was Lieutenant Hanley at the district station at all?
10     A     I have no idea. I never saw him.
11     Q     When you left District 5, I believe you indicated before
12           you had a -- when you left District 3 on your way to
13           District 5, I believe yesterday's testimony, you said
14           you had a couple of reasons. One, to assist Melanie
15           Beasley in a review of filing a felony and this personal
16           or this other business concerning her personal safety
17           concerns. Right? You had two functions?
18     A     Yes.
19     Q     My question for you now is, to your knowledge, regarding
20           the filing of the felony, when did that felony occur?
21     A     I don't recall because I didn't make it to her to talk
22           to her about it.
23     Q     The information that you were going to provide her, is
24           there a reason why it had to come from you and couldn't
25           come from a supervisor or another person at District 5?

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                                                                            297
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 298 of 501 Document 80-5
 1     A     You'd have to ask Melanie that. I don't know. She
 2           asked for my help. Detectives assist officers all the
 3           time and I was going there to do that. It was in my
 4           district anyway.
 5     Q     You'd agree with me that one of the functions of
 6           supervisors at districts is to assist their officers in
 7           the very thing that you are saying you were going there
 8           to assist her with. Right?
 9     A     I am a detective, not supervisor. That is their
10           responsibility. If an officer asks me for help at a
11           crime scene, especially a felony, I will offer that
12           help. I am going to give it to them.
13     Q     I appreciate that, but that wasn't responsive to my
14           question. Based on your knowledge and experience,
15           isn't the type of issue that you were going there to
16           assist her on was the filing of a "felony matter" is the
17           exact type of thing that supervisors are supposed to
18           assist their officers with in the district and that is
19           one of their basic functions, in fact?
20     A     My experience isn't as a supervisor or a lieutenant or a
21           sergeant. I have never worked in that capacity. I have
22           never been trained in that capacity. However, felony
23           investigations are part of detectives' work, so they are
24           part of my job assignment and so if somebody needs help
25           with them, that is what I am there for.

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                                                                            298
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 299 of 501 Document 80-5
 1     Q     Do you regularly cross from one district to another to
 2           assist officers in basic functions of their job?
 3     A     In my division, yes. In Central, I work in Three and
 4           Five. The majority of my assignments are in District 5.
 5     Q     You were a very busy person. Right? At that time.
 6           In terms of your workload and your caseload. Right?
 7     A     I am sure I was.
 8     Q     Sure. You knew the search needed to be done for the
 9           gun. Right?
10     A     I guess so.
11     Q     Is it a true and accurate statement to say that you
12           decided on your own to prioritize the assistance and
13           going to see Melanie over the search for the gun?
14     A     No.
15     Q     How is that wrong?
16     A     I didn't make that decision. Juanita did. I offered
17           my assistance and she accepted it. I told her I had
18           to stop at District 5 and she agreed. It was her
19           assignment. I didn't know the exigency of it, the
20           urgency. I didn't know a supervisor instructed her.
21           All I knew is that she already went and I agreed to go
22           with her a second time.
23     Q     Well, if you are going to volunteer yourself, would you
24           agree with me that you bear some responsibility in
25           confirming what needs to be done, why and what the time

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                                                                            299
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 300 of 501 Document 80-5
 1           frame is?
 2     A     No. If she tells me -- if another coworker tells me
 3           they need assistance, "hey, we are going to go do a
 4           search warrant, we are going to go do a knock-and-talk,
 5           can you come along with us?" I don't ask any questions
 6           at that point unless they are offering me the informa-
 7           tion.
 8     Q     I am going to refer to Document No. 9. Please retrieve
 9           that. Go to the third page. I would direct your atten-
10           tion to the third line where it says, "there was no
11           exigency." Do you see it?
12     A     That is correct.
13     Q     I will read it. Please follow along.
14                       "There was no exigency in retrieving the gun,
15           since the victim of the shooting shot himself with his
16           own gun. The victim is not a felon and legally owned
17           his gun when he accidentally discharged it, striking
18           himself. There was no reason to retrieve the gun that
19           the Sergeant from District 3 requested Detective Carr
20           do. I did not know this information at the time, only
21           that Detective Carr wanted to return to his home a
22           second time."
23           Did I read that correctly?
24     A     Yes.
25     Q     All right. So when did you become aware of that infor-

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                                                                            300
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 301 of 501 Document 80-5
 1           mation if you didn't know it then?
 2     A     It is misconstrued that I didn't know this information
 3           at the time. I meant the information that it was more
 4           than what Juanita said it was; a CCW holder accidentally
 5           shooting himself, that it was actually something along
 6           the lines of a domestic dispute and there was some
 7           exigency in getting it, but I didn't know any of that
 8           information. I didn't know anything about that at the
 9           time. Other than what that says right there, that he
10           shot himself with his own gun and he didn't want to give
11           the gun back.
12     Q     If I understand your testimony, everything that you
13           listed here, you actually did know at the time.
14     A     Yes.
15     Q     So you did have some knowledge of underlying facts
16           related to the matter. Right?
17     A     I testified to that yesterday that I knew that.
18     Q     And so therefore, do you ask or wonder to yourself that
19           is it possible that perhaps this victim isn't a victim
20           at all and in fact, is covering up, lying, about having
21           been shot and therefore, should be important to get the
22           gun for another reason?
23     A     You are suggesting that I know everybody's -- other
24           detectives' business. You reiterated that I had my own
25           caseload, which I did. I am not interested in those

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                                                                            301
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 302 of 501 Document 80-5
 1           details unless they ask me to be involved in their case.
 2           So you are assuming that I should know everybody's
 3           business and everybody's assignments. If you ask me to
 4           do some follow-up, I will help you with it. If I am
 5           assigned follow-up from a supervisor, then, I am going
 6           to reach in differently, I am going to read all the
 7           reports, I am going to question a detective who is
 8           handling it so that I know how to treat the situation.
 9           When I am going with a detective who is assigned to it,
10           that is all I need to do.
11     Q     But you would agree with me that these facts that you
12           have here, there is plenty of reasons why that may not
13           be known to you at the time, why it may be actually
14           exigent and more to the story. You are acknowledging
15           that is true. Right?
16     A     You are asking me to speculate about something --
17                            MS. MC KENZIE:         Can you just answer
18           the question to the best of your knowledge? Do not
19           argue with the attorney, please.
20     A     I do not -- I don't know how to answer what you are
21           saying. You are asking me to speculate. I don't know.
22     Q     At some point, you had an interview with Sergeant
23           Zieger. Right?
24     A     Yes.
25     Q     Why didn't you tell him at the time that you had this

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                                                                            302
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 303 of 501 Document 80-5
 1           dual purpose and only told him at your interview about
 2           the single purpose of going to assist her regarding her
 3           personal issues?
 4     A     I don't remember if I omitted that. I would have to
 5           listen to that tape over again.
 6     Q     I am presenting to you, and you should know for yourself
 7           that Sergeant Zieger testified to that, so I am asking
 8           you, you don't have the benefit of reviewing it. I am
 9           asking you now, can you account for why you didn't,
10           according to the testimony of Sergeant Zieger?
11     A     I believe that I did say that to him. I believe it
12           was in April, I told him the dual reason is why. I
13           addressed both of those. So if he is stating that I
14           didn't say it, I am not saying I agree with it. I
15           would have to listen to it because I believe at that
16           time, which I have not even returned to work at that
17           time, I was still under treatment, I don't recall what
18           I said that day.
19     Q     Did you include in any of your written statements the
20           fact that you were aware that Juanita Carr had already
21           searched it just immediately prior to you leaving
22           District 5?
23     A     No.
24     Q     Why not?
25     A     I didn't feel there was a need to.

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                                                                            303
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 304 of 501 Document 80-5
 1     Q     Wouldn't you agree with me that that is an important
 2           fact which justifies why you could go ahead and put off
 3           another search, because you were already there?
 4     A     If someone would have asked me, I would have told them
 5           that, but I never was asked.
 6     Q     You had been writing reports for a very long time.
 7           Right?
 8     A     Yes.
 9     Q     It is important to include all salient facts. Would you
10           agree with me?
11     A     Yes.
12     Q     And it is important to be detail oriented?
13     A     Yes.
14     Q     So my question for you is, don't you agree with me that
15           it is an important fact that Juanita Carr had just
16           searched the house a short time before you had left
17           District 5 as it relates to why you are not going there
18           right away?
19     A     I didn't know I had to be accountable for that purpose.
20           That should have been in Juanita Carr's report.
21     Q     Is there a reason why you didn't say that in the
22           interviews -- or your interview with Adam Zieger?
23     A     I did say that.
24     Q     You are indicating that you told Adam Zieger in your
25           interview that Juanita Carr informed you that she had

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                                                                            304
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 305 of 501 Document 80-5
 1           already searched the house once before she --
 2     A     No, that she was responsible for her assignment.
 3     Q     So, then, you would agree with me that the first time
 4           we have ever heard that Juanita Carr searched the house
 5           just before or shortly before you -- Let me back up.
 6           Would you agree with me that it was at this hearing the
 7           first time it was revealed that Juanita Carr attempted
 8           to search the house at issue shortly before the time
 9           that you met up with her and left District 5?
10     A     I don't know what Juanita Carr said in her hearing with
11           Zieger.
12     Q     I am asking, coming from you, is that the first time we
13           heard it?
14     A     From me personally, yes.
15                            MR. KONRAD:            I am confused with
16           the question and answer.
17                            MR. PEDERSON:          Do you want me to
18           restate it?
19                            MR. KONRAD:            Exhibit 9 is October
20           of 2015, her statement. She says that, "I didn't know
21           the situation at the time." Then, she says only that
22           Detective Carr wanted to return to the home a second
23           time.
24                            My question is, could you tell me again
25           what you meant by that sentence?

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                                                                            305
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 306 of 501 Document 80-5
 1                            THE WITNESS:          He just asked me about
 2           "we." This is the first time we heard it and I already
 3           knew at the district, that Juanita had been to the
 4           house. So I volunteered to go a second time and he
 5           asked me if we -- if this is the first time we heard it,
 6           all of us, and I said, "yes, I guess so."
 7                            MR. KONRAD:            So your answer is the
 8           first time that all of us heard it, not the first time
 9           you heard it.
10                            THE WITNESS:           The first time I
11           heard it was at the district on the 19th from Juanita
12           herself.
13                            MR. KONRAD:            You said this was
14           not in any of her written statements. Counsel, which
15           written statements are you referring to? Her PI-21 or
16           the --
17                            MR. PEDERSON:          The exhibits that
18           have been submitted, the three separate exhibits that
19           have been submitted, including Exhibit 9.
20                            MR. KONRAD:            Thank you.
21           BY MR. PEDERSON:
22     Q     I would like to move forward in time to the -- when you
23           are driving in the car and on east North -- west North
24           Avenue approaching North 35th Street. Okay?
25     A     Yes.

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                               sueT@wi.rr.com
                                                                            306
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 307 of 501 Document 80-5
 1     Q     You have indicated that you turned on the emergency
 2           lights between 36th and 35th. Is that right?
 3     A     Yes.
 4     Q     If I recall your testimony correctly yesterday, it is
 5           not that there was a car coming out in front of you for
 6           sure, but you just thought it was possible and so it was
 7           just a cautionary measure. Is that right?
 8     A     No. I said the car was impeding traffic in the bicycle
 9           lane and half of my lane and its brake lights came on
10           and off and so as I was approaching it, I let them know
11           on a short notice that I was coming around them.
12     Q     I guess my question, then, is that this wasn't a close
13           call or anything. This was more of a cautionary
14           measure of, "he might pull out in a second. I am going
15           to go ahead and do this blurp -- I think you called
16           it -- and notify him so -- just to be extra safe so he
17           doesn't pull out while I am going around him."
18     A     I felt he might be pulling out because his brake lights
19           came on and off.
20     Q     This was not a quick action by you, like, a sudden,
21           unexpected thing. You saw this as you are coming up
22           that "he is blocking traffic, I am going to need to go
23           around him" and you took this measure just as part of a
24           calculated measure as you were approaching. Right?
25     A     Yes.

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                                                                            307
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 308 of 501 Document 80-5
 1     Q     If you are in a personal vehicle without the benefit of
 2           emergency lights, would you agree with me that someone
 3           would simply slow down, make sure there is no oncoming
 4           traffic and go around the vehicle?
 5     A     That is what I did in this vehicle, also except I
 6           illuminated the lights.
 7     Q     Why did you feel that was necessary?
 8     A     I just felt it was necessary.
 9     Q     Is there a reason why simply slowing down and going
10           around the vehicle was not going to be adequately safe?
11     A     It was just a little bit more safe with the lights.
12     Q     Are you trained to use your lights in this matter?
13     A     If someone is impeding traffic, we can use the lights
14           to go around them. It is part of the horn. The horn is
15           past the lights. In order for me to get to the horn, I
16           have to go on the toggle switch past the lights to the
17           horn.
18     Q     Would you agree with me that you are trained to be
19           cautious in how you use emergency lights and sirens?
20     A     Yes.
21     Q     Why is that?
22     A     They are used for emergencies.
23     Q     Would you agree with me that it is possible -- Strike
24           that. Would you agree with me that one of the reasons
25           why you are trained to be cautious is because turning on

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                                                                            308
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 309 of 501 Document 80-5
 1           lights and sirens suddenly in the midst of traffic can
 2           be distracting and you can actually create a more
 3           hazardous situation with people responding to it?
 4     A     I never experienced turning on emergency lights and
 5           people being distracted even more. We use the lights
 6           to block off streets when we have crime scenes. We have
 7           lights on at parades. We use the lights for several
 8           different non-emergency reasons. So this was a way for
 9           me, because I don't have a horn just to beep, to go
10           around the car in a safe manner and let him know not to
11           pull out. It is just that simple.
12     Q     So if this is a calculated move on your part, you just
13           do a quick notice to him, like, a horn, why do you leave
14           it on?
15     A     I couldn't tell you. I don't believe I did leave it on,
16           but I don't remember after I hit the car.
17     Q     It is your testimony that you were traveling approxi-
18           mately how fast at the time of the collision?
19     A     30 or less.
20     Q     Just to try to clarify something. In your testimony,
21           you said you didn't have a horn in your vehicle. Is
22           that right?
23     A     The horn doesn't work on there. You use it on the
24           toggle switch.
25     Q     What function does the horn have?

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                                                                            309
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 310 of 501 Document 80-5
 1     A     I guess none.
 2     Q     Isn't there one of those air horns on the side that is
 3           attached to the vehicle?
 4     A     I don't know what you are referring to. Air horn?
 5     Q     Yes. Is there another piece of equipment on the vehicle
 6           that allows you to employ it so it makes a horn noise, a
 7           regular loud horn noise?
 8     A     Yes. On the toggle switch past the lights.
 9     Q     Is it accurate -- Do you recall stating in your PI-21
10           that you purposely left the emergency lights on?
11     A     I don't recall.
12     Q     Were you wearing your seat belt at the time of the
13           accident?
14     A     I believe so.
15     Q     Yesterday, you testified about how TAC officers
16           responded to the scene. Do you recall that testimony?
17     A     Yes.
18     Q     If I understand your testimony correctly, you were
19           indicating that that was somehow unusual that TAC
20           officers would respond to the scene of an accident.
21           Is that right?
22     A     I actually believe I testified that it would not be
23           unusual.
24     Q     Very good. Then, you would agree with me that TAC
25           officers, while they do have special assignments as part

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                                                                            310
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 311 of 501 Document 80-5
 1           of TAC, they also do regular patrol as well during the
 2           course of their tour of duty. Right?
 3     A     No, I don't believe they do patrol, but they might
 4           respond to two deceased detectives.
 5     Q     Let me ask the ultimate question so this will be easier.
 6           Would you agree with me that there is nothing unusual
 7           about the fact that there was a number of TAC officers
 8           that responded to the scene where you were in an auto
 9           accident?
10                            MS. WILSON:            I didn't hear you.
11                            MR. PEDERSON:          I tried to sum up in
12           a simple question if she would agree with me that there
13           would be nothing unusual about TAC officers responding
14           to the scene of an accident that she was involved in.
15     A     Just them responding? Nothing unusual.
16     Q     Is there anything unusual about TAC officers being there
17           at the scene that you were involved with?
18     A     Yes.
19     Q     Can you please explain why?
20     A     Because they made statements apparently to Sergeant
21           Riley who said that I was making these statements and
22           they didn't remain on the scene. They didn't write a
23           report. They weren't interviewed. If they are going to
24           take part of what I am babbling on the scene, then every
25           person who responds per SOP to a crime scene has to

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                                                                            311
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 312 of 501 Document 80-5
 1           write a report about what they heard or saw.
 2     Q     You indicated this was -- Strike that. It is your
 3           testimony that every single officer at a crime scene has
 4           to file a report?
 5     A     Every officer who responds to a crime scene is supposed
 6           to write a report based on what they did or heard or saw
 7           before the end of their shift.
 8     Q     Would you agree with me that supervision has discretion
 9           on who should and should not write reports?
10     A     Yes.
11     Q     Would you agree with me that supervision has an interest
12           in getting the reports from only key personnel, espe-
13           cially when there are large numbers of officers who
14           respond just due to efficiency?
15     A     Yes.
16     Q     So would you agree with me that it is not necessarily
17           unusual that not every single officer filed a report
18           that was at that scene?
19     A     I find it highly unusual that a sergeant, specifically
20           Adam Riley, stated that he heard statements from other
21           officers on the scene. He did not hold them, remain
22           there to be interviewed by detectives. He didn't ask
23           them to write a report about what they heard me say,
24           so everything was, "I heard something to the effect of
25           I heard she was going to do this or that," but there is

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                               sueT@wi.rr.com
                                                                            312
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 313 of 501 Document 80-5
 1           absolutely -- Sergeant Riley isn't here, Sergeant Zieger
 2           didn't seek those people out to find out who were those
 3           people on the scene who heard me say those statements?
 4           So yes, I find it troubling that I am responsible for
 5           somebody else's assignment according to how your ques-
 6           tioning goes, but here, the most important thing is
 7           something that I am saying and being held accountable
 8           to have someone get my son and those officers didn't
 9           write a report and we don't even know who they are.
10     Q     What else is unusual about the fact that the TAC
11           officers were there and what they did to you?
12     A     I don't think there is much else that I remember.
13     Q     Didn't you testify yesterday that you believe that they
14           were making up the story regarding your statements about
15           wanting to go to your son at UWM as part of a retalia-
16           tion toward you? Wasn't that your testimony?
17     A     My testimony wasn't that they made it up. My testimony
18           is that they said it and there was no reports done, no
19           questioning of them and the TAC officers that did show
20           up, I recognized them from TAC. I don't know their
21           names. There is no report done and at the same time, I
22           am responding to Melanie Beasley at District 5 for the
23           exact same problem of a TAC officer who had sexually
24           assaulted her, with a valid temporary restraining order
25           filed at her district, yet she was getting no help from

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                               sueT@wi.rr.com
                                                                            313
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 314 of 501 Document 80-5
 1           supervision there and it is kind of ironic that I am
 2           being disciplined for hearsay when I am asking those TAC
 3           officers who were at the scene to write that report and
 4           be interviewed, like, I want them to tell exactly what I
 5           said and tell the truth. It is not available. So I am
 6           going to go see Melanie and for some reason, there is no
 7           exigency of going to help a female officer who had been
 8           sexually assaulted at the district. Apparently, that is
 9           not important to this department.
10     Q     When did this alleged sexual assault occur?
11     A     You would have to ask Melanie Beasley on that. However,
12           I do know that October 5, 2014, I told Lieutenant Hanley
13           and, then, Lieutenant Hanley looked his picture up on
14           the computer to see who I was talking about. Then, I
15           gave the IP address of that computer to Sergeant Zieger
16           so he could see that he did look it up and that somehow
17           got lost. Then, Melanie Beasley told Lieutenant Timothy
18           Leitzke for an hour on November 11 and told -- for an
19           hour and ten minutes about how she was sexually
20           assaulted, harassed and threatened by a TAC member of
21           the department, and he has not done anything about it.
22           Then she went to --
23     Q     Let me stop you there.
24                            MR. KONRAD:            This line of
25           questioning, you may continue it, but the whole premise

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                                                                            314
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 315 of 501 Document 80-5
 1           seems to be based upon the idea that there were some
 2           very exact statements made to -- of that incident. The
 3           way I read the report, these statements were pretty
 4           ambiguous. For example, just something about her son.
 5           She had to get her son. I don't recall exact words.
 6           Something to the effect. You may continue, but --
 7                            MR. PEDERSON:          I don't think the
 8           context --
 9                            MR. KONRAD:            I don't see a clear
10           accusation, nor do I see conspiracy. You can go ahead,
11           but you should -- we should recognize the nature of
12           these statements on both sides.
13                            MR. PEDERSON:          I do have a purpose
14           that is unrelated to what the issue is that you are
15           raising right now.
16           BY MR. PEDERSON:
17     Q     I want to be clear. The sexual assault did occur
18           months prior to when the accident occurred. Right?
19     A     I am not sure of the date.
20     Q     But it was months. You are indicating that she was
21           complaining about it in November of 2014. Right?
22     A     Are you saying from the accident date?
23     Q     Yes.
24     A     Yes.
25     Q     You would agree with me that the district attorney

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                                                                            315
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 316 of 501 Document 80-5
 1           reviewed the case where Melanie Beasley made that
 2           allegation. Correct?
 3     A     Yes.
 4     Q     And you are aware that the DA decided not to process
 5           and issue charges in that case. Correct?
 6     A     Yes.
 7     Q     I want to get some clarification. Why was it so urgent
 8           at that moment, because the way you are testifying, it
 9           sounds like this just happened and you said it happened
10           at the district. I want you to clarify those points.
11           Why was there such an urgency for you to do it at that
12           time?
13                            MR. MC GAVER:          I'll object. It is
14           vague. What is she supposed to have been doing at that
15           time?
16                            MR. PEDERSON:          I don't understand
17           the objection.
18                            MR. MC GAVER:          You asked what was
19           she doing at the time?
20                            MR. PEDERSON:          Yes. I will try to
21           re-ask it.
22                            MR. MC GAVER:          The question is
23           vague.
24                            MR. KONRAD:            I assume the question
25           is, "why were you going to Five instead of checking on

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                                                                            316
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 317 of 501 Document 80-5
 1           the gun?"
 2                            MR. PEDERSON:          No. That is not the
 3           question. I will re-ask it.
 4           BY MR. PEDERSON:
 5     Q     You just testified that you're on your way to District 3
 6           and District 5 and it is this urgent thing, or at least
 7           that is the impression I get, because she is suffering,
 8           she just -- of the sexual assault and it is a big deal.
 9           That is the impression I am getting from your testimony
10           and I want to understand why, then, at that moment is it
11           such a big deal -- the sexual assault, while terrible,
12           if it occurred, occurred months ago and there is no
13           urgency or immediacy for you personally to be going
14           doing this. So please explain to me.
15                            MR. MC GAVER:          I am going to
16           interject another objection. I think the question is
17           still ambiguous. I think it is irrelevant at this
18           point. I have let it go on for a while. We seem to be
19           going nowhere and spinning our wheels. My objection is
20           the question is vague, ambiguous, irrelevant.
21                            MR. KONRAD:            The question has been
22           asked and answered. In previous testimony, she had
23           explained that she didn't because there had been a
24           previous search of the house. There was no urgency to
25           go back immediately. I will sustain the objection.

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                                                                            317
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 318 of 501 Document 80-5
 1           BY MR. PEDERSON:
 2     Q     So is it your testimony today that the TAC officers were
 3           involved in a conspiracy and retaliation against you due
 4           to the whole situation with Melanie Beasley's accusa-
 5           tions and that whole thing? Is that your testimony?
 6           I can't be any more plain than that.
 7                            MR. MC GAVER:          Same objections. I
 8           will reiterate my relevance objection. It is the same
 9           question asked in a different manner.
10                            MR. PEDERSON:          It goes to her
11           credibility. She's provided this testimony. I should
12           be able to examine her on her credibility.
13                            MR. KONRAD:            I think it would
14           expose any bias she might have that might affect her
15           testimony, so go ahead.
16           BY MR. PEDERSON:
17     Q     Is that your testimony?
18     A     Can you rephrase or say this again?
19                            MR. MC GAVER:          It might be good to
20           have the court reporter read it back.
21                            MR. PEDERSON:          Sure.
22           (Question read)
23     A     No. I said it appears that way. Here I am, asking
24           Internal Investigations to contact those TAC officers
25           who are on the scene that overheard me say that I was

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                               sueT@wi.rr.com
                                                                            318
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 319 of 501 Document 80-5
 1           going to UWM or to get my son, but all there is in the
 2           report is hearsay and rumors at the district and I
 3           wanted them to nail those people down and say, "hey,
 4           what exactly did you hear? What exactly did you see her
 5           -- her actions?" None of that was done. So yes, it
 6           just seems quite funny. I am trying to get a fair
 7           judgment here and I can't even get Internal to do
 8           something fair for me.
 9                            MS. MC KENZIE:         So, then, your issue
10           is with the process and not necessarily the information
11           at this time.
12                            THE WITNESS:          That is correct.
13           BY MR. PEDERSON:
14     Q     Yesterday, you testified that you knew where your son
15           was. Right?
16     A     That is not true.
17     Q     What did you say, then?
18     A     Depends when you are talking. When he called me first
19           or when he told me at the hospital?
20     Q     Your testimony yesterday, my recollection, is at the
21           accident scene, you were trying to figure out where he
22           was and have somebody contact him and you were offering
23           these suggestions of different agencies where the police
24           might -- the officers around you might try to figure out
25           where he is. Do you recall that testimony?

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                                                                            319
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 320 of 501 Document 80-5
 1     A     Yes.
 2     Q     At that time, you said you got very frustrated because
 3           you knew where he was. Why don't you just go get him?
 4     A     I said that? I never said that.
 5     Q     That is my recollection.
 6     A     Your recollection isn't correct.
 7     Q     What did you know, then?
 8                            MR. MC GAVER:          The question is
 9           ambiguous. I will object.
10                            MR. KONRAD:            Could we focus on
11           what time we are talking about? Immediately after the
12           accident?
13                            MR. PEDERSON:          I am at the accident
14           scene.
15     Q     What did you know about the location of your son?
16     A     Absolutely nothing. Excuse me. Other than he was on
17           the east side.
18     Q     Your testimony is therefore, from knowing he is on the
19           east side, this is what led you to just, sort of, deduce
20           that maybe he is at UWM and to contact them. Is that
21           right?
22     A     That is not the correct order. The first thing that was
23           asked of me was from Officer Joe Goggins who asked me
24           what the phone number was of my son. When I couldn't
25           give him the correct phone number for whatever reason,

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                                                                            320
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 321 of 501 Document 80-5
 1           I recall asking them to call District 5 console to see
 2           if a District 5 officer was on a traffic stop, because
 3           District 5 is the east side.
 4     Q     You had the phone, didn't you?
 5     A     Juanita did, yes.
 6     Q     You didn't have your phone in your hand personally
 7           yourself?
 8     A     When are you talking about?
 9     Q     At the accident scene after the accident occurred.
10     A     I don't recall. All I know is I had the phone because
11           I called 911 in the car, but I don't recall what
12           happened to my phone after. I think Deb Stacey may have
13           had my phone.
14                            MR. PEDERSON:          I have a document
15           that I would like to introduce, but I only have one
16           copy.
17                            MR. MC GAVER:          If I can take a look
18           at it beforehand.
19                            MR. KONRAD:            Is this phone
20           records?
21                            MR. PEDERSON:          Yes.
22     Q     Can I ask you what your son's phone number is?
23     A     414-405-5138.
24     Q     What is your phone number?
25     A     414-405-4617.

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                                                                            321
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 322 of 501 Document 80-5
 1                            MR. PEDERSON:          Thank you.
 2                            MS. MC KENZIE:         What is your son's
 3           number again?
 4                            THE WITNESS:           414-405-5138.
 5                            MR. PEDERSON:          This will be
 6           Exhibit 14.
 7                            MR. KONRAD:            You are stipulating
 8           to its admission?
 9                            MR. MC GAVER:          I would like to have
10           him introduce it first.
11           (A document was marked as Exhibit No. 14)
12           BY MR. PEDERSON:
13     Q     I am presenting you a document marked for identification
14           as number 14.
15     A     Yes.
16     Q     Do you see it?
17     A     Yes.
18     Q     What is it?
19     A     My phone bill.
20     Q     Is it correct to say on this phone bill, this is a bill
21           for two phone numbers?
22     A     Yes.
23     Q     These two phone numbers are the phone numbers which you
24           just provided, that is your cell number and your son
25           Jordan's cell number?

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                               sueT@wi.rr.com
                                                                            322
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 323 of 501 Document 80-5
 1     A     Yes.
 2     Q     I direct your attention to Page 19 of 20. Do you see
 3           it?
 4                            MR. MC GAVER:          Does anyone mind if I
 5           look on with the witness?
 6                            MR. PEDERSON:          I have no objection.
 7     A     Yes.
 8     Q     Is it correct to say that these are the phone call logs
 9           of the phone number for your son including the date of
10           January 19 --
11     A     Yes.
12     Q     -- of 2015?
13     A     Yes.
14     Q     I would direct your attention somewhere around the
15           middle where it indicates on January 19 at 2:11 a.m.
16           Do you see it?
17     A     Yes.
18     Q     Am I correct in stating that this phone record indicates
19           that your son placed a phone call to your phone number
20           at 2:11 a.m. and it lasted for two minutes?
21     A     Yes.
22     Q     Would it be correct to say this occurred approximately
23           five, six minutes or so before your accident?
24     A     Yes.
25     Q     Is this phone call where he informed you that he was

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                                                                            323
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 324 of 501 Document 80-5
 1           stopped by the police?
 2     A     Yes.
 3     Q     Can you put in your own words what was indicated in that
 4           statement? How did that conversation go?
 5     A     He said, "Mother, I am pulled over." I said, "where you
 6           at?" He said, "I don't know." I said, "what are you
 7           pulled over for?" He said, "I don't know." I said,
 8           "when you find out, just call me back." He is, like,
 9           "okay." I heard some conversation on the phone and
10           eventually, he just hung up. I tossed my phone to
11           Juanita and said, "when my son calls, just answer it.
12           Jordan got stopped."
13     Q     He said he doesn't know and that doesn't cause you
14           concern. Is that right?
15     A     I don't understand what would be concerning about why he
16           doesn't know.
17     Q     You previously testified that you have great concerns
18           over the safety of your son when he has contact with
19           police and you are very protective of him and very
20           concerned about his safety, et cetera, so I am just
21           curious in itself that under this circumstance, he
22           notifies you he's been stopped, he can't give you any
23           details, and this doesn't concern you.
24     A     Because he doesn't know.
25     Q     I now direct your attention to Page 12 of 20. Is it

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                                                                            324
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 325 of 501 Document 80-5
 1           correct to say this page contains the phone record logs
 2           for your phone calls for the time period at issue?
 3     A     Yes.
 4     Q     Again, I direct your attention to about the middle of
 5           the page, just to correspond, 2:11 a.m., it states it
 6           is from "unavailable" and it lasted two minutes. Right?
 7     A     Incoming call at 2:11. Yes.
 8     Q     But we know just now, having looked at your son's
 9           records, that that was his phone call to you, even
10           though it states "unavailable." Right?
11     A     Right.
12     Q     I direct you two entries down, 2:17 a.m. Do you see it?
13     A     Yes.
14     Q     Am I correct to say that that was a phone call to your
15           son's phone?
16     A     Yes.
17     Q     I direct your attention one entry down, three minutes
18           later, 2:20 a.m. Do you see it?
19     A     Yes.
20     Q     That was another call to your son's phone.
21     A     That is correct.
22     Q     Two entries down, 2:25 a.m., it indicates a phone call
23           from "unavailable." Is that right?
24     A     Yes.
25     Q     Then another one from "unavailable" at 2:31?

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                               sueT@wi.rr.com
                                                                            325
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 326 of 501 Document 80-5
 1     A     Yes.
 2     Q     And, then, another call at 2:45 to your son. Right?
 3     A     Yes.
 4     Q     Please go back to Page 19. Are you there?
 5     A     Yes.
 6     Q     I direct your attention to the middle of the page,
 7           2:25 a.m. The second entry for 2:25 a.m. Do you see
 8           that?
 9     A     Yes.
10     Q     This is from the records of your son's phone. Is that
11           right?
12     A     Yes.
13     Q     It indicates that at 2:25 a.m., he made a phone call to
14           your phone and that call lasted three minutes. Right?
15     A     Yes.
16                            MS. WILSON:            Excuse me. Are you
17           saying -- since I don't have the piece of paper, are you
18           saying there was two calls made at 2:25 a.m.?
19                            MR. PEDERSON:          Yes. I will clarify
20           it with the witness.
21     Q     Looking at the records, Ms. Lewandowski, is it correct
22           that there are two entries of outgoing calls from your
23           son's phone at 2:25 a.m.?
24     A     Yes, there are.
25     Q     One is for one minute and the other is for three

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                               sueT@wi.rr.com
                                                                            326
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 327 of 501 Document 80-5
 1           minutes?
 2     A     Yes.
 3     Q     Have you had a chance to look and at and review this
 4           document?
 5     A     With you just now.
 6     Q     Do you believe this to be a true and accurate copy of
 7           your phone bill and an accurate representation of the
 8           logs?
 9     A     Sure.
10                            MR. PEDERSON:          I would like to move
11           it into evidence.
12                            MR. MC GAVER:          No objection.
13                            MR. KONRAD:            Exhibit 14 is
14           received.
15     Q     My question to you is that you have just seen that there
16           was a number of calls between your phone and his phone
17           immediately following the time of the accident. Would
18           you agree with me on that?
19     A     Yes.
20     Q     Did you place any of those calls?
21     A     No.
22     Q     Do you have any idea who did?
23     A     Idea? Either probably Joe Goggins or Deb Stacey or
24           William Krumnow. I don't know. I don't know who had my
25           phone.

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                               sueT@wi.rr.com
                                                                            327
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 328 of 501 Document 80-5
 1     Q     Would you agree with me, based on your own son's
 2           testimony, that if there was a three-minute call at
 3           2:25 a.m., that that is likely when, according to his
 4           testimony, Sergeant Smith answered the phone and spoke
 5           to someone who advised him that you had been in an
 6           accident. Right?
 7     A     I can't speculate because I don't have any idea how long
 8           he was on that traffic stop, when he got picked up.
 9           That could have been Jordan calling for me on my phone.
10           It could have -- I have no idea. I don't know if it
11           logs in one minute or two minutes.
12                            MR. KONRAD:            I think you answered
13           the question. You can't speculate.
14     Q     I am not asking you to speculate. I am just asking you,
15           is that consistent with the testimony that's been
16           provided, to your knowledge?
17                            MR. MC GAVER:          I will object. I
18           think she answered the question, that she didn't know.
19                            MR. PEDERSON:          All right. I will
20           move on.
21           BY MR. PEDERSON:
22     Q     You were transported to the hospital, Froedtert, from
23           the scene. Is that right?
24     A     Yes.
25     Q     Do you now know an approximate time you arrived at the

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                               sueT@wi.rr.com
                                                                            328
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 329 of 501 Document 80-5
 1           hospital?
 2     A     No.
 3     Q     When you were at the hospital -- Strike that. I want
 4           to ask you about the nature of your injuries. I believe
 5           yesterday, you testified that you had two black eyes.
 6           Is that right?
 7     A     Yes.
 8     Q     When did those develop?
 9     A     About three days after.
10     Q     On the day of the incident, I am wondering, can you tell
11           me what your appearance was at the time? If someone
12           were to look at you when you were at the hospital, what
13           would they see in terms of injuries?
14                            MR. MC GAVER:          I will object. I
15           don't think this witness is qualified to identify the
16           nature of how her injuries appeared.
17                            MR. KONRAD:            She can describe her
18           injuries, but I don't think she can describe how they
19           appeared to others.
20                            MR. PEDERSON:          My question to her --
21           My question to her is a simple thing based on her
22           knowledge of herself. Did she have any obvious injuries
23           to her body or anywhere. That is my question. I think
24           she is competent to answer that.
25                            MR. MC GAVER:          I will renew my

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                               sueT@wi.rr.com
                                                                            329
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 330 of 501 Document 80-5
 1           objection.
 2                            MR. KONRAD:            What injuries did you
 3           have?
 4                            THE WITNESS:           That were visible?
 5                            MR. KONRAD:            When you were in the
 6           hospital, how do you believe you were injured?
 7                            THE WITNESS:          I had bruising and
 8           swelling on my entire chest because of the air bag blew
 9           and hit me and on my neck and I had the start of
10           swelling on my nose which ended up giving me black eyes.
11           My right foot was double or triple the size. They took
12           photos of the foot. I have pictures that I have taken.
13           I can get those. I looked like I was disheveled in the
14           car accident.
15     Q     I would like to talk again. Still at the hospital,
16           this time regarding Lieutenant Hanley. I want to
17           clarify your testimony regarding that. You already
18           testified you never spoke to him. Correct?
19     A     Correct.
20     Q     Did you see him at all?
21     A     At the hospital?
22     Q     Yes.
23     A     No.
24     Q     Are you aware that he was actually at the hospital?
25     A     He said he was.

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                               sueT@wi.rr.com
                                                                            330
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 331 of 501 Document 80-5
 1     Q     I am asking you. Did you have personal knowledge at
 2           any time that he was actually at the hospital?
 3     A     No.
 4     Q     Could you please locate Document No. 10 in front of you?
 5           Do you have it in front of you?
 6     A     Yes.
 7     Q     Go to the last page. Is it correct to say this is one
 8           of your written statements?
 9     A     This is my written statement.
10     Q     I would direct your attention to the top line, last word
11           where it says "lieutenant." Do you see it?
12     A     Yes.
13     Q     I will read it.
14                            "Lieutenant Hanley was at the hospital
15           and never asked me how I was, nor asked me what
16           happened."
17           Did I read that correctly?
18     A     Yes.
19                            MS. MC KENZIE:         What page is that?
20                            THE WITNESS:           The last page.
21                            MR. PEDERSON:          The last page. Would
22           you like me to reread it? I'll indicate for the record
23           that she shook her head "no."
24     Q     Can you explain that discrepancy?
25     A     Yes. I was at the hospital January 19, 2015. I went to

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                               sueT@wi.rr.com
                                                                            331
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 332 of 501 Document 80-5
 1           IAD in April before I was even healed. I read a report
 2           with my union representative that said that Lieutenant
 3           Sean Hanley was at the hospital and I wrote this subse-
 4           quently after November 12, 2015, several months after
 5           finding out that he was at the hospital and he never
 6           came and talked to me and he never came and talked to me
 7           at my house and has never called me on the phone to see
 8           how I was. That is why in this report on November 12,
 9           2015 --
10     Q     I want to follow up with that and try to clarify your
11           testimony. Is it your testimony, then, that as you sit
12           here today, you dispute or believe that he was not
13           actually there?
14     A     I am not saying he was or wasn't there. I am saying
15           that he didn't talk to me.
16     Q     So if Lieutenant Hanley indicates that he was, in fact,
17           there, you wouldn't dispute that and say that he is
18           wrong about that or lying.
19     A     No. If he says he was there, he was there. He just
20           didn't talk to me.
21     Q     Very good. Thank you. I will now direct your attention
22           to the phone call that you placed to Lieutenant Hanley.
23           Do you know what I am referencing?
24     A     Yes. 6:38.
25     Q     Since we have the records, please get your phone

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                               sueT@wi.rr.com
                                                                            332
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 333 of 501 Document 80-5
 1           records. Go to Page 12. Approximately five entries
 2           from the bottom, it indicates "January 19, 5:24 a.m."
 3           Do you see that?
 4     A     Yes.
 5     Q     It lists there a phone number ending "1573." Is that
 6           right?
 7     A     Yes.
 8     Q     That is Lieutenant Hanley's personal cell phone number.
 9           Is that right?
10     A     If you say it is -- I have him in my cell phone as
11           Lieutenant Sean Hanley. I don't memorize the numbers.
12     Q     I can follow up on that with Lieutenant Hanley, but for
13           now, I'd like you to assume that the phone number ending
14           in "1573" is Lieutenant Hanley's phone number and if it
15           is, you'd agree with me that you placed the phone call
16           to him that lasted one minute. Is that right?
17     A     Yes.
18     Q     Then, I'd ask you to go to the next page. And the
19           second entry --
20                            MR. KONRAD:            What was the date of
21           that phone call?
22                            MR. PEDERSON:          January 19, 5:24 a.m.
23                            MS. WILSON:            That was '14? I
24           don't know what year.
25                            MR. PEDERSON:          2015.

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                               sueT@wi.rr.com
                                                                            333
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 334 of 501 Document 80-5
 1                            MS. WILSON:            5:20.
 2                            MR. PEDERSON:          No. 5:24 a.m.
 3           BY MR. PEDERSON:
 4     Q     Are you aware how calls that are placed out, but not
 5           answered are recorded on this log here?
 6     A     They get a minute.
 7     Q     So you would agree with me that if it says "one minute"
 8           on this phone call, it doesn't necessarily mean that you
 9           spoke to him for one minute. It could mean that you
10           called him and he didn't answer?
11     A     That is correct.
12     Q     Then on Page 13, second entry, that entry indicates that
13           there was a phone call placed on January 19, 6:38 a.m.
14           to Lieutenant Hanley's personal cell phone from your
15           phone and this log indicates that phone call lasted
16           seven minutes. Do I have all of that correct?
17     A     Yes.
18     Q     With those facts established, can you indicate to me,
19           why did you call Lieutenant Hanley at 5:24 a.m.?
20     A     Probably to see if he was going to come talk to me at
21           the hospital, because I was being discharged.
22     Q     What did you want to talk to him about?
23     A     The accident.
24     Q     At that time, you believed you were in a proper state
25           to have that discussion.

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                               sueT@wi.rr.com
                                                                            334
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 335 of 501 Document 80-5
 1     A     I cannot say I was in a proper state, but like I
 2           explained yesterday, you just don't go home. You have
 3           to talk to somebody and let them -- I am thinking he is
 4           going to come and see how I am at a minimum.
 5     Q     You heard Lieutenant Hanley indicate that it is depart-
 6           ment policy that they have three days to conduct the
 7           interview with you after an accident?
 8     A     I wasn't referring to the interview. I was just
 9           referring to he is being my lieutenant, wanting to care
10           about me being in an accident.
11     Q     That was the purpose of the 5:24 call? It was just an
12           informal conversation you wanted to have with him, more
13           of a friendly conversation?
14     A     No, not informal or friendly. I was just involved in
15           an accident. I wanted him to -- if he was going to come
16           and interview, talk to me, see if I was okay, let him
17           know that now I am leaving the hospital and where my gun
18           is and where my belt is. I had a series of questions
19           for him and to let him know that now, I am leaving.
20           Does he want me to wait or does he want me to go home
21           with my family?
22     Q     You are indicating you left the hospital at around
23           5:24 a.m.?
24     A     I don't remember when I left.
25     Q     At 6:38 a.m., you placed another call to him.

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                                                                            335
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 336 of 501 Document 80-5
 1     A     Yes, and I was home at that time.
 2     Q     How far did you live at that time?
 3     A     Not far. The border of Wauwatosa.
 4     Q     Can you estimate how many minutes it might take --
 5     A     I live off of 53rd and Washington Boulevard -- or I
 6           used to -- and it would take five, six minutes to
 7           probably get to Froedtert and, mind you, I did go to
 8           District 3 from the hospital first. Then, I went home,
 9           which from District 3, my house is, like, five, six
10           blocks.
11     Q     With all of that said, are you able to provide me any
12           estimate of how long that might have taken you?
13     A     When I got released, approximately between 5:24 and 6:38
14           a.m.
15     Q     At 6:38 a.m., you got ahold of Lieutenant Hanley and
16           actually spoke to him then. Is that right?
17     A     Yes.
18     Q     You have indicated that his report is inaccurate. That
19           is right?
20     A     Yes.
21     Q     I don't believe in your testimony yesterday, you
22           specified exactly what you told him at that time, so I
23           would like to get that in the record. What did you tell
24           him at that time?
25     A     When I reached him on the phone call at 6:38 a.m., I

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                               sueT@wi.rr.com
                                                                            336
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 337 of 501 Document 80-5
 1           asked him if he was going to come and talk to me at my
 2           house. I wanted to take some pain medication and I
 3           wanted to go to sleep at that point. So I didn't want
 4           to take it until I knew. He said he wasn't and I said,
 5           "do you want to know what happened?" He said, "yes, go
 6           ahead. Tell me." I said, "I was driving with Juanita."
 7           I just probably did a synopsis of it. I don't know
 8           exactly what I said, but that I was in the accident
 9           going to District 5 and officers are already calling and
10           telling me that Sergeant Riley is stating that I was
11           going to intervene in a traffic stop with my son and I
12           said, "none of that is true, that Melanie is on her way
13           over to my house so if someone wants to talk to her and
14           my son is here. You can talk to them."
15     Q     Did you take notes of your phone call with him?
16     A     No.
17     Q     So if I understand you correctly, what you are saying --
18           what your testimony is today is that you provided
19           essentially the same information that you provided in
20           your written memorandums that followed. Right?
21     A     What memorandums are you talking about?
22     Q     Your Response to Charges, your interview, all of your
23           follow-up statements that you have made since you had
24           that phone call with Lieutenant Hanley.
25     A     I am not sure what you are saying, "all my follow-up

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            337
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 338 of 501 Document 80-5
 1           statements." I just made this statement about the phone
 2           call, which is a lot more elaborate than what is in that
 3           synopsis on the memo. What specifically are you talking
 4           about?
 5     Q     You recall giving a statement to Adam Zieger. Right?
 6     A     Yes.
 7     Q     And in that statement, which is contained in his summary
 8           which is an exhibit, certain statements of you are
 9           recorded regarding what you were doing at the time of
10           the accident. Right?
11     A     Yes.
12     Q     I don't know if I have to rehash everything you said,
13           but what I am addressing is the fact that you were with
14           Juanita Carr, that you were going to go to District 5
15           first, et cetera, et cetera. Right?
16     A     Yes, those two things.
17     Q     Do you understand your statements that I am referencing
18           now?
19     A     Do you want to go to the report so you can show me which
20           one specifically you are talking about?
21     Q     No, I don't. I am asking you in total, the statements
22           that you made to Adam Zieger referencing what you were
23           doing that night and the facts and circumstances
24           surrounding it. Do you recall your statements, in
25           general?

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                               sueT@wi.rr.com
                                                                            338
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 339 of 501 Document 80-5
 1     A     Like I said, that was in April and I don't recall all
 2           the statements as I sit here today of what I said, but
 3           if you want go to the document, that is fine. I don't
 4           remember even how long it lasted. I know that my union
 5           representative, Shawn Lauda, was there, and I was there
 6           and Zieger and somebody else and asked me questions and
 7           I answered them. I will be more than happy if you want
 8           to look at what statements you are referring to. I made
 9           statements. I don't remember all of them.
10     Q     Did you tell Lieutenant Hanley that you were traveling
11           at approximately 45 miles an hour?
12     A     Absolutely not.
13     Q     What did you tell him regarding your speed?
14     A     I am not quite sure I even told him how fast I was
15           going. I don't think he even asked.
16     Q     Would you agree with me that your recollection of the
17           events were better closer in time to when they occurred
18           than it is today?
19     A     It is hard to say because I don't remember exactly what
20           I said in April. That is why it is recorded, because I
21           explained to him during that interview that I had a hard
22           time expressing myself. It said on there that I was
23           stuttering and that I was trying to make things clear to
24           him, but because of my head injury, just to bear with
25           me. So I can't sit here and talk vaguely about a

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                               sueT@wi.rr.com
                                                                            339
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 340 of 501 Document 80-5
 1           conversation that probably took a half hour or took an
 2           hour with a head injury back in April.
 3     Q     That is fine. I have asked you if you stated you were
 4           going 45 miles an hour. You said no. And that you
 5           don't recall if you said anything about how fast you
 6           were going. Is that your testimony?
 7     A     To Sean Hanley.
 8     Q     During this phone call on the morning of January 19,
 9           yes.
10     A     I don't recall saying if I was going any speed, much
11           less 45.
12     Q     Detective Hanley indicates in his report that you told
13           him that while driving to District 5 to see Melanie
14           Beasley, you got a phone call from your son indicating
15           where he had been stopped by UWM police, so you were
16           driving to the area of UWM first to find your son and he
17           was going to call you when he found out exactly where he
18           was. Did you make that statement?
19     A     Absolutely not.
20     Q     What statement did you make to him in regard to your son
21           and what you were doing?
22     A     When I was explaining to him that officers were telling
23           me that I was on my way to UWM, I told him that I was
24           not. I was going to District 5 and I was going to deal
25           with Melanie and I was not -- contrary to what rumors

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            340
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 341 of 501 Document 80-5
 1           were being said, I was not going to UWM police. First
 2           of all, that doesn't even make sense because when I made
 3           that phone call at 6:38 a.m. on the 19th, I already knew
 4           where my son was.
 5                            MR. PEDERSON:          Ms. Lewandowski, I'll
 6           stop you. Restrict to yourself answering my question.
 7     A     I'm sorry. That was answering that question. My son
 8           wasn't stopped by UWM police and I already know that he
 9           wasn't. So why would I lie? I'm, like, no.
10                            MR. PEDERSON:          Ma'am, please. The
11           question to you is not whether the question makes sense.
12           The question to you was, what did you say regarding?
13           That is it. So restrain yourself to the question.
14                            MR. KONRAD:            If you would repeat
15           what --
16                            MR. PEDERSON:          I am ready to move on
17           to the next question. That answer can stand. I just
18           was -- she was no longer responsive, so I am moving to
19           the next question.
20           BY MR. PEDERSON:
21     Q     Lieutenant Hanley reports that you indicated that your
22           emergency lights were on, but that you were not
23           operating as an emergency vehicle. You just had them on
24           to make cars pull over and get out of your way. Did you
25           make that statement to him?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            341
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 342 of 501 Document 80-5
 1     A     Absolutely not.
 2     Q     What did you say to him regarding why your emergency
 3           lights were on?
 4     A     That there was a car impeding traffic. I thought it
 5           was going to pull out because its brake lights went on.
 6           I slowed down, went around it and just wanted to alert
 7           with a horn, but in order to alert with a horn, I have
 8           to go past the lights, like, all one motion. The lights
 9           first, then, the siren. I didn't leave the siren on.
10           It was a blurp. So I moved it to the right and I went
11           around the car.
12     Q     Detective Hanley, then, reports that you stated that
13           there was probably video on North Avenue that would show
14           the accident. Did you make that statement to him?
15     A     Yes.
16     Q     What were you referring to when you made that statement?
17     A     I was referring to three spots that I know there is
18           video. I took a shooting there probably a month or two
19           before and I knew exactly where there would be video at
20           three different locations that would probably catch the
21           entire accident and what happened prior. I gave him a
22           list of the three spots.
23     Q     Did it turn out that there was any video?
24     A     He said there wasn't any located at Subway. I don't
25           know if he checked the cameras on 35th and Garfield

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            342
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 343 of 501 Document 80-5
 1           which see the traffic coming north from south where
 2           Ms. Johnson was traveling and, then, there was another
 3           camera, I told him, on a church that would see me
 4           coming, traveling east. I don't know if that was ever
 5           recovered.
 6     Q     Is it a correct statement to say that at the time that
 7           you were talking to Lieutenant Hanley, it was your
 8           belief that there was a high likelihood that there was
 9           going to be some video depicting this accident
10           occurring?
11     A     Yes.
12     Q     Would you agree with me that there are very stark
13           contrasts between what Lieutenant Hanley reported you
14           told him versus what you are testifying to that you told
15           him?
16     A     Most definitely.
17     Q     Would you agree with me that these are not the sort of
18           inconsistencies that could be explained away by a mis-
19           understanding, a simple misstatement, something like
20           that?
21     A     That is why I asked to see his memo book.
22                            MR. PEDERSON:          That doesn't answer
23           my question.
24                            THE WITNESS:           Can you repeat it?
25     Q     Sure. My question to you was, would you agree with me

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                               sueT@wi.rr.com
                                                                            343
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 344 of 501 Document 80-5
 1           that the contrasts, the discrepancies between those two
 2           versions are so stark, that this can't be a simple
 3           matter of a misunderstanding. These are two completely
 4           different versions of events.
 5     A     Yes.
 6     Q     When Lieutenant Hanley created this report, it is fair
 7           to say that he either is lying or misrepresenting the
 8           truth purposefully, or you are. Isn't that right?
 9     A     You would have to ask him that, but I am not.
10     Q     I am not asking you to speculate, but do you possess any
11           facts or knowledge as to why Lieutenant Hanley would
12           purposefully misrepresent the facts?
13     A     I went into that yesterday with the fact that I was
14           responding to District 5 with a matter that he and
15           District 5 lieutenants were already aware of and that
16           is exactly how we are trained through the early
17           intervention program; to help officers. When they are
18           in trouble, to help each other. That is exactly what I
19           was doing, because she was not getting that help through
20           supervision. I felt it was very jaded.
21     Q     If you answered my question, I didn't understand it and
22           I apologize. Do you have any facts or knowledge as to
23           what would motivate Lieutenant Hanley to misrepresent
24           the facts of your statement?
25     A     You would have to ask him that.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            344
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 345 of 501 Document 80-5
 1     Q     Again, that is not -- is the answer to the question --
 2     A     You are asking me to surmise and speculate again. That
 3           is what that question is asking me; what is in his mind.
 4           You have to ask him that.
 5                            MR. KONRAD:            I think the answer is
 6           "no."
 7                            MR. PEDERSON:           Thank you.
 8           BY MR. PEDERSON:
 9     Q     You would agree with me that Lieutenant Hanley's version
10           of the statement would expose you to discipline. Right?
11     A     That is correct.
12                            MR. MC GAVER:          Objection. It calls
13           for speculation.
14                            MR. PEDERSON:           She has a knowledge
15           of the SOPs and the consequences and experience
16           regarding this.
17                            MR. KONRAD:              She had no problem
18           answering it, so I will overrule the objection. I am
19           going to go back and I am going to sustain the objec-
20           tion. I am going to strike the answer. What bothers
21           me about the question is, at what time period? Are you
22           referring to when she gave the answers or when she saw
23           the report later? At what point do you think she would
24           be -- You are asking her about whether she believed she
25           would be subject to discipline. When she gave the

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                               sueT@wi.rr.com
                                                                            345
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 346 of 501 Document 80-5
 1           answers or when she saw the report?
 2                            MR. PEDERSON:           I suppose we can go
 3           with both.
 4                            MR. KONRAD:            She called him.
 5                            MR. PEDERSON:          Yes.
 6                            MR. MC GAVER:          Then, I will object
 7           on relevance grounds. What she believed would subject
 8           her to discipline doesn't matter to whether she was
 9           actually subject to discipline, which is why we are
10           here.
11                            MR. PEDERSON:          Well, it goes to
12           credibility and motive to change her story.
13                            MR. KONRAD:            I think it goes to
14           the care with which a person would answer questions. It
15           is one thing to an accident investigation calling up
16           saying, "here is what happened." It is another thing to
17           get served with a PI-21 and you are questioned. I think
18           one would naturally be more careful perhaps in one
19           situation than the other. Let's go to that issue.
20                            MR. PEDERSON:          I can restate the
21           question, if I may.
22           BY MR. PEDERSON:
23     Q     Would you agree with me that if you had actually made
24           the statements that are attributed to you by Lieutenant
25           Hanley during the phone call that occurred on January

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                               sueT@wi.rr.com
                                                                            346
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 347 of 501 Document 80-5
 1           19, that that could potentially subject you to
 2           discipline and you would have known that at the time?
 3     A     Yes.
 4     Q     As a matter of follow-up, isn't it also true that
 5           whenever you reviewed this report as it was written by
 6           Lieutenant Hanley, at that time, you became aware that
 7           his version of what you said at that time could subject
 8           you to discipline?
 9     A     I was just more shocked. I was more shocked than
10           anything and that's expressed on tape when I read it in
11           April and, then, I subsequently had a PI-21, saw it the
12           same day that I was questioned.
13                            MR. KONRAD:         A matter of clarifi-
14           cation. The first time you saw Lieutenant Hanley's
15           statement was after you were served PI-21? When is the
16           first time you saw it?
17                            THE WITNESS:           The first time I saw
18           it was the day that I was standing in the hallway going
19           to talk to Sergeant Zieger with my union representative.
20           When I read it, I cried and I was distraught and I was
21           very upset with my union representative, Shawn Lauda,
22           standing there, because I couldn't believe what he had
23           written.
24                            MR. KONRAD:            But that is the first
25           time you saw it.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            347
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 348 of 501 Document 80-5
 1                            THE WITNESS:           The first time.
 2                            MS. HEIN:              How long was that
 3           between the accident? I means, are we talking days or
 4           months?
 5                            THE WITNESS:          January to April.
 6           I had not returned to work until August.
 7           BY MR. PEDERSON:
 8     Q     At the time you had the phone call conversation with
 9           Lieutenant Hanley on January 19, what was your expecta-
10           tion of what he was going to do with the information you
11           were providing him?
12                            MR. MC GAVER:          That calls for
13           speculation.
14                            MR. PEDERSON:          I am asking her what
15           was her expectation. She knows what is in her own mind.
16                            MR. MC GAVER:          That is my objection.
17                            MR. KONRAD:            It is overruled.
18                            Go ahead.
19     A     The question, again, was, what was I expecting to
20           happen?
21     Q     Yes.
22     A     I was expecting that my supervisor would come to my home
23           or arrange to come to the hospital while I was there to
24           ask me what happened or to see if I was okay.
25     Q     Let me stop you again. That is not responsive. My

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            348
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 349 of 501 Document 80-5
 1           question was, what was your expectation regarding the
 2           phone statements that you were giving Lieutenant Hanley
 3           at that time? What was he going to do with that infor-
 4           mation that you provided him?
 5                            MR. MC GAVER:          That calls for
 6           speculation. She is being asked to speculate as to what
 7           Lieutenant Hanley would have done with a statement that
 8           she may or may not have made.
 9                            MR. KONRAD:            At the time you spoke
10           to the lieutenant, did you have any idea of what he
11           planned to do with the information?
12                            THE WITNESS:           No. I called him
13           so he knew where I was. I was leaving the hospital,
14           waiting for him to come and now going home wanting to
15           know if I can take medication or I can go to sleep or --
16           or find my gun. I had a series of questions. There is
17           also reports that need to be written that he has to do
18           so he can know what was going on and for the medical
19           section so I can get treatment.
20           BY MR. PEDERSON:
21     Q     You already testified that you asked him if he wanted to
22           know what happened. Right?
23     A     Yes.
24     Q     You went into, not excruciating detail, but you gave
25           him a full summary of what happened. Right?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            349
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 350 of 501 Document 80-5
 1     A     I gave him a summary, yes.
 2     Q     The facts and circumstances that led to you being with
 3           Juanita Carr in that vehicle, where you were going, what
 4           your intent was, what were the other attending facts and
 5           circumstances surrounding it. Right?
 6     A     No.
 7     Q     You were aware, as you just testified, that Lieutenant
 8           Hanley was responsible for creating an accident report.
 9           Right?
10     A     Or some form of report. I am not sure if he is respon-
11           sible for an accident report.
12     Q     You were aware that Lieutenant Hanley would have to file
13           a report concerning information he gathers in statements
14           made from people who were involved in the accident.
15           Right?
16     A     I imagine so.
17                            MR. PEDERSON:          Sorry for no segue
18           here. I have, sort of, a few clean-up questions here.
19     Q     Do you recall indicating on your written responses to
20           charges that Ms. Johnson was under the influence of
21           THC at the time?
22     A     Yes, I received that information from the court liaison
23           that they were sending -- because I was asking why there
24           wasn't any charges for causing injury. He said they
25           were sending her bloodwork back out because it was

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                               sueT@wi.rr.com
                                                                            350
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 351 of 501 Document 80-5
 1           either positive for THC or some other unknown drug.
 2           When I wrote that, that is the information that I
 3           received from the court administration liaison that was
 4           handling my case.
 5     Q     You'd agree that you never actually reviewed the
 6           toxicology report?
 7     A     No.
 8     Q     So you have no factual knowledge of what it says or does
 9           not say?
10     A     No.
11     Q     And if I were to indicate to you that there is no
12           indication that that was even tested for, you wouldn't
13           be able to dispute that, based on your personal know-
14           ledge?
15     A     I have no idea.
16     Q     Yesterday, you testified that your son lives on Mary-
17           land?
18     A     Yes.
19     Q     In fact, he was the -- the location where he was, was on
20           Maryland. Right?
21     A     Yesterday, I said I don't know if he was on Murray or
22           Maryland. I don't know what -- I think it is Maryland
23           or Murray. They are right by each other.
24     Q     So he lives in the exact area where he was stopped.
25     A     No. That is in Shorewood. He lives in Milwaukee.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            351
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 352 of 501 Document 80-5
 1     Q     How far is that?
 2     A     At least six blocks, because he lives on the -- his
 3           address is 3040 -- either Maryland or Murray, and the
 4           incident traffic stop in Shorewood is the 3600 block,
 5           so that is six blocks into a different jurisdiction.
 6     Q     You'd agree with me he was approximately six blocks
 7           from his personal residence when he was stopped by the
 8           Shorewood Police Department.
 9     A     Yes.
10                            MR. PEDERSON:          That is all I have
11           for cross.
12                            MR. MC GAVER:          I have some questions
13           for redirect, but can we take a short break?
14                            MR. KONRAD:            Sure. Until 20
15           after.
16           (Discussion off the record)
17                            MR. KONRAD:            We are ready to
18           proceed. Before you do your redirect, I will have the
19           commissioners ask any questions if they have any.
20                            MS. MC KENZIE:         I have a question.
21           At the time when you spoke to Lieutenant Hanley at that
22           6:38 a.m. telephone conference call that you had with
23           him, did you talk at all about your son being pulled
24           over? Did you express that to him at all?
25                            THE WITNESS:          Yes.

     SUSAN K. TAYLOR             262-553-1058              COURT REPORTER
                               sueT@wi.rr.com
                                                                            352
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 353 of 501 Document 80-5
 1                            MS. MC KENZIE:        You did. Okay.
 2                            MS. WILSON:            That car that you
 3           were involved in the accident with was going north or
 4           south and you were going east. Was the car headed north
 5           or south?
 6                            THE WITNESS:          Her car was headed
 7           north and mine was east.
 8                            MS. WILSON:           I thought yesterday,
 9           that I heard something about a prostitute or something
10           about turning on the lights. Was this the same car you
11           thought was going to pull out?
12                            THE WITNESS:          Yes.
13                            MS. WILSON:           Is the process or
14           procedure, do most detectives make their own decisions
15           about where they are going and when they are going and
16           if they are going?
17                            THE WITNESS:          If they are not on
18           assignment, yes. Sometimes on an assignment also, if it
19           leads you to another house, you decide that is where you
20           have to continue to do the investigation and you, your-
21           self, make that decision. Sometimes, a lieutenant is on
22           the scene. Most of the time. Sometimes, there is not.
23                            MS. WILSON:            So you didn't have to
24           get permission to go with Detective Carr.
25                            THE WITNESS:           No.

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                               sueT@wi.rr.com
                                                                            353
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 354 of 501 Document 80-5
 1                            MS. WILSON:            You didn't have to
 2           get permission to go to the fifth district. You can
 3           just go.
 4                            THE WITNESS:           Yes. I can just go.
 5                            MS. WILSON:            So you never told
 6           Lieutenant Hanley that you were going to the fifth
 7           district or anybody other than Detective Carr.
 8                            THE WITNESS:           Right.
 9                            MS. WILSON:            So you regularly just
10           volunteer to go wherever with somebody if -- I don't
11           want to say you do it for everybody, but if you don't
12           have as much to do, you just volunteer, "I will go with
13           you." Right?
14                            THE WITNESS:           It is about how you
15           handle your time. If it is 1:00 in the morning, I am
16           not going to go to somebody's house to interview them on
17           a Monday or a Sunday and wake them up to talk to them
18           about something that I can talk to them preferably in
19           the morning or have day shift do that follow-up. It
20           just depends. I usually keep myself available before I
21           get an assignment to help whoever is on the assignment,
22           because we are very short-handed. I just volunteer.
23                            MS. WILSON:            In this document,
24           nine, where it says that you didn't know the information
25           at the time, only that Detective Carr wanted to go a

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                               sueT@wi.rr.com
                                                                            354
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 355 of 501 Document 80-5
 1           second time, I am confused. Could you clarify when you
 2           and Detective Carr left, what exactly did you know about
 3           where she was going?
 4                            THE WITNESS:           I knew that the two
 5           of us were going to go to District 5 and then come back
 6           and do a second check for the gun. She said she had
 7           already been there, but I didn't know that -- I didn't
 8           know that getting the gun was exigent or not exigent.
 9           It was her just telling me, you know, "can you come with
10           me and get the gun? I have already been there. Do you
11           want to go right back?" I have to go to District 5.
12           "No, we can just go to District 5 together and come back
13           around and get it done."       I didn't know any facts of
14           the case other than she said, "a dude shot himself and
15           he is a CCW carrier. I don't even understand why they
16           want us to get the gun." That was the conversation we
17           had.
18                            MS. WILSON:            Did I hear you say
19           that Detective Carr had searched the house when she went
20           there the first time?
21                            MR. PEDERSON:          No, ma'am. I might
22           have, you know, used some shorthand language.
23                            MS. WILSON:            Okay. The other
24           question -- and he may have answered it -- how long
25           have you lived in this area?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            355
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 356 of 501 Document 80-5
 1                            THE WITNESS:           My whole life.
 2                            MS. WILSON:            And how long has your
 3           son lived in this area?
 4                            THE WITNESS:           Almost his whole life
 5           except a year, he went to school in Minnesota; college.
 6                            MS. WILSON:            Okay. Thank you.
 7                            MR. KONRAD:            Okay. There being no
 8           more questions, we will now proceed with redirect.
 9                            MR. MC GAVER:          Thank you.
10           REDIRECT EXAMINATION BY MR. MC GAVER:
11     Q     You were asked some questions about the shooting that
12           occurred -- on cross-examination, the shooting that
13           occurred on January 18 or 19, somewhere in there. It
14           later came out, through some investigation, that the
15           shooting may have been a part of a domestic violence-
16           related incident. When, if ever, did you find out about
17           that aspect of the investigation?
18     A     Like, months and months later when some detectives
19           called me up. I wasn't returned to work yet. They said
20           they had to do the follow-up to go get the gun and they
21           were complaining about it.
22     Q     Fair to say that when you rode with Detective Carr on
23           the 19th, that you weren't privy to that piece of the
24           information?
25     A     No.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            356
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 357 of 501 Document 80-5
 1                            MR. MC GAVER:          There's been testi-
 2           mony -- in fact, you were asked questions on cross-
 3           examination about your response to certain of these
 4           charges, labeled Exhibit 9. Can you pull that out for
 5           me? Tell me when you have it.
 6                            THE WITNESS:           Okay.
 7     Q     I want you to turn to the last page. Mr. Pederson asked
 8           you some questions about the last sentence in the first
 9           paragraph.
10                            "I did not know this information at the
11           time, only that Detective Carr wanted to return to his
12           home a second time."
13           Now, the question I have is, you were asked on cross-
14           examination -- and I just want to make it very clear
15           that -- I will ask you whether the first time that you
16           presented the information about Detective Carr going to
17           this house, not one time, but two times, was at this
18           hearing or was it previous?
19     A     Can you say it again? Sorry.
20     Q     It was probably a poorly phrased question. This report
21           was dated October 11, 2015. Correct?
22     A     Correct.
23     Q     And that report contains a reference to there being two
24           attempts by Detective Carr to retrieve the gun at the
25           home. Correct?

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                               sueT@wi.rr.com
                                                                            357
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 358 of 501 Document 80-5
 1     A     Yes.
 2     Q     You wrote that report. Correct?
 3     A     Yes.
 4     Q     So you disclosed that to the department at least on
 5           October 11, 2015. Right?
 6     A     Yes.
 7     Q     So they are not hearing about that. No one in the room
 8           who has been privy to this report should be hearing
 9           about that for the first time. Is that correct?
10     A     Yes. This is at a minimum, the first time, much less
11           when she told them.
12     Q     You were also asked some questions about what you would
13           have done approaching the intersection of 35th Street
14           and North -- 36th Street and North before you got to
15           that intersection if you were driving a civilian
16           vehicle. And what I mean by a "civilian vehicle," I
17           mean one that is not equipped with lights and siren.
18           Are you with me so far?
19     A     Yes.
20     Q     Would you have operated your horn when you saw that car
21           come out in the manner that it did, tapping its brake
22           lights as you described it?
23     A     Yes.
24     Q     Is it fair that you might have flashed your bright
25           lights if you saw the car operating in that manner

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            358
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 359 of 501 Document 80-5
 1           driving a civilian car?
 2     A     I could have, yes. I am sure I would have beeped my
 3           horn more and still traveled the same way.
 4     Q     You testified that you turned your lights on in order
 5           to chirp the siren or blurp the siren. Correct?
 6     A     Yes.
 7     Q     Did you intend to leave your emergency lights on as you
 8           traveled through the intersection of 35th and North?
 9     A     No.
10     Q     Just a matter of happenstance that it happened?
11     A     It is just a matter of once I got around the car, I
12           could see through the cell phone store window the car
13           coming down 35th Street. I could see the lights going
14           around in the glass and I knew. That is when I looked
15           up at the green light. I wasn't concerned about turning
16           those lights off at that time.
17     Q     What is the distance you traveled from the moment in
18           time that you turned your emergency lights on to the
19           moment of impact?
20     A     Less than a block, three-quarters of a block.
21     Q     How long would that have taken, if you remember?
22     A     I have no idea.
23     Q     You were asked about your phone records and spent a lot
24           of time on cross-examination talking about the phone
25           records that were generated on January 19, 2015. Let

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            359
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 360 of 501 Document 80-5
 1           me ask you. From the two-minute phone call that you
 2           admitted and testified that you had with your son while
 3           he was in the process of being stopped by a Shorewood
 4           police officer to the point in time where your son was
 5           brought to the hospital, did you have any contact
 6           whatsoever with Jordan Lewandowski?
 7     A     None.
 8     Q     No telephone contact?
 9     A     No.
10     Q     No face-to-face contact?
11     A     No.
12     Q     No text messages?
13     A     No.
14     Q     Thank you. The three-minute phone call that was
15           referenced in those phone records, one where, I think,
16           the testimony came out that Sergeant Smith answered the
17           phone, were you a party to that telephone conversation?
18     A     No.
19     Q     You didn't make that phone call?
20     A     No.
21     Q     The first phone call referenced in the records, the
22           5:24 a.m. phone call on January 19, 2015, do you recall
23           whether -- I think it was generated by you. Do you
24           remember whether Lieutenant Hanley picked up the phone?
25     A     I don't recall. I don't think so.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            360
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 361 of 501 Document 80-5
 1     Q     Then, as a result of the seven-minute phone call that
 2           you had with Lieutenant Hanley at 6:38 a.m., did
 3           Lieutenant Hanley ever follow up from that phone call
 4           that was generated and occurred on the same morning that
 5           the accident occurred? Did he ever follow up?
 6     A     Like, with me or with the assignment?
 7     Q     With you.
 8     A     No, not at all.
 9     Q     Did he ever ask you anything more about that accident
10           after you hung up the phone?
11     A     No.
12     Q     Just so we are clear, the first time you heard about the
13           apparent discrepancies between your conversation with
14           Lieutenant Hanley on the phone and the AIMS report that
15           was generated by Lieutenant Hanley, when did that occur?
16     A     When I was -- had my conference with IAD and my union
17           representative minutes before I was questioned with the
18           PI-21.
19     Q     When did that take place?
20     A     In April.
21                            MR. MC GAVER:          Thank you. Nothing
22           further.
23                            MR. KONRAD:            April, 2015?
24                            MR. MC GAVER:          Correct.
25                            MS. WILSON:            Could I ask a

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                               sueT@wi.rr.com
                                                                            361
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 362 of 501 Document 80-5
 1           question?
 2                            MR. KONRAD:            Go ahead.
 3                            MS. WILSON:            There was some
 4           testimony that at some point, you might have passed out
 5           and that you were incoherent at a point. You stated
 6           that there was some officers or TAC people or something
 7           saying stuff. Were you passed out or were you
 8           incoherent or do you remember what they were saying?
 9           I am trying to figure out to what coherency you were
10           that you can remember what people said.
11                            THE WITNESS:           I don't remember them
12           being on the scene at all. I don't even remember any-
13           body really except Officer Jesse Vollrath, Officer
14           Goggins yelling at me because I was giving the wrong
15           phone number to my son, Deb Stacey and two people that
16           I know from the street that pulled me out of the car.
17           I don't remember anything else.
18                            MR. KONRAD:            Anything further?
19                            MR. MC GAVER:          No.
20                            MR. PEDERSON:          Nothing.
21           (Witness excused)
22                            MR. KONRAD:            Both sides have
23           rested this phase?
24                            MR. MC GAVER:          Yes.
25                            MR. PEDERSON:          We will --

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                               sueT@wi.rr.com
                                                                            362
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 363 of 501 Document 80-5
 1                            MR. MC GAVER:          The Petitioner rests.
 2                            MR. PEDERSON:          I would like to call
 3           a number of witnesses in rebuttal.
 4                            MR. KONRAD:            Go ahead.
 5                            MR. PEDERSON:          Thank you. I would
 6           first call Lieutenant Hanley. Should we reswear or
 7           continue?
 8                            MR. KONRAD:            Just to be safe, I
 9           will swear you in again.
10                            SEAN HANLEY, having been first duly sworn
11           on oath to tell the truth, the whole truth, and nothing
12           but the truth testified as follows:
13                            MR. KONRAD:            He's sworn.
14           DIRECT EXAMINATION BY MR. PEDERSON:
15     Q     Lieutenant Hanley, you have testified yesterday in this
16           case. Is that right?
17     A     Yes.
18     Q     I would like to direct your attention to the shooting
19           investigation that is concerned in this matter that's
20           been discussed. Are you familiar with what I am
21           speaking of?
22     A     Yes.
23     Q     What was your part or what was your piece in relation to
24           that?
25     A     We didn't have a scene initially. We believed the

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                               sueT@wi.rr.com
                                                                            363
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 364 of 501 Document 80-5
 1           person that was shot was lying, that went to the
 2           hospital with a detective who was also sent to the
 3           hospital.
 4     Q     What did you think he was lying about, specifically?
 5     A     Everything he said didn't really make sense. He was
 6           acting as if he was trying to protect the woman that was
 7           being chased by a man and the man was wearing a face
 8           mask and the woman ran in front of his van and he
 9           stopped and got out and opened the door and the guy
10           tries to pull her out. That would be kind of unusual.
11     Q     Is it fair to say, then, that you had inconsistent
12           statements and evidence that you couldn't put together
13           to make sense? Is that fair?
14     A     I don't know that his statements became inconsistent.
15           He didn't really make sense. He had a shooting wound,
16           a gunshot wound to his right hand.
17     Q     Does the Milwaukee Police Department place a high level
18           of priority in investigating shooting incidents?
19     A     Yes.
20     Q     Why is that?
21     A     It is the position of the department to investigate
22           thoroughly every shooting even if the victims or
23           witnesses are uncooperative, we try so that we can
24           identify the people using guns, because many times, they
25           are repeat offenders.

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                               sueT@wi.rr.com
                                                                            364
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 365 of 501 Document 80-5
 1     Q     Can you tell me specifically at the beginning, how did
 2           you get involved? What was your component in this?
 3     A     He showed up at St. Joseph's Hospital, which is in
 4           Central at the time. It is in Seven, which was not in
 5           Central, but he says saying the shooting happened at
 6           17th and North, which is in Central.
 7     Q     Where is St. Joseph's Hospital?
 8     A     5000 West Chambers.
 9     Q     Again, what did you do? Where were you, that kind of
10           thing? Can you indicate that to us?
11     A     I responded to the hospital to find out what his story
12           was and to oversee the investigation.
13     Q     What did you observe while you were there?
14     A     Detective Troy Johnson responded to the scene. He gave
15           me a preliminary story. He was the only detective at
16           the hospital.
17     Q     Is there any reason why that sort of call would have
18           more than one detective?
19     A     No.
20     Q     When you were there, did you see any other detectives?
21     A     No.
22     Q     Specifically, did you ever see Juanita Carr while you
23           were there?
24     A     No.
25           (A document was marked as Exhibit No. 15)

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            365
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 366 of 501 Document 80-5
 1     Q     Lieutenant, I have handed you a document marked for
 2           identification as number 15. Ae you able to tell me
 3           what that document is?
 4     A     It is the CAD printout of the shooting that we were just
 5           discussing.
 6     Q     Does this document reflect who was at the scene of the
 7           hospital in terms of detectives?
 8     A     Yes.
 9     Q     Can you please indicate to me where that is?
10     A     Page 2 of 3, at 22:57, 10:57 p.m., Squad 9271 responded
11           to the hospital.
12     Q     Who is -- does 9271 relate to a specific person?
13     A     Yes. Detective Troy Johnson.
14     Q     Do you know what Juanita Carr's squad number was that
15           evening?
16     A     9288.
17     Q     Does her squad number appear anywhere on this CAD?
18     A     No.
19     Q     Do you recall the testimony -- Strike that. Were you
20           present for the testimony of Juanita Carr yesterday?
21     A     Yes.
22     Q     And were you also present for the testimony of Ms.
23           Lewandowski?
24     A     Yes.
25     Q     Would you agree with me that Ms. Lewandowski testified

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            366
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 367 of 501 Document 80-5
 1           that she heard over the radio that Juanita Carr called
 2           herself to the dispatcher indicating she was going to go
 3           to the hospital?
 4     A     Yes.
 5     Q     If that were true, would you expect an entry related to
 6           that to appear in this CAD?
 7     A     Yes.
 8     Q     Can you explain why it is not here if that were true?
 9     A     No.
10     Q     Just for the sake of clarity here, do you have a squad
11           number?
12     A     Yes.
13     Q     Does your squad number appear anywhere in here?
14     A     No.
15     Q     Can you explain why that is?
16     A     A lot of times, there is confusion with dispatch because
17           we are on a different channel. We are not as driven by
18           the radio. We usually dispatch by phone.
19                            MS. MC KENZIE:        When you say "we," do
20           you mean --
21                            THE WITNESS:          As in the detective
22           bureau at the time. Sorry.
23           BY MR. PEDERSON:
24     Q     Did you call yourself in to dispatch to put yourself at
25           this place?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            367
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 368 of 501 Document 80-5
 1     A     Probably not.
 2     Q     If you did, would you expect that it -- your squad
 3           number would be here and there would be an entry
 4           correlating to that?
 5     A     Yes.
 6     Q     Did you hear Juanita Carr's testimony that she talked to
 7           you at the hospital and that you told her at that time
 8           to go search the house?
 9     A     Yes.
10     Q     Is that accurate?
11     A     No.
12     Q     Is there any doubt in your mind?
13     A     No.
14     Q     You had previously indicated that you had that conver-
15           sation with her, but it was at District 3. Right?
16     A     Correct.
17     Q     How were you so confident that that is the case?
18     A     Because Troy Johnson was the only detective at the
19           hospital on the scene and I deliberately went to
20           District 3 to see if there was a detective not doing
21           follow-up, not involved in a case so that they could go
22           do this to try to get a consent search immediately.
23                            MS. MC KENZIE:         Why not send
24           Detective Troy?
25                            THE WITNESS:           Because he was at the

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            368
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 369 of 501 Document 80-5
 1           hospital. He was interviewing the shooting victim. He
 2           also got a consent search for the van. He recovered a
 3           holster and a couple gun magazines, but no gun, which is
 4           another reason we wanted to recover this gun. So he had
 5           a full plate.
 6           (A document was marked as Exhibit No. 16)
 7           BY MR. PEDERSON:
 8     Q     Lieutenant, I have presented you a document marked for
 9           identification as Document 16. Do you have that in
10           front of you?
11     A     Yes.
12     Q     Are you familiar with that document?
13     A     Yes.
14     Q     What is it?
15     A     It is a lineup for District 3 Late Shift, District 3
16           Power Shift and District 3 Early Shift.
17     Q     Does this relate to a specific date?
18     A     Late Shift is January 19. Power Shift is January 18,
19           which would run 8:00 p.m. on the 18th to 4:00 a.m. on
20           the 19th. And Early Shift, which is 4:00 p.m. to
21           midnight on the 18th.
22     Q     If I were to restate what you just said, is it correct
23           to say these documents here are reflecting the shift
24           assignments for District 3 going from January 18 into
25           January 19, 2015?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            369
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 370 of 501 Document 80-5
 1     A     Yes.
 2                            MS. WILSON:            Late Shift is --
 3                            THE WITNESS:           Late Shift is
 4           midnight to 8:00 a.m. To be perfectly clear, some
 5           districts might start at 11:00 p.m. and go to 7:00 a.m.
 6           Those are the standards shifts. I don't know what
 7           District 3 does.
 8                            MS. WILSON:            It is in that range,
 9           given or take an hour.
10                            THE WITNESS:           Yes.
11                            MS. WILSON:            So the Power Shift
12           is --
13                            THE WITNESS:           8:00 p.m. to 4:00
14           a.m. Some Power Shifts start at 7:00 p.m. and work to
15           3:00 a.m. I don't know what District 3 does.
16                            MS. WILSON:            Early Shift, that is
17           4:00 p.m. to 12:00?
18                            THE WITNESS:           4:00 p.m. to 12:00
19           or 3:00 p.m. to 11:00.
20                            MS. WILSON:            Okay. Carry on.
21           BY MR. PEDERSON:
22     Q     Have you reviewed these documents?
23     A     Yes.
24     Q     Are they true and accurate, to the best of your know-
25           ledge?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            370
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 371 of 501 Document 80-5
 1     A     To my knowledge, yes.
 2     Q     In review of this document -- Strike that. Are you
 3           familiar with the personnel that are listed here on
 4           these documents?
 5     A     I am familiar with a lot of people here. I see one
 6           mistake.
 7     Q     What do you see?
 8     A     In the CAD, Sergeant Allen Perry started out as 3214.
 9     Q     Are you referring to Document 15?
10     A     Yes.
11                            MS. MC KENZIE:         Perry started off as
12           what?
13                            THE WITNESS:           3214.
14                            MS. WILSON:            Allen Perry.
15                            THE WITNESS:           Started out as 3214.
16                            MR. PEDERSON:          Take the time you
17           need to make sense of it, but let me know when you are
18           ready to communicate whatever error you think you have
19           observed.
20                            THE WITNESS:          Okay.
21           BY MR. PEDERSON:
22     Q     What do you have to testify to?
23     A     I thought I saw him change his squad number in here, but
24           I don't see it now.
25                            MR. PEDERSON:          The last question I

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                               sueT@wi.rr.com
                                                                            371
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 372 of 501 Document 80-5
 1           was asking you is if you are familiar with personnel.
 2           I will withdraw that question and ask it differently.
 3     Q     Are you familiar with the supervisory personnel that are
 4           listed in the document on Exhibit 16?
 5     A     Yes.
 6     Q     Are you familiar with their sex and race?
 7     A     Yes.
 8     Q     In review of these documents in relation to who was
 9           assigned to work at District 3 on the evening of
10           January 18 into the morning hours of January 19, 2015,
11           were there any black male sergeants working?
12     A     Sergeant Allen Perry.
13     Q     Where is he indicated on Document 16?
14     A     He was Squad 3214.
15     Q     Am I correct that you are looking at the third page of
16           the document?
17     A     Yes.
18     Q     Roughly in the top middle where it says "Patrol
19           Sergeant"?
20     A     Yes.
21     Q     According to this document and your understanding and
22           training and experience, what was his work hours that
23           day?
24     A     He would be working -- he was a roll call sergeant, so
25           either 2:00 p.m. to 10:00 p.m. or 3:00 p.m. to 11:00

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            372
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 373 of 501 Document 80-5
 1           p.m.
 2     Q     Is it accurate to say that he would not have been at
 3           District 3, at least in terms of working, between the
 4           hours of midnight and 2:00 a.m.?
 5     A     I believe he was at the hospital on the shooting. He
 6           secured at District 3 at 1:44 a.m. Actually, 1:55 a.m.,
 7           he showed up at District 3.
 8     Q     At what time?
 9     A     The way it is written, he was contacted at 1:44 a.m. by
10           dispatch, which is common. Let me see if it shows when
11           he left the hospital.
12                            MR. KONRAD:            For the record, this
13           is referring to Exhibit 15?
14                            MR. PEDERSON:           Yes.
15     A     He was contacted by the dispatcher at 1:44 a.m., still
16           being at the hospital and he cleared from that at 2:07
17           a.m.
18     Q     You are referring to Document 15?
19     A     Yes.
20     Q     Can you tell me what page that appears on?
21     A     Appears on Page 3 of 3.
22     Q     Based on that information, is it possible that he could
23           have been at District 3 prior to 2:00 a.m. to talk to
24           Juanita Carr?
25     A     Yes.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            373
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 374 of 501 Document 80-5
 1     Q     Do you recall seeing Sergeant Perry at the hospital?
 2     A     I don't remember.
 3     Q     Do you recall seeing Sergeant Perry at District 3?
 4     A     No.
 5     Q     Once again, is there a reason why you don't appear on
 6           this CAD in relation to this incident being at District
 7           3?
 8     A     It didn't go out to dispatch most likely.
 9     Q     Did you have any contact with Sergeant Perry at all in
10           relation to this?
11     A     I assume I did at the hospital. I don't remember the
12           exact shooting for that detail, because there are a lot
13           of shootings in District 3.
14     Q     What would be your function as a lieutenant speaking
15           to a sergeant under these circumstances?
16     A     Under the circumstances, I was a bureau lieutenant, so
17           if the detective didn't have it, he would be giving us
18           the initial information of the person's name, his
19           initial story and, then, after that, I am responsible
20           for overseeing the investigative part of the scene. He
21           is responsible for overseeing the police personnel --
22           I should say patrol personnel at the scene.
23     Q     With that given, is there anything necessarily wrong if
24           you were to approach a detective and require him to do a
25           follow-up in a matter that he had been involved in on --

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            374
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 375 of 501 Document 80-5
 1     A     No.
 2     Q     Again, relating to the testimony yesterday, you heard
 3           testimony from Ms. Lewandowski indicating that she had
 4           been part of meetings with you and Melanie Beasley where
 5           she made reports to you regarding the alleged sexual
 6           assault. Did you hear that testimony?
 7     A     Yes.
 8     Q     Did that ever happen?
 9     A     No.
10     Q     Did Melanie Beasley ever make a report to you?
11     A     No.
12     Q     Did Shannon Lewandowski ever advise you on Melanie
13           Beasley's behalf regarding that?
14     A     No.
15     Q     When was the first time you ever heard that -- anything
16           in relation to this?
17     A     Detective Lewandowski said October of 2014. I don't
18           know if that is accurate. She told me Melanie was
19           seeing somebody in TAC. I pulled up his photo. I don't
20           know the guy. Everything was fine. Then Melanie
21           approached me -- I don't know -- shortly after that and
22           said, "Shannon told me she told you," and everything was
23           fine. I had no idea everything was not fine until I was
24           called to Internal Affairs by Detective Chris Zimmerman.
25     Q     What were you called to Internal Affairs about?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            375
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 376 of 501 Document 80-5
 1     A     An allegation of a sexual assault.
 2     Q     On these two occasions where you said you had these
 3           conversations with Lewandowski and Beasley, is it fair
 4           to characterize those as unofficial business and more of
 5           just friendly conversation, or no?
 6     A     Yes.
 7     Q     One matter of clarification. Is it your testimony that
 8           you don't recall whether you asked Sergeant Perry
 9           specifically to find someone, or how does that relate
10           to you to, yourself, going to District 3 also?
11     A     I wouldn't have asked Sergeant Perry to do that. He was
12           on the scene at the hospital. This was an experimental
13           phase for our department to split up the investigative
14           bureau and it was very hard, as a supervisor, because my
15           desk was at District 5, but half of my people were at
16           District 3, so it was hard to know what everybody was
17           doing at any given time if they were not on assignment
18           and they are supposed to be there. So I went to
19           District 3 to see who was not on an assignment so that
20           I could give them this assignment so they could go do it
21           immediately.
22                            MR. PEDERSON:          That is all I have.
23                            MR. KONRAD:            Commissioners?
24                            MS. MC KENZIE:         I have a question.
25           The issue that I am having now is the autonomy that

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
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                                                                            376
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 377 of 501 Document 80-5
 1           detectives have. So from the testimony that Detective
 2           Lewandowski gave, it may seem as if she or any other
 3           detective would have the autonomy to decide what is
 4           important and what is not important. Is that
 5           necessarily the case with detectives?
 6                            THE WITNESS:           Yes and no. If you
 7           are investigating an active shooting, typically, the
 8           most important thing for an investigation of similar
 9           importance, then, that is what you do. But yes; if you
10           are not on an assignment, then detectives have freedom
11           to do their caseload.
12                            MS. MC KENZIE:         Detective Lewandowski
13           indicated that that was not her assignment, that was
14           Detective Carr's assignment. So in her assessment, what
15           I got from her testimony, she could do what she wanted
16           and Carr had to follow through. It wasn't up to her to
17           follow through because that was not her assignment. Was
18           that your understanding?
19                            THE WITNESS:           No. But like I said,
20           I didn't know Detective Lewandowski went with Carr on
21           this assignment. It was incumbent, probably most likely
22           on Carr, to contact me if she was going to do anything
23           else instead because I gave her the assignment. I
24           didn't see Detective Lewandowski at District 3.
25                            MS. MC KENZIE:         Where are you

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            377
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 378 of 501 Document 80-5
 1           stationed? Are you stationed at Five even though half
 2           of your people are at Three?
 3                            THE WITNESS:           Yes, at the time.
 4                            MS. MC KENZIE:           You did not --
 5           you did not know -- at the time that you were at the
 6           hospital initially with the gunshot victim, you didn't
 7           know that Detective Carr had gone to the house to
 8           retrieve the gun.
 9                            THE WITNESS:          Detective Carr had
10           nothing to do with this investigation at this point.
11           I don't believe she went to the house or would even know
12           that somebody needed to go to the house. That was the
13           purpose of me going to District 3; to find a detective
14           that was available to give this assignment to. On that
15           note, when I gave this assignment to Detective Carr and
16           briefed her on the assignment and told her, you know,
17           everything. "If you can't get consent, it is not a case
18           at this point that we are going to seek a warrant. We
19           are looking for consent before he is discharged from the
20           hospital."
21                            MS. MC KENZIE:         When you had the
22           telephone conversation with Detective Lewandowski, the
23           one at 6:38 a.m. after the accident, did you indicate to
24           her that you would be drafting a report based on that
25           interview?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            378
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 379 of 501 Document 80-5
 1                            THE WITNESS:          I seriously doubt it.
 2           When I was at the hospital, I told both her and Detec-
 3           tive Carr that I needed to talk to them about the
 4           accident and it is kind of assumed, everybody in our
 5           department knows when they are in a vehicle accident, a
 6           supervisor has to do a report, but when she called, no.
 7           I would be shocked if I would have said that.
 8                            MS. MC KENZIE:         Normally, when you
 9           are doing that type of reporting where you are gathering
10           information and you are putting together a report, do
11           you normally have telephone conversations or do you have
12           the detective come in and sit down as you draft that
13           report? In other words, is it normal to just have a
14           telephone conversation?
15                            THE WITNESS:          Since I had already
16           seen her on the scene and already talked to her at the
17           hospital about her welfare and not the particulars of
18           the accident, that wouldn't be unusual. Juanita, since
19           I didn't talk to her on the phone, she didn't call me,
20           I was going to go to both of their houses, but Detective
21           Lewandowski called me, so that is why I went to
22           Juanita's house later on.
23                            MS. WILSON:            Whose supervisor
24           are you, because I got lost in the shuffle. Are you
25           Detective Lewandowski's? Are you her supervisor?

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            379
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 380 of 501 Document 80-5
 1                            THE WITNESS:           At the time, I was.
 2                            MS. WILSON:            So there are times
 3           you may be different detectives' supervisor.
 4                            THE WITNESS:          I was Detective
 5           Lewandowski's supervisor, Detective Juanita Carr's,
 6           Detective Troy Johnson's. Every detective involved in
 7           here.
 8                            MS. WILSON:            Who is -- is she
 9           Officer Beasley or is she Detective Beasley?
10                            THE WITNESS:           At that time, she was
11           a police officer. Currently, she is a detective.
12                            MS. WILSON:            Who was her super-
13           visor at that time?
14                            THE WITNESS:           She worked out of
15           District 5, so she had patrol supervisors. I never
16           supervised Officer Beasley.
17                            MS. WILSON:            If on that night she
18           was having a concern, was there anybody in the Fifth
19           District that could help her, because I am not sure --
20           I am not clear on what she needed help with, but it is
21           clear she needed help.
22                            THE WITNESS:           Yes. Because even if
23           all the sergeants are on the street, the person sitting
24           in the district lieutenant's office, whether it be a
25           sergeant as the acting lieutenant or the lieutenant, is

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                                                                            380
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 381 of 501 Document 80-5
 1           always on the premises and that would be her immediate
 2           chain of command.
 3                            MR. PEDERSON:          Nothing further.
 4                            MR. KONRAD:            Further questions?
 5           CROSS-EXAMINATION BY MR. MC GAVER:
 6     Q     Lieutenant, you indicated multiple times, I believe,
 7           that you responded to Saint Joseph's Hospital in
 8           response to the shooting. Right?
 9     A     Yes.
10     Q     If I am not mistaken, your testimony was that at the
11           hospital, you reported there because there was no scene.
12           Correct?
13     A     Correct.
14     Q     Or at least --
15     A     Not known.
16     Q     You didn't know what the scene of the crime was. True?
17     A     Yes.
18     Q     Is it fair that at the hospital, you were in charge of
19           that investigation --
20     A     Yes.
21     Q     -- at that point. What squad number were you assigned
22           to on the 18th and the 19th during that shift?
23     A     9205.
24                            MS. MC KENZIE:         Squad?
25                            MR. MC GAVER:          Squad number. I'm

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                               sueT@wi.rr.com
                                                                            381
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 382 of 501 Document 80-5
 1           sorry. I'm going a little fast and I'm not using the
 2           microphone, and I should be.
 3           BY MR. MC GAVER:
 4     Q     9205 you said?
 5     A     Yes.
 6     Q     Can you show me on Exhibit 15 where 9205 shows up?
 7     A     No.
 8     Q     Why not?
 9     A     Because I didn't go out with dispatch.
10     Q     Is it possible that Juanita Carr was at the hospital
11           and her squad number doesn't show up on this CAD report?
12     A     If she stopped by, I didn't see her and she is not in
13           any of the reports.
14     Q     Is it possible she was there?
15     A     It is possible.
16     Q     Do you know whether Shannon Lewandowski was a parti-
17           cipant in this investigation before she went out with
18           Detective Carr in that squad car?
19     A     Yes, I know. She was not.
20     Q     She was not. Thank you. Do you know whether
21           Lewandowski would have been briefed about the particu-
22           lars of this particular investigation before she went
23           out with Detective Carr?
24     A     I didn't brief her.
25     Q     Do you know whether anyone else did?

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                               sueT@wi.rr.com
                                                                            382
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 383 of 501 Document 80-5
 1     A     No. I briefed Detective Carr.
 2     Q     Is the shooting that is reflected in this Exhibit 15,
 3           is that still being investigated today?
 4     A     I don't believe so.
 5     Q     Is it a closed case?
 6     A     The district attorney refused to issue charges.
 7     Q     So there was no process by the DA's office.
 8     A     No process due to lack of cooperation from the victim.
 9     Q     Is it true that squad numbers change from time to time?
10     A     Yes.
11     Q     When reviewing the CAD report, you seem to at first
12           notice an issue with Sergeant Perry, that his squad
13           number might have changed in the content of the same
14           report. Is that true?
15     A     Yes, that can be. If he is under fill-in on Late Shift
16           or something, it would have changed his squad number,
17           so it does happen. Some of these CAD reports are --
18           they can become quite confusing.
19     Q     It was a little unclear when you were testifying about
20           Sergeant Allen Perry. Is it possible that he could have
21           been at District 3 after the shooting took place at the
22           same time that Detective Carr was at District 3?
23     A     The times here show him at the hospital at 1:44 and,
24           then, still on scene at 1:55 at the hospital and, then,
25           clearing at 2:07 a.m. So actually by this, he'd be

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                                                                            383
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 384 of 501 Document 80-5
 1           clearing the hospital at 2:07 a.m.
 2     Q     Does that mean he could be arriving at his new desti-
 3           nation as 2:07?
 4     A     This has him clearing from the hospital at 2:07.
 5     Q     What does that mean?
 6     A     He is leaving the hospital and he's done with this
 7           assignment. He has himself clearing this assignment.
 8           I don't know if it is his practice to clear right when
 9           he walks out the door or -- This wouldn't be unusual
10           for him to drive into the boundaries of District 3 and
11           clear because the hospital is actually in District 7,
12           but when the shooting occurs in District 3 and it is
13           determined that it occurred in District 3, District 3
14           responds and takes over.
15     Q     Thank you. You said you became aware that Melanie
16           Beasley was seeing someone in the Tactical Enforcement
17           Unit around October of 2014?
18     A     That is when Detective Lewandowski said she told me.
19     Q     You looked up that picture on the PeopleSoft program at
20           that time?
21     A     Yes. Called "roster."
22     Q     Is there a particular issue why Detective Lewandowski --
23           any particular reason that you can remember as to why
24           Detective Lewandowski would have told you about a then-
25           police officer, who worked at a different district,

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                               sueT@wi.rr.com
                                                                            384
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 385 of 501 Document 80-5
 1           dating someone in the Tactical Enforcement Unit in
 2           October of 2014?
 3     A     She was just, kind of, happy that Melanie seemed happy,
 4           but I wasn't a good friend with Melanie. I really
 5           didn't care who she was dating, to be quite honest.
 6     Q     If you didn't care, why did you pull up the picture?
 7     A     She asked me to. Detective Lewandowski asked me to.
 8     Q     Do you know whether this gentleman was married at the
 9           time he was seeing Detective Beasley?
10     A     I don't know anything about this man. I never met him.
11                            MR. MC GAVER:          Nothing further.
12                            MS. WILSON:            I have a question.
13           I guess my confusion is this almost seems to be a trial
14           by Melanie Beasley, so I don't quite understand what we
15           are -- When I go to deliberation, I want to be clear on
16           the role of Melanie Beasley. I don't think I am quite
17           clear on that yet. Is it that we are trying to decide
18           why she was going there? Should she have been going
19           there? Is Melanie -- I am about to get confused because
20           we keep on talking about her. What is it you want us to
21           think about?
22                            MR. PEDERSON:          I don't know --
23                            MR. KONRAD:            Maybe you can save
24           that for a closing argument.
25                            MS. WILSON:            As long as I know

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                               sueT@wi.rr.com
                                                                            385
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 386 of 501 Document 80-5
 1           before deliberation.
 2                            MR. PEDERSON:          I will address all of
 3           that in my closing argument.
 4                            MR. KONRAD:            Anything further?
 5                            MR. PEDERSON:          Yes.
 6           REDIRECT EXAMINATION BY MR. PEDERSON:
 7     Q     You testified it is possible that Detective Carr could
 8           have physically been at the hospital. Right?
 9     A     It is possible, but I didn't see her and she had nothing
10           to do with this investigation.
11     Q     Is it possible that she could have called over the radio
12           indicating that she was en route in response to this
13           matter and have her number not appear and have no entry
14           relating to her on this CAD?
15     A     That would be an extremely rare oversight by dispatch.
16     Q     You indicated that sometimes, squad numbers change.
17           Right?
18     A     Yes.
19     Q     Do they spontaneously change?
20     A     Not typically in the bureau. I mean, in patrol, they
21           do.
22     Q     Let's limit it to Detective Carr. Is there any reason
23           why in the middle of her assigned shift, her squad
24           number would just suddenly change in the CAD?
25     A     No.

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                               sueT@wi.rr.com
                                                                            386
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 387 of 501 Document 80-5
 1     Q     Is there any reason why her assigned squad number was
 2           suddenly changed in the middle of her assigned shift?
 3     A     No. In your bureau, your squad number is your squad
 4           number. The reason it changes in patrol is the first
 5           digits of your squad number is your district. The
 6           second digit of your squad number is your shift. In
 7           the bureau, we don't designate by shift, so our squad
 8           numbers don't change like that in the bureau.
 9                            MS. MC KENZIE:         You said "in the
10           bureau"?
11                            THE WITNESS:           The investigation
12           bureau where all the detectives work out of.
13           BY MR. PEDERSON:
14     Q     When you gave the assignment to see if she could search
15           the house when you were in District 3, did Juanita Carr
16           tell you, "I just tried that"?
17     A     No.
18     Q     From your knowledge, is there any reason why she would
19           even have information that she should go --
20     A     No. I had to brief her on the case.
21     Q     If a department member came to you and reported that
22           they had been sexually assaulted by another department
23           member off duty, what would you do?
24     A     Call Internal Affairs.
25     Q     Would you report it as a crime?

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                                                                            387
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 388 of 501 Document 80-5
 1     A     Yes.
 2     Q     Something that should be investigated?
 3     A     Yes.
 4     Q     Is there any record of you having done that?
 5     A     No.
 6     Q     Why didn't you do that?
 7     A     Because it never happened. I don't know if it happened.
 8           I know very little about this case. Nothing was ever
 9           reported to me.
10     Q     Thank you. Would you have any reason to not report it
11           if an officer came and reported to you a sexual assault?
12     A     I know not only of no reason to not report it. I have
13           big reason to report it.
14     Q     To clarify, you never made such a report.
15     A     Correct.
16                            MR. PEDERSON:          That is all I have.
17                            MR. MC GAVER:          Just a few follow-up
18           questions.
19           RECROSS-EXAMINATION BY MR. MC GAVER:
20     Q     At the time of this shooting investigation, Troy Johnson
21           was a new detective. Correct?
22     A     Yes.
23     Q     He was still on probation at the time. Correct?
24     A     I don't know.
25     Q     He was new, at the very least.

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                                                                            388
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 389 of 501 Document 80-5
 1     A     Yes.
 2     Q     If he was on probation, is it common practice to send
 3           another detective to assist him in an investigation?
 4     A     Depends on the investigation and how busy we are. That
 5           is 90 percent of what we investigate; shootings, so to
 6           us, investigating a shooting is just another day. It
 7           would be quite common for him to be there alone.
 8     Q     Is it possible that Juanita Carr could have volunteered
 9           to assist him in that investigation at some point with-
10           out you knowing it?
11     A     No.
12     Q     Why not?
13     A     How is it possible?
14     Q     Is it possible that conversation between Detective
15           Johnson and Detective Carr took place outside the
16           hospital and you just didn't know about it?
17     A     What conversation?
18     Q     The conversation that would have resulted in Juanita
19           Carr getting involved in that investigation.
20     A     It is a possibility.
21                            MR. MC GAVER:             Nothing further.
22                            MR. PEDERSON:             Nothing.
23                            MR. KONRAD:               All right. No
24           further witnesses.
25                            MR. PEDERSON:             I have further

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                               sueT@wi.rr.com
                                                                            389
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 390 of 501 Document 80-5
 1           witnesses.
 2           (Witness excused)
 3                            MR. PEDERSON:          I would call
 4           Lieutenant Kelly.
 5                            STEVEN KELLY, having been first duly
 6           sworn on oath to tell the truth, the whole truth, and
 7           nothing but the truth testified as follows:
 8                            MR. KONRAD:            The witness is sworn.
 9           DIRECT EXAMINATION BY MR. PEDERSON:
10     Q     Please state your name and spell your name for the
11           record.
12     A     Steven Kelly. S-t-e-v-e-n        K-e-l-l-y.
13     Q     How are you employed?
14     A     I am a lieutenant with the Milwaukee Police Department.
15     Q     How long have you been with the police department?
16     A     21 years.
17     Q     How long have you been a lieutenant?
18     A     Three years.
19     Q     Do you recall working the evening of January 18 into
20           the early morning hours of January 19, 2015?
21     A     Yes.
22     Q     What were you assigned to at that time?
23     A     I was the supervisor with the Forensic Investigations
24           Unit.
25     Q     Do you recall a call of an accident occurring possibly

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                                                                            390
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 391 of 501 Document 80-5
 1           involving Milwaukee Police Department personnel around
 2           2:00 a.m.?
 3     A     Yes.
 4     Q     What did you do in response to becoming aware of that
 5           information?
 6     A     I rode along with one of my forensic investigators to
 7           the scene and went to the scene to help out.
 8     Q     What scene was that?
 9     A     It was an accident scene, a squad accident.
10     Q     Who were the officers involved?
11     A     The members involved were Detective Shannon Lewandowski
12           and Detective Juanita Carr.
13     Q     What did you do when you arrived at the scene?
14     A     First, I approached Lieutenant Hanley, asked if he
15           needed any help. He asked if I could go to the hospital
16           with the members. They were in separate medical med
17           rigs. It would be the ambulances. I checked with
18           Lieutenant Hanley and, then, I rode along out to the
19           hospital.
20     Q     You just said you "rode along to the hospital." Where
21           were you? How did that take place?
22     A     I left the forensic investigator at the scene because
23           they documented the scene with photographs and I rode
24           along in the front of one of the cabs. I rode along in
25           the one that Detective Lewandowski was in.

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                                                                            391
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 392 of 501 Document 80-5
 1     Q     So you are actually in the ambulance itself.
 2     A     Yes.
 3     Q     And you traveled with Lewandowski from the scene to the
 4           hospital.
 5     A     I was in the front, she was in the back. We were in
 6           the same vehicle.
 7     Q     What happened when you got to the hospital?
 8     A     I followed the gurneys of the two med rigs. They put
 9           Detective Lewandowski in one room and Detective Carr in
10           another room.
11     Q     How close in proximity to each other?
12     A     I couldn't give you that answer. They were separated.
13           They weren't, like, right in a line. One med rig
14           arrived prior to the other, so they unloaded first.
15     Q     What happened after that?
16     A     Then, I checked in with both detectives, let them know
17           that I was there, if they needed anything. I got the
18           information that was needed for any reports that I could
19           convey to Lieutenant Hanley at a later time and, then, I
20           stayed with both of them back and forth. I think I
21           wasn't with Detective Lewandowski when she went to get
22           x-rays. Then she came back. I was between both rooms
23           throughout the night until I was relieved.
24     Q     How far apart were the two rooms?
25     A     They were both corner rooms on a common corridor, so I

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                               sueT@wi.rr.com
                                                                            392
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 393 of 501 Document 80-5
 1           could leave one room and go around the corner to the
 2           other. They abutted to each other at the back of the
 3           rooms. They didn't have access to each other, but the
 4           fronts were maybe 20, 30 feet.
 5     Q     Was there a time that you observed Lieutenant Hanley to
 6           arrive at that scene?
 7     A     There was. I can't recall the exact time, but I know
 8           that I stayed at the scene until he got there and I
 9           briefed him with all the information I had.
10     Q     I want to be careful. I just said "scene." What I mean
11           is the hospital. Was there a time when you were at the
12           hospital with the detectives and Lieutenant Hanley
13           arrived at the hospital with you there?
14     A     Yes.
15     Q     About how long were you there until he arrived?
16     A     Quite a while.
17     Q     When Lieutenant Hanley arrived, did you have any
18           communication with him?
19     A     Yes, I did.
20     Q     What did you guys talk about?
21     A     I briefed him with the room numbers that both detectives
22           were in, the current state of the injuries that the
23           doctors said they had, different type of personal
24           information that is needed for forms, medical informa-
25           tion and, then, I walked him over and showed him each

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            393
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 394 of 501 Document 80-5
 1           room.
 2     Q     Did you make any personal observations of what Lieuten-
 3           ant Hanley did next?
 4     A     As I was waiting for my forensic investigator, because
 5           that was my ride home. They came to take pictures of
 6           both detectives. As I was waiting, Lieutenant Hanley
 7           at that time walked into Detective Lewandowski's room.
 8     Q     How big is this room?
 9     A     I am going to say it is probably about ten feet wide,
10           15 feet long.
11     Q     Did you see who else was in the room other than Lieuten-
12           ant Hanley and Shannon Lewandowski?
13     A     I believe she had two relatives in the room. I think
14           one of them was her son, but he was in and out of the
15           room back and forth to use his cell phone, I think. He
16           was at the hospital. I remember that.
17     Q     Were you in uniform?
18     A     Full uniform.
19     Q     Same uniform you have on today?
20     A     Probably the same shirt.
21     Q     Was Lieutenant Hanley in uniform?
22     A     I don't believe he was in uniform. I think he wears
23           a suit when he was in the detective bureau.
24     Q     If someone was casually looking at him and didn't know
25           him, they might not know that he is a police officer.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            394
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 395 of 501 Document 80-5
 1           Is that right?
 2     A     Someone from the hospital wouldn't know he was a police
 3           officer other than his identification that he would have
 4           had on. He would have had a lanyard around his neck,
 5           probably with his ID. No, a casual person wouldn't
 6           know.
 7     Q     Again, I want to go to your observations when Lieutenant
 8           Hanley enters the room. Is this a situation where he is
 9           going in there to engage the people in there, or what
10           did you observe specifically?
11     A     The door is set up with privacy. It has three sliding
12           glass doors, so it is wide open that if the nurses
13           enter, they can leave a curtain open, that they can see
14           in to view their patients, but still leave them to have
15           privacy by closing the doors. Then, there is a set of
16           curtains. I had the doors and the curtains closed for
17           their privacy in the room, and he opened one of the
18           sliding doors. As he was entering, he pushed the
19           curtain aside, walked in and, then, he closed the
20           sliding glass door behind him, and I was out.
21     Q     Were you able to hear anything? Were you in a position
22           to be able to do that?
23     A     No, I didn't hear anything.
24     Q     From your perspective, is there any possibility that the
25           people that were in that room could have not noticed

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                               sueT@wi.rr.com
                                                                            395
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 396 of 501 Document 80-5
 1           that he was there?
 2     A     If they had their eyes closed.
 3                            MR. PEDERSON:          That is all I have.
 4                            MR. KONRAD:            Any cross?
 5                            MR. MC GAVER:          Do you want the
 6           commissioners to go first?
 7                            MR. KONRAD:            Any questions?
 8                            Go ahead.
 9           CROSS-EXAMINATION BY MR. MC GAVER:
10     Q     Were you interviewed by Detective Zieger in connection
11           with the investigation into Detective Lewandowski's
12           conduct?
13     A     No.
14     Q     Were you interviewed by anyone else in Internal Affairs
15           in connection with this case?
16     A     No.
17     Q     Did you review any reports generated by Internal Affairs
18           before testifying here today?
19     A     No.
20     Q     You supervised -- at the time of this investigation --
21           at the time of the accident, you supervised Officer
22           Vollrath. Correct?
23     A     No.
24     Q     Did you have any personal contact -- what I mean by that
25           is conversation -- with Shannon Lewandowski at the scene

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                               sueT@wi.rr.com
                                                                            396
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 397 of 501 Document 80-5
 1           of the accident?
 2     A     At the accident?
 3     Q     Yes.
 4     A     No.
 5     Q     What about in the hospital? Did you talk to her at all?
 6     A     Yes.
 7     Q     What did you say to her?
 8     A     Well, I told her who I was and why I was there to make
 9           sure she understood there was someone from the depart-
10           ment, a supervisor there for her. I explained to her
11           that I needed to get some personal information for a
12           report, which I think she understood. General casual
13           things like that. I didn't talk to her about the acci-
14           dent. I just told her what I was there for.
15     Q     You testified that you got some information from some
16           of the physicians or nurses or hospital staff about
17           some of Shannon Lewandowski's injuries. Is that fair?
18     A     I asked if they had anything for me.
19     Q     Did they?
20     A     They just said she has a bruised ankle and she was
21           getting x-rays. That is all I had.
22     Q     That seems pretty vague. Did you follow it up?
23     A     I did not.
24     Q     Do you know if anyone else did?
25     A     I don't know.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            397
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 398 of 501 Document 80-5
 1     Q     You said there were two relatives in Lewandowski's room?
 2     A     There was two people. I thought they were relatives.
 3           I remember one was her son and I don't remember who the
 4           woman was. She introduced them.
 5     Q     Do you know whether Hanley was wearing a badge on the
 6           exterior of his clothing at the time he was at the
 7           hospital?
 8     A     I didn't look for it, so I can't recall. I can't
 9           testify to that.
10     Q     Same question about the ID on the lanyard.
11     A     Again, I wouldn't be able to know if it was inside or
12           outside his jacket. I couldn't testify to viewing it.
13     Q     Did you take any photos about what you observed in the
14           hospital?
15     A     I am sure I did.
16     Q     Did you file a report?
17     A     No.
18     Q     What would have been done with the notes?
19     A     I would have briefed Lieutenant Hanley about anything
20           that I had received from the hospital so that he could
21           put it in his report.
22     Q     Did you retain the notes?
23     A     I am sure they are somewhere.
24     Q     You don't know where they are, though?
25     A     That is three locations ago. I can look for them if

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            398
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 399 of 501 Document 80-5
 1           you want me to, but it will take a while.
 2                            MR. MC GAVER:          I don't have anything
 3           further. Thank you.
 4                            MR. PEDERSON:          Nothing.
 5                            MS. WILSON:            I have one question.
 6           This was on January 19, 2015. To your recollection,
 7           was it snowing? Was it cold? Was it a nice January
 8           day?
 9                            THE WITNESS:           My recollection,
10           there was no snow. It was just a normal January day.
11                            MS. WILSON:            Whoever went to the
12           hospital would have had on a jacket. I am not talking
13           about a suit jacket. I am talking about a Wisconsin
14           jacket, like, it was cold.
15                            THE WITNESS:           Who are you referring
16           to, ma'am?
17                            MS. WILSON:            Actually, you said
18           that Lieutenant Hanley may not have had on a uniform,
19           but he would have had on some kind of jacket. Right?
20                            THE WITNESS:           Like a suit coat.
21           The lieutenants who work at the detective bureau, most
22           of them wear suits. And patrol, we wear uniforms. So
23           he would have had a suit coat on and I didn't -- in
24           prior assignments, I have seen him in suit coats, so
25           that is what I am assuming he was wearing that night,

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                                                                            399
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 400 of 501 Document 80-5
 1           but I can't tell you what color it was.
 2                            MR. PEDERSON:          Nothing further.
 3                            MR. KONRAD:            The witness is
 4           excused.
 5           (Witness excused)
 6                             ADAM ZIEGER, having been first duly
 7           sworn on oath to tell the truth, the whole truth, and
 8           nothing but the truth testified as follows:
 9                            MR. KONRAD:         The witness is sworn.
10           DIRECT EXAMINATION BY MR. PEDERSON:
11     Q     Sergeant, again, you testified yesterday. Is that
12           right?
13     A     Yes.
14     Q     You were the primary investigator in the Internal
15           Affairs investigation. Is that right?
16     A     Yes.
17     Q     You were responsible for conducting the investigation
18           insofar as contacting department members that were at
19           the department's scene. Is that right?
20     A     Yes.
21     Q     Did you do that?
22     A     Yes.
23     Q     Specifically, what did you do?
24     A     I contacted supervisors and officers. Do you want me to
25           name them?

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                               sueT@wi.rr.com
                                                                            400
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 401 of 501 Document 80-5
 1     Q     You don't have to, but did you contact all that you were
 2           aware that were there?
 3     A     I don't believe I contacted every single officer that
 4           responded, no.
 5     Q     Then why not?
 6     A     We briefed about the case quite a bit and a decision was
 7           made that there was no need to keep continuing to call
 8           people up.
 9     Q     Why?
10     A     We interviewed numerous people. I located the TAC squad
11           officers that responded to the scene and acknowledged
12           that they reported the information to Lieutenant Hanley.
13           We located several officers that responded and picked up
14           her son and as I started -- I was directed to interview
15           Sergeant Riley. After interviewing Sergeant Riley,
16           then, follow it with mentioning Tactical Squad officers,
17           that he got information from a TAC squad officer,
18           located that officer. Kept following that officer, made
19           mention that these officers may have picked up the son,
20           which one rode to the hospital, things of that nature.
21     Q     You were specifically investigating, as part of this,
22           the allegations about potential statements that
23           Lewandowski made regarding she was on her way to pick
24           up her son, her son was at UWM. Correct?
25     A     Part of it.

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                               sueT@wi.rr.com
                                                                            401
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 402 of 501 Document 80-5
 1     Q     Was part of your job trying to determine where that
 2           information came from?
 3     A     I was directed to interview certain sergeants and
 4           because of that interview, I, then, went beyond that and
 5           started interviewing additional personnel, and that was
 6           part of the questioning.
 7     Q     Did you ever locate a specific person, a department
 8           member, who indicated that, "yes, I personally heard
 9           it myself from Shannon Lewandowski some statements
10           regarding her son and UWM"?
11     A     Yes.
12     Q     Who was that department member?
13     A     Officer William Krumnow.
14     Q     What did Officer Krumnow say?
15     A     He indicated when he arrived at the scene, Detective
16           Lewandowski handed him her cell phone and said, "go get
17           my son. He is with a friend at UWM."
18     Q     Can you spell Krumnow?
19     A     K-r-u-m-n-o-w.
20                            MS. WILSON:            You said he was with
21           what? You said, "go get my son because he was" --
22                            THE WITNESS:           He was with a friend
23           at UWM.
24           BY MR. PEDERSON:
25     Q     Did you document this in your summary?

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                                                                            402
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 403 of 501 Document 80-5
 1     A     Yes.
 2                            MR. PEDERSON:          Did you locate your
 3           summary in front of you? I believe it is Document 8.
 4           I direct your attention to Page 14.
 5                            THE WITNESS:           I am there.
 6     Q     Can you, please, review that and indicate where in your
 7           report what you just testified to?
 8     A     It is the third paragraph down.
 9     Q     It is about the middle of the page in the paragraph
10           starting, "during a non-PI-21 interview. Is that right?
11     A     Yes.
12     Q     The second sentence beginning, "Officer Krumnow
13           described." Is that correct?
14     A     Correct.
15     Q     I will read that.
16                       "Officer Krumnow described Detective
17           Lewandowski gave him her telephone and directed to
18           locate her son, and added he was with a friend at UWM."
19           Did I read that correctly?
20     A     Yes.
21     Q     What did Officer Krumnow tell you that he did in
22           response to this?
23     A     That he went to try to pick him up.
24     Q     What did he do?
25     A     He went to the UWM police station.

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                                                                            403
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 404 of 501 Document 80-5
 1     Q     Did he find him there?
 2     A     No.
 3           (A document was marked as Exhibit 17)
 4     Q     I have presented you a document marked for identifica-
 5           tion as number 17. Do you see it?
 6     A     Yes.
 7     Q     Are you familiar with this document?
 8     A     Yes.
 9     Q     What is it?
10     A     This is an entry where a dispatcher received a message
11           from a squad and attaches it to the computer-aided
12           dispatch, CAD report.
13     Q     Did you generate this document yourself?
14     A     The one I am looking at right now?
15     Q     Yes.
16     A     I generated the copy of it.
17     Q     What specifically does this relate to?
18     A     This relates to an officer sending an electronic
19           message from their in-squad computer to a dispatcher
20           indicating that they are changing locations to 3611
21           North Maryland Avenue regarding this assignment that
22           they were assigned to.
23     Q     How did this relate to the scene of the accident at
24           issue here?
25     A     This is a message from the squad computer of Officer

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                                                                            404
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 405 of 501 Document 80-5
 1           Stacey and Officer Krumnow indicating that they --
 2           they sent a message at 2:30 a.m. saying they were going
 3           to 3611 North Maryland Avenue.
 4     Q     You heard the testimony of Debra Stacey yesterday?
 5     A     Yes.
 6     Q     Does this document contradict the testimony you heard in
 7           any way?
 8     A     Yes.
 9     Q     How does it contradict it?
10     A     It indicates that they were going to a specific location
11           and they knew where that location was.
12     Q     So specifically that it was -- Am I correct in saying
13           that Officer Stacey's testimony yesterday was she just
14           headed to the UWM area, had no idea where Jordan
15           Lewandowski was and she was just driving around and all
16           those sorts of things. Right?
17     A     I believe it turned out they stumbled across -- they
18           came across him.
19     Q     So this indicates that at 2:30 a.m. -- am I correct in
20           saying that this document indicates that she left the
21           scene of the accident at 2:30 a.m. and was en route
22           directly to the exact spot where she eventually located
23           him?
24     A     It indicates at 2:30 and one second, that they indicated
25           that they were now en route to 3611 North Maryland

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                                                                            405
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 406 of 501 Document 80-5
 1           Avenue.
 2     Q     And does that correspond with the location where Jordan
 3           was eventually found?
 4     A     I don't know if that is the exact address, but it might
 5           be within the same block. It might -- I am not sure
 6           what the exact address is. It might have been 3616.
 7           A difference between a house or two.
 8     Q     Did you address this document in your summary?
 9     A     Yes.
10     Q     I will direct your attention to Page 3, the second full
11           paragraph beginning with, "the CAD documented." Do you
12           see that?
13     A     Yes.
14     Q     It states,
15                       "The CAD documented Squad 3482, Officer Stacey
16           and Officer Krumnow responded to the accident at 2:20
17           a.m. At 2:30, Squad 3482 changed locations to 3611
18           North Maryland Avenue. Message number -- and there is a
19           large number -- was entered stating 'Show us enroute to
20           3611 North Maryland AVE regarding.'"
21           Did I read that correctly?
22     A     Yes.
23     Q     Does that relate to this document?
24     A     Yes.
25                            MR. PEDERSON:          That is all I have.

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                                                                            406
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 407 of 501 Document 80-5
 1                            MR. KONRAD:            Commissioners?
 2                            MS. MC KENZIE:         Just for clarity, why
 3           does this CAD document, which was submitted as 15, look
 4           like this, then, and this one -- This is a CAD
 5           document, too, is it not?
 6                            THE WITNESS:           If you find in the
 7           CAD -- and I think you have it in front of you -- the
 8           actual report of this is not visual. That message
 9           number that is in my summary is the message number in
10           the CAD, which I can look through it and I will find
11           and, then, it corresponds -- when you click on that, it
12           is a hyperlink. It links this entry from this squad
13           directly to that assignment. It is noted in the CAD
14           with a hyperlink that takes you to the documentation
15           for the message to and from the dispatcher.
16                            MS. MC KENZIE:         This is the message?
17           The hyperlink brought you to this.
18                            THE WITNESS:           Correct.
19                            MS. HEIN:              Is there any way to
20           determine if it says, "en route to this address on
21           Maryland" at 2:30, but could it have been at the scene
22           of the accident that they said that, or is there any way
23           to determine it was then or that they were already
24           there?
25                            THE WITNESS:           It is my under-

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                                                                            407
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 408 of 501 Document 80-5
 1           standing they reported it at the accident scene. It is
 2           my understanding of the documentation of any messages
 3           that are sent, when the dispatcher types it into the
 4           CAD, that the 2:30 time is the time that the actual
 5           message was transmitted or sent electronically from the
 6           squad computer to the communications center and the time
 7           above that, that 20, which would be 2:30 a.m. and 51
 8           seconds, that would be the time the dispatcher was doing
 9           something with it connecting it to the CAD. The time.
10           2:30 and one second would be the time that they
11           transmitted that.
12                            MS. HEIN:              But there is no way
13           to determine where they physically were when they trans-
14           mitted this. You are indicating that you think it is
15           when they were leaving the accident scene, but in the
16           document -- or the CAD report, there is no actual GPS to
17           say they are at the accident scene or they are halfway
18           to Maryland Avenue or --
19                            THE WITNESS:          There is not a way to
20           determine the location that it was sent from, from that
21           report, no.
22                            MS. WILSON:            Could I follow up on
23           her question? When any officer says, "I am around,"
24           wherever, is there is some kind of a policy that you say
25           it when you are getting ready to leave, you say it when

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                                                                            408
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 409 of 501 Document 80-5
 1           you get there or you say it two minutes before? Is it
 2           based on case-by-case emergencies?
 3                            THE WITNESS:          When you are leaving
 4           from a scene or leaving a location and you are done, you
 5           are supposed to notify the dispatcher at that time that
 6           you are leaving the scene and done, because they need to
 7           be able to have the opportunity to send you to -- they
 8           need to have the control to be able to dispatch you to
 9           what they need to dispatch you to, so they need to know
10           your status.
11                            MR. KONRAD:            Any questions?
12                            MR. MC GAVER:          I do. Thank you.
13           CROSS-EXAMINATION BY MR. MC GAVER:
14     Q     Did you interview Lieutenant Kelly in connection with
15           this internal investigation?
16     A     No.
17     Q     Before you filed your report dated September 9, 2015,
18           did you know he was at the hospital?
19     A     No.
20     Q     Did you know, before you filed your report, that he had
21           direct conversations with Shannon Lewandowski at the
22           hospital?
23     A     No.
24     Q     Knowing that now, would you have wanted to interview
25           him?

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                                                                            409
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 410 of 501 Document 80-5
 1     A     I don't think so, no.
 2     Q     You testified a little bit about Officer Krumnow and
 3           Officer Krumnow's statements in your report.
 4     A     Yes.
 5     Q     Your report says -- attributes a statement from Officer
 6           Krumnow who is attributing a statement from then-
 7           Detective Lewandowski. The quote is, "go get my son.
 8           He is with a friend at UWM." Is that accurately
 9           reflected from your report?
10     A     Yes.
11     Q     Is there any mention of police in that statement from
12           Officer Krumnow?
13     A     I believe he, then, mentions that he was told to go
14           there and that was -- because he was asked why he was
15           told to go there and he said because that is where he
16           was told he would be.
17     Q     You said "go there." Where was "there"?
18     A     I believe it was the UWM Police Department.
19     Q     Do you know the address of the UWM Police Department?
20     A     No.
21     Q     Do you know Jordan Lewandowski's address?
22     A     No.
23     Q     If I told you that Jordan Lewandowski lived less than
24           six blocks from the UWM Police Department, would you
25           quarrel with me?

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                                                                            410
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 411 of 501 Document 80-5
 1     A     No idea.
 2     Q     You testified a little bit about officers clearing
 3           scenes and having that show up on a dispatch. In
 4           practice, do officers forget to clear scenes until they
 5           arrive at another location?
 6     A     I don't think it is a practice, but I believe that you
 7           are probably asking if it happens.
 8     Q     Does it happen?
 9     A     Yes.
10     Q     Do officers occasionally forget to report their location
11           to CAD until several minutes into their arrival -- after
12           their arrival? Does that happen?
13     A     I wouldn't think under those circumstances, that would
14           be --
15     Q     Does it ever happen?
16     A     -- it would happen, but officers often -- not often, but
17           they have a choice of either notifying if they are not
18           assigned to something, notifying the dispatcher when
19           they are en route to something or they could tell them
20           when they get there.
21                            MR. MC GAVER:          Thank you. Nothing
22           further.
23                            MS. WILSON:            To me, "en route"
24           means I am going somewhere. What do you use when you
25           get there? Do you use the same thing?

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                                                                            411
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 412 of 501 Document 80-5
 1                            THE WITNESS:          Most common would be
 2           "on scene." En route, absolutely. I am on my way. "On
 3           scene" is a term that is always used for "I am here" or
 4           simply "I'm here" or "I have arrived." But en route is
 5           us traveling to a location.
 6                            MS. WILSON:            And, then, you say
 7           something when you leave.
 8                            THE WITNESS:           Correct.
 9                            MS. WILSON:            So there is, I am
10           going, I am here, and I am gone.
11                            THE WITNESS:           En route, I haven't
12           gone there yet. I'm still going. I still am on the
13           way.
14                            MS. WILSON:            But when you get
15           there, you don't have to say anything?
16                            THE WITNESS:          You are supposed to
17           say that -- you either provide a -- We have a "10" code
18           for it.
19                            MS. WILSON:            Yes, 10-17, 10-24.
20                            THE WITNESS:           10-23. 10-23 would
21           be the code that an officer should give when they arrive
22           at a location that is indicated that they are traveling
23           to, to notify communications that they are on scene.
24           They'd give a 10-23. They say "10-23" on the radio and
25           give them the squad number. They also have the option,

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                                                                            412
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 413 of 501 Document 80-5
 1           when they are responding, to mark -- On the computer,
 2           there is a big -- several buttons. One of them is "on
 3           scene" and it says -- that is to notify them electron-
 4           ically that I have arrived.
 5                            MS. HEIN:              Is 3611 North
 6           Maryland the address of where the complaint -- the
 7           initial complaint to the Shorewood Police Department?
 8           Is that the same address?
 9                            THE WITNESS:           I don't think 3611
10           is the exact address, but I believe it is within a few
11           numbers. I believe the complaint is, like, 3614 North
12           Maryland as opposed to 3611. It might have been 3611.
13           I am going off my memory and I am not exactly sure what
14           the complaint address is. I could probably find that in
15           my report. We should be talking about a difference of
16           either across the street or a house over.
17                            MR. KONRAD:            Anything further?
18                            MR. PEDERSON:          No.
19                            MR. MC GAVER:          Nothing.
20                            MR. KONRAD:            You both rest?
21                            MR. PEDERSON:          Yes.
22                            MR. MC GAVER:          Yes.
23                            MR. KONRAD:            The witness is
24           excused.
25           (Witness excused)

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                               sueT@wi.rr.com
                                                                            413
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 414 of 501 Document 80-5
 1                            MR. KONRAD:            We will give you both
 2           an opportunity to present a closing statement.
 3                            Mr. Pederson, would you like to give your
 4           closing?
 5                            MR. PEDERSON:          I would.
 6           Commissioners, thank you for your time and attention the
 7           last day and a half. I will do my best to sum up this
 8           hearing and the chief's position. At beginning, I told
 9           you I expected the evidence to be somewhat simple from
10           our side, and I still maintain that is true. The
11           chief's belief, understanding and version of events that
12           he came to believe were true and based his discipline
13           decisions on are relatively straightforward and that is
14           that Ms. Lewandowski did violate the three rules that
15           are contained in the charge and specs and in the Com-
16           plaint.
17                            We believe the true facts here are that
18           Juanita Carr was never at the hospital, that that was a
19           collusory statement made after the fact, that that is a
20           fabrication that Lieutenant Hanley was at the hospital,
21           had reason to assign a detective to follow up to go to
22           this house and see if there could be a consent search
23           done. He went to District 3 to find a detective. The
24           detective he located was Juanita Carr. He gave that
25           assignment to her expecting her to do it immediately,

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                                                                            414
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 415 of 501 Document 80-5
 1           because this was a time-sensitive issue. We needed to
 2           get it done before he was -- the shooting victim was
 3           released from the hospital. Unbeknownst to him, there
 4           was this interaction between Detective Lewandowski and
 5           Detective Carr, not that there is anything wrong with
 6           that. It is perfectly fine had they actually followed
 7           through in the way that they had indicated. If
 8           Lewandowski had said, "okay, because you are going to
 9           need some help, you know, not one officer can go in
10           there, I will just go with you and we will do it
11           together and that way, you don't have to call a car out
12           of service that could otherwise be answering calls. So
13           let's do that." Had they done that, drove the block or
14           two, or whatever it was, to the house, they could have
15           done it immediately and maybe they would have knocked on
16           the door and there would have been no answer. Who
17           knows? We don't know. All we know is it wasn't done
18           and they didn't follow the commands of their supervisor
19           and they didn't effectively and efficiently carry out
20           their duties. Now, Juanita Carr isn't part of this, we
21           are not discussing her, but they were together. That is
22           why I say "we." Instead, this is the chief's under-
23           standing of the facts. Shannon Lewandowski decides she
24           is going to go to District 5 to attend to a personal
25           matter. That is, to offer support/comfort to her

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                               sueT@wi.rr.com
                                                                            415
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 416 of 501 Document 80-5
 1           friend, Melanie Beasley. Now, there is nothing wrong
 2           with that per se, but there is something wrong when you
 3           are traveling in the middle of a shift when you have
 4           other actual police missions, police objectives, to
 5           meet, to attend to this personal matter. So that
 6           presents an issue. And that is what she was doing.
 7                            The phone records support that at that
 8           exact time or, you know, the line of time, she received
 9           a call from her son and we have to assume, based on the
10           testimony, and she admits that is when she was advised
11           that her son was stopped. She says that she wasn't
12           going to do anything at that time, but it is the chief's
13           belief she made the decision at that time to not go to
14           the house. She's already diverted and going to District
15           5 to now, not go to District 5 and go directly to assist
16           her son. This is based on credible evidence. It is
17           based on, one, the supporting circumstantial evidence
18           of Sergeant Cody himself. I will admit, it is somewhat
19           unusual that -- how Sergeant Cody handled that scene.
20           I'm not sure the Milwaukee Police Department would have
21           handled that scene the way that he did in that, you
22           know, he conducted field sobriety tests and got him to
23           blow a .09, according to him, which would be a viola-
24           tion -- he's 19 -- and, then, we are not sure even
25           if he stayed at the scene until Milwaukee police showed

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                               sueT@wi.rr.com
                                                                            416
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 417 of 501 Document 80-5
 1           up or not, I can see that is a little unusual and he
 2           couldn't recall exactly why he did what he did. I don't
 3           know. But one thing is absolutely certain that he was
 4           crystal clear on was that Jordan Lewandowski told them
 5           "my mom is on the way." He didn't equivocate on that
 6           and he has no motive to lie or misrepresent. If he did,
 7           I, frankly, believe he would have said, "I stuck around
 8           and I waited until they were there." He has no upside,
 9           no benefit to him to make a misrepresentation on his
10           understanding and he testified, without any equivoca-
11           tion, "I was told Shannon Lewandowski is on her way."
12           Now, does it prove it in and of itself? No, it doesn't,
13           because maybe Jordan is lying. Right? Maybe he just
14           says that to every police officer he gets pulled over
15           by to -- you know, for whatever reason; if he thinks
16           they might be more lenient. I don't know. That doesn't
17           prove Shannon Lewandowski's state of mind, but it is an
18           important piece of circumstantial evidence, taken in
19           conjunction with everything else, that lends some
20           credence to the notion that she was on her way there,
21           in fact. The most critical piece? Her own statement.
22                            It is the chief's -- I will take the step
23           back. It is the chief's position that she was on her
24           way to District 5. That is clearly a violation of
25           performing duties outside of what she is required to do

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                               sueT@wi.rr.com
                                                                            417
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 418 of 501 Document 80-5
 1           and not affecting the mission of the department.
 2                            The chief's position regarding the
 3           emergency lights is, again, consistent with her own
 4           statement, that she was doing that to facilitate her
 5           quick trip to see her son. Why did she want to get
 6           there quickly? Because he is pulled over. She wants
 7           to get there as soon as possible so she can have maximum
 8           effect of whatever she is going to do. Now, I can't
 9           tell you what her plan was. I don't know her state of
10           mind, but it is our position that she was on her way
11           there and it was going to benefit her son that she got
12           there as quick as possible. So that is why she is
13           operating her lights, and that is what she told
14           Lieutenant Hanley, according to Lieutenant Hanley.
15                            So again, if that is the case, if you
16           agree with that finding, then, clearly, she is operating
17           her vehicle in an unsafe manner inconsistent with the
18           law and is unsafe because we had some testimony, I
19           believe, from Shannon Lewandowski that she thought it
20           enhanced safety. "I have my lights on. People know I
21           am there. I mean, that enhances safety." But the
22           reality is, common sense tells you and the way they are
23           trained is that is not true, that that is an element of
24           chaos in a situation out on the streets. If you are
25           driving along and all of a sudden, lights and siren go

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                                                                            418
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 419 of 501 Document 80-5
 1           on behind you, does that enhance safety? No. That
 2           creates a situation where everyone jumps, looks, pauses.
 3           That can actually cause accidents and distractions. So
 4           for her to say this is enhancing safety is a misrepre-
 5           sentation and that is why it is not safe. And even if
 6           you do believe it somehow enhances safety, it is
 7           contrary to law. So it is still a violation of the SOP
 8           and the rule that she is charged with here, the guiding
 9           principle, just by the mere fact of operating an
10           emergency vehicle contrary to law. That is a violation.
11                            The next set of facts we have to deal
12           with and the last charge is the integrity charge. Where
13           does that come into play? That comes into play when she
14           changes her story because up to the point -- up to that
15           point, the only two violations she's committed is the
16           operating her vehicle in an unsafe manner and not --
17           the idling, loafing charge, not carrying out the mission
18           of the department. When she had the conversation with
19           Lieutenant Hanley, she provides one set of facts that we
20           believe are the true set of facts that we submit was, in
21           fact, what Detective Lewandowski told Lieutenant Hanley
22           and that he accurately reported in his report. If
23           Detective Lewandowski had maintained that, she wouldn't
24           be facing an integrity charge. That only came into play
25           when later on, she completely -- she filed responses to

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                                                                            419
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 420 of 501 Document 80-5
 1           the charges completly changing the story. Of course, it
 2           is her side that is consistent, but that is a point that
 3           we differ on. And goes so far as to accuse Lieutenant
 4           Hanley of lying. The chief police there is sufficient
 5           evidence deduced here to believe that she did change her
 6           story, that Lieutenant Hanley was telling the truth and
 7           that she did, in fact, say all of those things to him
 8           and that therefore, her changes in story was to say the
 9           lieutenant was a liar and all of that constitutes the
10           integrity charge.
11                            I told you at the very beginning in the
12           opening statement that I believe that in the end,
13           largely, your findings here are going to be a credi-
14           bility determination, and I still believe that to be
15           true. Your decision here is going to hinge on whether
16           or not you believe Shannon Lewandowski actually reported
17           things -- said the statements that are attributed to her
18           by Lieutenant Hanley or if you believe Lieutenant Hanley
19           is lying. That is going to be the biggest decision to
20           make here, and that is a credibility determination,
21           because all you have is two different people that were
22           the only people part of the conversation getting their
23           side of the story.
24                            Here are the things I want you to take
25           into consideration on whether to terminate that

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                               sueT@wi.rr.com
                                                                            420
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 421 of 501 Document 80-5
 1           credibility decision. It is Shannon Lewandowski that
 2           has the true motivation to lie, not Lieutenant Hanley.
 3           Why does she have a motivation to lie? Because she
 4           wants to keep her job. She doesn't want to be
 5           disciplined. She knows full well if you believe that
 6           all of those statements that are attributed to her, that
 7           she was on her way to pick up her son, that she was
 8           operating with her lights on, not to be an emergency
 9           vehicle, but just so cars would get out of her way,
10           that she was going 45 miles an hour, et cetera, that
11           she clearly is going to be disciplined. As they say
12           oftentimes in these situations, the cover-up is worse
13           than the crime, I think that is the instance here.
14           She determined she was going to be exposed to discipline
15           for having done that, so she engages in the cover-up,
16           changes the story, tries to contort the whole thing and
17           say now, her position is that is not true. Lieutenant
18           Hanley lied.
19                            So there is a couple of questions. Why
20           would she lie from the very beginning? Well, because
21           she hasn't had an opportunity to collude yet with any
22           other person; namely, Juanita Carr. She doesn't know
23           all the facts. She doesn't know what other people know.
24           Plus, she believes that there is a video out there.
25           Right? That is going to show that she was in the

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
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                                                                            421
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 422 of 501 Document 80-5
 1           accident, that her lights were on, her rate of speed, a
 2           lot of these other sorts of things. So that is one of
 3           her big motivations to lie -- I mean, to tell the truth,
 4           because she just can't lie, because she can't customize
 5           the fabrications to the facts, because she doesn't know
 6           what we know. After she finds out what the department
 7           knows, that is when she starts to change the story. So
 8           again, she has all the reasons to do that and Lieutenant
 9           Hanley has no reason. I asked her point blank, "are you
10           aware of any reason why he would be motivated to do
11           that," and she said, "no." Now I can't expect that she
12           knows the mind of Lieutenant Hanley and should be able
13           to read his mind and all of that, but the point remains
14           that she has a motive, he does not. In fact, he has
15           every motive in the world not to lie. Why would he
16           subject himself to discipline himself, to take a state-
17           ment from an officer and completely make something out
18           of whole cloth and, then, attribute it to that so they
19           can get in trouble? Would Lieutenant Hanley seriously
20           risk his career over that, because that is a career --
21           that is something that could you could sacrifice your
22           career on if you were caught. It doesn't make any sense
23           why he would do that.
24                            Furthermore, you would also have to
25           believe that if Shannon Lewandowski's version is true,

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
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                                                                            422
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 423 of 501 Document 80-5
 1           it wasn't only Lieutenant Hanley that was out to get
 2           her. It was Lieutenant Hanley in conjunction with a
 3           number of other people. I mean, she said that she
 4           accused Lieutenant Hanley of not reporting a sexual
 5           assault that was reported to him. She also said that
 6           Lieutenant Leitzke did the same thing. She said
 7           Sergeant Zieger did the same thing. She called into
 8           question the motivations of the TAC officers who
 9           responded there. These are mass conspiracies and, you
10           know, I can't prove that mass conspiracies are not true,
11           but when you make an extraordinary claim like that, it
12           requires extraordinary evidence. I am presenting to you
13           there was no extraordinary evidence presented here on
14           why she would be the victim of this mass conspiracy.
15           So common sense has to lead you to the conclusion that
16           these simple -- the simple answer here, no Occam's
17           razor, the idea if there is a simple explanation, that
18           it is usually the best and the correct explanation.
19                            So are we to believe that she was on her
20           way to her son and got into an accident and, then, lied
21           to cover herself up? A simple story? Or are we to
22           believe that there is a mass conspiracy that's in effect
23           that requires the inclusion of multiple department
24           members that we are not even sure are connected to one
25           another.

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                               sueT@wi.rr.com
                                                                            423
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 424 of 501 Document 80-5
 1                            And there are other pieces that call her
 2           credibility into question. Commissioner Wilson asked
 3           about the Melanie Beasley matter and how this connected
 4           in and we went into some of those facts. Here is why I
 5           think we had to go into that, not because I think it is
 6           relevant or important, but because I knew this was going
 7           to be a defense tactic, if you will. This really gets
 8           complicated when the defense gets involved. So the
 9           chief's version of events is pretty straightforward.
10           What the defense here wants to paint as part of this
11           mass conspiracy, that this is all connected with Melanie
12           Beasley and discrimination and retaliation, and so that
13           is why I had to go into those questions regarding
14           Melanie Beasley on "if someone reported sexual assault
15           to you, what would you do?" "I would do my job. I
16           would follow through on that." They are police
17           officers. That is what they do. What possible motiva-
18           tion would Lieutenants Hanley, Leitzke or Zieger have to
19           just blow off a report of a sexual assault? It makes no
20           sense.
21                         Furthermore, we had to get into it because
22           Shannon Lewandowski, in her testimony and in her written
23           statements, sort of, appointed herself the personal
24           bodyguard and representative of Melanie Beasley. That
25           is not to say that in theory, that that is a bad thing.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            424
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 425 of 501 Document 80-5
 1           You know, department members supporting each other and
 2           being friends. Being a police officer, just like in the
 3           military, there are very strong bonds made between
 4           department members. I am not suggesting there is any-
 5           thing wrong that she would support her friend and help
 6           her if she thought she was getting a raw deal from
 7           administration. That is fine. Where it becomes a
 8           problem is when she suggests -- not just suggests, but
 9           actually states there is a conspiracy to cover up the
10           Beasley investigation, to cover up her own investi-
11           gation, to turn everything around on them for the sole
12           purpose of discriminating against them because they are
13           females. Those are extraordinary claims. Again, those
14           are extraordinary claims. We need extraordinary
15           evidence, and there is none other than her own personal
16           perceptions and observations and feelings, many of which
17           are not substantiated by the record or contradicted.
18                       For example, she maintains Lieutenant Hanley
19           was never at the hospital. Well, let me retract that.
20           She acknowledged it was possible that he could have been
21           at the hospital, but she maintained that he did not
22           speak to her, did not look in on her. Well, we had
23           Lieutenant Kelly come in to rebut that. As far as I am
24           aware, there isn't any particular accusations made
25           against Lieutenant Kelly and his motivations. Maybe he

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                               sueT@wi.rr.com
                                                                            425
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 426 of 501 Document 80-5
 1           is going to be part of the conspiracy now that he's
 2           testified, but as far as we know right now, he is just
 3           a neutral party that came in and completely contradicts
 4           what Shannon Lewandowski says. And that is consistent
 5           throughout the entire record, that her version of the
 6           events, while -- if that was her first story -- might
 7           make sense, was not consistent, is not supported by the
 8           evidence that we do have.
 9                            Now, we have a lot of questions of things
10           that we would like answered that we just can't answer
11           due to the nature of it, but we have to look at the
12           evidence that we do have and the evidence that we do
13           have, when looked at fairly, I respectfully submit,
14           indicates, quite clearly, that Lieutenant Hanley
15           accurately reported what the detective told him on the
16           early morning hours of January 19 and, then, in and of
17           itself, just that statement, even if you had no other
18           facts, in and of itself, justifies a finding of all of
19           those rule violations having occurred.
20                            It is also possible that you could decide
21           that parts of it were true and other parts of it were
22           not true. I've talked long enough, so I won't go into
23           all the possible ways that you could find some viola-
24           tions and not others. One, because of the time con-
25           sideration, but also, two, because again, I respectfully

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                                                                            426
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 427 of 501 Document 80-5
 1           submit I don't think that is a reasonable conclusion.
 2           Either you believe the whole package or you don't
 3           because she's offered -- the detective has offered a
 4           version of the events that if you believe would be
 5           consistent with her not violating any rules depending on
 6           how you analyzed it. So I won't go down that path and
 7           just urge that you believe Lieutenant Hanley and the
 8           circumstantial evidence that also supports a finding
 9           that she violated all of those rules on the bases that
10           are set forth in his report. Thank you.
11                            MR. KONRAD:            Mr. McGaver?
12                            MR. MC GAVER:          Thank you. Thank
13           you for your time and attention to this obviously very
14           important matter. Just know it doesn't go unnoticed.
15           Nobody, nobody can credibly accuse Shannon Lewandowski
16           of being an idle cop. She tried to stay busy. There
17           was ample testimony she helps out with investigations
18           that are not even her own. She helps out her fellow
19           police officers. She involves herself in any way that
20           she can be helpful. That is her practice. That is her
21           policy. That is what she does as a cop.
22                            Now, on January 19, 2015, she reported
23           for duty. She later met with then-Police Officer
24           Melanie Beasley and discovered that Officer Beasley had
25           a couple of concerns. Now, the city has posited that

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                                                                            427
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 428 of 501 Document 80-5
 1           they were personal concerns. I dispute that. I think
 2           the stipulation of Melanie Beasley and the testimony of
 3           Shannon Lewandowski lends credibility to the fact that
 4           Shannon Lewandowski offered to assist and Beasley
 5           requested needing Shannon Lewandowski's assistance with
 6           some police reports. Shannon Lewandowski helped out.
 7           She also helped out and provided counsel in what I would
 8           call a personnel matter, but not a personal matter. It
 9           is no secret that Melanie Beasley was going through a
10           rough time. Whether you believe a sexual assault
11           occurred or harassment or none of it, at least in
12           Melanie Beasley's mind, she was going through a rough
13           time and needed some help. Shannon Lewandowski was
14           there to help her.
15                            Again, I disagree with the city's
16           position that it is a personal matter. It is a profes-
17           sional matter. It is a police matter. Officers should
18           look out for one another. And more than that, there was
19           actual police work involved. There's assistance with
20           these reports.
21                            In any event, later on, Shannon
22           Lewandowski is pulled away from the conversation with
23           Officer Beasley because she hears something over the
24           radio. It is something that she hears over the radio
25           that a shooting occurred and Juanita Carr was in some

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                                                                            428
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 429 of 501 Document 80-5
 1           way involved in the shooting. You heard Juanita Carr's
 2           testimony. She said she reported to the hospital. What
 3           does Shannon do? Shannon leaves Melanie Beasley and
 4           makes her way to the hospital. She gets on the phone
 5           with Detective Carr and Detective Carr tells her that
 6           it is a self-inflicted gun wound from a concealed carry
 7           permit holder, so it is not a huge deal, that she's got
 8           this wrapped up. Lewandowski goes off and does more
 9           police work, works on reports, does whatever, follows
10           up with other investigations that were pending, does
11           whatever she had to do.
12                            Now, later on in the same shift,
13           Lewandowski meets up with Detective Carr and it somehow
14           comes to light that Detective Carr needs to report back
15           to, for the second time, this residence and conduct a
16           knock-and-announce search in an attempt to find the gun
17           that was used in the shooting. It went to Detective
18           Carr, not Lewandowski, but Lewandowski volunteered to
19           assist with the caveat that, "since you were just at
20           that house, Detective Carr, let's do a quick detour so
21           I can handle my business, continue the conversation with
22           Melanie Beasley. We are going to go to District 5 for a
23           second." Detective Carr agreed.
24                            On the way to the squad car, Shannon
25           Lewandowski gets a phone call from her son and it is a

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                                                                            429
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 430 of 501 Document 80-5
 1           phone call that I am sure every parent dreads getting
 2           and unfortunately, for both Jordan Lewandowski and
 3           Shannon, it is a phone call that happens many times in
 4           that household. Jordan Lewandowski was stopped by the
 5           police. "Where are you?" "I am not sure." "What did
 6           they stop you for?" "I am not sure." Then you heard
 7           Shannon say that there was some conversations in the
 8           background, which, I think, justifies -- at least
 9           explains why that phone call was two minutes long.
10           It ended with Shannon saying, "let me know what happens.
11           Call me back as soon as you realize what is going on."
12           The phone call ended. Shannon Lewandowski got in her
13           squad car with Juanita Carr and they proceeded to make
14           their way to District 5. They never got there. They
15           never got there because just before the intersection of
16           35th and North, Shannon Lewandowski sees a car pulling
17           out in front of her and puts on her squad car lights,
18           operates her siren, uses it as a horn and lets the car
19           know that the squad was behind her and they avoid an
20           accident there, only to enter the intersection and get
21           slammed into by a drunk driver; a drunk driver with a
22           suspended license, a drunk driver with no insurance on
23           the car, a drunk driver with faulty brakes on the car.
24           The accident wasn't Shannon Lewandowski's fault. Nobody
25           here said it was Shannon Lewandowski's fault. Shannon

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                                                                            430
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 431 of 501 Document 80-5
 1           Lewandowski had the green light. There's been no testi-
 2           mony to the contrary of that. I posit that had that
 3           squad car cleared the intersection without getting into
 4           that accident, the squad lights would have gone off and
 5           they would have proceeded right to District 5.
 6                            Well, what happens in the accident?
 7           Shannon Lewandowski is tossed over the center console
 8           some, ends up in Juanita Carr's lap, passes out. Juanita
 9           Carr is panicking, citizens are coming to aid the two
10           detectives, pulls them out of the car. It is chaos.
11           But Jordan Lewandowski, in dealing with his situation in
12           Shorewood, he is dealing with a little chaos of his own.
13           He's pulled out of the car, performed some field
14           sobriety tests, blows into the Breathalyzer. He is
15           underage. He realizes that he's got some problems.
16           Where that situation ends is after Sergeant Smith
17           searches Jordan Lewandowski and has ahold of his phone,
18           the phone rings, so Sergeant Smith answers the phone and
19           it is an unidentified police officer from the Milwaukee
20           Police Department who tells the sergeant that Shannon
21           Lewandowski had been in a car accident, that she is
22           hurt. What does Officer Smith do? Tosses the phone and
23           the wallet back to Jordan Lewandowski, says, "your mom
24           is in a neck brace." He clears the scene. He doesn't
25           wait around, he doesn't order another officer to wait

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
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                                                                            431
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 432 of 501 Document 80-5
 1           around. Just vanishes. So there is panic and chaos
 2           going on at the scene of 35th and North and there is
 3           panic and chaos going on on Maryland Street. And that
 4           chaos is from Jordan Lewandowski, who doesn't know
 5           whether his mother is living or dead, doesn't know what
 6           happened. He repeatedly calls his mother's cell phone.
 7           No answer. Finally, through, it sounds from the testi-
 8           mony in this hearing, some small miracle, somebody gets
 9           ahold of Jordan Lewandowski and Officers Krumnow and
10           Stacey go to pick him up. He ends up at the hospital,
11           reports to the room. His mother is in a neck brace, at
12           least initially. I think she was out of the neck brace
13           by then. And the family is pretty much reunited, which
14           is good.
15                            Now, there is a couple concerns that were
16           raised by the city in their case and in their presenta-
17           tion. Number one is the business card that Jordan
18           Lewandowski presented to Officer Cody Smith, as if there
19           was something wrong with a black gentleman presenting a
20           business card to show that his mother is a Milwaukee
21           police detective. You heard Shannon say, you heard
22           Jordan say that they weren't expecting any preferential
23           treatment because of that. The business card was
24           presented to make sure that a traffic stop, which is
25           generally a very dangerous situation, didn't go poorly.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            432
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 433 of 501 Document 80-5
 1           That is all there was to it. You heard Jordan say, you
 2           heard Shannon say, you heard Juanita say, all live
 3           testimony from these witnesses that there was no
 4           intention by anyone to interfere with that investigation
 5           into the UWM Police Department -- into the Shorewood
 6           Police stop of Jordan Lewandowski.
 7                            Now, Lieutenant Hanley reported to the
 8           scene of the accident, did what he needed to do there
 9           and at some point, he reports to the hospital. I think
10           there is enough evidence to demonstrate that he did
11           report to the hospital at some point. But you heard
12           from Jordan Lewandowski, you have heard from Denise
13           Brown, you heard from Officer Vollrath, you heard from
14           Shannon Lewandowski. None of these people say they ever
15           witnessed Lieutenant Sean Hanley have a conversation
16           with Shannon Lewandowski, not a 20-or-30-minute conver-
17           sation at that hospital. So now, Shannon is getting
18           ready to get discharged from the hospital. She realizes
19           that she had not had a conversation with her supervisor
20           yet. What does she do? She goes to her district to
21           pick up her personal car and then to try to have an
22           interaction of some sort with Lieutenant Hanley, letting
23           him know she's okay, letting him know she's going home.
24           Hanley is not at the district, so what does she do? She
25           waits until she gets home and makes one phone call to

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            433
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 434 of 501 Document 80-5
 1           him it. Appears from the phone records, that they never
 2           connected. She makes a second phone call. A phone call
 3           occurred at 6:38. It was a seven-minute phone call --
 4           Shannon Lewandowski's accident occurred at 2:18 -- only
 5           a few hours after this accident. Her testimony --
 6           a lot of testimony was that Shannon Lewandowski was
 7           unconscious for a period of time, suffered from a severe
 8           concussion, had other injuries. This is only a few
 9           hours after this accident. You heard testimony about
10           officers on the scene that had conversations with
11           Shannon Lewandowski. They were getting frustrated with
12           her because she was making no sense. She was talking
13           nonsense. She was giving the wrong cell phone number
14           for her son. I think it is pretty clear that she didn't
15           quite know what was going on at that time.
16                            I think something else is quite clear.
17           I think the statement that Sean Hanley attributes to
18           Shannon Lewandowski at 6:38 in the morning, that doesn't
19           make any sense, either. I am not sure if the statement
20           doesn't make any sense because Shannon Lewandowski was
21           just involved in a severe car accident suffering from
22           concussion symptoms and didn't know what was going on
23           and couldn't form her thoughts to follow along with the
24           conversation or what. I am not a medical professional,
25           I don't know if that is the case, or because Lieutenant

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            434
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 435 of 501 Document 80-5
 1           Hanley's recollection of the events isn't accurate.
 2           I don't know. But a lot of the things that Shannon
 3           Lewandowski said in that conversation don't make sense.
 4           Why would she admit to going 45 in a 30 and speeding and
 5           violating department protocol through that intersection
 6           to her supervisor? That doesn't make sense. Why would
 7           she admit to going to UWM to intervene in a traffic
 8           stop, which is clearly inappropriate and clearly against
 9           department protocol? It never happened.
10                            The lights and sirens? Well, you have
11           heard ample testimony about why, at least in Shannon's
12           mind, the lights were activated. I would posit that
13           there was a traffic construction in front of her. The
14           light went on. Had she cleared the intersection, the
15           lights would have gone off. And when the lights went on
16           from the point of impact, it is one block, and it's a
17           short block. This was not a long period of time. This
18           car wasn't sitting there for minutes and minutes and
19           minutes with its lights on.
20                            You heard the city say that when you
21           see police lights in front of you, it causes chaos. I
22           disagree. I think when you see police lights before you
23           in a roadway, it causes you to be more careful. When
24           you see police lights in front of you, you are not going
25           to panic and all of a sudden, run into a pole. That

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                                                                            435
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 436 of 501 Document 80-5
 1           doesn't make any sense. It doesn't create any chaos;
 2           it causes drivers to be careful. That is why officers
 3           use those lights, so other drivers can use caution.
 4                       What does all of it mean? It doesn't make
 5           sense that Shannon Lewandowski would have given untruth-
 6           ful statements in the seven-minute conversation she had
 7           with her supervisor just a few hours after the accident.
 8           At least not intentionally. Several months after the
 9           investigation, we see Adam Zieger's report which is not
10           made available until September 9. That report is
11           riddled with rumors about officers hearing from other
12           unidentified officers about Shannon Lewandowski going to
13           UWM to intervene in some sort of a traffic stop. None
14           of it is substantiated. It is all from unidentified
15           police officers.
16                            After the report was filed, after the
17           investigation is concluded, she is charged with rule
18           violations and she submitted some written responses to
19           those rule violations. You have copies of those.
20           Shannon Lewandowski was frustrated and she is angry that
21           these accusations were made against her. I will admit
22           at best, the written responses are -- they are harsh.
23           That is only because she is frustrated and angry at how
24           she believes she was treated by the department. As a
25           result of this accident, which was not her fault, she's

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                               sueT@wi.rr.com
                                                                            436
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 437 of 501 Document 80-5
 1           had to deal with lingering injuries, including -- I
 2           don't think it's ever been disputed -- some injuries to
 3           her head.
 4                            It is not fair to her how this investi-
 5           gation has been treated because instead of giving an
 6           officer, especially only a few hours after the injury
 7           (sic) took place with a severe head injury, the benefit
 8           of the doubt, sending Hanley back to come interview her
 9           again, sending another officer to interview her again,
10           because some of the statements she made didn't make
11           sense. She is charged with rule violations and she
12           is fired. It all happened because of an accident that
13           wasn't her fault. It is not fair, it is not right and
14           the charges should not be sustained. Thank you.
15                            MR. KONRAD:            We will now proceed
16           into --
17                            MR. PEDERSON:          I am sorry. There
18           are a number of documents that I have not moved into
19           evidence at least and I think that is at least 15, 16,
20           and 17, maybe 14. I would move those into evidence.
21                            MR. MC GAVER:          I have no objection.
22                            MR. KONRAD:            Those documents will
23           be received.
24                            You have one document; 12. I assume
25           that's been withdrawn?

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                               sueT@wi.rr.com
                                                                            437
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 438 of 501 Document 80-5
 1                            MR. MC GAVER:          I think -- I am not
 2           offering it as an exhibit. To the extent that it is
 3           mentioned in the record, I don't know how you want to
 4           treat it, but it has been moved into evidence, and it
 5           will not be.
 6                            MR. KONRAD:            We will leave it in
 7           the record as not offered. 12 is not offered. It is
 8           marked, but not offered.
 9                            MR. MC GAVER:          Thank you.
10                            MR. KONRAD:            Anything further?
11                            MR. PEDERSON:          I don't think so, no.
12                            MR. MC GAVER:          No.
13                            MR. KONRAD:            We will now proceed
14           into closed session with deliberations. The first five
15           "just cause" standards. Are counsel familiar with those
16           standards?
17                            MR. MC GAVER:          Yes.
18                            MR. PEDERSON:          Yes.
19                            MR. KONRAD:            Then I will forego
20           reading them into the record.
21                            In order for us to be in closed session,
22           we have to take a vote, or at least we have to record
23           any objections to closed session, so do any of the
24           commissioners have objections to going into closed
25           session?

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                               sueT@wi.rr.com
                                                                            438
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 439 of 501 Document 80-5
 1                            MS. WILSON:            Move to go into
 2           closed session.
 3                            MR. KONRAD:            Any objection?
 4                            MS. MC KENZIE:         I don't have any.
 5           I second.
 6                            MS. HEIN:              No objection.
 7                            MR. KONRAD:            No objection, then,
 8           we will now go into closed session for purposes of
 9           deliberations. It is now 12:30. We will convene at
10           1:25, or would you like to reconvene later?
11           (Discussion off the record)
12                            MR. KONRAD:            I will tell the other
13           participants to be here by 1:25, one hour from now.
14           (Closed session deliberations)
15                            MR. KONRAD:            We are back in
16           session. After deliberation for Phase I of the
17           proceedings, we thank counsel for their hard work in
18           presenting the evidence to us. After deliberation, the
19           members of the Commission have voted to sustain, by a
20           preponderance of the evidence, all three charges against
21           Detective Shannon Lewandowski.
22                            I have also found, by a preponderance of
23           the evidence, that the first five "just cause" standards
24           are satisfied. Therefore, it is appropriate now to move
25           to Phase II of the proceedings.

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                                                                            439
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 440 of 501 Document 80-5
 1                            MR. PEDERSON:          The chief would call
 2           Assistant Chief Yerkes.
 3                            CARIANNE YERKES, having been first duly
 4           sworn on oath to tell the truth, the whole truth, and
 5           nothing but the truth testified as follows:
 6                            MR. KONRAD             The witness is sworn.
 7                            THE WITNESS:           I am sitting in for
 8           the chief. Unfortunately, his mother-in-law passed away
 9           within the last two days and he has to travel to Texas
10           in order to attend her funeral. Just so you are aware.
11                            MR. KONRAD:            Thank you.
12           DIRECT EXAMINATION BY MR. PEDERSON:
13     Q     Please state your name for the record and spell it.
14     A     Carianne Yerkes. C-a-r-i-a-n-n-e. Y-e-r-k-e-s.
15     Q     What is your position?
16     A     Assistant Chief of Police.
17     Q     That is with the Milwaukee Police Department?
18     A     Yes.
19     Q     Is it correct to say you are here today as the chief's
20           representative in terms of Phase II?
21     A     Yes.
22           (A document was marked as Exhibit No. 18)
23     Q     I have presented you a document marked for identifica-
24           tion as Exhibit 18.
25                            MR. MC GAVER:          What is the date on

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                                                                            440
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 441 of 501 Document 80-5
 1           that?
 2                            MR. PEDERSON:          Here is one for you.
 3     Q     Let's start over. Assistant Chief, I have presented you
 4           a document marked for identification, marked as Exhibit
 5           No. 18. Do you have that in front of you?
 6     A     Yes.
 7     Q     Are you familiar with this document?
 8     A     Yes. It is the Discipline Review Summary.
 9     Q     Can you explain to me what that is?
10     A     This is a report that is filed after the discipline
11           review outlines what was discussed regarding the review
12           at the chief's level.
13     Q     Does this particular document relate to the case at
14           issue?
15     A     Yes, it does.
16     Q     How do you know that?
17     A     It is based off the file number and the charged member.
18     Q     Near the top, it indicates "Members Present." Do you
19           see that box?
20     A     Yes.
21     Q     In there, it indicates a number of personnel, including
22           yourself, as well as Chief Flynn. Is that an accurate
23           statement?
24     A     Yes.
25     Q     Can you, please, indicate what that "Members Present"

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                                                                            441
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 442 of 501 Document 80-5
 1           box indicates?
 2     A     It indicates the executives that were present during the
 3           discipline summary that was Chief Flynn, Assistant
 4           Chiefs Harpole and Leibold, myself -- I was an inspector
 5           at the time -- Captain Shepherd, Lieutenant Leitzke and
 6           Nicole Fleck, who was our interim HR administrator at
 7           that time.
 8     Q     What is discussed at that meeting?
 9     A     The merits of the case and the discipline to be imposed.
10     Q     And what was your role?
11     A     My role is to offer my opinion and my expertise to the
12           chief prior to making discipline decisions.
13     Q     Were you present for the entire meeting where this was
14           discussed?
15     A     Yes.
16     Q     "Reviewed/Discussed." Do you see that portion?
17     A     Yes.
18     Q     What does this portion relate to?
19     A     This goes over the documents that are provided during
20           the discipline hearing which are the charge specifica-
21           tions, the employee's hardcard, the case file history,
22           any comparables for other individuals that received
23           discipline of the same nature, the lieutenant's cover
24           which summarizes the case, the member's Response to
25           Charges and any other applicable documents.

     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
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                                                                            442
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 443 of 501 Document 80-5
 1     Q     You should have in front of you a pile of documents.
 2           Exhibits?
 3     A     Yes.
 4     Q     If you go through there and find Document No. 5 and
 5           Document No. 6. Actually, all you need is number six.
 6     A     I have Document 6.
 7     Q     This has already been entered into evidence as the
 8           Charges and Specs. Does that relate to any of the
 9           documents that are indicated that were reviewed?
10     A     Yes. This would be what is considered the charge
11           specification which is one of the first documents
12           reviewed.
13           (A document was marked as Exhibit No. 19)
14     Q     Chief, I have handed you another document marked for
15           identification as number 19. Do you have that in front
16           of you?
17     A     Yes.
18     Q     Are you familiar with this document?
19     A     Yes. This is what we call the "hardcard" or the PM-5.
20     Q     Specifically on the Discipline Review Summary on the
21           charge specifications, it indicates PM-5 there. Is that
22           what you are indicating?
23     A     Yes.
24     Q     This is a document that is reviewed in relation to that?
25     A     Yes.

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                               sueT@wi.rr.com
                                                                            443
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 444 of 501 Document 80-5
 1     Q     Were both of those documents, in fact, reviewed?
 2     A     Yes.
 3     Q     The next category, according to this document, is the
 4           "Case File History." Can you indicate to me what that
 5           document is?
 6     A     The case file history is a document that is an elec-
 7           tronic document that is produced by Internal Affairs,
 8           that outlines all the complaints sustained or not
 9           sustained against the member.
10           (A document was marked as Exhibit No. 20)
11     Q     I am handing you a document marked for identification as
12           Exhibit 20. Are you familiar with this document?
13     A     Yes.
14     Q     What is this document?
15     A     This is the employee's case file history.
16     Q     All right. Is that the same document that was reviewed
17           as part of the summary?
18     A     Yes.
19     Q     I think the next entry on the summary form is
20           "Comparables." Do you see that?
21     A     Yes.
22     Q     What is that indicating?
23     A     The comparables are a list that is produced by Internal
24           Affairs of other Code of Conduct or rule violations that
25           are similar in nature and the discipline that was

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                                                                            444
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 445 of 501 Document 80-5
 1           imposed on the member at the time.
 2           (A document was marked as Exhibit No. 21)
 3     Q     I am presenting you a document marked for identification
 4           as Exhibit 21. Are you familiar with that document?
 5     A     Yes. This document is the comparables regarding this
 6           case.
 7     Q     The next entry indicates "IAS Lieutenant's Cover."
 8           Is that correct?
 9     A     Yes.
10     Q     What is that?
11     A     That is the memorandum that is filed by lieutenants
12           that summarizes the sergeant's investigation and makes a
13           recommendation.
14     Q     All right. Finally, the last entry is "Member's
15           Response to Charges." Did I read that correctly?
16     A     Yes.
17     Q     What is that?
18     A     That is a memorandum that is filed by the member and
19           gives them the opportunity to respond to the charges.
20     Q     Were all of those documents reviewed?
21     A     Yes.
22     Q     Does it indicate that they are reviewed on this docu-
23           ment?
24     A     Yes.
25     Q     How did you do that?

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                               sueT@wi.rr.com
                                                                            445
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 446 of 501 Document 80-5
 1     A     By circling the word "yes."
 2     Q     I note that there is one final category called "Other."
 3           Do you see that?
 4     A     Yes.
 5     Q     Is there any indication whether there was anything
 6           reviewed or not?
 7     A     There is no indication that there was any other docu-
 8           ments reviewed.
 9     Q     Okay. So does that represent concerns of the reporting
10           on this document, any error? In other words -- Let
11           retract that question. Were there any other materials
12           reviewed or considered at the meeting?
13     A     Not that I am aware of that I recall.
14     Q     So it appears that had this document been completed, it
15           should have probably been circled "no." Is that right?
16           For that question?
17     A     Yes, it should have probably been circled "no."
18     Q     Do you know who prepares this document?
19     A     I believe the lieutenant prepares the document.
20     Q     Again, on your memory, there was no other materials
21           considered.
22     A     Correct.
23     Q     Next, the document goes into breaking out some cate-
24           gories. We will go first. "Employee Motivation."
25           Is that right?

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                                                                            446
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 447 of 501 Document 80-5
 1     A     Yes.
 2     Q     Next, it says, "A-Self-Interest." What does that mean?
 3     A     One of the just causes that is considered for discipline
 4           is employee's motivation. Is it aggravating or is it
 5           mitigating? This document suggestions that the employee
 6           motivation was "aggravating" and that it was based off
 7           of self-interest.
 8     Q     The next in that same box, it says "M-N/A." What does
 9           that mean?
10     A     Mitigating -- "M-N/A" means not applicable.
11     Q     Would it be correct to say, then, at least according to
12           this document, there was no mitigating factors taken
13           into consideration there?
14     A     Yes.
15     Q     Is that consistent with your recollection of what
16           happened at the meeting?
17     A     Yes.
18     Q     When it comes to "Degree of Harm," was that considered
19           an aggravating or mitigating set of circumstances?
20     A     Aggravating.
21     Q     How so?
22     A     Based on the injuries that occurred and the amount of
23           damage to the squad car from the accident, they were
24           both aggravating circumstances. There were serious
25           injuries and the squad car was totaled.

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                                                                            447
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 448 of 501 Document 80-5
 1     Q     Were there any other aggravating circumstances in
 2           relation to this?
 3     A     There are when you go into "Intentional/Unintentional"
 4           and "Employee Experience," but as relates to the "Degree
 5           of Harm," the things that were specifically taken into
 6           consideration were the injuries and the amount of
 7           damage.
 8     Q     Okay. What about lost work time?
 9     A     That would be an aggravating degree of harm because both
10           individuals lost work time. One of the individuals is
11           still, as far as I am aware, not back to full duty.
12     Q     Was Detective Lewandowski's experience an aggravating or
13           mitigating factor?
14     A     Aggravating, based on her amount of time in service.
15     Q     Could you go into that deeper? Why is that aggravating?
16     A     Because we give some leeway to newer officers that make
17           mistakes because they are new to the department.
18           Officers that have a significant amount of time on
19           usually should know better and know what the rules are
20           and what we expect of them.
21     Q     It says "Intentional/Unintentional." What is that
22           category aiming toward?
23     A     The "intentional" or "unintentional" speaks to the act
24           itself, whether or not the employee made a mistake and
25           was their mistake an unintended consequence of something

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                               sueT@wi.rr.com
                                                                            448
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 449 of 501 Document 80-5
 1           else that they were doing or was the mistake they made
 2           something that was an intentional act to go against a
 3           rule or a regulation?
 4     Q     Was that considered aggravated or mitigated?
 5     A     Aggravated.
 6     Q     How so?
 7     A     Because it was intentionally operating a squad as an
 8           emergency vehicle without cause, responding to a
 9           location for reasons other than department business and,
10           then, was intentionally untruthful as to her true des-
11           tination at the time of the squad accident.
12     Q     Do any one of those considerations have greater weight
13           than the other?
14     A     Yes. The consideration as it relates specifically to
15           the untruthfulness has a greater weight.
16     Q     Why is that?
17     A     Because untruthfulness is one of the -- is an aggravat-
18           ing factor that usually results in discharge from the
19           department.
20     Q     All right. In terms of her past record, was that con-
21           sidered aggravating or mitigating?
22     A     Aggravating.
23     Q     How so?
24     A     In 2015, behavior that could discredit the department,
25           received a district level reprimand and in 2014, has a

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                               sueT@wi.rr.com
                                                                            449
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 450 of 501 Document 80-5
 1           violation of failure to treat department supervisor with
 2           respect.
 3     Q     Are you able to point to any of the documents that
 4           indicate a correlating documentation of what is being
 5           referred to there?
 6     A     I will look at the employee's case file history. On the
 7           first page of Exhibit 20, there is a closed file from
 8           1-23-15 that was an integrity violation. That was
 9           sustained. It has an official reprimand.
10                            Then, on the second page is the 2014 file
11           that has a policy review as it relates to failing the
12           treat a supervisor with courtesy and professionalism.
13     Q     Is it significant that there is a specific integrity
14           violation as well?
15     A     Yes. Integrity violations are taken very seriously.
16     Q     Finally, there is a "Notes" section on the document.
17           Do you see that?
18     A     Yes.
19     Q     It doesn't appear -- Is there anything important there
20           in terms of how this was considered or discussed among
21           the members other than the outcome?
22     A     No. This just has the outcome of this review.
23     Q     I would like to talk about comparables for a second.
24           Those were considered during the meeting. Is that
25           correct?

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                               sueT@wi.rr.com
                                                                            450
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 451 of 501 Document 80-5
 1     A     Yes.
 2     Q     All right. As you are aware, let's talk first about the
 3           charge relating to the -- it might be the last charge in
 4           Exhibit 6, Competence.
 5                       "All department members shall render service
 6           to the community promptly and efficiently. When not
 7           answering a call for service, member shall use their
 8           time to accomplish the mission of the department."
 9           Do you see that?
10     A     Yes.
11     Q     Do you know what the chief's decision was regarding
12           discipline on that charge?
13     A     A five-day suspension.
14     Q     Specifically as it relates to that charge, how was that
15           deemed an appropriate amount?
16     A     Based off of comparables in which -- I will have to look
17           through them. There is probably another individual that
18           didn't go to an assignment or had some sort of similar
19           circumstances that received comparable discipline.
20     Q     I would direct your attention to the comparables
21           document. I don't know the number.
22     A     21?
23     Q     I direct your attention to that. In that packet in the
24           fourth page relating to Guiding Principle 1.03, I will
25           direct your attention to Dwight Copeland, if you can

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                               sueT@wi.rr.com
                                                                            451
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 452 of 501 Document 80-5
 1           find that.
 2     A     Yes.
 3     Q     Could you please --
 4                            THE WITNESS:           Are we talking about
 5           Page 2? I want to make sure.
 6                            MR. PEDERSON:          Unfortunately, mine
 7           are loose, so I cannot give you the --
 8                            MS. HEIN:              Page 2.
 9                            THE WITNESS:           Thank you.
10                            MR. PEDERSON:          It indicates he
11           received five days. That is the entry I am looking for.
12                            THE WITNESS:           Then, I have a
13           different entry.
14                            MS. HEIN:              On the bottom, what
15           does it say? MPD -- what is the number?
16                            MS. MC KENZIE:         Do you have a little
17           number on the bottom?
18                            MR. PEDERSON:          I am referencing
19           Guiding Principle 1.03. It is probably at the rear of
20           the packet.
21                            MR. MC GAVER:          I have Bates 0016,
22           if that helps.
23                            MS. WILSON:            What is the name?
24                            THE WITNESS:           I found it.
25     A     0016, the third entry down is,

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                               sueT@wi.rr.com
                                                                            452
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 453 of 501 Document 80-5
 1                       "Police Officer Dwight Copeland failed to
 2           answer the radio while arguing with an ex-girlfriend
 3           while on duty."
 4           He received a five-day suspension.
 5     Q     I don't know if that was a specific one that was
 6           considered, but would you consider that a comparable?
 7     A     Yes.
 8     Q     How so?
 9     A     He wasn't where he was supposed to be or doing what he
10           was supposed to be doing.
11     Q     I don't know. You tell me. We have limited information
12           here, but what is more aggravated? The Detective
13           Lewandowski situation or that of Officer Copeland?
14     A     I would say Detective Lewandowski's because of the
15           accident that was involved and not being where you are
16           supposed to be, doing what you are supposed to be doing.
17           That degree of harm is more aggravating than whatever
18           radio call this individual didn't respond to, which I
19           don't remember it being a significant call in which
20           somebody else was injured.
21     Q     Now, I would like to address the squad accident charge
22           which would be referencing Guiding Principle 1.05 and I
23           believe it is the first charge in the Complaint. This
24           relates to the requirement, and I will read it.
25                       "Operators of Department vehicles shall, in

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                               sueT@wi.rr.com
                                                                            453
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 454 of 501 Document 80-5
 1           all instances, operate the vehicle in a safe and courte-
 2           ous manner, comply with all traffic laws and ordinances,
 3           and wear seat belts at all times, except when doing so
 4           would endanger the safety of the operator or another, or
 5           when he/she has provided medical certification that
 6           he/she is unable to do so."
 7           Did I read that correctly?
 8     A     Yes.
 9     Q     What was the determination of the chief as to the amount
10           of discipline that was appropriate for that charge?
11     A     The chief went with significant discipline on that
12           charge, specifically because of the injuries that were
13           incurred not just by the detectives, but there were also
14           citizens that were injured, the amount of damage that
15           was done to the squad car, and the circumstances in
16           which Detective Lewandowski was operating, which was
17           with red lights on, which was not necessary for the
18           call.
19     Q     I don't think we have it quite in the record yet. What
20           was his specific determination?
21     A     30 days.
22     Q     You have listed some reasons why that was aggravated.
23           I would direct your attention to the comparables in
24           number 21 and give you an opportunity to look at that.
25           Is it fair to say that that 30 days in comparison to

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                               sueT@wi.rr.com
                                                                            454
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 455 of 501 Document 80-5
 1           what we have available in the comps is greatly higher
 2           than what we have here?
 3     A     Yes.
 4     Q     Given that context, if someone -- Let's talk about the
 5           first one. The entry for PO Lucas McAleer. Do you see
 6           it?
 7     A     Yes.
 8     Q     I will give you a quick moment to look at it. Is it
 9           an accurate statement to say that Officer McAleer was
10           in the legitimate pursuit of his duties and got into an
11           accident and received two days?
12     A     Yes.
13     Q     So if someone is going to receive two days while in the
14           legitimate exercise of their duties, is that a factor in
15           the disparity between 30 days and two days in terms of
16           that decision?
17     A     Yes. The difference is for Officer McAleer, the
18           employee motivation was mitigating which was he was in
19           the line of duty acting in a manner in which he was
20           authorized to act and unfortunately, he had a squad
21           accident. Now, there was an aggravating factor with a
22           degree of harm in which speed was a factor and we lost
23           another squad car. However, he was doing what he was
24           supposed to be doing. The difference between this squad
25           accident and that squad accident was that the detective

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                                                                            455
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 456 of 501 Document 80-5
 1           wasn't where she said she was going to be and operating
 2           as an emergency vehicle, which it was not necessary to
 3           do, and the amount of injuries to herself and to her
 4           partners and to the civilians was significant.
 5     Q     Isn't it true, to the best of your knowledge, you
 6           actually lost two detectives as a result of that, that
 7           had yet to return to work. Right?
 8     A     Correct.
 9     Q     At least full-time.
10     A     Full duty, correct.
11     Q     Is it a correct statement that they were both out on
12           medical leave doing nothing at all for about eight or
13           nine months? Is that right?
14     A     I believe so. I would have to actually look at the
15           record, but I know both of them lost significant amounts
16           of time from work.
17     Q     So we have a combined approximately 16 months of lost
18           time in that regard as well. Right?
19     A     Yes.
20     Q     Finally, I would direct your attention to the
21           "Integrity" charge where it indicates,
22                       "All department, members shall be forthright
23           and candid, orally or in writing, in connection with any
24           administrative injury or report."
25           Did I read that correctly?

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                               sueT@wi.rr.com
                                                                            456
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 457 of 501 Document 80-5
 1     A     Yes.
 2     Q     What was the chief's decision of the appropriate disci-
 3           pline for those charges?
 4     A     Dismissal from the department.
 5     Q     Why was that?
 6     A     Because it is an untruthfulness charge and it is an
 7           integrity violation and the integrity violation that is
 8           taken most seriously when an individual is untruthful
 9           and it was found, based on the case file, that Detective
10           Lewandowski was untruthful in her statements and was
11           discharged from the department.
12     Q     Why is it important for officers to be truthful and to
13           not have their truthfulness called into question?
14     A     Because we are keepers of the public trust. As a member
15           of this department, you are given a lot of latitude in
16           your ability to make decisions as it relates to indi-
17           viduals' rights as it relates to investigations. If a
18           member is going to be untruthful, how do we know that
19           member is not going to be untruthful to a citizen,
20           untruthful to an investigation, untruthful during any
21           other aspect of their job, which can have serious
22           consequences, not just for us as an employer, but for
23           the citizens as well.
24     Q     As an assistant chief, do you believe you would have
25           confidence in a department member returning to duty who

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                               sueT@wi.rr.com
                                                                            457
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 458 of 501 Document 80-5
 1           had been caught in the type of lie that is at issue
 2           here?
 3     A     No, I don't.
 4     Q     Do you have any additional comments as it relates to
 5           the -- Strike that. I would like to go through the
 6           comparables that relate to integrity. Is there support
 7           in the comparables for a discharge on the issue of
 8           integrity?
 9     A     Yes, there is.
10     Q     What support is that?
11     A     There is several different ones. The first one is
12           Officer Vidmar, who was discharged from the department
13           for an integrity violation as it relates to the posses-
14           sion of an inventoried bicycle. Officer Copeland filed
15           a false official report, was discharged from the depart-
16           ment. And Detective Gomez was discharged from the
17           department as well for an integrity violation.
18     Q     So would you say it is a fair characterization that
19           this administration has an established track record of
20           treating integrity violations most seriously and perhaps
21           even considers it one of the most dischargeable offenses
22           there are?
23     A     Yes.
24     Q     Are there any other observations that you made during
25           the meeting where this was discussed that I have not

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                               sueT@wi.rr.com
                                                                            458
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 459 of 501 Document 80-5
 1           covered with you?
 2     A     The only other observation that I would say is when the
 3           chief determines discipline, one of the things he takes
 4           into account is whether or not an employee holds them-
 5           selves accountable for their actions and in this case,
 6           based on Response to Charges and throughout the whole
 7           investigation, this employee did not hold herself
 8           accountable for her actions, but instead, placed blame
 9           on many other individuals in this case, and that is also
10           a factor that is considered, which is, have you held
11           yourself accountable? Are you willing to take the
12           consequences for your actions? If you don't, it also
13           shows somewhat of your character and leans toward the
14           integrity issue.
15                            MR. PEDERSON:          That is all I have.
16                            MR. KONRAD:            Mr. Mc Gaver, do you
17           have any cross?
18                            MR. MC GAVER:           I do.
19           CROSS-EXAMINATION BY MR. MC GAVER:
20     Q     Assistant Chief, how long was this meeting?
21     A     I don't recall.
22     Q     I will direct your attention to Exhibit 18. Are you
23           there?
24     A     Yes.
25     Q     The time is 2:23 to 2:32.

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                                                                            459
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 460 of 501 Document 80-5
 1     A     Yes.
 2     Q     Do you have a better recollection of how long the
 3           meeting lasted now?
 4     A     I don't, because it depends on whether or not this case
 5           was heard by itself or if there were other cases at this
 6           meeting.
 7     Q     So there might have been more than just this case
 8           discussed in that brief, less-than-ten-minute window?
 9           Is that a possibility?
10     A     No, it is not possible this case and another case would
11           have been discussed in less than a ten-minute window.
12           I am not sure if there is an error. That might be
13           something to take a look at, but this was a significant
14           case and it would have taken much longer than nine
15           minutes to determine it.
16     Q     Who is ultimately responsible at the department level
17           for making the ultimate disciplinary decision?
18     A     The chief.
19     Q     Who led the discussion at this meeting?
20     A     The discussion is led by the IA Division, either by the
21           captain or the lieutenant, who presents the case to the
22           chief and to the executive staff.
23     Q     From your recollection, do you remember whether or not
24           it was determined at this meeting whether Shannon
25           Lewandowski was at fault for the accident involved in

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                                                                            460
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 461 of 501 Document 80-5
 1           this case?
 2     A     I don't recall whether that was determined, whether
 3           it was discussed if she was at fault. There was dis-
 4           cussion about the fact that the other driver that was
 5           involved in the accident had been drinking and also had
 6           a mechanical issue with the vehicle.
 7     Q     Do you know whether Shannon Lewandowski has ever been
 8           suspended from the department before?
 9     A     Yes.
10     Q     Has she?
11     A     As far as I know, yes, according to the hardcard.
12     Q     How long? How long was the suspension?
13     A     According to the hardcard, there was a suspension for
14           two days in 2002 and an additional suspension for one
15           day in 2002, and that is all that is on this hardcard.
16     Q     Was that suspension ultimately reversed by, I believe,
17           the chief?
18     A     Not by this chief. There was a one-day suspension that
19           was rescinded.
20     Q     What year was that suspension?
21     A     2002.
22     Q     Has she been suspended since?
23                            THE WITNESS:           Can I look at the
24           case file?
25                            MR. MC GAVER:          Sure.

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                                                                            461
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 462 of 501 Document 80-5
 1     A     Not that I am aware of. According to this, the last
 2           suspension was 2002 prior to this one.
 3     Q     With regard to the first charge, what I have been
 4           calling the "detour charge." In the comparables, in
 5           your review of the comparables, were you able to
 6           discover any harsher penalty than a five-day suspension
 7           associated with a violation of that rule?
 8     A     By "charge" --
 9     Q     Talking about the first one that Mr. Pederson led you
10           through. I believe it is toward the back of the packet.
11           A specific example was 0016. The rule is Core Value
12           1.00 - Competence. The guiding principle is 1.03. It
13           starts with MPD Bates No. 0013. Does that help direct
14           you?
15     A     Yes.
16     Q     My question was, is there anything harsher that you have
17           seen in the comps than a five-day suspension?
18     A     For failing to render services promptly and efficiently,
19           yes. There is a discharge from the department, there is
20           a demotion. And the five-day is the most comparable.
21     Q     I am going to fast-forward to the integrity charge.
22           Sometimes in these cases, it's been my experience that
23           the department will receive a letter from the district
24           attorney's office, the city attorney's office or the
25           United States Attorney's Office. Do you know whether

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                                                                            462
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 463 of 501 Document 80-5
 1           any of those types of letters that would question
 2           Shannon Lewandowski's integrity were received by the
 3           department from any of those three entities?
 4     A     I don't know.
 5     Q     If I told you that none of those letters existed, would
 6           you quarrel with me?
 7     A     No. I am unsure whether we asked for that letter or
 8           not. That is why I am unsure. As far as I know, we
 9           don't have one, but I don't know if we asked for one.
10     Q     When a member has been found to be untruthful, are there
11           any examples in the comparables where that member has
12           not been discharged from the department?
13                            THE WITNESS:           You would have to
14           give me a minute.
15                            MR. MC GAVER:          Take as much time as
16           you need.
17     A     Under the untruthfulness section, Section 1.05, there
18           are individuals that received less discipline than
19           discharge.
20                            MR. MC GAVER:          Nothing further.
21                            MR. PEDERSON:          I have no redirect.
22                            MR. KONRAD:            Commissioners with
23           any questions? The witness is excused.
24           (Witness excused)
25                            MR. PEDERSON:           The chief rests for

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                               sueT@wi.rr.com
                                                                            463
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 464 of 501 Document 80-5
 1           Phase II.
 2                            MR. MC GAVER:          Shannon Lewandowski
 3           calls Officer Chad Boyack.
 4                            CHAD BOYACK, having been first duly sworn
 5           on oath to tell the truth, the whole truth, and nothing
 6           but the truth testified as follows:
 7                            MR. KONRAD:            The witness has been
 8           sworn.
 9           DIRECT EXAMINATION BY MR. MC GAVER:
10     Q     Please state and spell your first and last name for the
11           record.
12     A     First name is Chad. C-h-a-d. Last name, Boyack.
13           B-o-y-a-c-k.
14     Q     How are you employed?
15     A     I am a police officer for the City of Milwaukee.
16     Q     How long have you been so employed?
17     A     As a police officer, 19 years.
18     Q     Are you acquainted with Shannon Lewandowski?
19     A     Yes.
20     Q     How long have you known Shannon Lewandowski?
21     A     I knew her before when she was a cop in the late 90's/
22           early 2000's and I came to know her in person. After
23           she became a detective, she came to a lot of our scenes
24           after, I think it was, '05, '06.
25     Q     I understand that you have been under subpoena for a

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                               sueT@wi.rr.com
                                                                            464
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 465 of 501 Document 80-5
 1           while. Have you seen any of the proceedings?
 2     A     Yes, I have.
 3     Q     Do you have an understanding that Shannon Lewandowski
 4           is now -- the alleged rule violations against Shannon
 5           Lewandowski have now been sustained by this Commission.
 6           Do you understand that?
 7     A     Yes, I do.
 8     Q     Knowing that, do you have an opinion as to whether
 9           Shannon Lewandowski can continue to serve on the
10           Milwaukee Police Department? Or should be able to serve
11           on the Milwaukee Police Department?
12     A     I believe she should be able to.
13     Q     Why do you think that?
14     A     At all the crime scenes that I was involved with her at
15           shootings and robberies, she was always forthright with
16           me with information. She was always candid about the
17           investigations we were involved in. She always gave me,
18           to my knowledge, the best information regarding each
19           case and accurate and concise information regarding each
20           case. I was always happy to see her, along with my
21           partners, happy to see her at the scene because I knew
22           that something was going to get done and the case was
23           going to be either solved and if not solved, to find out
24           what happened in the incident.
25     Q     Do you think she is a good cop?

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                               sueT@wi.rr.com
                                                                            465
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 466 of 501 Document 80-5
 1     A     Yes.
 2     Q     Why?
 3     A     Based off what I just previously stated. With those
 4           factors that -- not to put it in quotes, but we always
 5           "got our man" and Shannon always got her man regarding
 6           shootings and robberies and she would contact me or my
 7           partners, via cell phone or text message, trying to get
 8           a suspect that she was looking for, for a shooting and
 9           not to get too far off track, she was looking for a
10           subject we were looking for -- or she was looking for,
11           Thomas Nelson, a very bad person. The night she called
12           Officer Malone (phonetic) and I, and we ended up getting
13           the subject an hour after she asked us, that she was
14           going to be doing a search warrant with the TAC unit and
15           the subject shot up three different houses and he had a
16           gun on him and he fled from my partner and I.
17     Q     You said you have known her for a while. You understand
18           what is going on here today. Do you have anything else
19           to add?
20     A     I feel sad for her. I don't know the -- everything
21           involved in this case, but I feel bad for her because
22           I know she's been through a lot and it is just -- I
23           could put myself in her shoes and I could be the one
24           sitting there if something happened to me and I just --
25           I try and make it -- equate the circumstances and I just

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                                                                            466
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 467 of 501 Document 80-5
 1           feel -- I feel really bad for her.
 2                            MR. MC GAVER:          Thank you. Nothing
 3           further.
 4                            MR. PEDERSON:          I have no cross.
 5                            MR. MC GAVER:          Any questions from
 6           the commissioners? I don't mean to take your job,
 7           Mr. Konrad.
 8           (Witness excused)
 9                            MR. KONRAD:            Thank you. It's
10           getting late. The board will now deliberate in closed
11           session.
12                            MR. MC GAVER:          I didn't quite rest.
13           I would like to call Shannon Lewandowski.
14                            MR. KONRAD:            Go ahead.
15                            MR. MC GAVER:          I would like to call
16           Shannon Lewandowski.
17                            MR. KONRAD:            You are still under
18           oath.
19                            MR. MC GAVER:          Thank you.
20           DIRECT EXAMINATION BY MR. MC GAVER:
21     Q     Ms. Lewandowski, you were here. You have an under-
22           standing of what happened and that the three charges
23           against you have been sustained. Correct?
24     A     Yes.
25     Q     Do you believe you can still be a productive member of

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                               sueT@wi.rr.com
                                                                            467
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 468 of 501 Document 80-5
 1           the Milwaukee Police Department?
 2     A     Yes.
 3     Q     Why?
 4     A     Although I don't agree with your decision, I respect it.
 5           I have 17 years of very dedicated service. I love my
 6           job. I am very well known in this community, very
 7           participatory in this community. I have lived here all
 8           my life. I resonate with a lot of the victims. I stand
 9           by everything that I said here in the last two days and
10           everything that I have said and done in the last 17
11           years. I apologize on behalf of my son for making a bad
12           decision that day. He is human, like anybody else.
13           Like I said, I don't agree with your decision at all,
14           but I so respect it.
15     Q     Do you have anything else to add?
16     A     That is all I have to say.
17                            MR. MC GAVER:          Nothing further.
18                            MR. PEDERSON:          I have no cross.
19                            MS. MC KENZIE:         During this whole
20           proceeding, I found it interesting how driven you were
21           when you testified to be there in your testimony for
22           that person. I guess what I would say to you is, what
23           I need to hear is with the understanding that this is a
24           police force, you are given directives. You are under
25           authority of another following the chain of command.

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                               sueT@wi.rr.com
                                                                            468
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 469 of 501 Document 80-5
 1           Is that -- I want to be convinced, knowing if you were
 2           to be put back on the force, that this proceeding wasn't
 3           in vain, that there would be some kind of acceptance,
 4           acknowledgement on your part that, when given things to
 5           do, the priority is not what you want, but what the
 6           department wants; the people. Can you speak to that?
 7                            THE WITNESS:           I guess in hind-
 8           sight, given all this forum, should I question another
 9           detective, who is actually senior than me, about what we
10           are doing? Yes, I guess after this forum, but I trust
11           in Juanita's work. I trust who she is as a detective
12           and I am always going to volunteer myself. I have
13           volunteered myself -- I was volunteered by Melanie who
14           suffered a sexual assault on the job and it hasn't been
15           handled at that point and as part of our training, if I
16           am being told by a citizen on the street that they have
17           been sexually assaulted, I am not just going to continue
18           to go. She counts, even though she is a police officer,
19           just as much as a citizen does. That is where the
20           problem came. If Juanita would have explained to me
21           this is something very exigent, I would hope she would
22           have went on her own and got somebody to help her. I
23           wanted to help her and if I knew that that was so
24           exigent, I would have gone. That is how I handled my
25           cases, but I went on information that I had and I was

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                               sueT@wi.rr.com
                                                                            469
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 470 of 501 Document 80-5
 1           going to District 5 and I said, "since I am going out
 2           anyway, we can go together," because my other concern
 3           was Juanita's safety. Streets are not safe. And as you
 4           heard her say, she went to the door and knocked on it
 5           herself. You just don't do that. You don't go to a
 6           house by yourself and knock on the door. So it is hard
 7           for me to sit here and convince you that I did something
 8           wrong because I will take culpability for my son because
 9           I raised him not to do anything like that, but I don't
10           know how to take culpability for what happened to
11           Melanie or what Juanita told me. I want to. Like, if
12           I knew it was exigent, I would have said, "let's go,"
13           because I didn't have to go to Five. I could have saw
14           her after. She would eventually be by my house anyway.
15           She ended up living with my two sons and I because she
16           was too afraid to go home. And additionally, like Chad
17           said, my job important to me. I don't play games at
18           work. I am all about work. I am all about this
19           community getting better. I am all about leadership,
20           and leadership doesn't come in easy times. Leadership
21           comes from a hard time. These were hard times at
22           District 3 and 5, and they still are. I will not walk
23           away from another female employee who is suffering. I
24           was reaching out to everybody. It is just like I was
25           reaching out for Juanita's well-being. I wanted her not

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                                                                            470
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 471 of 501 Document 80-5
 1           to go to a home by herself. Nobody asked me to do it.
 2           I just said, "hey, do you want to go? Let's get it.
 3           if we have overtime, if you can't do it, I will do it.
 4           It is okay to me."
 5                            MS. MC KENZIE:         Thank you.
 6                            MR. MC GAVER:          Just a follow-up to
 7           the commissioner's question.
 8           REDIRECT EXAMINATION BY MR. MC GAVER:
 9     Q     Very briefly, you understand there is a chain of command
10           in the Milwaukee Police Department. Correct?
11     A     Yes.
12     Q     You understand you are a link in that chain. Are you
13           with me?
14     A     Yes.
15     Q     If you are directed by a superior to do something in the
16           future in the event that this commission gives you your
17           job back, would there be problems doing that?
18     A     Not at all.
19                            MR. MC GAVER:          Thank you. Nothing
20           further.
21                            MR. PEDERSON:          Just a matter of
22           housekeeping. I will move the exhibits into evidence.
23           I believe it is 18 through 21.
24                            MR. KONRAD:            That is right.
25                            MR. MC GAVER:          No objection to any

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                               sueT@wi.rr.com
                                                                            471
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 472 of 501 Document 80-5
 1           of those.
 2                            MR. KONRAD:            Those will be
 3           admitted.
 4                            Anything further?
 5                            MR. MC GAVER:          No. We rest.
 6                            MR. PEDERSON:          No.
 7                            MR. KONRAD:            All right. Thank
 8           you. We will now deliberate in closed session in order
 9           to determine whether the good of the service requires
10           the appellant be discharged or otherwise disciplined.
11                            Do we have a motion to go into closed
12           session?
13                            MS. HEIN:              So move.
14                            MS. MC KENZIE:         Second.
15                            MR. KONRAD:            We have a motion and
16           second. Any objections? No objections heard, closed
17           session.
18           (Closed session deliberations)
19                            MR. KONRAD:            We are now back in
20           open session. The panel has concluded its deliberations
21           for Phase II. The members of the panel have decided
22           unanimously that the discipline of Detective Shannon
23           Lewandowski should be sustained in accordance chief's
24           order of discipline. To wit, the five-day suspension
25           for failure to use time to accomplish the mission.

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                               sueT@wi.rr.com
                                                                            472
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 473 of 501 Document 80-5
 1           30-day suspension for failure to driving a department
 2           vehicle in a safe manner and discharge for failure to
 3           be forthright and candid in an administrative inquiry
 4           report.
 5                            Please note the ten-day rule referenced
 6           in Fire and Police Commission Rule 16(10)(f) is being
 7           waived and a written decision will be provided as soon
 8           as practicable.
 9                            We stand adjourned at 3:05 p.m. Thank
10           you.
11           (WHEREUPON, THE PROCEEDINGS WERE ADJOURNED AT 3:05 P.M.)
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     SUSAN K. TAYLOR             262-553-1058             COURT REPORTER
                               sueT@wi.rr.com
                                                                            473
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 474 of 501 Document 80-5
 1          STATE OF WISCONSIN )
                               )
 2          COUNTY OF MILWAUKEE)
 3

 4                           I, SUSAN K. TAYLOR, do hereby certify
 5          that I am a stenographic reporter; that I was present at
 6          the hearing in the above entitled action, and that I
 7          recorded the same in shorthand; that the above and
 8          foregoing is a true, correct and exact copy, in
 9          longhand, of my shorthand notes taken at said hearing.
10

11                            Dated this          day of          2016
12

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17                                             SUSAN K. TAYLOR
18                                             Court Reporter
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                                                                           474
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 475 of 501 Document 80-5
            '              369:18, 369:24,            474:11                    406:17                    334:19, 335:11,
                           372:10, 390:19,           21 [6] - 390:16, 445:2,   35th [8] - 306:24,         335:23, 336:13,
'05 [1] - 464:24           440:22, 440:24,            445:4, 451:22,            307:2, 342:25,            360:22
'06 [1] - 464:24           441:5, 459:22,             454:24, 471:23            358:13, 359:8,
'14 [1] - 333:23           471:23                    22:57 [1] - 366:10         359:13, 430:16,                      6
'Show [1] - 406:19        18th [3] - 369:19,         2:00 [4] - 372:25,         432:2
                           369:21, 381:22             373:4, 373:23, 391:2     3600 [1] - 352:4          6 [3] - 443:5, 443:6,
                                                                                                          451:4
           0              19 [25] - 323:2,           2:07 [5] - 373:16,        3611 [9] - 404:20,
                           323:10, 323:15,            383:25, 384:1,            405:3, 405:25,           6:38 [12] - 332:24,
0013 [1] - 462:13          326:4, 331:25,             384:3, 384:4              406:17, 406:20,           334:13, 335:25,
0016 [3] - 452:21,         333:2, 333:22,            2:11 [4] - 323:15,         413:5, 413:9, 413:12      336:13, 336:15,
 452:25, 462:11            334:13, 340:8,             323:20, 325:5, 325:7     3614 [1] - 413:11          336:25, 341:3,
09 [1] - 416:23            347:1, 348:9,             2:17 [1] - 325:12         3616 [1] - 406:6           352:22, 361:2,
                           356:13, 359:25,           2:18 [1] - 434:4          36th [2] - 307:2,          378:23, 434:3,
                                                                                                          434:18
           1               360:22, 369:18,           2:20 [2] - 325:18,         358:14
                           369:25, 372:10,            406:16                   3:00 [3] - 370:15,
1-23-15 [1] - 450:8        390:20, 399:6,            2:23 [1] - 459:25          370:19, 372:25                       7
1.00 [1] - 462:12          416:24, 426:16,           2:25 [7] - 325:22,        3:05 [2] - 473:9,
1.03 [3] - 451:24,         427:22, 443:13,                                      473:11                   7 [1] - 384:11
                                                      326:7, 326:13,
 452:19, 462:12            443:15, 464:17             326:18, 326:23,                                    7:00 [2] - 370:5,
                          19th [5] - 306:11,                                                              370:14
1.05 [2] - 453:22,                                    328:3                               4
 463:17                    341:3, 356:23,            2:30 [9] - 405:2,
10 [2] - 331:4, 412:17     369:20, 381:22             405:19, 405:21,          414-405-4617 [1] -                    8
10-17 [1] - 412:19        1:00 [1] - 354:15           405:24, 406:17,           321:25
                          1:25 [2] - 439:10,                                   414-405-5138 [2] -        8 [1] - 403:3
10-23 [4] - 412:20,                                   407:21, 408:4,
                           439:13                                               321:23, 322:4            8:00 [3] - 369:19,
 412:24                                               408:7, 408:10
                          1:44 [4] - 373:6, 373:9,                             45 [6] - 294:4, 339:11,    370:4, 370:13
10-24 [1] - 412:19                                   2:31 [1] - 325:25
                           373:15, 383:23                                       340:4, 340:11,           8:30 [1] - 292:2
10:00 [1] - 372:25                                   2:32 [1] - 459:25
10:57 [1] - 366:10        1:55 [2] - 373:6,          2:45 [1] - 326:2           421:10, 435:4
11 [4] - 292:2, 314:18,    383:24                                              4:00 [5] - 369:19,                    9
 357:21, 358:5                                                  3               369:20, 370:13,
                                                                                                         9 [6] - 300:8, 305:19,
11:00 [3] - 370:5,                   2                                          370:17, 370:18
                                                                                                          306:19, 357:4,
 370:19, 372:25                                      3 [42] - 292:17,
                                                                                                          409:17, 436:10
12 [6] - 324:25, 332:4,   2 [3] - 366:10, 452:5,      295:21, 296:16,                     5              90 [1] - 389:5
 332:8, 333:1,             452:8                      297:12, 300:19,
                          20 [8] - 323:2, 324:25,                              5 [41] - 292:23, 293:8,   90's [1] - 464:21
 437:24, 438:7                                        317:5, 336:8, 336:9,
                           352:14, 393:4,                                       293:19, 293:23,          911 [1] - 321:11
12:00 [2] - 370:17,                                   366:10, 368:15,
                           408:7, 444:10,                                       293:24, 294:13,          9205 [3] - 381:23,
 370:18                                               368:20, 369:15,
                           444:12, 450:7              369:16, 369:24,           297:11, 297:13,           382:4, 382:6
12:30 [1] - 439:9
                          20-or-30-minute [1] -       370:7, 370:15,            297:25, 299:4,           9271 [2] - 366:10,
13 [1] - 334:12
                           433:16                     372:9, 373:3, 373:6,      299:18, 303:22,           366:12
14 [6] - 322:6, 322:11,
                          2000's [1] - 464:22         373:7, 373:21,            304:17, 305:9,           9288 [1] - 366:16
 322:14, 327:13,
 403:4, 437:20            2002 [4] - 461:14,          373:23, 374:3,            313:22, 314:12,
15 [10] - 365:25,          461:15, 461:21,            374:7, 374:13,            317:6, 321:1, 321:2,                A
                           462:2                      376:10, 376:16,           321:3, 337:9,
 366:2, 371:9,                                                                                           A-Self-Interest [1] -
                          2014 [7] - 314:12,          376:19, 377:24,           338:14, 340:13,
 373:13, 373:18,                                                                                          447:2
                           315:21, 375:17,            378:13, 383:21,           340:24, 344:14,
 382:6, 383:2,
                           384:17, 385:2,             383:22, 384:10,           344:15, 355:5,           a.m [48] - 292:2,
 394:10, 407:3,
                           449:25, 450:10             384:12, 384:13,           355:11, 355:12,           323:15, 323:20,
 437:19
                          2015 [18] - 305:20,         387:15, 406:10,           376:15, 380:15,           325:5, 325:12,
1573 [2] - 333:5,                                                                                         325:18, 325:22,
                           323:12, 331:25,            414:23, 470:22            415:24, 416:15,
 333:14                                                                                                   326:7, 326:13,
                           332:4, 332:9,             30 [6] - 309:19, 393:4,    417:24, 429:22,
16 [6] - 369:6, 369:9,                                                                                    326:18, 326:23,
                           333:25, 357:21,            435:4, 454:21,            430:14, 431:5,
 372:4, 372:13,                                                                                           328:3, 333:2,
                           358:5, 359:25,             454:25, 455:15            443:4, 470:1, 470:22
 437:19, 456:17                                                                                           333:22, 334:2,
                           360:22, 361:23,           30-day [1] - 473:1        5000 [1] - 365:8
16(10)(f [1] - 473:6                                                                                      334:13, 334:19,
                           369:25, 372:10,           3040 [1] - 352:3          51 [1] - 408:7
17 [5] - 404:3, 404:5,                                                                                    335:23, 335:25,
                           390:20, 399:6,            3214 [4] - 371:8,         53rd [1] - 336:5
 437:20, 468:5,                                                                                           336:14, 336:15,
                           409:17, 427:22,            371:13, 371:15,          5:20 [1] - 334:1
 468:10                                                                                                   336:25, 341:3,
                           449:24                     372:14                   5:24 [8] - 333:2,
17th [1] - 365:6                                                                                          352:22, 360:22,
                          2016 [2] - 292:2,          3482 [2] - 406:15,         333:22, 334:2,
18 [10] - 356:13,                                                                                         361:2, 369:19,

   SUSAN K. TAYLOR                                     262-553-1058                               COURT REPORTER
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                                                                                                                                  1
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 476 of 501 Document 80-5
 370:4, 370:5,             436:25, 437:12,            408:4, 408:16,            447:19, 447:20,           ambulance [1] - 392:1
 370:14, 370:15,           447:23, 449:11,            416:4, 428:19             447:24, 448:1,            ambulances [1] -
 373:4, 373:6, 373:9,      453:15, 453:21,           Adam [6] - 304:22,         448:9, 448:12,             391:17
 373:15, 373:17,           455:11, 455:21,            304:24, 312:20,           448:14, 448:15,           amount [8] - 447:22,
 373:23, 378:23,           455:25, 460:25,            338:5, 338:22, 436:9      449:21, 449:22,            448:6, 448:14,
 383:25, 384:1,            461:5                     ADAM [1] - 400:6           453:17, 455:21             448:18, 451:15,
 391:2, 405:2,            accidentally [2] -         add [2] - 466:19,         ago [2] - 317:12,           454:9, 454:14, 456:3
 405:19, 405:21,           300:17, 301:4              468:15                    398:25                    amounts [1] - 456:15
 406:17, 408:7            accidents [1] - 419:3      added [1] - 403:18        agree [38] - 294:17,       ample [2] - 427:17,
ability [2] - 294:2,      accomplish [2] -           additional [3] - 402:5,    294:23, 298:5,             435:11
 457:16                    451:8, 472:25              458:4, 461:14             299:24, 302:11,           analyzed [1] - 427:6
able [15] - 294:22,       accordance [1] -           additionally [1] -         303:14, 304:1,            Angela [1] - 292:8
 318:12, 336:11,           472:23                     470:16                    304:10, 304:14,           angry [2] - 436:20,
 351:13, 366:2,           according [11] -           address [14] - 314:15,     305:3, 305:6, 308:2,       436:23
 395:21, 395:22,           303:10, 313:5,             352:3, 386:2, 406:4,      308:18, 308:23,           ankle [1] - 397:20
 398:11, 409:7,            328:3, 372:21,             406:6, 406:8,             308:24, 310:24,           Ann [1] - 292:8
 409:8, 422:12,            416:23, 418:14,            407:20, 410:19,           311:6, 311:12,            announce [1] - 429:16
 450:3, 462:5,             444:3, 447:11,             410:21, 413:6,            312:8, 312:11,            answer [19] - 302:17,
 465:10, 465:12            461:11, 461:13,            413:8, 413:10,            312:16, 315:25,            302:20, 305:16,
absolutely [7] - 313:1,    462:1                      413:14, 453:21            327:18, 328:1,             306:7, 324:11,
 320:16, 339:12,          account [2] - 303:9,       addressed [1] -            333:15, 334:7,             329:24, 334:10,
 340:19, 342:1,            459:4                      303:13                    339:16, 343:12,            341:17, 343:22,
 412:2, 417:3             accountable [5] -          addressing [1] -           343:17, 343:25,            345:1, 345:5,
abutted [1] - 393:2        304:19, 313:7,             338:13                    345:9, 346:23,             345:20, 346:14,
acceptance [1] -           459:5, 459:8, 459:11      adequately [1] -           351:5, 352:6,              392:12, 415:16,
 469:3                    accurate [12] - 299:11,     308:10                    366:25, 418:16,            423:16, 426:10,
accepted [2] - 294:15,     310:9, 327:6, 327:7,      adjourned [1] - 473:9      468:4, 468:13              432:7, 453:2
 299:17                    368:10, 370:24,           ADJOURNED [1] -           agreed [4] - 294:16,       answered [10] -
access [1] - 393:3         373:2, 375:18,             473:11                    299:18, 299:21,            317:22, 328:4,
acci [1] - 397:13          435:1, 441:22,            administration [3] -       429:23                     328:12, 328:18,
accident [74] - 310:13,    455:9, 465:19              351:3, 425:7, 458:19     ahead [10] - 304:2,         334:5, 339:7,
 310:20, 311:9,           accurately [3] - 410:8,    administrative [2] -       307:15, 315:10,            344:21, 355:24,
 311:14, 315:18,           419:22, 426:15             456:24, 473:3             318:15, 337:6,             360:16, 426:10
 315:22, 319:21,          accusa [1] - 318:4         administrator [1] -        348:18, 362:2,            answering [5] - 341:6,
 320:12, 320:13,          accusation [1] -            442:6                     363:4, 396:8, 467:14       341:7, 345:18,
 321:9, 323:23,            315:10                    admission [1] - 322:8     ahold [3] - 336:15,         415:12, 451:7
 327:17, 328:6,           accusations [2] -          admit [4] - 416:18,        431:17, 432:9             answers [3] - 345:22,
 330:14, 334:23,           425:24, 436:21             435:4, 435:7, 436:21     aid [1] - 431:9             346:1, 431:18
 335:7, 335:10,           accuse [2] - 420:3,        admits [1] - 416:10       aided [1] - 404:11         ant [2] - 394:3, 394:12
 335:15, 337:8,            427:15                    admitted [2] - 360:2,     aiming [1] - 448:22        anyway [3] - 298:4,
 338:10, 342:14,          accused [1] - 423:4         472:3                    AIMS [1] - 361:14           470:2, 470:14
 342:21, 343:9,           acknowledged [2] -         advise [1] - 375:12       air [3] - 310:2, 310:4,    apart [1] - 392:24
 346:15, 348:3,            401:11, 425:20            advised [2] - 328:5,       330:8                     apologize [2] -
 350:8, 350:11,           acknowledgement [1]         416:10                   alert [2] - 342:6, 342:7    344:22, 468:11
 350:14, 353:3,            - 469:4                   ae [1] - 366:2            allegation [2] - 316:2,    apparent [1] - 361:13
 361:5, 361:9,            acknowledging [1] -                                   376:1                     Appeal [1] - 292:4
                                                     Affairs [8] - 375:24,
 378:23, 379:4,            302:14                                              allegations [1] -          appear [6] - 366:17,
                                                      375:25, 387:24,
 379:5, 379:18,           acquainted [1] -                                      401:22                     367:6, 367:13,
                                                      396:14, 396:17,
 390:25, 391:9,            464:18                                              alleged [3] - 314:10,       374:5, 386:13,
                                                      400:15, 444:7,
 396:21, 397:1,           act [3] - 448:23, 449:2,                              375:5, 465:4               450:19
                                                      444:24
 397:2, 404:23,            455:20                                              Allen [5] - 295:17,
                                                     affect [1] - 318:14                                  appearance [1] -
 405:21, 406:16,          acting [3] - 364:6,                                   371:8, 371:14,
                                                     affecting [1] - 418:1                                 329:11
 407:22, 408:1,            380:25, 455:19                                       372:12, 383:20
                                                     afraid [1] - 470:16                                  appeared [2] - 329:16,
 408:15, 408:17,          action [2] - 307:20,                                 allows [1] - 310:6
                                                     agencies [1] - 319:23                                 329:19
 422:1, 423:20,            474:6                                               almost [2] - 356:4,
                                                     aggravat [1] - 449:17                                appellant [1] - 472:10
 430:20, 430:24,          actions [4] - 319:5,                                  385:13
                                                     aggravated [4] -                                     applicable [2] -
 431:4, 431:6,             459:5, 459:8, 459:12                                alone [1] - 389:7
                                                      449:4, 449:5,                                        442:25, 447:10
 431:21, 433:8,                                                                ambiguous [4] -
                          activated [1] - 435:12      453:12, 454:22                                      appointed [1] - 424:23
 434:4, 434:5, 434:9,                                                           315:4, 317:17,
                          active [1] - 377:7         aggravating [14] -                                   appreciate [1] -
 434:21, 436:7,                                                                 317:20, 320:9
                          actual [5] - 407:8,         447:4, 447:6,                                        298:13

   SUSAN K. TAYLOR                                     262-553-1058                               COURT REPORTER
                                                     sueT@wi.rr.com
                                                                                                                                    2
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 477 of 501 Document 80-5
approach [1] - 374:24     305:2, 313:5,            attorney's [2] - 462:24   basic [2] - 298:19,       339:17, 448:19,
approached [2] -          353:18, 354:21,          Attorney's [1] - 462:25    299:2                    460:2, 470:19
 375:21, 391:14           361:6, 376:17,           attribute [1] - 422:18    Bates [2] - 452:21,      between [15] - 307:2,
approaching [4] -         376:19, 376:20,          attributed [3] -           462:13                   327:16, 336:13,
 306:24, 307:10,          377:10, 377:13,           346:24, 420:17,          bear [2] - 299:24,        343:13, 344:1,
 307:24, 358:13           377:14, 377:17,           421:6                     339:24                   348:3, 361:13,
appropriate [4] -         377:21, 377:23,          attributes [2] - 410:5,   Beasley [30] - 297:15,    373:3, 389:14,
 439:24, 451:15,          378:14, 378:15,           434:17                    313:22, 314:11,          392:22, 406:7,
 454:10, 457:2            378:16, 384:7,           attributing [1] - 410:6    314:17, 316:1,           415:4, 425:3,
approxi [1] - 309:17      387:14, 404:21,          August [2] - 292:2,        340:14, 375:4,           455:15, 455:24
approximate [1] -         407:13, 414:25,           348:6                     375:10, 376:3,          beyond [1] - 402:4
 328:25                   451:18                   authority [1] - 468:25     380:9, 380:16,          bias [1] - 318:14
April [9] - 303:12,      assignments [5] -         authorized [1] -           384:16, 385:9,          bicycle [2] - 307:8,
 332:1, 339:1,            299:4, 302:3,             455:20                    385:14, 385:16,          458:14
 339:20, 340:2,           310:25, 369:24,          auto [1] - 311:8           416:1, 424:3,           big [6] - 317:8, 317:11,
 347:11, 348:5,           399:24                   autonomy [2] -             424:12, 424:14,          388:13, 394:8,
 361:20, 361:23          assist [13] - 297:14,      376:25, 377:3             424:24, 425:10,          413:2, 422:3
area [5] - 340:16,        298:2, 298:6, 298:8,     available [5] - 314:5,     427:24, 428:2,          biggest [1] - 420:19
 351:24, 355:25,          298:16, 298:18,           354:20, 378:14,           428:4, 428:9,           bility [1] - 420:14
 356:3, 405:14            299:2, 303:2, 389:3,      436:10, 455:1             428:23, 429:3,          bill [4] - 322:19,
argue [1] - 302:19        389:9, 416:15,           AVE [1] - 406:20           429:22                   322:20, 327:7
arguing [1] - 453:2       428:4, 429:19            Avenue [7] - 306:24,      Beasley's [3] - 318:4,   bit [4] - 308:11, 401:6,
argument [2] - 385:24,   assistance [6] -           342:13, 404:21,           375:13, 428:12           410:2, 411:2
 386:3                    294:15, 299:12,           405:3, 406:1,            became [4] - 347:6,      black [7] - 295:1,
arrange [1] - 348:23      299:17, 300:3,            406:18, 408:18            364:14, 384:15,          295:20, 329:5,
arrival [2] - 411:11,     428:5, 428:19            avoid [1] - 430:19         464:23                   330:10, 372:11,
 411:12                  Assistant [3] - 440:2,    aware [19] - 300:25,      become [2] - 300:25,      432:19
arrive [3] - 393:6,       441:3, 442:3              303:20, 316:4,            383:18                  blame [1] - 459:8
 411:5, 412:21           assistant [3] - 440:16,    330:24, 334:4,           becomes [1] - 425:7      blank [1] - 422:9
arrived [9] - 328:25,     457:24, 459:20            344:15, 347:6,           becoming [1] - 391:4     blew [1] - 330:8
 391:13, 392:14,         associated [1] - 462:7     350:7, 350:12,           beep [1] - 309:9         block [8] - 309:6,
 393:13, 393:15,         assume [5] - 316:24,       384:15, 391:4,           beeped [1] - 359:2        352:4, 359:20,
 393:17, 402:15,          333:13, 374:11,           401:2, 422:10,           beforehand [1] -          406:5, 415:13,
 412:4, 413:4             416:9, 437:24             425:24, 440:10,           321:18                   435:16, 435:17
arriving [1] - 384:2     assumed [1] - 379:4        446:13, 448:11,          begin [2] - 292:11,      blocking [1] - 307:22
aside [1] - 395:19       assuming [2] - 302:2,      451:2, 462:1              292:16                  blocks [5] - 336:10,
aspect [2] - 356:17,      399:25                                             beginning [6] - 365:1,    352:2, 352:5, 352:6,
                         AT [1] - 473:11
 457:21                                                      B                403:12, 406:11,          410:24
assault [12] - 314:10,   attached [1] - 310:3                                 414:8, 420:11,          bloodwork [1] -
 315:17, 317:8,          attaches [1] - 404:11     B-o-y-a-c-k [1] -          421:20                   350:25
 317:11, 375:6,          attempt [2] - 293:13,      464:13                   behalf [2] - 375:13,     blow [2] - 416:23,
 376:1, 388:11,           429:16                   babbling [1] - 311:24      468:11                   424:19
 423:5, 424:14,          attempted [1] - 305:7     background [1] -          behavior [1] - 449:24    blows [1] - 431:14
 424:19, 428:10,         attempts [1] - 357:24      430:8                    behind [3] - 395:20,     blurp [3] - 307:15,
 469:14                  atten [1] - 300:9         bad [5] - 424:25,          419:1, 430:19            342:10, 359:5
assaulted [5] -          attend [3] - 415:24,       466:11, 466:21,          belief [3] - 343:8,      board [1] - 467:10
 313:24, 314:8,           416:5, 440:10             467:1, 468:11             414:11, 416:13          body [2] - 329:23,
 314:20, 387:22,         attending [1] - 350:4     badge [1] - 398:5         believes [2] - 421:24,    362:13
 469:17                  attention [19] - 323:2,   bag [1] - 330:8            436:24                  bodyguard [1] -
assessment [1] -          323:14, 324:25,          based [21] - 298:14,      belt [2] - 310:12,        424:24
 377:14                   325:4, 325:17,            312:6, 315:1, 328:1,      335:18                  bona [1] - 296:5
assign [1] - 414:21       326:6, 331:10,            329:21, 351:13,          belts [1] - 454:3        bonds [1] - 425:3
assigned [10] - 302:5,    332:21, 363:18,           373:22, 378:24,          benefit [5] - 303:8,     book [1] - 343:21
 302:9, 372:9,            403:4, 406:10,            409:2, 414:12,            308:1, 417:9,           border [1] - 336:3
 381:21, 386:23,          414:6, 427:13,            416:9, 416:16,            418:11, 437:7           bothers [1] - 345:20
 387:1, 387:2,            451:20, 451:23,           416:17, 441:17,          best [7] - 302:18,       bottom [3] - 333:2,
 390:22, 404:22,          451:25, 454:23,           447:6, 447:22,            370:24, 414:7,           452:14, 452:17
 411:18                   456:20, 459:22            448:14, 451:16,           423:18, 436:22,         Boulevard [1] - 336:5
assignment [28] -        attorney [3] - 302:19,     457:9, 459:6, 466:3       456:5, 465:18           boundaries [1] -
 298:24, 299:19,          315:25, 383:6            bases [1] - 427:9         better [5] - 292:19,      384:10

   SUSAN K. TAYLOR                                   262-553-1058                              COURT REPORTER
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                                                                                                                                 3
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 478 of 501 Document 80-5
box [3] - 441:19,         467:20, 471:8           carianne [1] - 440:14    460:7, 460:10,            386:24, 387:8,
 442:1, 447:8                                     Carr [66] - 292:16,      460:14, 460:21,           420:5, 422:7
Boyack [2] - 464:3,                C               293:2, 294:18,          461:1, 461:24,           changed [4] - 383:13,
 464:12                                            295:2, 296:21,          465:19, 465:20,           383:16, 387:2,
BOYACK [1] - 464:4       C-a-r-i-a-n-n-e [1] -     297:2, 297:6,           465:22, 466:21            406:17
brace [3] - 431:24,       440:14                   300:19, 300:21,        case-by-case [1] -        changes [4] - 387:4,
 432:11, 432:12          C-h-a-d [1] - 464:12      303:20, 304:15,         409:2                     419:14, 420:8,
brake [4] - 307:9,       cabs [1] - 391:24         304:25, 305:4,         caseload [3] - 299:6,      421:16
 307:18, 342:5,          CAD [22] - 366:4,         305:7, 305:10,          301:25, 377:11           changing [2] - 404:20,
 358:21                   366:17, 367:6,           305:22, 338:14,        cases [3] - 460:5,         420:1
brakes [1] - 430:23       371:8, 374:6,            350:3, 353:24,          462:22, 469:25           channel [1] - 367:17
break [1] - 352:13        382:11, 383:11,          354:7, 354:25,         casual [2] - 395:5,       chaos [8] - 418:24,
breaking [1] - 446:23     383:17, 386:14,          355:2, 355:19,          397:12                    431:10, 431:12,
Breathalyzer [1] -        386:24, 404:12,          356:22, 357:11,        casually [1] - 394:24      432:1, 432:3, 432:4,
 431:14                   406:11, 406:15,          357:16, 357:24,        catch [1] - 342:20         435:21, 436:1
brief [3] - 382:24,       407:3, 407:4, 407:7,     365:22, 366:20,        cate [1] - 446:23         character [1] - 459:13
 387:20, 460:8            407:10, 407:13,          367:1, 373:24,         category [3] - 444:3,     characterization [1] -
briefed [7] - 378:16,     408:4, 408:9,            377:16, 377:20,         446:2, 448:22             458:18
 382:21, 383:1,           408:16, 411:11           377:22, 378:7,         cation [1] - 347:14       characterize [1] -
 393:9, 393:21,          calculated [2] -          378:9, 378:15,         caught [2] - 422:22,       376:4
 398:19, 401:6            307:24, 309:12           379:3, 382:10,          458:1                    charge [24] - 381:18,
briefly [1] - 471:9      camera [1] - 343:3        382:18, 382:23,        causes [4] - 435:21,       414:15, 419:12,
bright [1] - 358:24      cameras [1] - 342:25      383:1, 383:22,          435:23, 436:2, 447:3      419:17, 419:24,
brought [2] - 360:5,     candid [3] - 456:23,      386:7, 386:22,         causing [1] - 350:24       420:10, 442:20,
 407:17                   465:16, 473:3            387:15, 389:8,         caution [1] - 436:3        443:10, 443:21,
Brown [1] - 433:13       cannot [2] - 335:1,       389:15, 389:19,        cautionary [2] - 307:7,    451:3, 451:12,
                          452:7                    391:12, 392:9,          307:13                    451:14, 453:21,
bruised [1] - 397:20
                         capacity [2] - 298:21,    414:18, 414:24,        cautious [2] - 308:19,     453:23, 454:10,
bruising [1] - 330:7
                          298:22                   415:5, 415:20,          308:25                    454:12, 456:21,
bureau [11] - 367:22,
                         Captain [1] - 442:5       421:22, 428:25,                                   457:6, 462:3, 462:4,
 374:16, 376:14,                                                          caveat [1] - 429:19
                         captain [1] - 460:21      429:5, 429:13,                                    462:8, 462:21
 386:20, 387:3,                                                           CCW [2] - 301:4,
                         car [39] - 306:23,        429:14, 429:18,                                  charged [4] - 419:8,
 387:7, 387:8,                                                             355:15
                          307:5, 307:8,            429:20, 429:23,                                   436:17, 437:11,
 387:10, 387:12,                                                          cell [11] - 322:24,
                          309:10, 309:16,          430:13, 431:9                                     441:17
 394:23, 399:21                                                            322:25, 333:8,
                          321:11, 330:14,         Carr's [7] - 304:20,                              Charges [5] - 337:22,
business [11] - 293:8,                                                     333:10, 334:14,
                          342:4, 342:11,           366:14, 368:6,                                    442:25, 443:8,
 294:13, 297:16,                                                           359:12, 394:15,
                          353:2, 353:4, 353:6,     377:14, 380:5,                                    445:15, 459:6
 301:24, 302:3,                                                            402:16, 432:6,
                          353:10, 358:20,          429:1, 431:8                                     charges [11] - 316:5,
 376:4, 429:21,                                                            434:13, 466:7
                          358:25, 359:1,          carrier [1] - 355:15                               350:20, 350:24,
 432:17, 432:20,                                                          center [2] - 408:6,
                          359:11, 359:12,         carry [3] - 370:20,                                357:4, 383:6, 420:1,
 432:23, 449:9                                                             431:7
                          362:16, 382:18,          415:19, 429:6                                     437:14, 439:20,
busy [3] - 299:5,                                                         Central [4] - 299:3,
                          415:11, 429:24,         carrying [1] - 419:17                              445:19, 457:3,
 389:4, 427:16                                                             365:4, 365:5, 365:6
                          430:13, 430:16,         cars [2] - 341:24,                                 467:22
buttons [1] - 413:2                                                       certain [4] - 338:8,
                          430:17, 430:18,          421:9                                            chased [1] - 364:7
BY [36] - 292:15,                                                          357:3, 402:3, 417:3
                          430:23, 431:3,          Case [1] - 444:4                                  check [1] - 355:6
 306:21, 315:16,                                                          certification [1] -
 317:4, 318:1,            431:10, 431:13,         case [44] - 296:2,       454:5                    checked [3] - 342:25,
 318:16, 319:13,          431:21, 433:21,          302:1, 316:1, 316:5,                              391:17, 392:16
                                                                          certify [1] - 474:4
 322:12, 328:21,          434:21, 435:18,          351:4, 355:14,                                   checking [1] - 316:25
                                                                          cetera [4] - 324:20,
 334:3, 341:20,           447:23, 447:25,          363:16, 368:17,                                  chest [1] - 330:8
                                                                           338:15, 421:10
 345:8, 346:22,           454:15, 455:23           368:21, 377:5,                                   chief [14] - 420:4,
                                                                          Chad [3] - 464:3,
 348:7, 349:20,          card [3] - 432:17,        378:17, 383:5,                                    440:1, 440:8,
                                                                           464:12, 470:16
 356:10, 363:14,          432:20, 432:23           387:20, 388:8,                                    442:12, 443:14,
                                                                          CHAD [1] - 464:4
 367:23, 369:7,          care [4] - 335:9,         396:15, 401:6,                                    454:9, 454:11,
                                                                          chain [4] - 381:2,
 370:21, 371:21,          346:14, 385:5, 385:6     409:2, 418:15,                                    457:24, 459:3,
                                                                           468:25, 471:9,
 381:5, 382:3, 386:6,    career [4] - 295:10,      432:16, 434:25,                                   460:18, 460:22,
                                                                           471:12
 387:13, 388:19,          422:20, 422:22           441:13, 442:9,                                    461:17, 461:18,
                                                                          Chambers [1] - 365:8
 390:9, 396:9,           careful [4] - 346:18,     442:21, 442:24,                                   463:25
                                                                          chance [1] - 327:3
 400:10, 402:24,          393:10, 435:23,          444:6, 444:15,                                   Chief [6] - 440:2,
                                                                          change [9] - 346:12,
 409:13, 440:12,          436:2                    445:6, 450:6, 457:9,                              440:16, 441:3,
                                                                           371:23, 383:9,
 459:19, 464:9,          CARIANNE [1] - 440:3      459:5, 459:9, 460:4,                              441:22, 442:3,
                                                                           386:16, 386:19,

   SUSAN K. TAYLOR                                  262-553-1058                            COURT REPORTER
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                                                                                                                             4
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 479 of 501 Document 80-5
 459:20                   380:20, 380:21,          415:18                  completed [1] -           417:19, 423:2
chief's [13] - 414:8,     384:8, 384:11,          comments [1] - 458:4      446:14                  connected [4] -
 414:11, 415:22,          385:15, 385:17,         commission [1] -         completely [4] -          423:24, 424:3,
 416:12, 417:22,          411:4, 417:4,            471:16                   344:3, 419:25,           424:11, 434:2
 417:23, 418:2,           434:14, 434:16          Commission [4] -          422:17, 426:3           connecting [1] - 408:9
 424:9, 440:19,          cleared [3] - 373:16,     292:7, 439:19,          completly [1] - 420:1    connection [4] -
 441:12, 451:11,          431:3, 435:14            465:5, 473:6            complicated [1] -         396:10, 396:15,
 457:2, 472:23           clearing [5] - 383:25,   commissioner [1] -        424:8                    409:14, 456:23
Chiefs [1] - 442:4        384:1, 384:4, 384:7,     424:2                   comply [1] - 454:2       consent [5] - 368:22,
chirp [1] - 359:5         411:2                   commissioner's [1] -     component [1] - 365:2     369:2, 378:17,
choice [1] - 411:17      clearly [6] - 417:24,     471:7                   comps [2] - 455:1,        378:19, 414:22
Chris [1] - 375:24        418:16, 421:11,         commissioners [9] -       462:17                  consequence [1] -
church [1] - 343:3        426:14, 435:8            292:7, 352:19,          computer [7] - 314:14,    448:25
cially [1] - 312:13      clears [1] - 431:24       376:23, 396:6,           314:15, 404:11,         consequences [3] -
cipant [1] - 382:17      click [1] - 407:11        407:1, 414:6,            404:19, 404:25,          345:15, 457:22,
circled [2] - 446:15,    close [2] - 307:12,       438:24, 463:22,          408:6, 413:1             459:12
 446:17                   392:11                   467:6                   computer-aided [1] -     consider [1] - 453:6
circling [1] - 446:1     Closed [2] - 439:14,     Commissioners [1] -       404:11                  consideration [4] -
circumstance [1] -        472:18                   292:8                   con [2] - 426:24,         420:25, 447:13,
 324:21                  closed [15] - 383:5,     committed [1] -           449:20                   448:6, 449:14
circumstances [12] -      395:16, 395:19,          419:15                  concealed [1] - 429:6    considerations [1] -
 338:23, 350:2,           396:2, 438:14,          common [7] - 373:10,     concern [4] - 324:14,     449:12
 350:5, 374:15,           438:21, 438:23,          389:2, 389:7,            324:23, 380:18,         considered [10] -
 374:16, 411:13,          438:24, 439:2,           392:25, 412:1,           470:2                    443:10, 446:12,
 447:19, 447:24,          439:8, 450:7,            418:22, 423:15          concerned [3] -           446:21, 447:3,
 448:1, 451:19,           467:10, 472:8,          communicate [2] -         324:20, 359:15,          447:18, 449:4,
 454:15, 466:25           472:11, 472:16           293:2, 371:18            363:19                   450:20, 450:24,
circumstantial [3] -     closer [1] - 339:17      communication [1] -      concerning [3] -          453:6, 459:10
 416:17, 417:18,         closing [5] - 385:24,     393:18                   297:16, 324:15,         considers [1] - 458:21
 427:8                    386:3, 395:15,          communications [2] -      350:13                  consistent [7] -
citizen [3] - 457:19,     414:2, 414:4             408:6, 412:23           concerns [6] - 297:17,    328:15, 418:3,
 469:16, 469:19          cloth [1] - 422:18       community [4] -           324:17, 427:25,          420:2, 426:4, 426:7,
citizens [3] - 431:9,    clothing [1] - 398:6      451:6, 468:6, 468:7,     428:1, 432:15, 446:9     427:5, 447:15
 454:14, 457:23          co [1] - 294:15           470:19                  concise [1] - 465:19     console [2] - 321:1,
City [1] - 464:15        co-worker [1] - 294:15   comparable [3] -         concluded [2] -           431:7
city [4] - 427:25,       coat [2] - 399:20,        451:19, 453:6,           436:17, 472:20          conspiracies [2] -
 432:16, 435:20,          399:23                   462:20                  conclusion [2] -          423:9, 423:10
 462:24                  coats [1] - 399:24       comparables [12] -        423:15, 427:1           conspiracy [7] -
city's [1] - 428:15      Code [1] - 444:24         442:22, 444:23,         concussion [2] -          315:10, 318:3,
civilian [3] - 358:15,   code [2] - 412:17,        445:5, 450:23,           434:8, 434:22            423:14, 423:22,
 358:16, 359:1            412:21                   451:16, 451:20,         Conduct [1] - 444:24      424:11, 425:9, 426:1
civilians [1] - 456:4    Cody [3] - 416:18,        454:23, 458:6,          conduct [3] - 335:6,     constitutes [1] - 420:9
claim [1] - 423:11        416:19, 432:18           458:7, 462:4, 462:5,     396:12, 429:15          construction [1] -
claims [2] - 425:13,     coherency [1] - 362:9     463:11                  conducted [1] -           435:13
 425:14                  cold [2] - 399:7,        Comparables [1] -         416:22                  contact [12] - 318:24,
clarifi [1] - 347:13      399:14                   444:20                  conducting [1] -          319:22, 320:20,
clarification [2] -      college [1] - 356:5      comparison [1] -          400:17                   324:18, 360:5,
 316:7, 376:7            collision [1] - 309:18    454:25                  conference [2] -          360:8, 360:10,
clarify [7] - 309:20,    collude [1] - 421:21     Competence [2] -          352:22, 361:16           374:9, 377:22,
 316:10, 326:19,         collusory [1] - 414:19    451:4, 462:12           confidence [1] -          396:24, 401:1, 466:6
 330:17, 332:10,         color [1] - 400:1        competent [1] -           457:25                  contacted [4] - 373:9,
 355:1, 388:14           Com [1] - 414:15          329:24                  confident [1] - 368:17    373:15, 400:24,
clarity [2] - 367:10,    combined [1] - 456:17    complaining [2] -        confirming [1] -          401:3
 407:2                   coming [8] - 305:12,      315:21, 356:21           299:25                  contacting [1] -
clean [1] - 350:18        307:5, 307:11,          Complaint [1] -          confused [3] - 305:15,    400:18
clean-up [1] - 350:18     307:21, 343:1,           453:23                   355:1, 385:19           contained [2] - 338:7,
clear [17] - 296:24,      343:4, 359:13, 431:9    complaint [4] - 413:6,   confusing [1] - 383:18    414:15
 315:9, 315:17,          command [3] - 381:2,      413:7, 413:11,          confusion [2] -          contains [2] - 325:1,
 339:23, 357:14,          468:25, 471:9            413:14                   367:16, 385:13           357:23
 361:12, 370:4,          commands [1] -           complaints [1] - 444:8   conjunction [2] -        content [1] - 383:13

   SUSAN K. TAYLOR                                  262-553-1058                            COURT REPORTER
                                                  sueT@wi.rr.com
                                                                                                                              5
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 480 of 501 Document 80-5
context [2] - 315:8,       300:12, 316:2,          442:23                     448:7, 454:14            deliberately [1] -
 455:4                     316:5, 319:12,         Cover [1] - 445:7          dangerous [1] -            368:19
continuation [1] -         320:6, 320:22,         cover-up [2] - 421:12,      432:25                   deliberation [4] -
 292:3                     320:25, 322:20,         421:15                    date [6] - 315:19,         385:15, 386:1,
continue [7] - 314:25,     323:8, 323:18,         covered [1] - 459:1         315:22, 323:9,            439:16, 439:18
 315:6, 353:20,            323:22, 325:1,         covering [1] - 301:20       333:20, 369:17,          deliberations [5] -
 363:7, 429:21,            325:14, 325:21,        coworker [1] - 300:2        440:25                    438:14, 439:9,
 465:9, 469:17             326:21, 330:18,        create [2] - 309:2,        dated [2] - 357:21,        439:14, 472:18,
continuing [1] - 401:7     330:19, 331:7,          436:1                      409:17                    472:20
contort [1] - 421:16       334:11, 334:16,        created [1] - 344:6        Dated [1] - 474:11        demonstrate [1] -
contradict [2] - 405:6,    343:6, 345:11,         creates [1] - 419:2        dating [2] - 385:1,        433:10
 405:9                     357:21, 357:22,        creating [1] - 350:8        385:5                    demotion [1] - 462:20
contradicted [1] -         357:25, 358:2,         credence [1] - 417:20      days [13] - 329:9,        Denise [1] - 433:12
 425:17                    358:9, 359:5,          credi [1] - 420:13          335:6, 348:3, 440:9,     dent [1] - 397:14
contradicts [1] - 426:3    361:24, 368:16,        credibility [7] -           452:11, 454:21,          depart [3] - 335:5,
contrary [4] - 340:25,     369:22, 372:15,         318:11, 318:12,            454:25, 455:11,           397:9, 458:15
 419:7, 419:10, 431:2      381:12, 381:13,         346:12, 420:20,            455:13, 455:15,          department [43] -
contrasts [2] - 343:13,    388:15, 388:21,         421:1, 424:2, 428:3        461:14, 468:9             314:9, 314:21,
 344:1                     388:23, 396:22,        credible [1] - 416:16      dead [1] - 432:5           358:4, 364:21,
control [1] - 409:8        401:24, 403:13,                                   deal [7] - 317:8,          376:13, 379:5,
                                                  credibly [1] - 427:15
convene [1] - 439:9        403:14, 405:12,                                    317:11, 340:24,           387:21, 387:22,
                                                  cried [1] - 347:20
conver [2] - 368:14,       405:19, 407:18,                                    419:11, 425:6,            390:15, 400:18,
                                                  crime [9] - 298:11,
 433:16                    412:8, 423:18,                                     429:7, 437:1              402:7, 402:12,
                                                   309:6, 311:25,
                           440:19, 445:8,                                    dealing [2] - 431:11,      418:1, 419:18,
conversation [27] -                                312:3, 312:5,
                           446:22, 447:11,                                    431:12                    422:6, 423:23,
 294:6, 297:7, 324:4,                              381:16, 387:25,
                           450:25, 456:8,                                    Deb [3] - 321:12,          425:1, 425:4, 435:5,
 324:9, 335:12,                                    421:13, 465:14
                           456:10, 456:11,                                    327:23, 362:15            435:9, 436:24,
 335:13, 340:1,                                   critical [1] - 417:21
                           467:23, 471:10,                                   Debra [1] - 405:4          448:17, 449:9,
 348:8, 355:16,                                   cross [11] - 292:11,
                           474:8                                             deceased [1] - 311:4       449:19, 449:24,
 360:17, 361:13,                                   299:1, 352:11,
 376:5, 378:22,           correctly [10] -                                   decide [4] - 353:19,       450:1, 451:5, 451:8,
                                                   356:12, 357:2,
 379:14, 389:14,           300:23, 307:4,                                     377:3, 385:17,            456:22, 457:4,
                                                   357:13, 359:24,
 389:17, 389:18,           310:18, 331:17,                                    426:20                    457:11, 457:15,
                                                   396:4, 459:17,
 396:25, 419:18,           337:17, 403:19,                                   decided [3] - 299:12,      457:25, 458:12,
                                                   467:4, 468:18
 420:22, 428:22,           406:21, 445:15,                                    316:4, 472:21             458:17, 460:16,
                                                  CROSS [5] - 292:15,
 429:21, 433:15,           454:7, 456:25                                                                461:8, 462:19,
                                                   381:5, 396:9,             decides [1] - 415:23
 433:19, 434:24,          correlating [2] -                                                             462:23, 463:3,
                                                   409:13, 459:19            decision [15] - 299:16,
 435:3, 436:6              368:4, 450:4                                                                 463:12, 469:6, 473:1
                                                  cross-examination           353:21, 401:6,
conversations [5] -       correspond [2] -                                                             Department [17] -
                                                   [3] - 292:11, 356:12,      416:13, 420:15,
 376:3, 379:11,            325:5, 406:2                                       420:19, 421:1,            352:8, 364:17,
                                                   359:24
 409:21, 430:7,           corresponds [1] -                                   451:11, 455:16,           390:14, 391:1,
                                                  CROSS-
 434:10                    407:11                                             457:2, 460:17,            410:18, 410:19,
                                                   EXAMINATION [5] -
convey [1] - 392:19       corridor [1] - 392:25                               468:4, 468:12,            410:24, 413:7,
                                                   292:15, 381:5,
convince [1] - 470:7      counsel [4] - 306:14,                               468:13, 473:7             416:20, 431:20,
                                                   396:9, 409:13,
convinced [1] - 469:1      428:7, 438:15,                                    decisions [4] -            433:5, 440:17,
                                                   459:19
cooperation [1] -          439:17                                             353:14, 414:13,           453:25, 465:10,
                                                  crystal [1] - 417:4
 383:8                    counts [1] - 469:18                                 442:12, 457:16            465:11, 468:1,
                                                  culpability [2] - 470:8,
cop [4] - 427:16,         COUNTY [1] - 474:2                                 dedicated [1] - 468:5      471:10
                                                   470:10
 427:21, 464:21,          couple [5] - 297:14,                               deduce [1] - 320:19       department's [1] -
                                                  curious [1] - 324:21
 465:25                    369:3, 421:19,                                    deduced [1] - 420:5        400:19
                                                  current [1] - 393:22
Copeland [4] - 451:25,     427:25, 432:15                                    deemed [1] - 451:15       depicting [1] - 343:9
                                                  curtain [2] - 395:13,
 453:1, 453:13,           course [2] - 311:2,                                deeper [1] - 448:15       des [1] - 449:10
                                                   395:19
 458:14                    420:1                                             defense [3] - 424:7,      describe [2] - 329:17,
                                                  curtains [2] - 395:16
copies [1] - 436:19       court [3] - 318:20,                                 424:8, 424:10             329:18
                                                  cussion [1] - 461:4
copy [4] - 321:16,         350:22, 351:3                                     definitely [1] - 343:16   described [3] -
                                                  customize [1] - 422:4
 327:6, 404:16, 474:8     Court [1] - 474:18                                 Degree [2] - 447:18,       358:22, 403:13,
Core [1] - 462:11         courte [1] - 454:1                                  448:4                     403:16
                          courtesy [1] - 450:12              D                                         designate [1] - 387:7
corner [2] - 392:25,                                                         degree [3] - 448:9,
 393:1                    cover [6] - 421:12,     DA [1] - 316:4              453:17, 455:22           desk [1] - 376:15
correct [60] - 294:20,     421:15, 423:21,        DA's [1] - 383:7           deliberate [2] -          desti [1] - 384:2
 294:24, 296:1,            425:9, 425:10,                                     467:10, 472:8            detail [3] - 304:12,
                                                  damage [3] - 447:23,

   SUSAN K. TAYLOR                                  262-553-1058                               COURT REPORTER
                                                  sueT@wi.rr.com
                                                                                                                                6
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 481 of 501 Document 80-5
 349:24, 374:12           detective's [1] - 296:3    directed [4] - 401:14,     442:8, 442:14,            321:2, 321:3, 336:8,
details [2] - 302:1,      detectives [19] -           402:3, 403:17,            450:20, 458:25,           336:9, 337:9,
 324:23                    296:7, 298:2, 311:4,       471:15                    460:8, 460:11, 461:3      338:14, 340:13,
Detec [1] - 379:2          312:22, 353:14,           directives [1] - 468:24   discussing [2] -           340:24, 344:14,
detective [35] -           356:18, 365:20,           directly [3] - 405:22,     366:5, 415:21             344:15, 355:5,
 294:21, 298:9,            366:7, 377:1, 377:5,       407:13, 416:15           Discussion [2] -           355:11, 355:12,
 302:7, 302:9,             377:10, 387:12,           dis [1] - 461:3            352:16, 439:11            368:15, 368:20,
 340:12, 342:12,           392:16, 393:12,           disagree [2] - 428:15,    discussion [3] -           369:15, 369:16,
 364:2, 365:14,            393:21, 394:6,             435:22                    334:25, 460:19,           369:24, 370:7,
 365:15, 365:18,           431:10, 454:13,           discharge [5] -            460:20                    370:15, 372:9,
 366:13, 367:21,           456:6                      449:18, 458:7,           disheveled [1] -           373:3, 373:6, 373:7,
 368:18, 368:20,          detectives' [3] -           462:19, 463:19,           330:13                    373:23, 374:3,
 374:17, 374:24,           298:23, 301:24,            473:2                    dismissal [1] - 457:4      374:6, 374:13,
 377:3, 378:13,            380:3                     dischargeable [1] -       disparity [1] - 455:15     376:10, 376:15,
 379:12, 380:6,           determination [4] -         458:21                   dispatch [11] - 367:16,    376:16, 376:19,
 380:11, 388:21,           420:14, 420:20,           discharged [10] -          367:18, 367:24,           377:24, 378:13,
 389:3, 394:23,            454:9, 454:20              300:17, 334:21,           373:10, 374:8,            380:15, 380:19,
 399:21, 414:21,          determine [7] - 402:1,      378:19, 433:18,           382:9, 386:15,            383:21, 383:22,
 414:23, 414:24,           407:20, 407:23,            457:11, 458:12,           404:12, 409:8,            384:10, 384:11,
 426:15, 427:3,            408:13, 408:20,            458:15, 458:16,           409:9, 411:3              384:12, 384:13,
 432:21, 455:25,           460:15, 472:9              463:12, 472:10           dispatcher [9] - 367:2,    387:15, 414:23,
 464:23, 469:9,           determined [5] -           disci [1] - 457:2          373:15, 404:10,           415:24, 416:14,
 469:11                    292:20, 384:13,           Disciplinary [1] -         404:19, 407:15,           416:15, 417:24,
Detective [77] - 292:4,    421:14, 460:24,            292:4                     408:3, 408:8, 409:5,      429:22, 430:14,
 293:2, 294:18,            461:2                     disciplinary [1] -         411:18                    431:5, 470:1, 470:22
 300:19, 300:21,          determines [1] - 459:3      460:17                   dispute [5] - 301:6,      districts [2] - 298:6,
 305:22, 353:24,          detour [2] - 429:20,       discipline [25] -          332:12, 332:17,           370:5
 354:7, 354:25,            462:4                      345:10, 345:25,           351:13, 428:1            diverted [1] - 416:14
 355:2, 355:19,           develop [1] - 329:8         346:8, 346:9, 347:2,     disputed [1] - 437:2      Division [1] - 460:20
 356:22, 357:11,          differ [1] - 420:3          347:8, 414:12,           distance [1] - 359:17     division [1] - 299:3
 357:16, 357:24,          difference [4] - 406:7,     421:14, 422:16,          distracted [1] - 309:5    doctors [1] - 393:23
 368:24, 375:17,           413:15, 455:17,            441:10, 442:3,           distracting [1] - 309:2   docu [2] - 445:22,
 375:24, 377:1,            455:24                     442:9, 442:12,           distractions [1] -         446:7
 377:12, 377:14,          different [14] - 309:8,     442:20, 442:23,           419:3                    document [61] -
 377:20, 377:24,           318:9, 319:23,             444:25, 447:3,           distraught [1] -           321:14, 322:11,
 378:7, 378:9,             342:20, 344:4,             451:12, 451:19,           347:20                    322:13, 327:4,
 378:15, 378:22,           352:5, 367:17,             454:10, 454:11,          district [25] - 294:18,    339:3, 354:23,
 379:20, 379:25,           380:3, 384:25,             459:3, 463:18,            295:7, 295:9,             365:25, 366:1,
 380:4, 380:5, 380:6,      393:23, 420:21,            472:22, 472:24            296:25, 297:9,            366:3, 366:6, 369:6,
 380:9, 382:18,            452:13, 458:11,           Discipline [2] - 441:8,    298:4, 298:18,            369:8, 369:12,
 382:23, 383:1,            466:15                     443:20                    299:1, 306:3,             371:2, 372:4,
 383:22, 384:18,          differently [2] - 302:6,   disciplined [4] -          306:11, 313:25,           372:16, 372:21,
 384:22, 384:24,           372:2                      314:2, 421:5,             314:8, 315:25,            402:25, 404:3,
 385:7, 385:9, 386:7,     digit [1] - 387:6           421:11, 472:10            316:10, 319:2,            404:4, 404:7,
 386:22, 389:14,          digits [1] - 387:5         disclosed [1] - 358:4      354:2, 354:7,             404:13, 405:6,
 389:15, 391:11,          DIRECT [6] - 363:14,       discover [1] - 462:6       380:24, 383:6,            405:20, 406:8,
 391:12, 391:25,           390:9, 400:10,            discovered [1] -           384:25, 387:5,            406:23, 407:3,
 392:9, 392:21,            440:12, 464:9,             427:24                    433:20, 433:24,           407:5, 408:16,
 394:7, 396:10,            467:20                                               449:25, 462:23            437:24, 440:22,
                                                     discredit [1] - 449:24
 396:11, 402:15,          direct [21] - 300:9,                                 District [78] - 292:17,    440:23, 441:4,
                                                     discrepancies [2] -
 403:16, 410:7,            323:2, 323:14,                                       292:23, 293:8,            441:7, 441:13,
                                                      344:1, 361:13
 415:4, 415:5,             324:25, 325:4,                                       293:19, 293:23,           443:13, 443:14,
                                                     discrepancy [1] -
 419:21, 419:23,           325:12, 325:17,                                      294:12, 295:21,           443:18, 443:24,
                                                      331:24
 429:5, 429:13,            326:6, 331:10,                                       296:16, 297:11,           444:3, 444:5, 444:6,
                                                     discretion [1] - 312:8
 429:14, 429:17,           332:21, 363:18,                                      297:12, 297:13,           444:7, 444:10,
                                                     discriminating [1] -
 429:20, 429:23,           403:4, 406:10,                                       297:25, 299:4,            444:11, 444:12,
                                                      425:12
 439:21, 448:12,           409:21, 451:20,                                      299:18, 300:19,           444:14, 444:16,
                                                     discrimination [1] -
 453:12, 453:14,           451:23, 451:25,                                      303:22, 304:17,           445:2, 445:3, 445:4,
                                                      424:12
 454:16, 457:9,            454:23, 456:20,                                      305:9, 313:22,            445:5, 446:10,
                                                     discussed [9] -
 458:16, 472:22            459:22, 462:13                                       317:5, 317:6, 321:1,      446:14, 446:18,
                                                      363:20, 441:11,

   SUSAN K. TAYLOR                                     262-553-1058                              COURT REPORTER
                                                     sueT@wi.rr.com
                                                                                                                                  7
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 482 of 501 Document 80-5
 446:19, 446:23,         461:4                      327:23, 344:7,           enroute [1] - 406:19        426:8, 426:12,
 447:5, 447:12,         drivers [2] - 436:2,        351:1, 352:3,            enter [2] - 395:13,         427:8, 433:10,
 450:16, 451:21          436:3                      372:25, 411:17,           430:20                     437:19, 437:20,
Document [10] -         driving [9] - 306:23,       412:17, 413:16,          entered [2] - 406:19,       438:4, 439:18,
 300:8, 331:4, 369:9,    337:6, 340:13,             427:2, 434:19,            443:7                      439:20, 439:23,
 371:9, 372:13,          340:16, 358:15,            460:20, 465:23           entering [1] - 395:18       443:7, 471:22
 373:18, 403:3,          359:1, 405:15,            elaborate [1] - 338:2     enters [1] - 395:8         ex [1] - 453:2
 443:4, 443:5, 443:6     418:25, 473:1             elec [1] - 444:6          entire [4] - 330:8,        ex-girlfriend [1] -
documentation [3] -     drove [1] - 415:13         electron [1] - 413:3       342:21, 426:5,             453:2
 407:14, 408:2, 450:4   drug [1] - 351:1           electronic [1] - 404:18    442:13                    exact [13] - 298:17,
documented [3] -        drunk [4] - 430:21,        electronically [1] -      entities [1] - 463:3        313:23, 315:2,
 391:23, 406:11,         430:22, 430:23             408:5                    entitled [1] - 474:6        315:5, 351:24,
 406:15                 dual [2] - 303:1,          element [1] - 418:23      entries [4] - 325:12,       374:12, 393:7,
documents [14] -         303:12                    emergencies [2] -          325:22, 326:22,            405:22, 406:4,
 369:23, 370:22,        dude [1] - 355:14           308:22, 409:2             333:1                      406:6, 413:10,
 371:4, 372:8,          due [4] - 312:14,          emergency [16] -          entry [17] - 325:17,        416:8, 474:8
 437:18, 437:22,         318:3, 383:8, 426:11       307:1, 308:2,             326:7, 333:19,            exactly [13] - 314:4,
 442:19, 442:25,        duly [5] - 363:10,          308:19, 309:4,            334:12, 367:5,             319:4, 336:22,
 443:1, 443:9,           390:5, 400:6, 440:3,       309:8, 310:10,            368:3, 386:13,             337:8, 339:19,
 443:11, 444:1,          464:4                      341:22, 341:23,           404:10, 407:12,            340:17, 342:19,
 445:20, 450:3          during [12] - 311:1,        342:2, 359:7,             444:19, 445:7,             344:16, 344:18,
domestic [2] - 301:6,    339:21, 340:8,             359:18, 418:3,            445:14, 452:11,            355:2, 413:13, 417:2
 356:15                  346:25, 381:22,            419:10, 421:8,            452:13, 452:25,           examination [5] -
done [23] - 299:8,       403:10, 442:2,             449:8, 456:2              455:5                      292:11, 356:12,
 299:25, 313:18,         442:19, 450:24,           employ [1] - 310:6        equate [1] - 466:25         357:3, 357:14,
 313:21, 314:21,         457:20, 458:24,           employed [3] -            equipment [1] - 310:5       359:24
 319:5, 349:7,           468:19                     390:13, 464:14,          equipped [1] - 358:17      EXAMINATION [15] -
 355:13, 358:13,        duties [4] - 415:20,        464:16                   equivoca [1] - 417:10       292:15, 356:10,
 384:6, 388:4,           417:25, 455:10,           Employee [1] - 448:4      equivocate [1] - 417:5      363:14, 381:5,
 398:18, 409:4,          455:14                    employee [7] -            error [3] - 371:18,         386:6, 388:19,
 409:6, 414:23,         duty [8] - 311:2,           446:24, 447:5,            446:10, 460:12             390:9, 396:9,
 415:2, 415:13,          387:23, 427:23,            448:24, 455:18,          espe [1] - 312:12           400:10, 409:13,
 415:15, 415:17,         448:11, 453:3,             459:4, 459:7, 470:23     especially [2] -            440:12, 459:19,
 421:15, 454:15,         455:19, 456:10,           employee's [4] -           298:11, 437:6              464:9, 467:20, 471:8
 465:22, 468:10          457:25                     442:21, 444:15,          essentially [1] -          examine [1] - 318:12
door [7] - 364:9,       Dwight [2] - 451:25,        447:4, 450:6              337:19                    examiner [1] - 292:5
 384:9, 395:11,          453:1                     employer [1] - 457:22     established [2] -          example [3] - 315:4,
 395:20, 415:16,                                   en [9] - 386:12,           334:18, 458:19             425:18, 462:11
 470:4, 470:6
                                   E                405:21, 405:25,          estimate [3] - 294:2,      examples [1] - 463:11
doors [4] - 395:12,                                 407:20, 411:19,                                     except [4] - 308:5,
                                                                              336:4, 336:12
 395:15, 395:16,        early [5] - 344:16,         411:23, 412:2,                                       356:5, 362:13, 454:3
                                                                             et [4] - 324:20, 338:15,
 395:18                  370:16, 390:20,            412:4, 412:11                                       excruciating [1] -
                                                                              421:10
double [1] - 330:11      426:16, 464:22            end [2] - 312:7, 420:12                               349:24
                                                                             evening [3] - 366:15,
doubt [3] - 368:12,     Early [2] - 369:16,        endanger [1] - 454:4       372:9, 390:19             excuse [2] - 320:16,
 379:1, 437:8            369:20                    ended [5] - 330:10,                                   326:16
                                                                             event [2] - 428:21,
down [12] - 308:3,      easier [1] - 311:5          430:10, 430:12,           471:16                    excused [9] - 362:21,
 308:9, 319:3,          east [7] - 306:23,          466:12, 470:15                                       390:2, 400:4, 400:5,
                                                                             events [7] - 339:17,
 325:12, 325:17,         320:17, 320:19,           ending [2] - 333:5,                                   413:24, 413:25,
                                                                              344:4, 414:11,
 325:22, 342:6,          321:3, 343:4, 353:4,       333:13                                               463:23, 463:24,
                                                                              424:9, 426:6, 427:4,
 359:13, 379:12,         353:7                     ends [3] - 431:8,                                     467:8
                                                                              435:1
 403:8, 427:6, 452:25   easy [1] - 470:20           431:16, 432:10                                      executive [1] - 460:22
                                                                             eventually [5] -
draft [1] - 379:12      effect [4] - 312:24,       Enforcement [2] -                                    executives [1] - 442:2
                                                                              293:25, 324:10,
drafting [1] - 378:24    315:6, 418:8, 423:22       384:16, 385:1                                       exercise [1] - 455:14
                                                                              405:22, 406:3,
dreads [1] - 430:1      effectively [1] - 415:19   engage [1] - 395:9         470:14                    Exhibit [24] - 305:19,
drinking [1] - 461:5    efficiency [1] - 312:14    engages [1] - 421:15      evidence [23] -             306:19, 322:6,
drive [1] - 384:10      efficiently [3] -          enhance [1] - 419:1        327:11, 364:12,            322:11, 327:13,
driven [2] - 367:17,     415:19, 451:6,            enhanced [1] - 418:20      414:9, 416:16,             357:4, 365:25,
 468:20                  462:18                    enhances [2] -             416:17, 417:18,            369:6, 372:4,
driver [5] - 430:21,    eight [1] - 456:12          418:21, 419:6             420:5, 423:12,             373:13, 382:6,
 430:22, 430:23,        either [13] - 295:13,      enhancing [1] - 419:4      423:13, 425:15,            383:2, 404:3,

   SUSAN K. TAYLOR                                   262-553-1058                               COURT REPORTER
                                                   sueT@wi.rr.com
                                                                                                                                 8
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 483 of 501 Document 80-5
 440:22, 440:24,          438:2                        364:13, 376:3,              450:10, 457:9,             470:13
 441:4, 443:13,          exterior [1] - 398:6          381:18, 397:17,             461:24                   five-day [6] - 451:13,
 444:10, 444:12,         extra [1] - 307:16            437:4, 437:13,            File [1] - 444:4             453:4, 462:6,
 445:2, 445:4, 450:7,    extraordinary [6] -           454:25, 458:18            filed [10] - 312:17,         462:17, 462:20,
 451:4, 459:22            423:11, 423:12,            fairly [1] - 426:13           313:25, 409:17,            472:24
exhibit [2] - 338:8,      423:13, 425:13,            false [1] - 458:15            409:20, 419:25,          flashed [1] - 358:24
 438:2                    425:14                     familiar [14] - 295:21,       436:16, 441:10,          Fleck [1] - 442:6
exhibits [4] - 306:17,   extremely [1] - 386:15        363:20, 369:12,             445:11, 445:18,          fled [1] - 466:16
 306:18, 443:2,          eyes [3] - 329:5,             371:3, 371:5, 372:1,        458:14                   Flynn [2] - 441:22,
 471:22                   330:10, 396:2                372:3, 372:6, 404:7,      filing [3] - 297:15,         442:3
exigency [5] - 299:19,                                 438:15, 441:7,              297:20, 298:16           focus [1] - 320:10
 300:11, 300:14,                     F                 443:18, 444:12,           fill [1] - 383:15          follow [27] - 296:8,
 301:7, 314:7                                          445:4                     fill-in [1] - 383:15         296:13, 300:13,
exigent [6] - 302:14,    fabrication [1] -           family [2] - 335:21,        final [1] - 446:2            302:4, 302:5,
 355:8, 469:21,            414:20                      432:13                    finally [4] - 432:7,         332:10, 333:12,
 469:24, 470:12          fabrications [1] -          far [12] - 336:2, 336:3,      445:14, 450:16,            337:23, 337:25,
existed [1] - 463:5        422:5                       352:1, 358:18,              456:20                     347:4, 354:19,
expect [4] - 367:5,      face [4] - 295:18,            392:24, 420:3,            findings [1] - 420:13        356:20, 361:3,
 368:2, 422:11,            360:10, 364:7               425:23, 426:2,            fine [8] - 293:7, 339:3,     361:5, 368:21,
 448:20                  face-to-face [1] -            448:11, 461:11,             340:3, 375:20,             374:25, 377:16,
expecta [1] - 348:9        360:10                      463:8, 466:9                375:23, 415:6, 425:7       377:17, 388:17,
expectation [4] -        facilitate [1] - 418:4      fast [5] - 309:18,          Fire [2] - 292:6, 473:6      397:22, 401:16,
 293:12, 293:22,         facing [1] - 419:24           339:14, 340:5,            fired [1] - 437:12           408:22, 414:21,
 348:15, 349:1           fact [21] - 298:19,           382:1, 462:21             first [58] - 292:21,         415:18, 424:16,
expected [2] - 294:21,     301:20, 303:20,           fast-forward [1] -            292:23, 293:8,             434:23, 471:6
 414:9                     304:2, 304:15,              462:21                      293:19, 305:3,           follow-up [12] - 296:8,
expecting [4] -            311:7, 313:10,            fault [6] - 430:24,           305:7, 305:12,             302:4, 302:5,
 348:19, 348:22,           332:16, 338:13,             430:25, 436:25,             306:2, 306:5, 306:8,       337:23, 337:25,
 414:25, 432:22            344:13, 351:19,             437:13, 460:25,             306:10, 319:18,            347:4, 354:19,
Experience [1] - 448:4     357:2, 414:19,              461:3                       320:22, 322:10,            356:20, 368:21,
experience [6] -           417:21, 419:9,            faulty [1] - 430:23           336:8, 338:15,             374:25, 388:17,
 298:14, 298:20,           419:21, 420:7,            feelings [1] - 425:16         340:16, 341:1,             471:6
 345:15, 372:22,           422:14, 428:3,            feet [3] - 393:4, 394:9,      342:9, 347:14,           followed [3] - 337:20,
 448:12, 462:22            444:1, 461:4                394:10                      347:16, 347:17,            392:8, 415:6
experienced [1] -        factor [6] - 448:13,        fellow [1] - 427:18           347:24, 348:1,           following [3] - 327:17,
 309:4                     449:18, 455:14,           felon [1] - 300:16            355:20, 357:8,             401:18, 468:25
experimental [1] -         455:21, 455:22,           felony [6] - 297:15,          357:15, 358:9,           follows [6] - 363:12,
 376:12                    459:10                      297:20, 298:11,             358:10, 360:21,            390:7, 400:8, 429:9,
expertise [1] - 442:11   factors [2] - 447:12,         298:16, 298:22              361:12, 363:6,             440:5, 464:6
explain [6] - 311:19,      466:4                     felt [3] - 307:18, 308:8,     363:10, 375:15,          foot [2] - 330:11,
 317:14, 331:24,         facts [21] - 301:15,          344:20                      383:11, 387:4,             330:12
 367:8, 367:15, 441:9      302:11, 304:9,            female [2] - 314:7,           390:5, 391:14,           force [2] - 468:24,
explained [6] -            334:18, 338:23,             470:23                      392:14, 396:6,             469:2
 317:23, 335:2,            344:11, 344:12,           females [1] - 425:13          400:6, 426:6,            forego [1] - 438:19
 339:21, 343:18,           344:22, 344:24,           few [7] - 350:18,             438:14, 439:23,          foregoing [1] - 474:8
 397:10, 469:20            350:2, 350:4,               388:17, 413:10,             440:3, 443:11,           Forensic [1] - 390:23
explaining [1] -           355:13, 414:17,             434:5, 434:8, 436:7,        446:24, 450:7,           forensic [3] - 391:6,
 340:22                    415:23, 419:11,             437:6                       451:2, 453:23,             391:22, 394:4
explains [1] - 430:9       419:19, 419:20,           fide [1] - 296:5              455:5, 458:11,           forget [2] - 411:4,
explanation [2] -          421:23, 422:5,            field [2] - 416:22,           462:3, 462:9, 464:4,       411:10
 423:17, 423:18            424:4, 426:18               431:13                      464:10, 464:12           form [3] - 350:10,
expose [2] - 318:14,     factual [1] - 351:8         fifth [2] - 354:2, 354:6    five [13] - 323:23,          434:23, 444:19
 345:10                  failed [1] - 453:1          Fifth [1] - 380:18            333:1, 336:6, 336:9,     forms [1] - 393:24
exposed [1] - 421:14     failing [2] - 450:11,       figure [3] - 319:21,          438:14, 439:23,          forth [3] - 392:20,
express [1] - 352:24       462:18                      319:24, 362:9               451:13, 452:11,            394:15, 427:10
expressed [1] -          failure [4] - 450:1,        file [12] - 312:4,            453:4, 462:6,            forthright [3] - 456:22,
 347:10                    472:25, 473:1, 473:2        350:12, 398:16,             462:17, 462:20,            465:15, 473:3
expressing [1] -         fair [14] - 319:6, 319:8,     441:17, 442:21,             472:24                   forum [2] - 469:8,
 339:22                    344:6, 356:22,              444:6, 444:15,            Five [4] - 299:4,            469:10
extent [2] - 294:21,       358:24, 364:11,             450:6, 450:7,               316:25, 378:1,           forward [2] - 306:22,

   SUSAN K. TAYLOR                                     262-553-1058                                 COURT REPORTER
                                                     sueT@wi.rr.com
                                                                                                                                       9
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 484 of 501 Document 80-5
  462:21                     348:16, 349:5,           469:7, 469:10              347:6, 348:9, 349:2,     437:3, 437:7
fourth [1] - 451:24          352:12, 356:9,          Guiding [3] - 451:24,       349:7, 350:8,           headed [3] - 353:4,
frame [1] - 300:1            356:10, 357:1,           452:19, 453:22             350:12, 352:21,          353:6, 405:14
frankly [1] - 417:7          361:21, 361:24,         guiding [2] - 419:8,        354:6, 360:24,          healed [1] - 332:1
freedom [1] - 377:10         362:19, 362:24,          462:12                     361:2, 361:3,           hear [8] - 311:10,
friend [7] - 385:4,          363:1, 381:5,           gun [28] - 293:5,           361:14, 361:15,          319:4, 355:18,
  402:17, 402:22,            381:25, 382:3,           294:8, 295:3, 299:9,       363:6, 363:15,           368:6, 375:6,
  403:18, 410:8,             385:11, 388:17,          299:13, 300:14,            391:14, 391:18,          395:21, 395:23,
  416:1, 425:5               388:19, 389:21,          300:16, 300:17,            392:19, 393:5,           468:23
friendly [3] - 335:13,       396:5, 396:9, 399:2,     300:18, 301:10,            393:12, 393:17,         heard [41] - 305:4,
  335:14, 376:5              409:12, 409:13,          301:11, 301:22,            394:3, 394:6,            305:13, 306:2,
friends [1] - 425:2          411:21, 413:19,          317:1, 335:17,             394:12, 394:21,          306:5, 306:8, 306:9,
Froedtert [2] - 328:22,      413:22, 427:12,          349:16, 355:6,             395:8, 398:5,            306:11, 312:1,
  336:7                      437:21, 438:1,           355:8, 355:10,             398:19, 399:18,          312:6, 312:20,
front [16] - 307:5,          438:9, 438:12,           355:16, 356:20,            401:12, 414:20,          312:23, 312:24,
  331:4, 331:5, 364:8,       438:17, 440:25,          357:24, 369:3,             418:14, 419:19,          312:25, 313:3,
  369:10, 391:24,            452:21, 459:18,          369:4, 378:8, 429:6,       419:21, 420:4,           324:9, 335:5, 353:9,
  392:5, 403:3, 407:7,       459:19, 461:25,          429:16, 466:16             420:6, 420:18,           361:12, 367:1,
  430:17, 435:13,            463:15, 463:20,         guns [1] - 364:24           421:2, 421:18,           375:2, 375:15,
  435:21, 435:24,            464:2, 464:9, 467:2,    gunshot [2] - 364:16,       422:9, 422:12,           402:8, 405:4, 405:6,
  441:5, 443:1, 443:15       467:5, 467:12,           378:6                      422:19, 423:1,           429:1, 430:6,
fronts [1] - 393:4           467:15, 467:19,         gurneys [1] - 392:8         423:2, 423:4,            432:21, 433:1,
frustrated [4] - 320:2,      467:20, 468:17,         guy [2] - 364:9, 375:20     424:18, 425:18,          433:2, 433:11,
  434:11, 436:20,            471:6, 471:8,           guys [1] - 393:20           426:14, 427:7,           433:12, 433:13,
  436:23                     471:19, 471:25,                                     433:7, 433:15,           434:9, 435:11,
                             472:5                                               433:22, 433:24,
ful [1] - 436:6                                                 H                                         435:20, 460:5,
full [8] - 349:25, 369:5,   general [2] - 338:25,                                434:17, 437:8            470:4, 472:16
  394:18, 406:10,            397:12                  half [6] - 294:4, 307:9,   HANLEY [1] - 363:10      hearing [13] - 292:3,
  421:5, 448:11,            generally [1] - 432:25    340:1, 376:15,            Hanley's [6] - 333:8,     292:5, 305:6,
  456:9, 456:10             generate [1] - 404:13     378:1, 414:7               333:14, 334:14,          305:10, 357:18,
full-time [1] - 456:9       generated [6] -          halfway [1] - 408:17        345:9, 347:14, 435:1     358:7, 358:8, 414:8,
function [2] - 309:25,       359:25, 360:23,         hallway [1] - 347:18       happenstance [1] -        432:8, 436:11,
  374:14                     361:4, 361:15,          hand [2] - 321:6,           359:10                   442:20, 474:6, 474:9
functions [4] - 297:17,      396:17, 404:16           364:16                    happy [5] - 339:7,       hears [2] - 428:23,
  298:5, 298:19, 299:2      gentleman [2] - 385:8,   handed [4] - 354:22,        385:3, 465:20,           428:24
funeral [1] - 440:10         432:19                   366:1, 402:16,             465:21                  hearsay [2] - 314:2,
funny [1] - 319:6           girlfriend [1] - 453:2    443:14                    harassed [1] - 314:20     319:2
Furthermore [2] -           given [9] - 370:9,       handing [1] - 444:11       harassment [1] -         Hein [1] - 292:8
  422:24, 424:21             374:23, 376:17,         handle [4] - 293:8,         428:11                  HEIN [8] - 348:2,
future [1] - 471:16          436:5, 455:4,            294:16, 354:15,           hard [8] - 339:19,        407:19, 408:12,
                             457:15, 468:24,          429:21                     339:21, 376:14,          413:5, 439:6, 452:8,
                             469:4, 469:8            handled [5] - 294:13,       376:16, 439:17,          452:14, 472:13
           G                glass [3] - 359:14,                                  470:6, 470:21           held [2] - 313:7,
                                                      416:19, 416:21,
games [1] - 470:17           395:12, 395:20           469:15, 469:24            hardcard [5] - 442:21,    459:10
Garfield [1] - 342:25       Goggins [3] - 320:23,    handling [2] - 302:8,       443:19, 461:11,         help [23] - 298:2,
gathering [1] - 379:9        327:23, 362:14           351:4                      461:13, 461:15           298:10, 298:12,
gathers [1] - 350:13        Gomez [1] - 458:16       Hanley [84] - 296:16,      Harm [2] - 447:18,        298:24, 302:4,
gation [2] - 425:11,        gories [1] - 446:24       296:21, 297:9,             448:5                    313:25, 314:7,
 437:5                      GPS [1] - 408:16          314:12, 314:13,           harm [3] - 448:9,         344:17, 344:18,
Gaver [1] - 459:16          great [1] - 324:17        330:16, 331:14,            453:17, 455:22           344:19, 354:21,
GAVER [72] - 293:14,        greater [2] - 449:12,     332:3, 332:16,            Harmon [1] - 295:22       380:19, 380:20,
 296:22, 316:13,             449:15                   332:22, 333:11,           Harpole [1] - 442:4       380:21, 391:7,
 316:18, 316:22,            greatly [1] - 455:1       333:12, 334:19,           harsh [1] - 436:22        391:15, 415:9,
 317:15, 318:7,             green [2] - 359:15,       335:5, 336:15,            harsher [2] - 462:6,      425:5, 428:13,
 318:19, 320:8,              431:1                    337:24, 339:10,            462:16                   428:14, 462:13,
 321:17, 322:9,             grounds [1] - 346:7       340:7, 340:12,            hazardous [1] - 309:3     469:22, 469:23
 323:4, 327:12,             guess [9] - 295:10,       341:21, 342:12,           he/she [2] - 454:5,      helped [2] - 428:6,
 328:17, 329:14,             299:10, 306:6,           343:7, 343:13,             454:6                    428:7
 329:25, 345:12,             307:12, 310:1,           344:6, 344:11,            head [5] - 331:23,       helpful [1] - 427:20
 346:6, 348:12,              385:13, 468:22,          344:23, 346:25,            339:24, 340:2,          helps [3] - 427:17,


    SUSAN K. TAYLOR                                    262-553-1058                              COURT REPORTER
                                                     sueT@wi.rr.com
                                                                                                                            10
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 485 of 501 Document 80-5
 427:18, 452:22            364:2, 364:3,          household [1] - 430:4        314:9, 377:4, 377:8,      442:1, 442:2,
hereby [1] - 474:4         365:11, 365:16,        housekeeping [1] -           417:18, 424:6,            443:21, 445:7,
herself [10] - 306:12,     366:7, 366:11,          471:22                      427:14, 450:19,           452:10, 456:21
 329:22, 367:2,            367:3, 368:7,          houses [2] - 379:20,         457:12, 470:17          indicating [14] -
 423:21, 424:23,           368:19, 369:1,          466:15                    imposed [2] - 442:9,        304:24, 310:19,
 427:19, 456:3,            373:5, 373:11,         HR [1] - 442:6               445:1                     315:20, 335:22,
 459:7, 470:5, 471:1       373:16, 374:1,         huge [1] - 429:7           impression [2] -            340:14, 350:19,
high [2] - 343:8,          374:11, 376:12,        human [1] - 468:12           317:7, 317:9              367:2, 375:3,
 364:17                    378:6, 378:20,         hung [2] - 324:10,         in-squad [1] - 404:19       386:12, 404:20,
higher [1] - 455:1         379:2, 379:17,          361:10                    inaccurate [1] -            405:1, 408:14,
highly [1] - 312:19        381:11, 381:18,        hurt [1] - 431:22            336:18                    443:22, 444:22
himself [9] - 300:15,      382:10, 383:23,        hyperlink [3] - 407:12,    inappropriate [1] -       indication [3] -
 300:18, 301:5,            383:24, 384:1,          407:14, 407:17              435:8                     351:12, 446:5, 446:7
 301:10, 355:14,           384:4, 384:6,                                     incident [6] - 315:2,     individual [3] -
                           384:11, 386:8,                                                                451:17, 453:18,
 384:7, 416:18,
                           389:16, 391:15,
                                                              I                329:10, 352:4,
 422:16                                                                        356:16, 374:6,            457:8
hind [1] - 469:7           391:19, 391:20,        IA [1] - 460:20              465:24                  individuals [5] -
hinge [1] - 420:15         392:4, 392:7,          IAD [2] - 332:1, 361:16    incidents [1] - 364:18      442:22, 448:10,
history [4] - 442:21,      393:11, 393:12,        IAS [1] - 445:7            include [2] - 303:19,       459:9, 463:18
 444:6, 444:15, 450:6      393:13, 394:16,        ically [1] - 413:4           304:9                   inflicted [1] - 429:6
History [1] - 444:4        395:2, 397:5,          ID [2] - 395:5, 398:10     including [4] - 306:19,   influence [1] - 350:20
hit [2] - 309:16, 330:9    397:16, 398:7,         idea [13] - 297:10,          323:9, 437:1, 441:21    infor [2] - 300:25,
hold [2] - 312:21,         398:14, 398:20,          315:1, 327:22,           inclusion [1] - 423:23      349:3
 459:7                     399:12, 401:20,          327:23, 328:7,           incoherent [2] - 362:5,   informa [2] - 300:6,
holder [2] - 301:4,        409:18, 409:22,          328:10, 349:10,            362:8                     393:24
 429:7                     414:18, 414:20,          351:15, 359:22,          incoming [1] - 325:7      informal [2] - 335:12,
                           415:3, 425:19,           375:23, 405:14,          inconsistencies [1] -       335:14
holds [1] - 459:4
                           425:21, 429:2,           411:1, 423:17              343:18                  information [34] -
holster [1] - 369:3
                           429:4, 432:10,         identifica [2] - 404:4,                                297:23, 300:20,
home [15] - 300:21,                                                          inconsistent [3] -
                           433:9, 433:11,           440:23                                               301:2, 301:3, 301:8,
 305:22, 335:2,                                                                364:11, 364:14,
                           433:17, 433:18                                                                319:10, 337:19,
 335:20, 336:1,                                   identification [8] -         418:17
                          hour [13] - 294:2,        322:13, 366:2,                                       348:10, 349:11,
 336:8, 348:22,                                                              incumbent [1] -
                           294:4, 294:14,           369:9, 395:3, 441:4,                                 350:13, 350:22,
 349:14, 357:12,                                                               377:21
                           314:18, 314:19,          443:15, 444:11,                                      351:2, 354:24,
 357:25, 394:5,                                                              incurred [1] - 454:13
                           339:11, 340:1,           445:3                                                356:24, 357:10,
 433:23, 433:25,                                                             indi [1] - 457:16
                           340:2, 340:4, 370:9,                                                          357:16, 373:22,
 470:16, 471:1                                    identify [2] - 329:15,     indicate [12] - 331:22,
                           421:10, 439:13,                                                               374:18, 379:10,
honest [1] - 385:5                                  364:24                     334:18, 335:5,
                           466:13                                                                        387:19, 391:5,
hope [1] - 469:21                                 idle [1] - 427:16            351:11, 365:10,
                          hours [11] - 294:3,                                                            392:18, 393:9,
horn [17] - 308:14,                               idling [1] - 419:17          366:9, 378:23,
                           294:19, 372:10,                                                               393:24, 397:11,
 308:15, 308:17,                                  II [4] - 439:25, 440:20,     403:6, 441:25,
                           372:22, 373:4,                                                                397:15, 401:12,
 309:9, 309:13,                                     464:1, 472:21              444:4, 445:22, 450:4
                           390:20, 426:16,                                                               401:17, 402:2,
 309:21, 309:23,                                  illuminated [1] - 308:6    indicated [19] -
                           434:5, 434:9, 436:7,                                                          453:11, 465:16,
 309:25, 310:4,                                   imagine [1] - 350:16         294:25, 296:20,
                           437:6                                                                         465:18, 465:19,
 310:6, 310:7, 342:7,                             immediacy [1] -              297:11, 307:1,
                          house [34] - 292:20,                                                           469:25
 358:20, 359:3,                                     317:13                     312:2, 324:3,
                           293:11, 293:13,                                                             informed [2] - 304:25,
 430:18                                           immediate [1] - 381:1        336:18, 341:21,
                           293:20, 293:25,                                                               323:25
horns [1] - 310:2                                 immediately [8] -            368:14, 372:13,
                           294:8, 304:16,                                                              ing [1] - 449:18
Hospital [3] - 365:3,                               303:21, 317:25,            377:13, 381:6,
                           305:1, 305:4, 305:8,                                                        initial [3] - 374:18,
 365:7, 381:7                                       320:11, 327:17,            386:16, 402:8,
                           306:4, 317:24,                                                                374:19, 413:7
hospital [83] - 319:19,                             368:22, 376:21,            402:15, 405:24,
                           332:7, 336:9, 337:2,                                                        injured [3] - 330:6,
 328:22, 329:1,                                     414:25, 415:15             412:22, 415:7, 443:9
                           337:13, 353:19,                                                               453:20, 454:14
 329:3, 329:12,                                   impact [2] - 359:19,       indicates [22] -
                           354:16, 355:19,                                                             injuries [16] - 329:4,
 330:6, 330:15,                                     435:16                     323:15, 323:18,
                           357:17, 368:8,                                                                329:13, 329:16,
 330:21, 330:24,                                  impeding [3] - 307:8,        325:22, 326:13,
                           378:7, 378:11,                                                                329:18, 329:22,
 331:2, 331:14,                                     308:13, 342:4              332:16, 333:2,
                           378:12, 379:22,                                                               330:2, 393:22,
 331:25, 332:3,                                   importance [1] - 377:9       334:12, 334:15,
                           387:15, 406:7,                                                                397:17, 434:8,
 332:5, 334:21,                                   important [16] -             340:12, 405:10,
                           413:16, 414:22,                                                               437:1, 437:2,
 335:17, 335:22,                                    301:21, 304:1,             405:19, 405:20,
                           415:14, 416:14,                                                               447:22, 447:25,
 336:8, 348:23,                                     304:9, 304:12,             405:24, 426:14,
                           429:20, 470:6,                                                                448:6, 454:12, 456:3
 349:13, 360:5,                                     304:15, 313:6,             441:18, 441:21,
                           470:14

   SUSAN K. TAYLOR                                  262-553-1058                               COURT REPORTER
                                                  sueT@wi.rr.com
                                                                                                                           11
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 486 of 501 Document 80-5
injury [6] - 339:24,       interview [19] -            400:14                     467:6, 468:6,             402:19
  340:2, 350:24,             302:22, 303:1,          investigators [1] -          469:14, 470:17,          Kathy [1] - 292:8
  437:6, 437:7, 456:24       304:22, 304:25,           391:6                      471:17                   keep [4] - 354:20,
inquiry [1] - 473:3          335:7, 335:8,           involved [25] - 296:3,     Joe [2] - 320:23,           385:20, 401:7, 421:4
inside [1] - 398:11          335:16, 337:22,           302:1, 311:14,             327:23                   keepers [1] - 457:14
insofar [1] - 400:18         339:21, 354:16,           311:17, 318:3,           Johnson [7] - 343:2,       Kelly [5] - 390:4,
inspector [1] - 442:4        378:25, 401:14,           335:14, 350:14,            350:20, 365:14,           390:12, 409:14,
instance [1] - 421:13        402:3, 402:4,             353:3, 365:2,              366:13, 368:18,           425:23, 425:25
instances [1] - 454:1        403:10, 409:14,           368:21, 374:25,            388:20, 389:15           KELLY [1] - 390:5
instead [5] - 316:25,        409:24, 437:8, 437:9      380:6, 389:19,           Johnson's [1] - 380:6      KENZIE [24] - 302:17,
  377:23, 415:22,          interviewed [6] -           391:10, 391:11,          Jordan [21] - 324:12,       319:9, 322:2,
  437:5, 459:8               311:23, 312:22,           424:8, 428:19,             328:9, 360:6,             331:19, 352:20,
instructed [1] - 299:20      314:4, 396:10,            429:1, 434:21,             405:14, 406:2,            353:1, 367:19,
insurance [1] - 430:22       396:14, 401:10            453:15, 460:25,            410:21, 410:23,           368:23, 371:11,
integrity [16] - 419:12,   interviewing [3] -          461:5, 465:14,             417:4, 417:13,            376:24, 377:12,
  419:24, 420:10,            369:1, 401:15, 402:5      465:17, 466:21             430:2, 430:4,             377:25, 378:4,
  450:8, 450:13,           interviews [1] -          involves [1] - 427:19        431:11, 431:17,           378:21, 379:8,
  450:15, 457:7,             304:22                  involving [1] - 391:1        431:23, 432:4,            381:24, 387:9,
  458:6, 458:8,            introduce [2] - 321:15,   IP [1] - 314:15              432:9, 432:17,            407:2, 407:16,
  458:13, 458:17,            322:10                  ironic [1] - 314:1           432:22, 433:1,            439:4, 452:16,
  458:20, 459:14,          introduced [1] - 398:4    irrelevant [2] - 317:17,     433:6, 433:12             468:19, 471:5,
  462:21, 463:2            inventoried [1] -           317:20                   Jordan's [1] - 322:25       472:14
Integrity [1] - 456:21       458:14                  issue [19] - 298:15,       Joseph's [3] - 365:3,      kept [1] - 401:18
intend [1] - 359:7         investi [2] - 425:10,       305:8, 315:14,             365:7, 381:7             key [1] - 312:12
intent [1] - 350:4           437:4                     316:5, 319:9, 325:2,     Juanita [46] - 292:16,     kind [8] - 314:1,
intention [1] - 433:4      investigate [2] -           346:19, 376:25,            295:2, 296:21,            364:10, 365:9,
intentional [2] -            364:21, 389:5             383:6, 383:12,             297:2, 297:6,             379:4, 385:3,
  448:23, 449:2            investigated [2] -          384:22, 404:24,            299:16, 301:4,            399:19, 408:24,
Intentional/                 383:3, 388:2              415:1, 416:6,              303:20, 304:15,           469:3
  Unintentional [2] -      investigating [4] -         441:14, 458:1,             304:20, 304:25,          knock [3] - 300:4,
  448:3, 448:21              364:18, 377:7,            458:7, 459:14, 461:6       305:4, 305:7,             429:16, 470:6
intentionally [3] -          389:6, 401:21           issues [1] - 303:3           305:10, 306:3,           knock-and-
  436:8, 449:7, 449:10     investigation [32] -      itself [7] - 324:21,         306:11, 321:5,            announce [1] -
interaction [2] - 415:4,     296:3, 296:9,             392:1, 417:12,             324:11, 337:6,            429:16
  433:22                     346:15, 353:20,           426:17, 426:18,            338:14, 350:3,           knock-and-talk [1] -
                             356:14, 356:17,           448:24, 460:5              365:22, 366:14,           300:4
interest [2] - 312:11,
                             363:19, 365:12,                                      366:20, 367:1,           knocked [2] - 415:15,
  447:7
Interest [1] - 447:2         377:8, 378:10,                     J                 368:6, 373:24,            470:4
                             381:19, 382:17,                                      379:18, 380:5,           knowing [5] - 320:18,
interested [1] - 301:25
                             382:22, 386:10,         jacket [5] - 398:12,         382:10, 387:15,           389:10, 409:24,
interesting [1] -
                             387:11, 388:20,           399:12, 399:13,            389:8, 389:18,            465:8, 469:1
  468:20
                             389:3, 389:4, 389:9,      399:14, 399:19             391:12, 414:18,          knowledge [17] -
interfere [1] - 433:4
                             389:19, 396:11,         jaded [1] - 344:20           414:24, 415:20,           296:5, 297:8,
interim [1] - 442:6
                             396:20, 400:15,         January [26] - 323:10,       421:22, 428:25,           297:19, 298:14,
interject [1] - 317:16
                             400:17, 409:15,           323:15, 331:25,            429:1, 430:13,            301:15, 302:18,
internal [1] - 409:15
                             425:10, 433:4,            333:2, 333:22,             431:8, 433:2,             328:16, 329:22,
Internal [10] - 318:24,
                             436:9, 436:17,            334:13, 340:8,             469:20, 470:11            331:1, 344:11,
  319:7, 375:24,
                             445:12, 457:20,           346:25, 348:5,           Juanita's [4] - 379:22,     344:22, 345:14,
  375:25, 387:24,
                             459:7                     348:9, 356:13,             469:11, 470:3,            351:8, 371:1,
  396:14, 396:17,
                           Investigations [2] -        359:25, 360:22,            470:25                    387:18, 456:5,
  400:14, 444:7,
                             318:24, 390:23            369:18, 369:24,          judgment [1] - 319:7        465:18
  444:23
                           investigations [7] -        369:25, 372:10,          jumps [1] - 419:2          known [6] - 302:13,
intersection [8] -
                             296:7, 296:13,            390:19, 390:20,          jurisdiction [1] - 352:5    347:2, 381:15,
  358:13, 358:15,
                             298:23, 427:17,           399:6, 399:7,            justifies [3] - 304:2,      464:20, 466:17,
  359:8, 430:15,
                             429:10, 457:17,           399:10, 426:16,            426:18, 430:8             468:6
  430:20, 431:3,
                             465:17                    427:22                                              knows [6] - 348:15,
  435:5, 435:14
intervene [3] - 337:11,
                           investigative [2] -       Jesse [1] - 362:13                    K                379:5, 415:17,
                             374:20, 376:13          job [11] - 298:24,                                     421:5, 422:7, 422:12
  435:7, 436:13
                           investigator [3] -          299:2, 402:1, 421:4,     K-e-l-l-y [1] - 390:12     KONRAD [82] - 292:1,
intervention [1] -
                             391:22, 394:4,            424:15, 457:21,          k-r-u-m-n-o-w [1] -         293:17, 296:25,
  344:17

   SUSAN K. TAYLOR                                     262-553-1058                                 COURT REPORTER
                                                     sueT@wi.rr.com
                                                                                                                              12
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 487 of 501 Document 80-5
 305:15, 305:19,        lap [1] - 431:8            left [14] - 293:22,         420:16, 421:1,            314:13, 314:17,
 306:7, 306:13,         large [2] - 312:13,          294:17, 294:19,           424:22, 426:4,            330:16, 331:14,
 306:20, 314:24,          406:19                     297:11, 297:12,           427:15, 428:3,            332:2, 332:16,
 315:9, 316:24,         largely [1] - 420:13         304:16, 305:9,            428:4, 428:6,             332:22, 333:8,
 317:21, 318:13,        lars [1] - 382:22            310:10, 335:22,           428:13, 428:22,           333:11, 333:12,
 320:10, 321:19,        last [17] - 331:7,           335:24, 355:2,            429:8, 429:13,            333:14, 334:14,
 322:7, 327:13,           331:10, 331:20,            373:11, 391:22,           429:18, 429:25,           334:19, 335:5,
 328:12, 329:17,          331:21, 357:7,             405:20                    430:2, 430:4,             336:15, 337:24,
 330:2, 330:5,            357:8, 371:25,           legally [1] - 300:16        430:12, 430:16,           339:10, 341:21,
 333:20, 341:14,          414:7, 419:12,           legitimate [3] - 296:5,     431:1, 431:7,             343:7, 343:13,
 345:5, 345:17,           440:9, 445:14,             455:10, 455:14            431:11, 431:17,           344:6, 344:11,
 346:4, 346:13,           451:3, 462:1,            Leibold [1] - 442:4         431:21, 431:23,           344:23, 345:9,
 347:13, 347:24,          464:10, 464:12,          Leitzke [4] - 314:18,       432:4, 432:9,             346:24, 347:6,
 348:17, 349:9,           468:9, 468:10              423:6, 424:18, 442:5      432:18, 433:6,            347:14, 348:9,
 352:14, 352:17,        lasted [8] - 294:7,        lends [2] - 417:19,         433:12, 433:14,           349:2, 349:7, 350:7,
 356:7, 361:23,           323:20, 325:6,             428:3                     433:16, 434:6,            350:12, 352:21,
 362:2, 362:18,           326:14, 333:16,          lenient [1] - 417:16        434:11, 434:18,           354:6, 360:24,
 362:22, 363:4,           334:15, 339:4, 460:3     less [8] - 309:19,          434:20, 435:3,            361:2, 361:3,
 363:8, 363:13,         Late [2] - 369:15,           340:11, 358:10,           436:5, 436:12,            361:14, 361:15,
 373:12, 376:23,          383:15                     359:20, 410:23,           436:20, 439:21,           363:6, 363:15,
 381:4, 385:23,         late [5] - 369:18,           460:8, 460:11,            453:13, 454:16,           390:4, 391:14,
 386:4, 389:23,           370:2, 370:3,              463:18                    457:10, 460:25,           391:18, 392:19,
 390:8, 396:4, 396:7,     464:21, 467:10           less-than-ten-minute        461:7, 464:2,             393:5, 393:12,
 400:3, 400:9, 407:1,   latitude [1] - 457:15        [1] - 460:8               464:18, 464:20,           393:17, 394:6,
 409:11, 413:17,        Lauda [2] - 339:5,         letter [2] - 462:23,        465:3, 465:5, 465:9,      394:21, 395:7,
 413:20, 413:23,          347:21                     463:7                     467:13, 467:16,           398:19, 399:18,
 414:1, 427:11,         law [4] - 418:18,          letters [2] - 463:1,        467:21, 472:23            401:12, 409:14,
 437:15, 437:22,          419:7, 419:10, 440:8       463:5                   Lewandowski's [16] -        414:20, 418:14,
 438:6, 438:10,         laws [1] - 454:2           letting [2] - 433:22,       379:25, 380:5,            419:19, 419:21,
 438:13, 438:19,        lead [1] - 423:15            433:23                    394:7, 396:11,            420:3, 420:6,
 439:3, 439:7,                                     level [4] - 364:17,         397:17, 398:1,            420:18, 421:2,
                        leadership [3] -
 439:12, 439:15,                                     441:12, 449:25,           410:21, 417:17,           421:17, 422:8,
                          470:19, 470:20
 440:6, 440:11,                                      460:16                    422:25, 428:5,            422:12, 422:19,
                        leads [1] - 353:19
 459:16, 463:22,                                                               430:24, 430:25,           423:1, 423:2, 423:4,
                        leans [1] - 459:13         lewandowski [1] -
 464:7, 467:9,                                                                 434:4, 448:12,            423:6, 425:18,
                        least [16] - 317:6,          341:5
 467:14, 467:17,                                                               453:14, 463:2             425:23, 425:25,
                          352:2, 358:4, 373:3,     Lewandowski [104] -
 471:24, 472:2,                                                              liaison [2] - 350:22,       426:14, 427:7,
                          381:14, 388:25,            292:4, 292:12,
 472:7, 472:15,                                                                351:3                     433:7, 433:15,
                          428:11, 430:8,             297:1, 297:4,
 472:19                                                                      liar [1] - 420:9            433:22, 434:25,
                          432:12, 435:11,            326:21, 360:6,
Konrad [2] - 292:5,                                                          license [1] - 430:22        442:5
                          436:8, 437:19,             366:23, 366:25,
 467:7                                                                       lie [9] - 341:9, 417:6,   Lieutenant's [1] -
                          438:22, 447:11,            375:3, 375:12,
Krumnow [13] -                                                                 421:2, 421:3,             445:7
                          456:9                      375:17, 376:3,
 327:24, 402:13,                                                               421:20, 422:3,          lieutenant's [2] -
                        leave [11] - 309:13,         377:2, 377:12,
 402:14, 402:18,                                     377:20, 377:24,           422:4, 422:15, 458:1      380:24, 442:23
                          309:15, 342:9,
 403:12, 403:16,                                     378:22, 379:21,         lied [2] - 421:18,        Lieutenants [1] -
                          359:7, 393:1,
 403:21, 405:1,                                      382:16, 382:21,           423:20                    424:18
                          395:13, 395:14,
 406:16, 410:2,                                      384:18, 384:22,         Lieuten [2] - 394:2,      lieutenants [3] -
                          408:25, 412:7,
 410:6, 410:12, 432:9                                384:24, 385:7,            394:11                    344:15, 399:21,
                          438:6, 456:12
Krumnow's [1] -                                      391:11, 391:25,         lieutenant [17] -           445:11
                        leaves [1] - 429:3
 410:3                                               392:3, 392:9,             298:20, 331:11,         life [3] - 356:1, 356:4,
                        leaving [9] - 303:21,
                                                     392:21, 394:12,           335:9, 349:10,            468:8
                          335:17, 335:19,
          L               349:13, 384:6,             396:25, 401:23,           353:21, 366:1,          light [4] - 359:15,
                                                     402:9, 402:16,            369:8, 374:14,            429:14, 431:1,
                          408:15, 409:3,
labeled [1] - 357:4                                                            374:16, 380:25,           435:14
                          409:4, 409:6               403:17, 405:15,
lack [1] - 383:8                                                               381:6, 390:14,          lights [50] - 307:2,
                        led [5] - 320:19, 350:2,     409:21, 410:7,
land [1] - 351:17                                    410:23, 414:14,           390:17, 420:9,            307:9, 307:18,
                          460:19, 460:20,
lane [2] - 307:9                                     415:4, 415:8,             446:19, 460:21            308:2, 308:6,
                          462:9
language [1] - 355:22                                415:23, 417:4,          Lieutenant [87] -           308:11, 308:12,
                        ledge [2] - 351:14,
lanyard [2] - 395:4,                                 417:11, 418:19,           296:16, 296:20,           308:13, 308:15,
                          370:25
  398:10                                             419:21, 419:23,           297:9, 314:12,            308:16, 308:19,
                        leeway [1] - 448:16

   SUSAN K. TAYLOR                                   262-553-1058                              COURT REPORTER
                                                   sueT@wi.rr.com
                                                                                                                              13
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 488 of 501 Document 80-5
  309:1, 309:4, 309:5,     locations [4] - 342:20,    manage [1] - 294:22        348:16, 349:5,          391:16, 393:24,
  309:7, 310:8,              398:25, 404:20,          manner [9] - 309:10,       352:12, 352:20,         434:24, 454:5,
  310:10, 341:22,            406:17                    318:9, 358:21,            353:1, 356:9,           456:12
  342:3, 342:5, 342:8,     log [2] - 334:5, 334:15     358:25, 418:17,           356:10, 357:1,         medication [2] -
  353:10, 358:17,          logs [4] - 323:8, 325:1,    419:16, 454:2,            361:21, 361:24,         337:2, 349:15
  358:22, 358:25,            327:8, 328:11             455:19, 473:2             362:19, 362:24,        meet [1] - 416:5
  359:4, 359:7,            longhand [1] - 474:9       mark [1] - 413:1           363:1, 367:19,         meeting [11] - 442:8,
  359:13, 359:16,          look [20] - 314:16,        marked [19] - 322:11,      368:23, 371:11,         442:13, 446:12,
  359:18, 418:3,             321:17, 323:5,            322:13, 365:25,           376:24, 377:12,         447:16, 450:24,
  418:13, 418:20,            327:3, 329:12,            366:1, 369:6, 369:8,      377:25, 378:4,          458:25, 459:20,
  418:25, 421:8,             339:8, 398:8,             404:3, 404:4, 438:8,      378:21, 379:8,          460:3, 460:6,
  422:1, 430:17,             398:25, 407:3,            440:22, 440:23,           381:5, 381:24,          460:19, 460:24
  431:4, 435:10,             407:10, 425:22,           441:4, 443:13,            381:25, 382:3,         meetings [1] - 375:4
  435:12, 435:15,            426:11, 428:18,           443:14, 444:10,           385:11, 387:9,         meets [1] - 429:13
  435:19, 435:21,            450:6, 451:16,            444:11, 445:2, 445:3      388:17, 388:19,        Melanie [36] - 297:14,
  435:22, 435:24,            454:24, 455:8,           married [1] - 385:8        389:21, 396:5,          298:1, 299:13,
  436:3, 454:17              456:14, 460:13,          Mary [1] - 351:16          396:9, 399:2, 407:2,    313:22, 314:6,
likelihood [1] - 343:8       461:23                   Maryland [14] -            407:16, 409:12,         314:11, 314:17,
likely [3] - 328:3,        looked [6] - 314:13,        351:20, 351:22,           409:13, 411:21,         316:1, 318:4,
  374:8, 377:21              325:8, 330:13,            352:3, 404:21,            413:19, 413:22,         337:12, 340:13,
limit [1] - 386:22           359:14, 384:19,           405:3, 405:25,            427:12, 437:21,         340:25, 375:4,
limited [1] - 453:11         426:13                    406:18, 406:20,           438:1, 438:9,           375:10, 375:12,
line [6] - 300:10,         looking [10] - 326:21,      407:21, 408:18,           438:12, 438:17,         375:18, 375:20,
  314:24, 331:10,            372:15, 378:19,           413:6, 413:12, 432:3      439:4, 440:25,          384:15, 385:3,
  392:13, 416:8,             394:24, 404:14,          mask [1] - 364:8           452:16, 452:21,         385:4, 385:14,
  455:19                     452:11, 466:8,           mass [5] - 423:9,          459:18, 459:19,         385:16, 385:19,
lines [1] - 301:6            466:9, 466:10             423:10, 423:14,           461:25, 463:15,         416:1, 424:3,
lineup [1] - 369:15        looks [1] - 419:2           423:22, 424:11            463:20, 464:2,          424:11, 424:14,
lingering [1] - 437:1      loose [1] - 452:7          mately [1] - 309:18        464:9, 467:2, 467:5,    424:24, 427:24,
link [1] - 471:12          lost [8] - 314:17,         materials [2] - 446:11,    467:12, 467:15,         428:2, 428:9,
links [1] - 407:12           379:24, 448:8,            446:20                    467:19, 467:20,         428:12, 429:3,
list [2] - 342:22,           448:10, 455:22,          mation [2] - 301:1,        468:17, 468:19,         429:22, 469:13,
  444:23                     456:6, 456:15,            349:4                     471:5, 471:6, 471:8,    470:11
listed [4] - 301:13,         456:17                   matter [26] - 292:3,       471:19, 471:25,        member [17] - 314:20,
  371:3, 372:4, 454:22     loud [1] - 310:7            292:6, 298:16,            472:5, 472:14           387:21, 387:23,
listen [2] - 303:5,        love [1] - 468:5            301:16, 308:12,          Mc [1] - 459:16          402:8, 402:12,
  303:15                   Lucas [1] - 455:5           344:3, 344:14,           McAleer [3] - 455:5,     441:17, 444:9,
lists [1] - 333:5          lying [8] - 301:20,         346:8, 347:4,             455:9, 455:17           445:1, 445:18,
live [3] - 336:2, 336:5,     332:18, 344:7,            347:13, 359:10,          McGaver [1] - 427:11     451:7, 457:14,
  433:2                      364:1, 364:4,             359:11, 363:19,          McKenzie [1] - 292:9     457:18, 457:19,
lived [4] - 355:25,          417:13, 420:4,            374:25, 376:7,           mean [17] - 334:8,       457:25, 463:10,
  356:3, 410:23, 468:7       420:19                    386:13, 415:25,           334:9, 358:16,          463:11, 467:25
lives [4] - 351:16,                                    416:5, 424:3,             358:17, 367:20,        member's [1] - 442:24
                                                                                 384:2, 384:5,          Member's [1] - 445:14
  351:24, 351:25,                     M                427:14, 428:8,
                                                                                 386:20, 393:10,
  352:2                                                428:16, 428:17,                                  Members [2] - 441:18,
living [2] - 432:5,        M-N/A [2] - 447:8,          471:21                    396:24, 418:21,         441:25
  470:15                    447:10                    maximize [1] - 294:23      422:3, 423:3, 436:4,   members [11] -
                           ma'am [3] - 341:10,        maximum [1] - 418:7        447:2, 447:9, 467:6     391:11, 391:16,
loafing [1] - 419:17
                            355:21, 399:16            MC [96] - 293:14,         means [3] - 348:3,       400:18, 423:24,
locate [4] - 331:4,
                           magazines [1] - 369:3       296:22, 302:17,           411:24, 447:10          425:1, 425:4,
  402:7, 403:2, 403:18
                           maintain [1] - 414:10       316:13, 316:18,          meant [2] - 301:3,       439:19, 450:21,
located [6] - 342:24,
                           maintained [2] -            316:22, 317:15,           305:25                  451:5, 456:22,
  401:10, 401:13,
  401:18, 405:22,           419:23, 425:21             318:7, 318:19,           measure [4] - 307:7,     472:21
  414:24                   maintains [1] - 425:18      319:9, 320:8,             307:14, 307:23,        memo [2] - 338:3,
                           majority [1] - 299:4        321:17, 322:2,            307:24                  343:21
location [12] - 320:15,
                           male [3] - 295:1,           322:9, 323:4,            mechanical [1] -        memorandum [2] -
  351:19, 405:10,
  405:11, 406:2,            295:20, 372:11             327:12, 328:17,           461:6                   445:11, 445:18
  408:20, 409:4,           Malone [1] - 466:12         329:14, 329:25,          med [3] - 391:16,       memorandums [2] -
  411:5, 411:10,           man [5] - 364:7,            331:19, 345:12,           392:8, 392:13           337:20, 337:21
  412:5, 412:22, 449:9      385:10, 466:5              346:6, 348:12,           medical [6] - 349:18,   memorize [1] - 333:11


   SUSAN K. TAYLOR                                      262-553-1058                             COURT REPORTER
                                                      sueT@wi.rr.com
                                                                                                                             14
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 489 of 501 Document 80-5
memory [2] - 413:13,      348:15, 368:12,          moment [5] - 316:8,       293:16, 293:17,        363:13, 363:14,
 446:20                   417:17, 418:10,           317:10, 359:17,          296:22, 296:25,        367:23, 369:7,
ment [5] - 335:6,         422:12, 422:13,           359:19, 455:8            297:3, 305:15,         370:21, 371:16,
 397:10, 422:17,          428:12, 435:12           Monday [1] - 354:17       305:17, 305:19,        371:21, 373:12,
 445:23, 458:16          mine [2] - 353:7, 452:6   month [1] - 342:18        306:7, 306:13,         373:14, 376:22,
mention [2] - 401:19,    minimize [1] - 294:22     months [10] - 315:18,     306:17, 306:20,        376:23, 381:3,
 410:11                  minimum [2] - 335:4,       315:20, 317:12,          306:21, 311:11,        381:4, 381:5,
mentioned [1] - 438:3     358:10                    332:4, 348:4,            314:24, 315:7,         381:25, 382:3,
mentioning [1] -         Minnesota [1] - 356:5      356:18, 436:8,           315:9, 315:13,         385:11, 385:22,
 401:16                  minute [15] - 326:25,      456:13, 456:17           315:16, 316:13,        385:23, 386:2,
mentions [1] - 410:13     328:2, 328:11,           mony [3] - 357:2,         316:16, 316:18,        386:4, 386:5, 386:6,
ments [1] - 446:8         333:16, 334:6,            431:2, 432:8             316:20, 316:22,        387:13, 388:16,
mere [1] - 419:9          334:7, 334:9, 360:1,     morning [9] - 292:1,      316:24, 317:2,         388:17, 388:19,
merits [1] - 442:9        360:14, 361:1,            340:8, 354:15,           317:4, 317:15,         389:21, 389:22,
message [11] -            434:3, 436:6, 460:8,      354:19, 361:4,           317:21, 318:1,         389:23, 389:25,
 404:10, 404:19,          460:11, 463:14            372:10, 390:20,          318:7, 318:10,         390:3, 390:8, 390:9,
 404:25, 405:2,          minutes [21] - 294:4,      426:16, 434:18           318:13, 318:16,        396:3, 396:4, 396:5,
 406:18, 407:8,           294:13, 314:19,          most [14] - 313:6,        318:19, 318:21,        396:7, 396:9, 399:2,
 407:9, 407:15,           323:20, 323:23,           343:16, 353:14,          319:13, 320:8,         399:4, 400:2, 400:3,
 407:16, 408:5, 466:7     325:6, 325:17,            353:22, 374:8,           320:10, 320:13,        400:9, 400:10,
messages [2] -            326:14, 327:1,            377:8, 377:21,           321:14, 321:17,        402:24, 403:2,
 360:12, 408:2            328:11, 334:16,           399:21, 412:1,           321:19, 321:21,        406:25, 407:1,
met [3] - 305:9,          336:4, 336:6,             417:21, 457:8,           322:1, 322:5, 322:7,   409:11, 409:12,
 385:10, 427:23           361:17, 409:1,            458:20, 458:21,          322:9, 322:12,         409:13, 411:21,
microphone [1] -          411:11, 430:9,            462:20                   323:4, 323:6,          413:17, 413:18,
 382:2                    435:18, 435:19,          mother [4] - 432:5,       326:19, 327:10,        413:19, 413:20,
                          460:15                    432:11, 432:20,          327:12, 327:13,        413:21, 413:22,
middle [8] - 323:15,
                         miracle [1] - 432:8        440:8                    328:12, 328:17,        413:23, 414:1,
 325:4, 326:6,
                         mis [1] - 343:18          Mother [1] - 324:5        328:19, 328:21,        414:5, 427:11,
 372:18, 386:23,
                         misconstrued [1] -        mother's [1] - 432:6      329:14, 329:17,        427:12, 437:15,
 387:2, 403:9, 416:3
                          301:2                    mother-in-law [1] -       329:20, 329:25,        437:17, 437:21,
midnight [3] - 369:21,
                         misrepre [1] - 419:4       440:8                    330:2, 330:5,          437:22, 438:1,
 370:4, 373:4
                         misrepresent [3] -        motion [3] - 342:8,       331:21, 333:20,        438:6, 438:9,
midst [1] - 309:1
                          344:12, 344:23,           472:11, 472:15           333:22, 333:25,        438:10, 438:11,
might [25] - 307:14,
                          417:6                    motiva [1] - 424:17       334:2, 334:3, 341:5,   438:12, 438:13,
 307:18, 311:3,
                         misrepresentation [1]                               341:10, 341:14,        438:17, 438:18,
 318:14, 318:19,                                   motivate [1] - 344:23
                          - 417:9                                            341:16, 341:20,        438:19, 439:3,
 319:24, 336:4,                                    motivated [1] - 422:10
                         misrepresenting [1] -                               343:22, 345:5,         439:7, 439:12,
 336:12, 355:21,                                   Motivation [1] -
                          344:7                                              345:7, 345:8,          439:15, 440:1,
 358:24, 362:4,                                     446:24
                                                                             345:12, 345:14,        440:6, 440:11,
 370:5, 383:13,          mission [4] - 418:1,      motivation [5] - 421:2,
                                                                             345:17, 346:2,         440:12, 440:25,
 394:25, 406:4,           419:17, 451:8,            421:3, 447:4, 447:6,
                                                                             346:4, 346:5, 346:6,   441:2, 452:6,
 406:5, 406:6,            472:25                    455:18
                                                                             346:11, 346:13,        452:10, 452:18,
 413:12, 417:16,         missions [1] - 416:4      motivations [3] -
                                                                             346:20, 346:22,        452:21, 459:15,
 426:6, 451:3, 460:7,    misstatement [1] -         422:3, 423:8, 425:25
                                                                             347:13, 347:24,        459:16, 459:18,
 460:12                   343:19                   motive [4] - 346:12,
                                                                             348:7, 348:12,         459:19, 461:25,
miles [3] - 339:11,      mistake [4] - 371:6,       417:6, 422:14,
                                                                             348:14, 348:16,        463:15, 463:20,
 340:4, 421:10            448:24, 448:25,           422:15
                                                                             348:17, 349:5,         463:21, 463:22,
military [1] - 425:3      449:1                    move [10] - 306:22,
                                                                             349:9, 349:20,         463:25, 464:2,
Milwaukee [14] -         mistaken [1] - 381:10      309:12, 327:10,
                                                                             350:17, 352:10,        464:7, 464:9, 467:2,
 351:25, 364:17,         mistakes [1] - 448:17      328:20, 341:16,
                                                                             352:12, 352:14,        467:4, 467:5, 467:9,
 390:14, 391:1,          misunderstanding [1]       437:20, 439:1,
                                                                             352:17, 355:21,        467:12, 467:14,
 416:20, 416:25,          - 344:3                   439:24, 471:22,
                                                                             356:7, 356:9,          467:15, 467:17,
 431:19, 432:20,         mitigated [1] - 449:4      472:13
                                                                             356:10, 357:1,         467:19, 467:20,
 440:17, 464:15,         mitigating [7] - 447:5,   moved [3] - 342:10,
                                                                             361:21, 361:23,        468:17, 468:18,
 465:10, 465:11,          447:10, 447:12,           437:18, 438:4
                                                                             361:24, 362:2,         471:6, 471:8,
 468:1, 471:10            447:19, 448:13,          moving [1] - 341:18
                                                                             362:18, 362:19,        471:19, 471:21,
MILWAUKEE [1] -           449:21, 455:18           MPD [2] - 452:15,         362:20, 362:22,        471:24, 471:25,
 474:2                   mitted [1] - 408:14        462:13                   362:24, 362:25,        472:2, 472:5, 472:6,
mind [11] - 323:4,       mom [2] - 417:5,          MR [258] - 292:1,         363:1, 363:2, 363:4,   472:7, 472:15,
 336:7, 345:3,            431:23                    292:15, 293:14,          363:5, 363:8,          472:19

   SUSAN K. TAYLOR                                   262-553-1058                            COURT REPORTER
                                                   sueT@wi.rr.com
                                                                                                                       15
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 490 of 501 Document 80-5
MS [75] - 302:17,          442:23, 444:25          noise [2] - 310:6,         332:4, 332:8              438:23, 438:24,
 311:10, 319:9,           near [1] - 441:18         310:7                    nowhere [1] - 317:19       472:16
 322:2, 326:16,           necessarily [5] -        non [1] - 309:8           number [55] - 311:7,      objectives [1] - 416:4
 331:19, 333:23,           312:16, 319:10,         non-emergency [1] -        320:24, 320:25,          observation [1] -
 334:1, 348:2,             334:8, 374:23, 377:5     309:8                     321:22, 321:24,           459:2
 352:20, 353:1,           necessary [4] - 308:7,   non-PI-21 [1] - 403:10     322:3, 322:14,           observations [4] -
 353:2, 353:8,             308:8, 454:17, 456:2    none [9] - 310:1,          322:24, 322:25,           394:2, 395:7,
 353:13, 353:23,          neck [5] - 330:9,         319:5, 337:12,            323:9, 323:19,            425:16, 458:24
 354:1, 354:5, 354:9,      395:4, 431:24,           360:7, 425:15,            327:16, 333:5,           observe [2] - 365:13,
 354:23, 355:18,           432:11, 432:12           428:11, 433:14,           333:8, 333:13,            395:10
 355:23, 356:2,           need [16] - 300:3,        436:13, 463:5             333:14, 362:15,          observed [4] - 297:5,
 356:6, 361:25,            302:10, 303:25,         nonsense [1] - 434:13      363:3, 366:2,             371:19, 393:5,
 362:3, 367:19,            307:22, 349:17,         normal [2] - 379:13,       366:14, 366:17,           398:13
 368:23, 370:2,            371:17, 401:7,           399:10                    367:11, 367:13,          obvious [1] - 329:22
 370:8, 370:11,            409:6, 409:8, 409:9,    normally [2] - 379:8,      368:3, 371:23,           obviously [1] - 427:13
 370:16, 370:20,           415:9, 425:14,           379:11                    381:21, 381:25,          Occam's [1] - 423:16
 371:11, 371:14,           443:5, 463:16,          North [17] - 306:23,       382:11, 383:13,          occasion [1] - 297:4
 376:24, 377:12,           468:23                   306:24, 342:13,           383:16, 386:13,          occasionally [1] -
 377:25, 378:4,           needed [13] - 299:8,      358:14, 359:8,            386:24, 387:1,            411:10
 378:21, 379:8,            378:12, 379:3,           365:6, 404:21,            387:3, 387:4, 387:5,     occasions [1] - 376:2
 379:23, 380:2,            380:20, 380:21,          405:3, 405:25,            387:6, 404:5,            occur [4] - 297:20,
 380:8, 380:12,            391:15, 392:17,          406:18, 406:20,           406:18, 406:19,           314:10, 315:17,
 380:17, 381:24,           392:18, 393:24,          413:5, 413:11,            407:9, 412:25,            361:15
 385:12, 385:25,           397:11, 415:1,           430:16, 432:2             423:3, 432:17,           occurred [18] -
 387:9, 399:5,             428:13, 433:8           north [4] - 343:1,         434:13, 437:18,           315:18, 317:12,
 399:11, 399:17,          needing [1] - 428:5       353:3, 353:4, 353:7       441:17, 441:21,           321:9, 323:22,
 402:20, 407:2,           needs [3] - 298:24,      nose [1] - 330:10          443:5, 443:15,            339:17, 346:25,
 407:16, 407:19,           299:25, 429:14          note [3] - 378:15,         451:21, 452:15,           356:12, 356:13,
 408:12, 408:22,          Nelson [1] - 466:11       446:2, 473:5              452:17, 454:24            361:4, 361:5,
 411:23, 412:6,           neutral [1] - 426:3      noted [1] - 407:13        numbers [10] -             384:13, 426:19,
 412:9, 412:14,           never [23] - 297:10,     notes [4] - 337:15,        312:13, 322:21,           428:11, 428:25,
 412:19, 413:5,            298:21, 298:22,          398:18, 398:22,           322:23, 333:11,           434:3, 434:4, 447:22
 439:1, 439:4, 439:6,      304:5, 309:4, 320:4,     474:9                     383:9, 386:16,           occurring [2] -
 452:8, 452:14,            330:18, 331:15,                                    387:8, 393:21,            343:10, 390:25
                                                   Notes [1] - 450:16
 452:16, 452:23,           332:5, 332:6, 332:7,                               413:11
                                                   nothing [29] - 295:15,                              occurs [1] - 384:12
 468:19, 471:5,            351:5, 354:5,                                     numerous [1] - 401:10
                                                    311:6, 311:13,                                     October [7] - 305:19,
 472:13, 472:14            380:15, 385:10,                                   nurses [2] - 395:12,
                                                    311:15, 320:16,                                     314:12, 357:21,
multiple [2] - 381:6,      388:7, 388:14,                                     397:16
                                                    361:21, 362:20,                                     358:5, 375:17,
 423:23                    414:18, 425:19,          363:11, 378:10,                                     384:17, 385:2
Murray [3] - 351:21,       430:14, 430:15,          381:3, 385:11,                     O               OF [2] - 474:1, 474:2
 351:23, 352:3             434:1, 435:9             386:9, 388:8,                                      offenders [1] - 364:25
                          new [4] - 384:2,                                   oath [7] - 292:14,
                                                    389:21, 389:22,                                    offenses [1] - 458:21
           N               388:21, 388:25,          390:7, 399:4, 400:2,      363:11, 390:6,
                                                                                                       offer [3] - 298:11,
                           448:17                                             400:7, 440:4, 464:5,
                                                    400:8, 411:21,                                      415:25, 442:11
N/A [2] - 447:8, 447:10   newer [1] - 448:16                                  467:18
                                                    413:19, 416:1,                                     offered [8] - 294:14,
nail [1] - 319:3          next [11] - 333:18,                                objec [1] - 345:19
                                                    440:5, 456:12,                                      299:16, 427:3,
name [14] - 292:5,         341:17, 341:19,                                   object [6] - 293:14,
                                                    463:20, 464:5,                                      428:4, 438:7, 438:8
 295:5, 295:17,            394:3, 419:11,           467:2, 468:17,            316:13, 320:9,
                                                                                                       offering [3] - 300:6,
 295:19, 295:20,           444:3, 444:19,           471:19                    328:17, 329:14,
                                                                                                        319:22, 438:2
 374:18, 390:10,           445:7, 446:23,                                     346:6
                                                   notice [3] - 307:11,                                office [4] - 380:24,
 400:25, 440:13,           447:2, 447:8                                      objection [17] -
                                                    309:13, 383:12                                      383:7, 462:24
 452:23, 464:10,          nice [1] - 399:7                                    296:22, 316:17,
                                                   noticed [1] - 395:25                                Office [1] - 462:25
 464:12                   Nicole [1] - 442:6                                  317:16, 317:19,
                                                   notifies [1] - 324:22                               Officer [32] - 320:23,
namely [1] - 421:22                                                           317:25, 318:8,
                          night [5] - 338:23,      notify [4] - 307:16,                                 362:13, 380:9,
names [1] - 313:21         380:17, 392:23,                                    323:6, 327:12,
                                                    409:5, 412:23, 413:3                                380:16, 396:21,
nation [1] - 384:3         399:25, 466:11                                     330:1, 345:12,
                                                   notifying [2] - 411:17,                              402:14, 403:12,
naturally [1] - 346:18    nine [3] - 354:24,                                  345:18, 348:16,
                                                    411:18                                              403:16, 403:21,
nature [7] - 315:11,       456:13, 460:14                                     437:21, 439:3,
                                                   notion [1] - 417:20                                  404:25, 405:1,
 329:4, 329:16,           nobody [4] - 427:15,                                439:6, 439:7, 471:25
                                                   November [4] -                                       405:13, 406:15,
 401:20, 426:11,           430:24, 471:1                                     objections [5] - 318:7,
                                                    314:18, 315:21,                                     406:16, 410:2,

   SUSAN K. TAYLOR                                   262-553-1058                              COURT REPORTER
                                                   sueT@wi.rr.com
                                                                                                                           16
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 491 of 501 Document 80-5
 410:3, 410:5,            297:14, 298:5,           454:24                   450:10, 451:24             296:12, 311:1,
 410:12, 427:23,          298:19, 299:1,          opposed [1] - 413:12     Page [11] - 323:2,          311:3, 374:22,
 427:24, 428:23,          308:24, 310:2,          option [1] - 412:25       324:25, 326:4,             380:15, 386:20,
 431:22, 432:18,          321:15, 325:17,         orally [1] - 456:23       333:1, 334:12,             387:4, 399:22
 433:13, 453:1,           325:25, 326:25,         order [10] - 308:15,      366:10, 373:21,           Patrol [1] - 372:18
 453:13, 455:9,           328:11, 331:7,           313:24, 320:22,          403:4, 406:10,            pauses [1] - 419:2
 455:17, 458:12,          333:16, 334:7,           342:7, 359:4,            452:5, 452:8              Pederson [3] - 357:7,
 464:3, 466:12            334:9, 338:20,           431:25, 438:21,         pain [1] - 337:2            414:3, 462:9
officer [34] - 296:11,    342:8, 346:15,           440:10, 472:8,          paint [1] - 424:10         PEDERSON [105] -
 298:10, 312:3,           346:18, 357:17,          472:24                  panel [3] - 292:7,          292:15, 293:16,
 312:5, 312:17,           358:7, 358:17,          ordinances [1] - 454:2    472:20, 472:21             297:3, 305:17,
 313:23, 314:7,           360:15, 365:18,         oriented [1] - 304:12    panic [3] - 432:1,          306:17, 306:21,
 321:2, 360:4,            371:5, 376:7,           otherwise [2] -           432:3, 435:25              311:11, 315:7,
 380:11, 384:25,          378:23, 391:6,           415:12, 472:10          panicking [1] - 431:9       315:13, 315:16,
 388:11, 394:25,          391:24, 391:25,         ous [1] - 454:2          paper [1] - 326:17          316:16, 316:20,
 395:3, 401:3,            392:9, 392:13,          outcome [2] - 450:21,    paperwork [1] - 294:9       317:2, 317:4, 318:1,
 401:17, 401:18,          393:1, 394:14,           450:22                  parades [1] - 309:7         318:10, 318:16,
 402:13, 404:18,          395:17, 398:3,          outgoing [1] - 326:22    paragraph [4] - 357:9,      318:21, 319:13,
 408:23, 412:21,          399:5, 401:20,          outlines [2] - 441:11,    403:8, 403:9, 406:11       320:13, 321:14,
 415:9, 417:14,           404:14, 405:24,          444:8                   parent [1] - 430:1          321:21, 322:1,
 422:17, 425:2,           407:4, 408:10,          outside [3] - 389:15,    part [23] - 298:23,         322:5, 322:12,
 431:19, 431:25,          413:2, 415:9,            398:12, 417:25           298:24, 307:23,            323:6, 326:19,
 437:6, 437:9,            416:17, 417:3,          overheard [1] - 318:25    308:14, 309:12,            327:10, 328:19,
 458:14, 464:15,          419:19, 422:2,                                    310:25, 311:24,            328:21, 329:20,
                                                  overrule [1] - 345:18
 464:17, 469:18           423:24, 426:24,                                   313:15, 356:15,            331:21, 333:22,
                                                  overruled [1] - 348:17
Officers [1] - 432:9      428:18, 432:17,                                   363:23, 374:20,            333:25, 334:2,
                                                  oversee [1] - 365:12
officers [45] - 298:2,    433:25, 435:16,                                   375:4, 401:21,             334:3, 341:5,
                                                  overseeing [2] -
 298:6, 298:18,           437:24, 439:13,                                   401:25, 402:1,             341:10, 341:16,
                                                   374:20, 374:21
 299:2, 310:15,           441:2, 443:11,                                    402:6, 415:20,             341:20, 343:22,
                                                  oversight [1] - 386:15
 310:20, 310:25,          446:2, 447:3,                                     420:22, 424:10,            345:7, 345:8,
                                                  overtime [3] - 294:11,
 311:7, 311:13,           448:10, 449:12,                                   426:1, 444:17,             345:14, 346:2,
                                                   294:23, 471:3
 311:16, 312:13,          449:17, 453:5,                                    469:4, 469:15              346:5, 346:11,
                                                  own [15] - 299:12,
 312:21, 313:8,           455:5, 458:11,                                   parti [1] - 382:16          346:20, 346:22,
                                                   300:16, 301:10,
 313:11, 313:19,          458:21, 459:3,                                                               348:7, 348:14,
                                                   301:24, 324:3,          participants [1] -
 314:3, 318:2,            461:14, 461:18,                                                              349:20, 350:17,
                                                   328:1, 348:15,           439:13
 318:24, 319:24,          462:2, 462:9, 463:9,                                                         352:10, 355:21,
                                                   353:14, 417:21,         participatory [1] -
 337:9, 340:22,           466:23                                                                       362:20, 362:25,
                                                   418:3, 425:10,           468:7
 344:17, 362:6,          one-day [1] - 461:18                                                          363:2, 363:5,
                                                   425:15, 427:18,         particu [1] - 382:21
 391:10, 400:24,         ones [1] - 458:11                                                             363:14, 367:23,
                                                   431:12, 469:22          particular [5] - 382:22,
 401:11, 401:13,         open [3] - 395:12,                                                            369:7, 370:21,
                                                  owned [1] - 300:16        384:22, 384:23,
 401:16, 401:19,          395:13, 472:20                                                               371:16, 371:21,
                                                                            425:24, 441:13
 411:2, 411:4,           opened [2] - 364:9,                                                           371:25, 373:14,
 411:10, 411:16,          395:17                            P              particulars [1] -
                                                                                                       376:22, 381:3,
                                                                            379:17
 423:8, 424:17,          opening [1] - 420:12                                                          385:22, 386:2,
                                                  p.m [14] - 366:10,       partner [1] - 466:16
 427:19, 428:17,         operate [1] - 454:1                                                           386:5, 386:6,
                                                   369:19, 369:20,         partners [3] - 456:4,
 434:10, 436:2,          operated [1] - 358:20                                                         387:13, 388:16,
                                                   370:5, 370:13,           465:21, 466:7
 436:11, 436:12,         operates [1] - 430:18                                                         389:22, 389:25,
                                                   370:14, 370:17,         parts [2] - 426:21
 436:15, 448:16,         operating [10] -                                                              390:3, 390:9, 396:3,
                                                   370:18, 370:19,         party [2] - 360:17,
 448:18, 457:12           341:23, 358:25,                                                              399:4, 400:2,
                                                   372:25, 373:1, 473:9     426:3
official [2] - 450:9,     418:13, 418:16,                                                              400:10, 402:24,
                                                  P.M [1] - 473:11         passed [3] - 362:4,
 458:15                   419:9, 419:16,                                                               403:2, 406:25,
                                                  package [1] - 427:2       362:7, 440:8
often [3] - 296:12,       421:8, 449:7,                                                                413:18, 413:21,
                                                  packet [3] - 451:23,     passes [1] - 431:8
 411:16                   454:16, 456:1                                                                414:5, 437:17,
                                                   452:20, 462:10          passing [1] - 295:15
oftentimes [1] -         operator [1] - 454:4                                                          438:11, 438:18,
                                                  page [16] - 300:9,       past [5] - 308:15,
 421:12                  operators [1] - 453:25                                                        440:1, 440:12,
                                                   325:1, 325:5, 326:6,     308:16, 310:8,
omitted [1] - 303:4      opinion [2] - 442:11,                                                         441:2, 452:6,
                                                   331:7, 331:19,           342:8, 449:20
once [3] - 305:1,         465:8                                                                        452:10, 452:18,
                                                   331:20, 331:21,         path [1] - 427:6
 359:11, 374:5           opportunity [5] -                                                             459:15, 463:21,
                                                   333:18, 357:7,          patients [1] - 395:14
oncoming [1] - 308:3      409:7, 414:2,                                                                463:25, 467:4,
                                                   372:15, 373:20,         patrol [11] - 295:15,
one [78] - 296:2,         421:21, 445:19,                                                              468:18, 471:21,
                                                   403:9, 450:7,            296:6, 296:10,             472:6

   SUSAN K. TAYLOR                                  262-553-1058                              COURT REPORTER
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                                                                                                                          17
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 492 of 501 Document 80-5
penalty [1] - 462:6        428:8, 428:16,           402:16, 416:7,           PM-5 [2] - 443:19,        428:16, 440:15
pending [1] - 429:10       433:21                   429:4, 429:25,            443:21                  positive [1] - 351:1
people [25] - 309:3,      personally [5] -          430:1, 430:3, 430:9,     PO [1] - 455:5           posses [1] - 458:13
 309:5, 313:2, 313:3,      296:12, 305:14,          430:12, 431:17,          point [22] - 300:6,      possess [1] - 344:10
 319:3, 350:14,            317:13, 321:6, 402:8     431:18, 431:22,           302:22, 317:18,         possibility [3] -
 362:6, 362:10,           personnel [10] -          432:6, 433:25,            337:3, 345:23,           389:20, 395:24,
 362:15, 364:24,           312:12, 371:3,           434:1, 434:2, 434:3,      360:4, 362:4, 362:5,     460:9
 371:5, 376:15,            372:1, 372:3,            434:13, 466:7             378:10, 378:18,         possible [21] - 301:19,
 378:2, 395:9,             374:21, 374:22,         phonetic [1] - 466:12      381:21, 389:9,           307:6, 308:23,
 395:25, 398:2,            391:1, 402:5, 428:8,    phonetic) [1] - 295:22     419:14, 419:15,          373:22, 382:10,
 401:8, 401:10,            441:21                  photo [1] - 375:19         420:2, 422:9,            382:14, 382:15,
 418:20, 420:21,          perspective [1] -        photographs [1] -          422:13, 433:9,           383:20, 386:7,
 420:22, 421:23,           395:24                   391:23                    433:11, 435:16,          386:9, 386:11,
 423:3, 433:14, 469:6     Petitioner [1] - 363:1   photos [2] - 330:12,       450:3, 469:15            389:8, 389:13,
PeopleSoft [1] -          Phase [6] - 292:10,       398:13                   points [1] - 316:10       389:14, 418:7,
 384:19                    439:16, 439:25,         phrased [1] - 357:20      pole [1] - 435:25         418:12, 424:17,
per [2] - 311:25, 416:2    440:20, 464:1,          physically [2] - 386:8,   police [38] - 319:23,     425:20, 426:20,
percent [1] - 389:5        472:21                   408:13                    324:1, 324:19,           426:23, 460:10
perceptions [1] -         phase [2] - 362:23,      physicians [1] -           340:15, 341:1,          possibly [1] - 390:25
 425:16                    376:13                   397:16                    341:8, 360:4,           potential [1] - 401:22
perfectly [2] - 370:4,    phone [104] - 320:24,    PI-21 [6] - 306:15,        374:21, 380:11,         potentially [1] - 347:1
 415:6                     320:25, 321:4,           310:9, 346:17,            384:25, 390:15,         power [2] - 295:14,
perform [2] - 292:21,      321:6, 321:10,           347:11, 347:15,           394:25, 395:2,           369:18
 293:20                    321:12, 321:13,          361:18                    403:25, 410:11,         Power [3] - 369:16,
performed [2] -            321:19, 321:22,         pick [5] - 401:23,         416:4, 416:25,           370:11, 370:14
 296:13, 431:13            321:24, 322:19,          403:23, 421:7,            417:14, 420:4,          practicable [1] - 473:8
performing [1] -           322:20, 322:21,          432:10, 433:21            424:16, 425:2,          practice [5] - 384:8,
 417:25                    322:23, 323:8,          picked [4] - 328:8,        427:19, 428:6,           389:2, 411:4, 411:6,
perhaps [3] - 301:19,      323:9, 323:18,           360:24, 401:13,           428:17, 428:19,          427:20
 346:18, 458:20            323:19, 323:25,          401:19                    429:9, 430:5,           preferably [1] - 354:18
period [4] - 325:2,        324:9, 324:10,          picture [3] - 314:13,      431:19, 432:21,         preferential [1] -
 345:21, 434:7,            325:1, 325:2, 325:9,     384:19, 385:6             435:21, 435:22,          432:22
 435:17                    325:14, 325:15,         pictures [2] - 330:12,     435:24, 436:15,         preliminary [1] -
permission [2] -           325:20, 325:22,          394:5                     464:15, 464:17,          365:15
 353:24, 354:2             326:10, 326:13,         piece [6] - 310:5,         468:24, 469:18          premise [1] - 314:25
permit [1] - 429:7         326:14, 326:23,          326:17, 356:23,          Police [22] - 292:6,     premises [1] - 381:1
perry [1] - 371:11         327:7, 327:16,           363:23, 417:18,           352:8, 364:17,          prepares [2] - 446:18,
Perry [11] - 295:17,       327:25, 328:4,           417:21                    390:14, 391:1,           446:19
 371:8, 371:14,            328:9, 332:7,           pieces [1] - 424:1         410:18, 410:19,         preponderance [2] -
 372:12, 374:1,            332:22, 332:25,         pile [1] - 443:1           410:24, 413:7,           439:20, 439:22
 374:3, 374:9, 376:8,      333:5, 333:8,           place [8] - 327:20,        416:20, 427:23,         present [6] - 366:20,
 376:11, 383:12,           333:10, 333:13,          361:19, 364:17,           431:20, 433:5,           366:22, 414:2,
 383:20                    333:14, 333:15,          367:25, 383:21,           433:6, 440:16,           442:2, 442:13, 474:5
person [13] - 297:25,      333:21, 334:8,           389:15, 391:21,           440:17, 453:1,
                                                                                                      Present [2] - 441:18,
 299:5, 311:25,            334:13, 334:14,          437:7                     465:10, 465:11,
                                                                                                       441:25
 346:14, 364:1,            334:15, 336:25,         placed [7] - 323:19,       468:1, 471:10, 473:6
                                                                                                      presenta [1] - 432:16
 366:12, 380:23,           337:15, 337:24,          332:22, 333:15,          policy [4] - 335:6,
                                                                                                      presented [8] -
 395:5, 402:7,             338:1, 340:8,            334:4, 334:13,            408:24, 427:21,
                                                                                                       357:16, 369:8,
 421:22, 464:22,           340:14, 341:3,           335:25, 459:8             450:11
                                                                                                       404:4, 423:13,
 466:11, 468:22            346:25, 348:8,          plain [1] - 318:6         poorly [2] - 357:20,
                                                                                                       432:18, 432:24,
person's [1] - 374:18      349:2, 359:12,          plaint [1] - 414:16        432:25
                                                                                                       440:23, 441:3
personal [21] - 297:15,    359:23, 359:24,                                   portion [2] - 442:16,
                                                   plan [2] - 293:19,                                 presenting [6] - 303:6,
 297:16, 303:3,            360:1, 360:14,                                     442:18
                                                    418:9                                              322:13, 423:12,
 308:1, 331:1, 333:8,      360:15, 360:17,                                   posit [2] - 431:2,
                                                   planned [1] - 349:11                                432:19, 439:18,
 334:14, 351:13,           360:19, 360:21,                                    435:12
                                                   plate [1] - 369:5                                   445:3
 352:7, 393:23,            360:22, 360:24,                                   posited [1] - 427:25
                                                   play [4] - 419:13,                                 presents [2] - 416:6,
 394:2, 396:24,            361:1, 361:3,                                     position [9] - 364:21,
                                                    419:24, 470:17                                     460:21
 397:11, 415:24,           361:10, 361:14,                                    395:21, 414:8,
                                                   plenty [1] - 302:12                                presiding [1] - 292:6
 416:5, 424:23,            362:15, 367:18,                                    417:23, 418:2,
                                                   pline [1] - 457:3                                  pretty [5] - 315:3,
 425:15, 428:1,            379:19, 394:15,                                    418:10, 421:17,
                                                   plus [1] - 421:24                                   397:22, 424:9,

   SUSAN K. TAYLOR                                   262-553-1058                             COURT REPORTER
                                                   sueT@wi.rr.com
                                                                                                                           18
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 493 of 501 Document 80-5
 432:13, 434:14           protect [1] - 364:6        313:19, 314:25,           403:15, 403:19,          record [21] - 323:18,
previous [3] - 317:22,    protective [1] - 324:19    402:6                     406:21, 422:13,           325:1, 331:22,
 317:24, 357:18           protocol [2] - 435:5,     questions [22] - 300:5,    445:15, 453:24,           336:23, 352:16,
previously [4] -           435:9                     335:18, 339:6,            454:7, 456:25             373:12, 388:4,
 294:25, 324:17,          prove [3] - 417:12,        346:14, 349:16,          reading [1] - 438:20       390:11, 425:17,
 368:14, 466:3             417:17, 423:10            350:18, 352:12,          ready [5] - 341:16,        426:5, 438:3, 438:7,
primary [1] - 400:14      provide [3] - 297:23,      352:19, 356:8,            352:17, 371:18,           438:20, 438:22,
Principle [3] - 451:24,    336:11, 412:17            356:11, 357:2,            408:25, 433:18            439:11, 440:13,
 452:19, 453:22           provided [10] -            357:8, 358:12,           reality [1] - 418:22       449:20, 454:19,
principle [2] - 419:9,     318:11, 322:24,           381:4, 388:18,           realize [1] - 430:11       456:15, 458:19,
 462:12                    328:16, 337:18,           396:7, 409:11,           realizes [2] - 431:15,     464:11
printout [1] - 366:4       337:19, 349:4,            421:19, 424:13,           433:18                   recorded [4] - 334:5,
prioritize [1] - 299:12    428:7, 442:19,            426:9, 463:23, 467:5     really [6] - 362:13,       338:9, 339:20, 474:7
priority [2] - 364:18,     454:5, 473:7             quick [6] - 307:20,        364:5, 364:15,           records [12] - 321:20,
 469:5                    provides [1] - 419:19      309:13, 418:5,            385:4, 424:7, 467:1       325:9, 326:10,
privacy [3] - 395:11,     providing [1] - 348:11     418:12, 429:20,          rear [1] - 452:19          326:21, 332:25,
 395:15, 395:17           proximity [1] - 392:11     455:8                    reason [24] - 296:6,       333:1, 359:23,
privy [2] - 356:23,       public [1] - 457:14       quickly [1] - 418:6        297:24, 300:18,           359:25, 360:15,
 358:8                    pull [9] - 307:14,        quite [14] - 319:6,        301:22, 303:12,           360:21, 416:7, 434:1
probation [2] -            307:17, 309:11,           339:14, 383:18,           304:21, 308:9,           recover [1] - 369:4
 388:23, 389:2             341:24, 342:5,            385:5, 385:14,            314:6, 320:25,           recovered [2] - 343:5,
problem [4] - 313:23,      353:11, 357:4,            385:16, 389:7,            365:17, 369:4,            369:2
 345:17, 425:8,            364:10, 385:6             393:16, 401:6,            374:5, 384:23,           RECROSS [1] -
 469:20                   pulled [9] - 324:5,        426:14, 434:15,           386:22, 387:1,            388:19
problems [2] - 431:15,     324:7, 352:23,            434:16, 454:19,           387:4, 387:18,           RECROSS-
 471:17                    362:16, 375:19,           467:12                    388:10, 388:12,           EXAMINATION [1] -
procedure [1] -            417:14, 418:6,           quote [1] - 410:7          388:13, 414:21,           388:19
 353:14                    428:22, 431:13           quotes [1] - 466:4         417:15, 422:9,           red [1] - 454:17
proceed [4] - 352:18,     pulling [2] - 307:18,                                422:10                   redirect [4] - 352:13,
 356:8, 437:15,            430:16                             R               reasonable [1] - 427:1     352:18, 356:8,
 438:13                   pulls [1] - 431:10                                  reasons [7] - 297:14,      463:21
proceeded [2] -           purpose [7] - 303:1,      race [1] - 372:6           302:12, 308:24,          REDIRECT [3] -
 430:13, 431:5             303:2, 304:19,           radio [8] - 367:1,         309:8, 422:8, 449:9,      356:10, 386:6, 471:8
proceeding [3] -           315:13, 335:11,           367:18, 386:11,           454:22                   refer [1] - 300:8
 292:11, 468:20,           378:13, 425:12            412:24, 428:24,          rebut [1] - 425:23        reference [1] - 357:23
 469:2                    purposefully [2] -         453:2, 453:18            rebuttal [1] - 363:3      referenced [3] -
proceedings [3] -          344:8, 344:12            raised [2] - 432:16,      receive [2] - 455:13,      360:15, 360:21,
 439:17, 439:25,          purposely [1] - 310:10     470:9                     462:23                    473:5
 465:1                    purposes [1] - 439:8      raising [1] - 315:15      received [15] - 327:14,   referencing [6] -
PROCEEDINGS [1] -         pursuit [1] - 455:10      ran [1] - 364:8            350:22, 351:3,            297:4, 332:23,
 473:11                   pushed [1] - 395:18       range [1] - 370:8          398:20, 404:10,           338:17, 338:22,
process [6] - 316:4,      put [9] - 304:2, 324:3,   rare [1] - 386:15          416:8, 437:23,            452:18, 453:22
 319:10, 353:13,           364:12, 367:24,          rate [1] - 422:1           442:22, 449:25,          referred [1] - 450:5
 360:3, 383:7, 383:8       392:8, 398:21,           raw [1] - 425:6            451:19, 452:11,          referring [12] - 306:15,
produced [2] - 444:7,      466:4, 466:23, 469:2     rays [2] - 392:22,         453:4, 455:11,            310:4, 335:8, 335:9,
 444:23                   puts [1] - 430:17          397:21                    463:2, 463:18             339:8, 342:16,
productive [1] -          putting [1] - 379:10      razor [1] - 423:17        recognize [2] -            342:17, 345:22,
 467:25                                             re [2] - 316:21, 317:3     295:18, 315:11            371:9, 373:13,
                                                    re-ask [2] - 316:21,      recognized [1] -           373:18, 399:15
profes [1] - 428:16                  Q
professional [1] -                                   317:3                     313:20                   reflect [1] - 366:6
 434:24                   qualified [1] - 329:15    reach [1] - 302:6         recollection [10] -       reflected [2] - 383:2,
professionalism [1] -     quarrel [2] - 410:25,     reached [1] - 336:25       319:20, 320:5,            410:9
 450:12                    463:6                    reaching [2] - 470:24,     320:6, 339:16,           reflecting [1] - 369:23
program [2] - 344:17,     quarters [1] - 359:20      470:25                    399:6, 399:9, 435:1,     refused [1] - 383:6
 384:19                   quently [1] - 332:4       read [19] - 300:13,        447:15, 460:2,           regard [3] - 340:20,
promptly [2] - 451:6,     ques [1] - 313:5           300:23, 302:6,            460:23                    456:18, 462:3
 462:18                   questioned [3] -           315:3, 318:20,           recommendation [1] -      regarding [27] - 296:9,
proper [2] - 334:24,       346:17, 347:12,           318:22, 331:13,           445:13                    296:16, 297:19,
 335:1                     361:17                    331:17, 332:1,           reconvene [1] -            303:2, 313:14,
prostitute [1] - 353:9    questioning [3] -          347:10, 347:20,           439:10                    330:16, 330:17,

   SUSAN K. TAYLOR                                    262-553-1058                              COURT REPORTER
                                                    sueT@wi.rr.com
                                                                                                                              19
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 494 of 501 Document 80-5
 338:9, 339:13,            384:23, 394:16,           312:12, 313:18,          436:18, 436:22              Discussed [1] -
 341:12, 342:2,            398:3, 453:19,            341:21, 342:12,         responsibility [2] -         442:16
 345:16, 349:1,            460:23                    349:17, 375:5,           298:10, 299:24            reviewing [2] - 303:8,
 375:5, 375:13,           render [2] - 451:5,        382:13, 383:17,         responsible [7] -            383:11
 401:23, 402:10,           462:18                    392:18, 396:17,          305:2, 313:4, 350:8,      riddled [1] - 436:11
 404:21, 406:20,          renew [1] - 329:25         428:6, 428:20,           374:19, 374:21,           ride [1] - 394:5
 418:2, 424:13,           repeat [3] - 341:14,       429:9, 432:11, 433:9     400:17, 460:16            rig [1] - 392:13
 441:11, 445:5,            343:24, 364:25           represent [1] - 446:9    responsive [3] -           rights [1] - 457:17
 451:11, 465:18,          repeatedly [1] - 432:6    representation [1] -      298:13, 341:18,           rigs [2] - 391:17,
 465:19, 466:5            rephrase [1] - 318:18      327:7                    348:25                      392:8
regular [2] - 310:7,      report [71] - 304:20,     representative [7] -     rest [3] - 413:20,         Riley [6] - 311:21,
 311:1                     311:23, 312:1,            332:2, 339:5,            467:12, 472:5               312:20, 313:1,
regularly [5] - 296:6,     312:4, 312:6,             347:19, 347:21,         restate [3] - 305:18,        337:10, 401:15
 296:10, 296:11,           312:17, 312:23,           361:17, 424:24,          346:20, 369:22            rings [1] - 431:18
 299:1, 354:9              313:9, 313:21,            440:20                  rested [1] - 362:23        risk [1] - 422:20
regulation [1] - 449:3     314:3, 315:3, 319:2,     reprimand [2] -          restrain [1] - 341:13      roadway [1] - 435:23
rehash [1] - 338:12        332:1, 332:8,             449:25, 450:9           restraining [1] -          robberies [2] - 465:15,
reiterate [1] - 318:8      336:18, 338:19,          requested [2] -           313:24                      466:6
reiterated [1] - 301:24    340:12, 344:6,            300:19, 428:5           restrict [1] - 341:6       rode [7] - 356:22,
relate [10] - 366:12,      345:23, 346:1,           require [2] - 294:11,    rests [2] - 363:1,           391:6, 391:18,
 369:17, 376:9,            347:5, 350:8,             374:24                   463:25                      391:20, 391:23,
 404:17, 404:23,           350:10, 350:11,          required [1] - 417:25    result [3] - 361:1,          391:24, 401:20
 406:23, 441:13,           350:13, 351:6,           requirement [1] -         436:25, 456:6             role [3] - 385:16,
 442:18, 443:8, 458:6      357:20, 357:23,           453:24                  resulted [1] - 389:18        442:10, 442:11
related [3] - 301:16,      358:2, 358:8,            requires [3] - 423:12,   results [1] - 449:18       roll [1] - 372:24
 356:16, 367:5             361:14, 375:10,           423:23, 472:9           reswear [1] - 363:6        room [16] - 358:7,
relates [11] - 304:17,     378:24, 379:6,           reread [1] - 331:22      retain [1] - 398:22          392:9, 392:10,
 404:18, 448:4,            379:10, 379:13,          rescinded [1] - 461:19   retalia [1] - 313:15         393:1, 393:21,
 449:14, 450:11,           382:11, 383:11,          residence [2] - 352:7,   retaliation [2] - 318:3,     394:1, 394:7, 394:8,
 451:14, 453:24,           383:14, 387:25,           429:15                   424:12                      394:11, 394:13,
 457:16, 457:17,           388:10, 388:12,          resonate [1] - 468:8     retract [2] - 425:19,        394:15, 395:8,
 458:4, 458:13             388:13, 388:14,          respect [3] - 450:2,      446:11                      395:17, 395:25,
relating [4] - 375:2,      397:12, 398:16,           468:4, 468:14           retrieve [4] - 300:8,        398:1, 432:11
 386:14, 451:3,            398:21, 403:7,           respectfully [2] -        300:18, 357:24,           rooms [4] - 392:22,
 451:24                    404:12, 407:8,            426:13, 426:25           378:8                       392:24, 392:25,
relation [7] - 363:23,     408:16, 408:21,          respon [1] - 350:10                                   393:3
                                                                             retrieving [1] - 300:14
 372:8, 374:6,             409:17, 409:20,          respond [5] - 310:20,                               roster [1] - 384:21
                                                                             return [4] - 300:21,
 374:10, 375:16,           410:3, 410:5, 410:9,      311:4, 312:14,                                     rough [2] - 428:10,
                                                                              305:22, 357:11,
 443:24, 448:2             411:10, 413:15,           445:19, 453:18                                       428:12
                                                                              456:7
relatively [1] - 414:13    419:22, 424:19,          responded [11] -         returned [3] - 303:16,     roughly [1] - 372:18
relatives [3] - 394:13,    427:10, 429:14,           310:16, 311:8,           348:6, 356:19             route [9] - 386:12,
 398:1, 398:2              433:11, 436:9,            365:11, 365:14,         returning [1] - 457:25       405:21, 405:25,
released [2] - 336:13,     436:10, 436:16,           366:10, 381:7,          reunited [1] - 432:13        407:20, 411:19,
 415:3                     441:10, 456:24,           401:4, 401:11,          revealed [1] - 305:7         411:23, 412:2,
relevance [2] - 318:8,     458:15, 473:4             401:13, 406:16,         reversed [1] - 461:16        412:4, 412:11
 346:7                    reported [15] - 343:13,    423:9                   Review [2] - 441:8,        Rudolph [1] - 292:5
relevant [1] - 424:6       381:11, 387:21,          responding [7] -          443:20                    rule [11] - 419:8,
relieved [1] - 392:23      388:9, 388:11,            309:3, 311:13,          review [11] - 297:15,        426:19, 436:17,
remain [2] - 311:22,       401:12, 408:1,            311:15, 313:22,          327:3, 371:2, 372:8,        436:19, 437:11,
 312:21                    419:22, 420:16,           344:14, 413:1, 449:8     396:17, 403:6,              444:24, 449:3,
remains [1] - 422:13       423:5, 424:14,           responds [3] - 311:25,    441:11, 450:11,             462:7, 462:11,
remember [22] -            426:15, 427:22,           312:5, 384:14            450:22, 462:5               465:4, 473:5
 303:4, 309:16,            429:2, 433:7
                                                    response [5] - 357:3,    reviewed [14] - 316:1,     Rule [1] - 473:6
 313:12, 335:24,          Reporter [1] - 474:18      381:8, 386:12,           347:5, 351:5,             rules [4] - 414:14,
 339:4, 339:9,            reporter [2] - 318:20,     391:4, 403:22            370:22, 443:9,              427:5, 427:9, 448:19
 339:19, 359:21,           474:5                    Response [4] -            443:12, 443:24,           rumors [3] - 319:2,
 360:24, 362:8,           reporting [3] - 379:9,     337:22, 442:24,          444:1, 444:16,              340:25, 436:11
 362:10, 362:11,           423:4, 446:9              445:15, 459:6            445:20, 445:22,           run [2] - 369:19,
 362:12, 362:17,          reports [18] - 302:7,     responses [4] -           446:6, 446:8, 446:12        435:25
 374:2, 374:11,            304:6, 312:9,             350:19, 419:25,         Reviewed/

   SUSAN K. TAYLOR                                    262-553-1058                              COURT REPORTER
                                                    sueT@wi.rr.com
                                                                                                                             20
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 495 of 501 Document 80-5
                          432:2, 433:8,            359:12, 359:13,            409:17, 436:10           361:1, 434:3, 436:6
          S
                          434:10, 465:21           365:20, 365:22,           sergeant [16] - 295:2,   Seven [1] - 365:4
sacrifice [1] - 422:21   scenes [5] - 309:6,       368:20, 371:5,             295:5, 295:11,          seven-minute [3] -
sad [1] - 466:20          411:3, 411:4,            371:7, 371:24,             295:15, 295:17,          361:1, 434:3, 436:6
safe [9] - 307:16,        464:23, 465:14           373:10, 376:19,            296:6, 296:11,          several [7] - 309:7,
 308:10, 308:11,         school [1] - 356:5        377:24, 382:12,            297:5, 298:21,           332:4, 401:13,
 309:10, 363:8,          se [1] - 416:2            386:9, 387:14,             312:19, 372:12,          411:11, 413:2,
 419:5, 454:1, 470:3,    Sean [5] - 332:3,         394:11, 395:13,            372:24, 374:15,          436:8, 458:11
 473:2                    333:11, 340:7,           404:5, 406:12,             380:25, 400:11,         severe [3] - 434:7,
safety [10] - 297:16,     433:15, 434:17           414:22, 417:1,             431:20                   434:21, 437:7
 324:18, 324:20,         SEAN [1] - 363:10         418:5, 435:21,            Sergeant [28] -          sex [1] - 372:6
 418:20, 418:21,         search [16] - 292:21,     435:22, 435:24,            300:19, 302:22,         sexual [12] - 314:10,
 419:1, 419:4, 419:6,     293:13, 293:20,          436:9, 441:19,             303:7, 303:10,           315:17, 317:8,
 454:4, 470:3             299:8, 299:13,           442:16, 444:20,            311:20, 313:1,           317:11, 375:5,
Saint [1] - 381:7         300:4, 304:3, 305:8,     446:3, 450:17,             314:15, 328:4,           376:1, 388:11,
sake [1] - 367:10         317:24, 368:8,           451:9, 455:5,              337:10, 347:19,          423:4, 424:14,
salient [1] - 304:9       368:22, 369:2,           465:20, 465:21             360:16, 371:8,           424:19, 428:10,
sation [2] - 368:15,      387:14, 414:22,         seeing [5] - 374:1,         372:19, 374:1,           469:14
 433:17                   429:16, 466:14           374:3, 375:19,             374:3, 374:9, 376:8,    sexually [5] - 313:23,
satisfied [1] - 439:24   searched [5] - 303:21,    384:16, 385:9              376:11, 383:12,          314:8, 314:19,
save [1] - 385:23         304:16, 305:1,          seek [2] - 313:2,           383:20, 401:15,          387:22, 469:17
saw [15] - 297:10,        305:4, 355:19            378:18                     416:18, 416:19,         shall [4] - 451:5,
 307:21, 312:1,          searches [1] - 431:17    seem [3] - 317:18,          423:7, 431:16,           451:7, 453:25,
 312:6, 345:22,          seat [2] - 310:12,        377:2, 383:11              431:18                   456:22
 346:1, 347:11,           454:3                   sees [1] - 430:16          sergeant's [1] -         Shannon [69] - 292:4,
 347:14, 347:16,         second [24] - 299:22,    segue [1] - 350:17          445:12                   297:1, 297:4,
 347:17, 347:25,          300:22, 305:22,         self [3] - 353:21,         sergeants [8] -           375:12, 375:22,
 358:20, 358:25,          306:4, 307:14,           429:6, 447:7               295:20, 295:24,          382:16, 391:11,
 371:23, 470:13           326:7, 333:19,          Self [1] - 447:2            296:2, 296:12,           394:12, 396:25,
scene [68] - 298:11,      334:12, 355:1,          self-inflicted [1] -        372:11, 380:23,          397:17, 402:9,
 310:16, 310:20,          355:6, 357:12,           429:6                      402:3                    409:21, 415:23,
 311:8, 311:14,           387:6, 403:12,          self-interest [1] -        series [2] - 335:18,      417:11, 417:17,
 311:17, 311:22,          405:24, 406:10,          447:7                      349:16                   418:19, 420:16,
 311:24, 311:25,          408:10, 429:15,         selves [1] - 459:5         serious [2] - 447:24,     421:1, 422:25,
 312:3, 312:5,            429:23, 434:2,          send [3] - 368:23,          457:21                   424:22, 426:4,
 312:18, 312:21,          439:5, 450:10,           389:2, 409:7              seriously [5] - 379:1,    427:15, 428:3,
 313:3, 314:3,            450:23, 472:14,         sending [5] - 350:23,       422:19, 450:15,          428:4, 428:5, 428:6,
 318:25, 319:21,          472:16                   350:25, 404:18,            457:8, 458:20            428:13, 428:21,
 320:14, 321:9,          seconds [1] - 408:8       437:8, 437:9              serve [2] - 465:9,        429:3, 429:24,
 328:23, 353:22,         secret [1] - 428:9       senior [1] - 469:9          465:10                   430:3, 430:7,
 362:12, 363:25,         Section [1] - 463:17     sense [19] - 341:2,        served [3] - 297:5,       430:10, 430:12,
 365:14, 366:6,          section [3] - 349:19,     341:11, 364:5,             346:17, 347:15           430:16, 430:24,
 368:19, 374:20,          450:16, 463:17           364:13, 364:15,           service [6] - 415:12,     430:25, 431:7,
 374:22, 376:12,         secured [1] - 373:6       371:17, 418:22,            448:14, 451:5,           431:20, 432:21,
 379:16, 381:11,         see [65] - 293:20,        422:22, 423:15,            451:7, 468:5, 472:9      433:2, 433:14,
 381:16, 383:24,          295:18, 297:7,           424:20, 426:7,            services [1] - 462:18     433:16, 433:17,
 391:7, 391:8, 391:9,     299:13, 300:11,          434:12, 434:19,           serving [1] - 292:7       434:4, 434:6,
 391:13, 391:22,          314:6, 314:14,           434:20, 435:3,            session [14] - 438:14,    434:11, 434:18,
 391:23, 392:3,           314:16, 315:9,           435:6, 436:1, 436:5,       438:21, 438:23,          434:20, 435:2,
 393:6, 393:8,            315:10, 319:4,           437:11                     438:25, 439:2,           436:5, 436:12,
 393:10, 396:25,          321:1, 322:16,          sensitive [1] - 415:1       439:8, 439:14,           436:20, 439:21,
 400:19, 401:11,          323:2, 323:16,          sent [5] - 364:2, 405:2,    439:16, 467:11,          460:24, 461:7,
 402:15, 404:23,          325:12, 325:18,          408:3, 408:5, 408:20       472:8, 472:12,           463:2, 464:2,
 405:21, 407:21,          326:7, 329:13,          sentation [1] - 419:5       472:17, 472:18,          464:18, 464:20,
 408:1, 408:15,           330:20, 331:11,         sentence [3] - 305:25,      472:20                   465:3, 465:4, 465:9,
 408:17, 409:4,           332:7, 333:3,            357:8, 403:12             set [7] - 395:11,         466:5, 467:13,
 409:6, 412:2, 412:3,     334:20, 335:4,          separate [2] - 306:18,      395:15, 419:11,          467:16, 472:22
 412:23, 413:3,           335:16, 340:13,          391:16                     419:19, 419:20,         Shannon's [1] -
 416:19, 416:21,          343:1, 343:3,           separated [1] - 392:12      427:10, 447:19           435:11
 416:25, 431:24,          343:21, 348:24,         September [2] -            seven [4] - 334:16,      Shawn [2] - 339:5,


   SUSAN K. TAYLOR                                  262-553-1058                               COURT REPORTER
                                                  sueT@wi.rr.com
                                                                                                                           21
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 496 of 501 Document 80-5
 347:21                 showed [4] - 365:3,         349:15                   322:2, 325:8,            349:6
Shepherd [1] - 442:5     373:7, 393:25,            sliding [3] - 395:11,     325:15, 325:20,         speed [4] - 339:13,
Shift [11] - 369:15,     416:25                     395:18, 395:20           326:10, 326:23,          340:10, 422:1,
 369:16, 369:18,        shows [3] - 373:10,        slow [1] - 308:3          328:1                    455:22
 369:20, 370:2,          382:6, 459:13             slowed [1] - 342:6       sons [1] - 470:15        speeding [1] - 435:4
 370:3, 370:11,         shuffle [1] - 379:24       slowing [1] - 308:9      soon [3] - 418:7,        spell [4] - 390:10,
 370:16, 383:15         sible [1] - 350:11         small [1] - 432:8         430:11, 473:7            402:18, 440:13,
shift [14] - 295:12,    sic [1] - 437:7            Smith [6] - 328:4,       SOP [2] - 311:25,         464:10
 295:13, 295:14,        side [7] - 310:2,           360:16, 431:16,          419:7                   spent [1] - 359:23
 312:7, 354:19,          320:17, 320:19,            431:18, 431:22,         SOPs [1] - 345:15        spinning [1] - 317:19
 369:23, 381:22,         321:3, 414:10,             432:18                  sorry [6] - 341:7,       split [1] - 376:13
 386:23, 387:2,          420:2, 420:23             snow [1] - 399:10         350:17, 357:19,         spontaneously [1] -
 387:6, 387:7, 416:3,   sideration [1] - 426:25    snowing [1] - 399:7       367:22, 382:1,           386:19
 429:12                 sidered [1] - 449:21       sobriety [2] - 416:22,    437:17                  spot [1] - 405:22
Shifts [1] - 370:14     sides [2] - 315:12,         431:14                  sort [8] - 320:19,       spots [2] - 342:17,
shifts [2] - 294:19,     362:22                    sole [1] - 425:11         343:17, 350:18,          342:22
 370:6                  sight [1] - 469:8          solved [2] - 465:23       365:17, 424:23,         Squad [5] - 366:10,
shirt [1] - 394:20      significant [7] -          someone [16] - 304:4,     433:22, 436:13,          372:14, 401:16,
shocked [3] - 347:9,     448:18, 450:13,            308:2, 308:13,           451:18                   406:15, 406:17
 379:7                   453:19, 454:11,            313:8, 328:5,           sorts [2] - 405:16,      squad [47] - 366:14,
shoes [1] - 466:23       456:4, 456:15,             329:11, 337:13,          422:2                    366:17, 367:10,
shook [1] - 331:23       460:13                     376:9, 384:16,          sounds [2] - 316:9,       367:13, 368:2,
shooting [27] -         similar [3] - 377:8,        385:1, 394:24,           432:7                    371:23, 381:21,
 300:15, 301:5,          444:25, 451:18             395:2, 397:9,           south [3] - 343:1,        381:24, 381:25,
 342:18, 356:11,        simple [10] - 309:11,       424:14, 455:4,           353:4, 353:5             382:11, 382:18,
 356:12, 356:15,         311:12, 329:21,            455:13                  speaking [2] - 363:21,    383:9, 383:12,
 363:18, 364:15,         343:19, 344:2,            sometimes [5] -           374:14                   383:16, 386:16,
 364:18, 364:22,         414:9, 423:16,             353:18, 353:21,         speaks [1] - 448:23       386:23, 387:1,
 365:5, 366:4, 369:1,    423:17, 423:21             353:22, 386:16,         special [1] - 310:25      387:3, 387:5, 387:6,
 373:5, 374:12,         simply [3] - 308:3,         462:22                  specific [8] - 366:12,    387:7, 391:9,
 377:7, 381:8, 383:2,    308:9, 412:4              somewhat [3] - 414:9,     369:17, 402:7,           401:10, 401:17,
 383:21, 384:12,        single [4] - 303:2,         416:18, 459:13           405:10, 450:13,          404:11, 404:19,
 388:20, 389:6,          312:3, 312:17, 401:3      somewhere [4] -           453:5, 454:20,           404:25, 407:12,
 415:2, 428:25,         sion [1] - 458:14           323:14, 356:13,          462:11                   408:6, 412:25,
 429:1, 429:17, 466:8   sional [1] - 428:17         398:23, 411:24          specifica [1] - 442:20    429:24, 430:13,
shootings [4] -         siren [7] - 342:9,         son [49] - 313:8,        specifically [17] -       430:17, 430:19,
 374:13, 389:5,          358:17, 359:5,             313:15, 315:4,           312:19, 338:3,           431:3, 431:4,
 465:15, 466:6           418:25, 430:18             315:5, 319:1,            338:20, 364:4,           447:23, 447:25,
Shorewood [7] -         sirens [3] - 308:19,        319:14, 320:15,          365:1, 365:22,           449:7, 449:11,
 351:25, 352:4,          309:1, 435:10              320:24, 322:24,          376:9, 395:10,           453:21, 454:15,
 352:8, 360:3, 413:7,   sit [5] - 332:11, 339:2,    323:9, 323:19,           400:23, 401:21,          455:20, 455:23,
 431:12, 433:5           339:25, 379:12,            324:11, 324:18,          404:17, 405:12,          455:24, 455:25
short [5] - 304:16,      470:7                      326:2, 337:11,           443:20, 448:5,          St [2] - 365:3, 365:7
 307:11, 352:13,        sitting [4] - 380:23,       337:14, 340:14,          449:14, 451:14,         Stacey [7] - 321:12,
 354:22, 435:17          435:18, 440:7,             340:16, 340:20,          454:12                   327:23, 362:15,
short-handed [1] -       466:24                     341:4, 341:7,           specification [1] -       405:1, 405:4,
 354:22                 situation [12] - 302:8,     351:16, 352:23,          443:11                   406:15, 432:10
shorthand [3] -          305:21, 309:3,             356:3, 360:2, 360:4,    specifications [1] -     Stacey's [1] - 405:13
 355:22, 474:7, 474:9    318:4, 346:19,             362:15, 394:14,          443:21                  staff [2] - 397:16,
shortly [3] - 305:5,     395:8, 418:24,             398:3, 401:14,          specified [1] - 336:22    460:22
 305:8, 375:21           419:2, 431:11,             401:19, 401:24,         Specs [1] - 443:8        stand [4] - 292:13,
shot [6] - 300:15,       431:16, 432:25,            402:10, 402:17,         specs [1] - 414:15        341:17, 468:8, 473:9
 301:10, 301:21,         453:13                     402:21, 403:18,         speculate [10] -         standards [4] - 370:6,
 355:14, 364:1,         situations [1] - 421:12     410:7, 416:9,            294:12, 294:14,          438:15, 438:16,
 466:15                 six [8] - 323:23, 336:6,    416:11, 416:16,          302:16, 302:21,          439:23
show [9] - 313:19,       336:9, 352:2, 352:5,       418:5, 418:11,           328:7, 328:13,          standing [5] - 347:18,
 338:19, 342:13,         352:6, 410:24, 443:5       421:7, 423:20,           328:14, 344:10,          347:22, 408:1,
 382:6, 382:11,         size [1] - 330:11           429:25, 434:14,          345:2, 349:6             415:23, 467:22
 383:23, 411:3,         slammed [1] - 430:21        468:11, 470:8           speculation [3] -        stark [2] - 343:12,
 421:25, 432:20         sleep [2] - 337:3,         son's [8] - 321:22,       345:13, 348:13,          344:2

   SUSAN K. TAYLOR                                   262-553-1058                             COURT REPORTER
                                                   sueT@wi.rr.com
                                                                                                                         22
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 497 of 501 Document 80-5
start [4] - 330:9,      stayed [3] - 392:20,      stuck [1] - 417:7          297:25, 298:9,          390:8, 400:7, 400:9,
 370:5, 370:14, 441:3    393:8, 416:25            stuff [1] - 362:7          298:20, 299:20,         440:4, 440:6, 464:4,
started [5] - 371:8,    stenographic [1] -        stumbled [1] - 405:17      302:5, 348:22,          464:8
 371:11, 371:15,         474:5                    stuttering [1] - 339:23    376:14, 379:6,         symptoms [1] -
 401:14, 402:5          step [2] - 294:25,        subject [9] - 345:25,      379:23, 379:25,         434:22
starting [1] - 403:10    417:22                    346:7, 346:9, 347:1,      380:3, 380:5,          synopsis [2] - 337:7,
starts [2] - 422:7,     STEVEN [2] - 390:5,        347:7, 422:16,            390:23, 397:10,         338:3
 462:13                  390:12                    466:10, 466:13,           415:18, 433:19,
STATE [1] - 474:1       Steven [1] - 390:12        466:15                    435:6, 436:7, 450:1,               T
state [9] - 334:24,     still [22] - 292:10,      submit [3] - 419:20,       450:12
 335:1, 390:10,          292:13, 296:24,           426:13, 427:1            supervisors [4] -       TAC [21] - 310:15,
 393:22, 417:17,         297:3, 303:17,           submitted [4] -            298:6, 298:17,           310:19, 310:24,
 418:9, 422:16,          317:17, 330:15,           306:18, 306:19,           380:15, 400:24           311:1, 311:7,
 440:13, 464:10          359:3, 373:15,            407:3, 436:18            supervisory [1] -         311:13, 311:16,
statement [31] -         383:3, 383:24,           subpoena [1] - 464:25      372:3                    313:10, 313:19,
 299:11, 305:20,         388:23, 395:14,          subse [1] - 332:3         support [4] - 416:7,      313:20, 313:23,
 324:4, 331:9, 338:1,    412:12, 414:10,          subsequently [1] -         425:5, 458:6, 458:10     314:2, 314:20,
 338:5, 338:7,           419:7, 420:14,            347:11                   support/comfort [1] -     318:2, 318:24,
 340:18, 340:20,         448:11, 467:17,          substantiated [2] -        415:25                   362:6, 375:19,
 341:25, 342:14,         467:25, 470:22            425:17, 436:14           supported [1] - 426:7     401:10, 401:17,
 342:16, 343:6,         stipulating [1] - 322:7   Subway [1] - 342:24       supporting [2] -          423:8, 466:14
 344:24, 345:10,        stipulation [1] - 428:2   sudden [3] - 307:20,       416:17, 425:1          tactic [1] - 424:7
 347:15, 349:7,         stop [13] - 299:18,        418:25, 435:25           supports [1] - 427:8    Tactical [3] - 384:16,
 410:5, 410:6,           314:23, 321:2,           suddenly [3] - 309:1,     suppose [1] - 346:2       385:1, 401:16
 410:11, 414:2,          328:8, 337:11,            386:24, 387:2            supposed [11] -         tape [2] - 303:5,
 414:19, 417:21,         341:6, 348:25,           suffered [2] - 434:7,      298:17, 312:5,           347:10
 418:4, 420:12,          352:4, 430:6,             469:14                    316:14, 376:18,        tapping [1] - 358:21
 426:17, 434:17,         432:24, 433:6,           suffering [3] - 317:7,     409:5, 412:16,         TAYLOR [2] - 474:4,
 434:19, 441:23,         435:8, 436:13             434:21, 470:23            453:9, 453:10,           474:17
 455:9, 456:11          stopped [12] - 324:1,     sufficient [1] - 420:4     453:16, 455:24         teamed [1] - 297:1
statements [35] -        324:12, 324:22,          suggesting [2] -          surmise [1] - 345:2     telephone [7] -
 303:19, 306:14,         340:15, 341:8,            301:23, 425:4            surrounding [2] -         352:22, 360:8,
 306:15, 311:20,         351:24, 352:7,           suggestions [2] -          338:24, 350:5            360:17, 378:22,
 311:21, 312:20,         360:3, 364:9,             319:23, 447:5            SUSAN [2] - 474:4,        379:11, 379:14,
 313:3, 313:14,          382:12, 416:11,          suggests [2] - 425:8       474:17                   403:17
 315:2, 315:3,           430:4                                              suspect [1] - 466:8     temporary [1] -
                                                  suit [5] - 394:23,
 315:12, 331:8,         store [1] - 359:12                                  suspended [3] -           313:24
                                                   399:13, 399:20,
 337:23, 338:1,         story [15] - 302:14,       399:23, 399:24            430:22, 461:8,         ten [6] - 294:13,
 338:8, 338:17,          313:14, 346:12,                                     461:22                   314:19, 394:9,
                                                  suits [1] - 399:22
 338:21, 338:24,         365:11, 365:15,                                    suspension [13] -         460:8, 460:11, 473:5
                                                  sum [2] - 311:11,
 339:2, 339:8, 339:9,    374:19, 419:14,                                     451:13, 453:4,         ten-day [1] - 473:5
                                                   414:7
 346:24, 349:2,          420:1, 420:6, 420:8,                                461:12, 461:13,        ten-minute [1] -
                                                  summarizes [2] -
 350:13, 364:12,         420:23, 421:16,                                     461:14, 461:16,          460:11
                                                   442:24, 445:12
 364:14, 401:22,         422:7, 423:21, 426:6                                461:18, 461:20,        term [1] - 412:3
                                                  Summary [2] - 441:8,
 402:9, 410:3,          straightforward [2] -                                462:2, 462:6,          terminate [1] - 420:25
                                                   443:20
 420:17, 421:6,          414:13, 424:9                                       462:17, 472:24,        terms [8] - 299:6,
                                                  summary [10] - 338:7,
 424:23, 436:6,         Street [5] - 306:24,                                 473:1                    329:13, 366:7,
                                                   349:25, 350:1,
 437:10, 457:10          358:13, 358:14,                                    sustain [3] - 317:25,     373:3, 440:20,
                                                   402:25, 403:3,
states [4] - 325:5,      359:13, 432:3                                       345:19, 439:19           449:20, 450:20,
                                                   406:8, 407:9, 442:3,
 325:10, 406:14,        street [4] - 362:16,                                sustained [7] -           455:15
                                                   444:17, 444:19
 425:9                   380:23, 413:16,                                     437:14, 444:8,         terrible [1] - 317:11
                                                  Sunday [1] - 354:17
States [1] - 462:25      469:16                                              444:9, 450:9, 465:5,   tested [1] - 351:12
                                                  super [1] - 380:12
stating [5] - 303:13,   streets [3] - 309:6,                                 467:23, 472:23         testi [3] - 357:1, 431:1,
                                                  superior [1] - 471:15
 310:9, 323:18,          418:24, 470:3                                      swear [1] - 363:9         432:7
                                                  supervised [3] -
 337:10, 406:19         strike [1] - 345:20                                 swelling [2] - 330:8,   testified [30] - 301:17,
                                                   380:16, 396:20,
station [3] - 296:24,   Strike [6] - 308:23,                                 330:10                   303:7, 310:15,
                                                   396:21
 297:9, 403:25           312:2, 329:3,                                      switch [3] - 308:16,      310:22, 317:5,
                                                  supervision [4] -
stationed [2] - 378:1    366:19, 371:2, 458:5                                309:24, 310:8            319:14, 324:17,
                                                   312:8, 312:11,
status [1] - 409:10     striking [1] - 300:17                               sworn [10] - 363:10,      329:5, 330:18,
                                                   314:1, 344:20
stay [1] - 427:16       strong [1] - 425:3                                   363:13, 390:6,           349:21, 350:7,
                                                  supervisor [20] -

   SUSAN K. TAYLOR                                  262-553-1058                             COURT REPORTER
                                                  sueT@wi.rr.com
                                                                                                                           23
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 498 of 501 Document 80-5
  351:16, 359:4,            355:4, 356:1, 356:4,     Thursday [1] - 292:2       469:15                    309:20, 316:20,
  360:2, 363:12,            357:6, 362:11,           time-sensitive [1] -     trans [1] - 408:13          319:24, 332:10,
  363:15, 366:25,           367:21, 368:25,            415:1                  transmitted [2] -           364:23, 368:22,
  386:7, 390:7,             370:3, 370:10,           Timothy [1] - 314:17       408:5, 408:11             403:23, 433:21,
  397:15, 400:8,            370:13, 370:18,          tination [1] - 449:11    transported [1] -           466:25
  400:11, 403:7,            371:13, 371:15,          tion [12] - 300:7,         328:22                  trying [8] - 319:6,
  410:2, 411:2,             371:20, 377:6,             300:10, 313:16,        travel [1] - 440:9          319:21, 339:23,
  417:10, 426:2,            377:19, 378:3,             345:20, 348:10,        traveled [4] - 359:3,       362:9, 364:6,
  440:5, 464:6, 468:21      378:9, 379:1,              393:25, 404:5,           359:8, 359:17, 392:3      385:17, 402:1, 466:7
testify [4] - 313:13,       379:15, 380:1,             416:24, 417:11,        traveling [7] - 309:17,   turn [3] - 342:23,
  371:22, 398:9,            380:4, 380:10,             424:18, 432:17,          339:10, 343:2,            357:7, 425:11
  398:12                    380:14, 380:22,            440:24                   343:4, 412:5,           turned [4] - 307:1,
testifying [4] - 316:8,     387:11, 399:9,           tioning [1] - 313:6        412:22, 416:3             359:4, 359:18,
  343:14, 383:19,           399:15, 399:20,          tions [3] - 318:5,       treat [4] - 302:8,          405:17
  396:18                    402:22, 403:5,             426:24, 442:21           438:4, 450:1, 450:12    turning [4] - 308:25,
testimony [62] - 295:1,     407:6, 407:18,           tive [1] - 379:3         treated [2] - 436:24,       309:4, 353:10,
  295:3, 296:17,            407:25, 408:19,          today [10] - 318:2,        437:5                     359:15
  297:13, 301:12,           409:3, 412:1, 412:8,       332:12, 337:18,        treating [1] - 458:20     two [45] - 294:2,
  303:10, 307:4,            412:11, 412:16,            339:2, 339:18,         treatment [3] - 303:17,     294:19, 297:17,
  309:17, 309:20,           412:20, 413:9,             383:3, 394:19,           349:19, 432:23            311:4, 322:21,
  310:16, 310:18,           440:7, 452:4, 452:9,       396:18, 440:19,        trial [1] - 385:13          322:23, 323:20,
  312:3, 313:16,            452:12, 452:24,            466:18                 tried [3] - 311:11,         325:6, 325:12,
  313:17, 317:9,            461:23, 463:13,          together [6] - 355:12,     387:16, 427:16            325:22, 326:18,
  317:22, 318:2,            469:7, 473:11              364:12, 379:10,        tries [2] - 364:10,         326:22, 328:11,
  318:5, 318:11,           then-Police [1] -           415:11, 415:21,          421:16                    329:5, 338:16,
  318:15, 318:17,           427:23                     470:2                  trip [1] - 418:5            342:18, 344:1,
  319:20, 319:25,          theory [1] - 424:25       toggle [3] - 308:16,     triple [1] - 330:11         344:3, 355:4,
  320:18, 328:2,           therefore [5] - 301:18,     309:24, 310:8          tronic [1] - 444:7          357:17, 357:23,
  328:4, 328:15,            301:21, 320:18,          took [8] - 307:23,                                   360:1, 362:15,
                                                                              trouble [2] - 344:18,
  330:17, 332:11,           420:8, 439:24              330:11, 340:1,                                     376:2, 392:8,
                                                                                422:19
  336:21, 337:18,          thinking [1] - 335:3        342:18, 383:21,                                    392:24, 394:13,
                                                                              troubling [1] - 313:4
  340:6, 360:16,           thinks [1] - 417:15         389:15, 437:7                                      398:1, 398:2, 406:7,
                                                                              Troy [6] - 365:14,
  362:4, 366:19,           third [5] - 300:9,        top [3] - 331:10,                                    409:1, 415:14,
                                                                                366:13, 368:18,
  366:20, 366:22,           300:10, 372:15,            372:18, 441:18                                     419:15, 420:21,
                                                                                368:24, 380:6,
  368:6, 375:2, 375:3,      403:8, 452:25            tossed [2] - 324:10,                                 426:25, 430:9,
                                                                                388:20
  375:6, 376:7, 377:1,     Thomas [1] - 466:11         431:7                                              431:9, 440:9,
                                                                              true [27] - 299:11,
  377:15, 381:10,          thoroughly [1] -          tosses [1] - 431:22                                  455:11, 455:13,
                                                                                302:15, 319:16,
  405:4, 405:6,             364:22                   total [1] - 338:21                                   455:15, 456:6,
                                                                                327:6, 337:12,
  405:13, 416:10,          thoughts [1] - 434:23                                                          461:14, 468:9,
                                                     totaled [1] - 447:25       347:4, 367:5, 367:8,
  418:18, 424:22,          threatened [1] -                                                               470:15
                                                     tour [1] - 311:2           370:24, 381:16,
  427:17, 428:2,            314:20                                                                      two-minute [1] - 360:1
                                                     toward [4] - 313:16,       383:9, 383:14,
  429:2, 433:3, 434:5,     three [20] - 306:18,                                                         type [5] - 298:15,
                                                       448:22, 459:13,          414:10, 414:12,
  434:6, 434:9,             325:17, 326:14,                                                               298:17, 379:9,
                                                       462:10                   414:17, 418:23,
  435:11, 468:21            326:25, 328:2,                                                                393:23, 458:1
                                                     toxicology [1] - 351:6     419:20, 420:15,
tests [2] - 416:22,         329:9, 335:6,                                                               types [2] - 408:3,
                                                     track [2] - 458:19,        421:2, 421:17,
  431:14                    342:17, 342:20,                                                               463:1
                                                       466:9                    422:25, 423:10,
Texas [1] - 440:9           342:22, 359:20,                                                             typically [2] - 377:7,
                                                     traffic [16] - 307:8,      426:21, 426:22,
text [2] - 360:12, 466:7    360:14, 390:18,                                                               386:20
                                                       307:22, 308:4,           449:10, 456:5, 474:8
THC [2] - 350:21,           395:11, 398:25,            308:13, 309:1,         trust [3] - 457:14,
  351:1                     414:14, 439:20,            321:2, 328:8,            469:10, 469:11                     U
THE [71] - 306:1,           463:3, 466:15,             337:11, 342:4,         truth [19] - 314:5,
  306:10, 319:12,           467:22                                                                      ultimate [2] - 311:5,
                                                       343:1, 352:4,            344:8, 363:11,
  322:4, 330:4, 330:7,     Three [2] - 299:3,                                                            460:17
                                                       432:24, 435:7,           363:12, 390:6,
  331:20, 343:24,           378:2                                                                       ultimately [2] -
                                                       435:13, 436:13,          390:7, 400:7, 400:8,
  347:17, 348:1,           three-minute [2] -                                                            460:16, 461:16
                                                       454:2                    420:6, 422:3, 440:4,
  348:5, 349:12,            328:2, 360:14                                                               unable [1] - 454:6
                                                     trained [6] - 298:22,      440:5, 464:5, 464:6
  352:25, 353:6,           three-quarters [1] -                                                         unanimously [1] -
                                                       308:12, 308:18,        truthful [1] - 457:12
  353:12, 353:17,           359:20                                                                       472:22
                                                       308:25, 344:16,        truthfulness [1] -
  353:25, 354:4,           throughout [3] -                                                             unavailable [4] -
                                                       418:23                   457:13
  354:8, 354:14,            392:23, 426:5, 459:6                                                         325:6, 325:10,
                                                     training [2] - 372:22,   try [10] - 293:5,

   SUSAN K. TAYLOR                                     262-553-1058                             COURT REPORTER
                                                     sueT@wi.rr.com
                                                                                                                                24
      Case 2:16-cv-01089-WED Filed 04/22/19 Page 499 of 501 Document 80-5
 325:23, 325:25           457:10, 457:18,         uses [1] - 430:18        violate [1] - 414:14        364:7, 398:5, 399:25
unbeknownst [1] -         457:19, 457:20,         UWM [22] - 313:15,       violated [1] - 427:9       wears [1] - 394:22
 415:3                    463:10                   319:1, 320:20,          violating [2] - 427:5,     weight [2] - 449:12,
unclear [1] - 383:19     untruthfulness [4] -      340:15, 340:16,          435:5                      449:15
unconscious [1] -         449:15, 449:17,          340:23, 341:1,          violation [11] - 417:24,   welfare [1] - 379:17
 434:7                    457:6, 463:17            341:8, 401:24,           419:7, 419:10,            well-being [1] -
uncooperative [1] -      unusual [15] - 295:11,    402:10, 402:17,          450:1, 450:8,              470:25
 364:23                   310:19, 310:23,          402:23, 403:18,          450:14, 457:7,            WERE [1] - 473:11
under [15] - 292:13,      311:6, 311:13,           403:25, 405:14,          458:13, 458:17,           West [1] - 365:8
 303:17, 324:21,          311:15, 311:16,          410:8, 410:18,           462:7                     west [1] - 306:23
 350:20, 374:15,          312:17, 312:19,          410:19, 410:24,         violations [9] -           whatsoever [1] -
 374:16, 383:15,          313:10, 364:10,          433:5, 435:7, 436:13     419:15, 426:19,            360:6
 407:25, 411:13,          379:18, 384:9,                                    436:18, 436:19,           wheels [1] - 317:19
 415:22, 463:17,          416:19, 417:1                     V               437:11, 444:24,           WHEREUPON [1] -
 464:25, 467:17,         up [78] - 296:8,                                   450:15, 458:20,            473:11
 467:21, 468:24           296:14, 296:20,         vague [6] - 293:15,       465:4                     whole [15] - 314:25,
underage [1] - 431:15     297:1, 301:20,           296:22, 316:14,         violence [1] - 356:15       318:4, 318:5, 356:1,
underlying [1] -          302:4, 302:5, 305:5,     316:23, 317:20,         visible [1] - 330:4         356:4, 363:11,
 301:15                   305:9, 307:21,           397:22                  visor [1] - 380:13          390:6, 400:7,
understood [2] -          311:11, 313:14,         vaguely [1] - 339:25     visual [1] - 407:8          421:16, 422:18,
 397:9, 397:12            313:17, 313:20,         vain [1] - 469:3         Vollrath [3] - 362:13,      427:2, 440:4, 459:6,
unexpected [1] -          314:13, 314:16,         valid [1] - 313:24        396:22, 433:13             464:5, 468:19
 307:21                   324:10, 328:8,          Value [1] - 462:11       volunteer [5] - 299:23,    wide [2] - 394:9,
unfortunately [4] -       330:10, 332:10,         van [2] - 364:8, 369:2    354:10, 354:12,            395:12
 430:2, 440:8, 452:6,     333:12, 337:23,         vanishes [1] - 432:1      354:22, 469:12            William [2] - 327:24,
 455:20                   337:25, 346:15,         vehicle [22] - 308:1,    volunteered [6] -           402:13
unidentified [3] -        347:4, 350:18,           308:4, 308:5,            292:24, 306:4,            willing [1] - 459:11
 431:19, 436:12,          354:17, 354:19,          308:10, 309:21,          389:8, 429:18,            Wilson [2] - 292:8,
 436:14                   356:19, 356:20,          310:3, 310:5,            469:13                     424:2
uniform [6] - 394:17,     359:15, 360:24,          341:23, 350:3,          vote [1] - 438:22          WILSON [43] - 311:10,
 394:18, 394:19,          361:3, 361:5,            358:16, 379:5,          voted [1] - 439:19          326:16, 333:23,
 394:21, 394:22,          361:10, 365:3,           392:6, 418:17,                                      334:1, 353:2, 353:8,
                          368:21, 373:7,           419:10, 419:16,
 399:18
                          374:25, 375:19,
                                                                                      W                353:13, 353:23,
uniforms [1] - 399:22                              421:9, 449:8, 454:1,                                354:1, 354:5, 354:9,
unintended [1] -          376:13, 377:16,          456:2, 461:6, 473:2     wait [3] - 335:20,          354:23, 355:18,
 448:25                   382:6, 382:11,          vehicles [1] - 453:25     431:25                     355:23, 356:2,
unintentional [1] -       384:19, 385:6,          version [7] - 345:9,     waited [1] - 417:8          356:6, 361:25,
 448:23                   388:17, 395:11,          347:7, 414:11,          waiting [3] - 349:14,       362:3, 370:2, 370:8,
union [5] - 332:2,        397:22, 401:8,           422:25, 424:9,           394:4, 394:6               370:11, 370:16,
 339:4, 347:19,           401:13, 401:19,          426:5, 427:4            waits [1] - 433:25          370:20, 371:14,
 347:21, 361:16           401:24, 403:23,         versions [2] - 344:2,    waived [1] - 473:7          379:23, 380:2,
                          408:22, 411:3,           344:4                                               380:8, 380:12,
unit [1] - 466:14                                                          wake [1] - 354:17
                          414:7, 414:21,          versus [1] - 343:14                                  380:17, 385:12,
Unit [3] - 384:17,                                                         walk [1] - 470:22
                          417:1, 419:14,          via [1] - 466:7                                      385:25, 399:5,
 385:1, 390:24                                                             walked [3] - 393:25,
                          421:7, 421:12,          victim [9] - 300:15,                                 399:11, 399:17,
United [1] - 462:25                                                         394:7, 395:19
                          421:15, 423:21,          300:16, 301:19,                                     402:20, 408:22,
unknown [3] - 297:5,                                                       walks [1] - 384:9
                          425:9, 425:10,           369:1, 378:6, 383:8,                                411:23, 412:6,
 351:1                                                                     wallet [1] - 431:23
                          429:8, 429:10,           415:2, 423:14                                       412:9, 412:14,
unless [2] - 300:6,                                                        wants [5] - 337:13,
                          429:13, 431:8,          victims [2] - 364:22,                                412:19, 439:1,
 302:1                                                                      418:6, 421:4,
                          432:10, 433:21,          468:8                                               452:23
unloaded [1] - 392:14                                                       424:10, 469:6
                          466:12, 466:15,         video [6] - 342:13,
unnoticed [1] - 427:14                                                     warrant [3] - 300:4,       window [3] - 359:12,
                          470:15, 471:6            342:18, 342:19,
unofficial [1] - 376:4                                                      378:18, 466:14             460:8, 460:11
                         upset [1] - 347:21        342:23, 343:9,
unrelated [1] - 315:14                                                     Washington [1] -           WISCONSIN [1] -
                         upside [1] - 417:8        421:24                                              474:1
unsafe [3] - 418:17,                                                        336:5
                         urge [1] - 427:7         Vidmar [1] - 458:12                                 Wisconsin [1] -
 418:18, 419:16                                                            Wauwatosa [1] -
                         urgency [4] - 299:20,    viduals' [1] - 457:17                                399:13
unsure [2] - 463:7,                                                         336:3
                          316:11, 317:13,         view [1] - 395:14                                   wit [1] - 472:24
 463:8                                                                     ways [1] - 426:23
                          317:24                  viewing [1] - 398:12
untruth [1] - 436:5                                                        wear [3] - 399:22,         withdraw [1] - 372:2
                         urgent [2] - 316:7,      viola [2] - 416:23,
untruthful [8] -                                                            454:3                     withdrawn [1] -
                          317:6                    426:23
 449:10, 457:8,                                                            wearing [4] - 310:12,       437:25

   SUSAN K. TAYLOR                                  262-553-1058                              COURT REPORTER
                                                  sueT@wi.rr.com
                                                                                                                         25
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 500 of 501 Document 80-5
Witness [6] - 362:21,    works [3] - 295:12,        470:6
 390:2, 400:5,            295:13, 429:9
 413:25, 463:24,         world [1] - 422:15                   Z
 467:8                   worse [1] - 421:12
witness [10] - 323:5,    wound [3] - 364:15,       ZIEGER [1] - 400:6
 326:20, 329:15,          364:16, 429:6            Zieger [15] - 302:23,
 390:8, 400:3, 400:9,    wrapped [1] - 429:8        303:7, 303:10,
 413:23, 440:6,          write [7] - 311:22,        304:22, 304:24,
 463:23, 464:7            312:1, 312:6, 312:9,      305:11, 313:1,
WITNESS [70] - 306:1,     312:23, 313:9, 314:3      314:15, 338:5,
 306:10, 319:12,         writing [2] - 304:6,       338:22, 339:6,
 322:4, 330:4, 330:7,     456:23                    347:19, 396:10,
 331:20, 343:24,         written [15] - 303:19,     423:7, 424:18
 347:17, 348:1,           306:14, 306:15,          Zieger's [1] - 436:9
 348:5, 349:12,           331:8, 331:9,            Zimmerman [1] -
 352:25, 353:6,           337:20, 347:5,            375:24
 353:12, 353:17,          347:23, 349:17,
 353:25, 354:4,           350:19, 373:9,
 354:8, 354:14,           424:22, 436:18,
 355:4, 356:1, 356:4,     436:22, 473:7
 357:6, 362:11,          wrote [3] - 332:3,
 367:21, 368:25,          351:2, 358:2
 370:3, 370:10,
 370:13, 370:18,
                                    X
 371:13, 371:15,
 371:20, 377:6,          x-rays [2] - 392:22,
 377:19, 378:3,           397:21
 378:9, 379:1,
 379:15, 380:1,                     Y
 380:4, 380:10,
 380:14, 380:22,         Y-e-r-k-e-s [1] -
 387:11, 399:9,           440:14
 399:15, 399:20,         year [3] - 333:24,
 402:22, 403:5,           356:5, 461:20
 407:6, 407:18,          years [5] - 390:16,
 407:25, 408:19,          390:18, 464:17,
 409:3, 412:1, 412:8,     468:5, 468:11
 412:11, 412:16,         yelling [1] - 362:14
 412:20, 413:9,          Yerkes [2] - 440:2,
 440:7, 452:4, 452:9,     440:14
 452:12, 452:24,         YERKES [1] - 440:3
 461:23, 463:13,         yesterday [19] -
 469:7                    301:17, 307:4,
witnessed [1] - 433:15    310:15, 313:13,
witnesses [5] - 363:3,    319:14, 319:20,
 364:23, 389:24,          329:5, 335:2,
 390:1, 433:3             336:21, 344:13,
woman [3] - 364:6,        351:16, 351:21,
 364:8, 398:4             353:8, 363:15,
wonder [1] - 301:18       366:20, 375:2,
wondering [1] -           400:11, 405:4,
 329:10                   405:13
word [2] - 331:10,       yesterday's [1] -
 446:1                    297:13
words [4] - 315:5,       yourself [13] - 299:23,
 324:3, 379:13,           301:18, 303:6,
 446:10                   321:7, 341:6,
worker [1] - 294:15       341:13, 367:24,
workload [2] - 294:22,    376:10, 404:13,
 299:6                    441:22, 459:11,


   SUSAN K. TAYLOR                                   262-553-1058          COURT REPORTER
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                                                                                            26
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 501 of 501 Document 80-5
